                                  Exhibit H




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                                                                EXECUTION




                       ASSET PURCHASE AGREEMENT

                                 by and among

                      STURM, RUGER & COMPANY, INC.

                                   as Buyer,

                                      and

                    REMINGTON OUTDOOR COMPANY, INC.

                                      and

     EACH OF THE SUBSIDIARIES OF REMINGTON OUTDOOR COMPANY, INC.,

                                    as Seller

                SET FORTH ON THE SIGNATURE PAGES HERETO

                         Dated as of September 26, 2020




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Exhibit 1      -   Bidding Procedures Order




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                             ASSET PURCHASE AGREEMENT

        THIS ASSET PURCHASE AGREEMENT (this “Agreement”), dated as of September
26, 2020 (the “Effective Date”), is entered into by and among Remington Outdoor Company,
Inc., a Delaware corporation and debtor-in-possession (“ROC”), each of the subsidiaries of ROC
set forth on the signature pages to this Agreement (collectively with ROC, “Seller”), and Sturm,
Ruger & Company, Inc. (“Buyer”), or a Buyer Acquisition Vehicle as assignee in accordance
with Section 11.1. Capitalized terms used in this Agreement are defined or cross-referenced in
Article 12.

                                           RECITALS

       A.       Seller is engaged in the design, development, testing, manufacture, marketing,
sale and distribution of Marlin brand products (including discontinued products and those yet to
be launched) using the Marlin name (the “Products” and the design, development, testing,
manufacture, marketing and sale of the Products is collectively referred to herein as the
“Business”), and owns various assets related to the Business. On July 27, 2020 (the “Petition
Date”), each of the entities comprising Seller filed a voluntary petition for relief under Chapter
11 of Title 11, United States Code, 11 U.S.C. §§ 101, et seq. (the “Bankruptcy Code”) in the
United States Bankruptcy Court for the Northern District of Alabama (the “Bankruptcy Court”)
administratively consolidated under Case No. 20-81688-CJR11 (the “Bankruptcy Case”).

       B.     On the Petition Date, Seller filed a Motion for (I) an Order Establishing Bidding
Procedures and Granting Related Relief and (II) an Order or Orders Approving the Sale of the
Debtors’ Assets (the “Bidding Procedures Motion”) pursuant to which Seller sought, and the
Bankruptcy Court approved, the Bidding Procedures Order attached hereto as Exhibit 1 (the
“Bidding Procedures Order”).

        C.      Buyer desires to purchase the Acquired Assets free and clear of Liens, Claims and
Interests, but not assume any Claims of Seller, and Seller desires to sell, convey, assign and
transfer to Buyer, the Acquired Assets, all in the manner and subject to the terms and conditions
set forth in this Agreement and in accordance with Sections 105, 363 and 365 and other
applicable provisions of the Bankruptcy Code.

       D.      Buyer, in exchange for the transfer to Buyer of the Acquired Assets, desires to
provide certain consideration (as set forth below) to Seller.

        E.       The Acquired Assets are assets of Seller, which are to be purchased by Buyer
pursuant to a final, non-appealable order of the Bankruptcy Court, whose terms are acceptable to
Buyer in its sole and absolute discretion, approving such sale pursuant to Sections 105, 363 and
365 of the Bankruptcy Code with a finding of good faith on the part of Buyer (the “Sale Order”),
which Sale Order will include the authorization for the assumption by Seller and assignment to
Buyer of certain executory contracts and unexpired leases and liabilities thereunder under
Section 365 of the Bankruptcy Code, all in the manner and subject to the terms and conditions
set forth in this Agreement and the Sale Order and in accordance with the applicable provisions
of the Bankruptcy Code. The consummation of the transactions set forth in this Agreement is
subject, among other things, to the entry of the Sale Order as a final Order.


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                                STATEMENT OF AGREEMENT

       NOW, THEREFORE, in consideration of the foregoing and their respective
representations, warranties, covenants and agreements herein contained, and other good and
valuable consideration the receipt and sufficiency of which are hereby acknowledged, Seller and
Buyer agree as follows:

            ARTICLE 1. PURCHASE AND SALE OF THE ACQUIRED ASSETS.

               Section 1.1 Transfer of Acquired Assets. At the Closing, upon and subject to
the terms and conditions set forth in this Agreement, Seller shall sell to Buyer, and Buyer shall
acquire from Seller, all of Seller’s legal and equitable rights, title and interest in and to the
Acquired Assets free and clear of all Liens, Claims and Interests. For all purposes under this
Agreement, the term “Acquired Assets” shall not include any Excluded Assets, and shall mean
the following properties, assets, Interests and rights of Seller:

               (a)    [Reserved];

                (b)    all of Seller’s (i) woodworking equipment located at the Lexington
Property, that is necessary for the production of all the Products in the volumes and as currently
produced by Seller, a schedule of which shall be delivered by Seller to Buyer prior to the
Closing, (ii) equipment, machinery, furniture, fixtures and improvements, woodworking
equipment, engraving equipment, molds, forms, tooling and spare parts and any other tangible
personal property (including without limitation consumables located at the premises of the
Business) that is in any of the foregoing cases listed in this cause (ii) used for the ownership,
operation or management of the Business, in each of the foregoing cases to the extent listed on
Schedule 1.1(b), and (iii) molds, forms, tooling and spare parts which are not located at Seller’s
Huntsville, Alabama or Ilion, New York facilities that are necessary for the production of all the
Products in the volumes and as currently produced by Seller, a schedule of which shall be
delivered by Seller to Buyer prior to the Closing (the foregoing clauses (i), (ii) and (iii) being
collectively the “Owned FF&E”) (wherever such Owned FF&E is located, whether at any
Owned Real Property, any Leased Real Property or any third party location (including vendors
or supplier locations)), in each case other than real property and that Owned FF&E specifically
identified by Buyer for abandonment, and (iii) to the extent assignable, rights to any warranties
and licenses received from manufacturers and sellers of the Owned FF&E;

               (c)    all of Seller’s (i) equipment, machinery, furniture, fixtures and
improvements, woodworking equipment, engraving equipment, engraving equipment, roll
marking equipment, box label printers, scanners, molds, forms, tooling and spare parts, and any
other tangible personal property that is in any of the foregoing cases used for the ownership,
operation or management of the Business, that are in each case leased pursuant to any Contract
listed in Schedule 1.1(c), in each case other than real property and those items specifically
identified by Buyer for lease rejection or abandonment (the “Assigned FF&E Leases” and the
equipment, machinery, furniture, fixtures and improvements, tooling and spare parts so leased,
the “Leased FF&E”) (wherever such Leased FF&E is located, whether at any Owned Real
Property, any Leased Real Property or any third party location (including vendors or supplier



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locations)), (ii) rights under the Assigned FF&E Leases, and (iii) to the extent assignable, rights
to any warranties and licenses received from manufacturers and lessors of the Leased FF&E;

               (d)      all proceeds and recoveries from policies (but not, for the avoidance of
doubt, any Insurance Policies themselves) to the extent such proceeds and recoveries are
received in respect of any Acquired Assets regardless of when the related loss occurred (the
rights described in this Section 1.1(d) being collectively the “Acquired Policy Rights”);

              (e)    all Contracts set forth on Schedule 1.1(e) (collectively, the “Assigned
Business Contracts” and, together with the Assigned FF&E Leases, the “Assigned Contracts”);

                (f)     all (i) Intellectual Property owned or used by Seller primarily in
connection with the ownership, operation and/or management of the Business and any and all
corresponding rights that, now or hereafter, may be secured throughout the world, (ii) Intellectual
Property licensed to Seller primarily in connection with the ownership, operation and/or
management of the Business and (iii) Seller’s documents and records related to Seller’s actions
and communications regarding the protection and enforcement of such Intellectual Property (the
“Acquired Intellectual Property”); provided, that for the avoidance of doubt, the Acquired
Intellectual Property includes all Intellectual Property set forth on Schedule 12.1(a);

               (g)     [Reserved];

               (h)     all right, title and interest in and to all inventory, parts, supplies and
finished goods related to the Products or within the scope of the operations of the Business,
including, without limitation, those located on the Owned Real Property and the Leased Real
Property or (to the extent within the scope of the operations of the Business) in the possession of
any third-party bailees (collectively, the “Inventory”), including, without limitation, the
Inventory listed on Schedule 1.1(h);

               (i)     Claims held by Seller that relate to Acquired Assets;

               (j)      copies of (i) all preventative maintenance schedules and maintenance
documents and records, (ii) all documents related to litigation involving the Products or the
Business during the last ten (10) years (including any documents which may otherwise be subject
to the attorney-client, attorney work product or any other privilege), (iii) the Historic Firearms
Books and Records of Seller, and (iv) all documents, records and correspondence related to
protection and enforcement of the Acquired Intellectual Property; and

                (k)    All rights to or claims for refunds, overpayments or rebates of all Taxes
related to the Business or Acquired Assets other than refunds described in Section 1.2(g);

               (l)     all other tangible or intangible assets owned, controlled or used by Seller
and necessary for the ownership, operation and/or management by Buyer of the Business.

               Section 1.2 Excluded Assets. Notwithstanding any provision to the contrary in
Section 1.1, the Acquired Assets shall specifically exclude the following properties, Contracts,
Leases, and other assets, interests and rights of Seller (all such items not being acquired by Buyer
being referred to in this Agreement as the “Excluded Assets”):

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               (a)     all Owned Real Property;

               (b)     all Leases pursuant to which Seller has the right to possess, use, lease or
occupy (or grant others the right to possess, use, lease or occupy) any Leased Real Property,
together with all security and other deposits related thereto and prepaid rent associated therewith;

                (c)      all rights of every nature and description under or arising out of (including
rights to refunds or adjustments relating to, and proceeds and recoveries from): (i) all insurance
policies of Seller other than the Acquired Policy Rights (including, for the avoidance of doubt,
those covering Liabilities and Claims against Seller and its affiliates relating to the Employee
Liabilities); and (ii) all Employee Benefit Plans (the foregoing clauses (i) and (ii) collectively,
the “Excluded Insurance Policies”);

              (d)     any asset that is not owned or leased by Seller or not used or held for use
in connection with the ownership, operation and management of the Business;

                (e)     any minute books, stock ledgers, corporate seals and stock certificates of
Seller, and other books and records of Seller, including those that Seller is required by Law to
retain and all Tax Returns, financial statements and corporate or other entity filings; provided
that Seller shall provide Buyer with reasonable access to the same following the Closing to the
extent relating to the Acquired Assets and when reasonably requested by Buyer;

                (f)    all (i) prepaid premiums in respect of all Excluded Insurance Policies, (ii)
retainers, prepayments or on-account cash paid to Seller’s professionals and advisors, including
any carve-out under any DIP Facility or cash collateral arrangements (whether retained in the
Bankruptcy Case or otherwise), and (iii) other deposits, prepaid charges and expenses paid by
Seller to the extent such deposits, charges, or expenses are in connection with or relating to any
Excluded Asset;

              (g)    except as provided in Section 8.2(d)(v), all rights to or claims for refunds,
overpayments or rebates of Excluded Taxes, including any refunds, overpayments or rebates of
Excluded Taxes for any Straddle Period, other than, in any of the foregoing cases, any such
refunds, overpayments or rebates that are attributable to Taxes actually paid or otherwise borne
by Buyer;

               (h)     all shares of capital stock (and any other equity interests or rights
convertible into equity interests) issued by any Seller entity;

               (i)     all Documents exclusively relating to any Excluded Asset;

               (j)     all Documents relating to any Employees who do not become Transferred
Employees;

               (k)     all Employee Benefit Plans and all assets of, and Contracts relating to or
associated with, such plans;

               (l)    all Cash and all accounts or notes receivable held by Seller, and any
security, claim, remedy or other right related to any of the foregoing;

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               (m)     all Claims of Seller relating to the Excluded Assets;

               (n)     any rights of Seller under this Agreement or any Ancillary Agreement to
which Seller is a party, including without limitation any rights relating to the Purchase Price;

               (o)    original Historic Firearms Books and Records of Seller, except to the
extent Buyer requires copies of such records as provided in Section 1.1(j);

                 (p)    all original Documents of Seller held by Seller or Seller’s counsel relating
to (i) any litigation against Seller or (ii) the Employee Liabilities, though Buyer requires copies
of documents related to litigation involving the Products or the Business during the last ten (10)
years as provided in Section 1.1(j);

               (q)     the D&O Insurance, and all proceeds thereof;

                (r)    all Software other than Software included within the definition of
Intellectual Property or that is required to run the Business;

               (s)     the Remington Name;

                (t)    all leased equipment, machinery, molds, forms, tooling and fixtures that is
not subject to an Assigned FF&E Lease, that is subject to a lease specifically identified by Buyer
for rejection or abandonment or which does not relate to the Products;

                (u)   all rights of recovery, rights of set-off, rights of indemnity, contribution or
recoupment, warranties, guarantees, rights, remedies, counter-claims, cross-claims and defenses
related to any Excluded Liability;

              (v)     any Products not marked or manufactured in compliance with applicable
ATF rules, regulations and laws, unless Seller, at its own expense, brings such Products into
compliance prior to Closing;

                (w)    any properties, Leases, or other assets, interests and rights of Seller that do
not relate to the ownership, operation or management of the Business;

               (x)     any Contracts other than such Contracts that Buyer elects to assume
pursuant to Section 1.1(e);

               (y)     all Permits;

               (z)     all Avoidance Actions; and

              (aa) Claims held by Seller against any party that are covered by, relate to or are
based upon any Excluded Insurance Policy or the D&O Insurance.

                Section 1.3 No Assumption of Liabilities. Buyer shall not assume any
Liabilities, obligations or other Claims of Seller, its Affiliates or any of their respective Related
Persons, including, without limitation, any of the following Liabilities (all items in this Section


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1.3 being, collectively, the “Excluded Liabilities”), and Seller shall retain such Excluded
Liabilities:

              (a)     all Liabilities under or relating to the Excluded Assets;

               (b)    all Liabilities of Seller under or relating to the Priority Term Loan, the
FILO Facility, the Exit Term Loan or the Intercompany Note;

              (c)      all Liabilities of Seller under any Customer Orders, the Purchase Orders
(including Liabilities in respect of customer deposits, security deposits and prepaid items), or
Seller’s consumer rebate program(s);

              (d)     all Liabilities for Excluded Taxes;

             (e)     all Liabilities under the CBA, or any other agreement or arrangement with
any employee collective bargaining representative, whether or not formally recognized by Seller;

              (f)     all Liabilities under any Employee Benefit Plans, including the Pension
Plan;

              (g)     all Employee Liabilities;

              (h)    all Liabilities arising out of, or relating to the ownership or use of the
Business and/or the Acquired Assets prior to the Closing;

               (i)    all Liabilities of Seller arising under or incurred in connection with the
negotiation, preparation, execution and performance of this Agreement, the Ancillary
Agreements to which Seller is a party and the transactions contemplated hereby and thereby,
including, without limitation, fees and expenses of counsel, accountants, consultants, advisers
and others;

              (j)     all City of Huntsville Project Development Liabilities;

             (k)    all Liabilities arising from and in connection with grants of restricted
common unit/share awards and stock options by Seller;

             (l)    all Liabilities of Seller under this Agreement, or under any Ancillary
Agreement to which Seller is a party;

              (m)     all Liabilities under any Excluded Contracts and Leases;

              (n)     all State of Alabama Project Development Liabilities;

              (o)     the Retained Litigation;

               (p)    all Liabilities arising out of or relating to applicable Environmental Laws
and other Laws, including in connection with any contamination, clean-up or remediation
associated therewith, including those required for, identified in connection with, or resulting
from the movement or removal (other than actions by Buyer or its agents in violation of

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applicable Environmental Laws and other Laws) of the Acquired Assets from any Owned Real
Property or Leased Real Property;

              (q)     all Liabilities arising out of or relating to any product or service warranty
or any product or service liability, whether in respect of the Products, the Business or otherwise;
and

               (r)    the D&O Insurance (including the cost thereof and any deductibles or
retentions associated therewith) and all Liabilities and obligations to indemnify and hold
harmless any Seller D&Os or employees.

              Section 1.4 Designation of Leases and Contracts for Assumption by Seller and
Assignment to Buyer; Cure Amount.

                (a)    At such time as is specified in the Sale Order, pursuant to Section 365 of
the Bankruptcy Code, Seller shall assume and assign to Buyer, and Buyer shall take assignment
from Seller of, the Assigned FF&E Leases and the Assigned Contracts. The amounts necessary,
pursuant to Section 365 of the Bankruptcy Code, to cure any and all defaults and to pay all actual
or pecuniary losses that have resulted from any such defaults under any Assigned FF&E Lease or
Assigned Contract (such aggregate amount, the “Cure Amount”) shall be paid by Buyer, in each
case as and when finally determined by the Bankruptcy Court pursuant to the procedures set
forth in the Sale Order and this Agreement. Schedule 1.4(a) contains Seller’s estimate as of the
Effective Date of the Cure Amount. Buyer may, in its sole discretion, amend Schedule 1.1(c)
and/or Schedule 1.1(e) to add or remove any Contracts or Leases from such Schedules at any
time prior to the date of a final hearing to approve the sale of the Acquired Assets (the “Sale
Hearing”), upon written notice to Seller, and the definitions of Acquired Assets, Excluded Assets
and Excluded Liabilities shall be updated to correspond to such changes.

                (b)   Seller shall timely serve the motion seeking entry of the Sale Order to all
parties to Assigned FF&E Leases and Assigned Contracts and, subject to Section 1.5, Seller shall
cause the Assigned Leases and Assigned Contracts to be assumed by Seller and assigned to
Buyer pursuant to Section 365 of the Bankruptcy Code, and Seller shall comply with all
requirements under Section 365 of the Bankruptcy Code necessary to assign and delegate to
Buyer all of Seller’s rights and obligations under the Assigned FF&E Leases and Assigned
Contracts, and Buyer shall pay all Cure Amounts with respect to the Assigned FF&E Leases and
Assigned Contracts prior to assignment to Buyer.

               Section 1.5 Non-Assignment of Acquired Assets.               Notwithstanding any
provision of this Agreement to the contrary, this Agreement shall not constitute an agreement to
assign or transfer and shall not effect the assignment or transfer of any Acquired Asset if (a) an
attempted assignment thereof, without the approval, authorization or consent of, or granting or
issuance of any license or permit by, any party thereto other than Seller (each such action, a
“Necessary Consent”), would constitute a breach thereof (after giving effect to any waiver by the
applicable counterparty, or any elimination of such approval, authorization or consent
requirement by operation of the Sale Order) or in any way adversely affect the rights or
obligations of Buyer thereunder and such Necessary Consent is not obtained and (b) the
Bankruptcy Court shall not have entered a final Order prior to Closing providing that such


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Necessary Consent is not required because the transfer thereof shall be deemed by the
Bankruptcy Court to be (x) effective and (y) not a breach thereof, notwithstanding the failure to
obtain such Necessary Consent. In such event, Seller and Buyer will use their commercially
reasonable efforts, other than as to Non-Debtor Affiliates for whom Seller shall use best efforts,
to obtain the Necessary Consents with respect to any such Acquired Asset or any claim or right
or any benefit arising thereunder for the assignment thereof to Buyer as Buyer may reasonably
request; provided, however, that for parties other than Non Debtor Affiliates, Seller shall not be
obligated to pay any consideration therefor to any third-party from whom consent or approval is
requested or to initiate any litigation or legal proceedings to obtain any such consent or approval;
provided, further, that if all Necessary Consents are not obtained despite Seller’s commercially
reasonable efforts to obtain such Necessary Consents, Buyer shall remain obligated to close the
transactions contemplated by this Agreement upon the satisfaction of the conditions set forth in
Section 9.2(b).

               Section 1.6     Further Conveyances and Assumptions.

               (a)    Seller shall deliver to Buyer at the Closing, or in a reasonably timely
manner thereafter, such Employee Records as are reasonably necessary for Buyer to transition
the Transferred Employees into Buyer’s records, as well as all other Documents included in the
Acquired Assets.

               (b)      At the Closing, and from time to time thereafter, Seller and Buyer shall,
and Seller and Buyer shall cause their respective Affiliates to, execute, acknowledge and deliver
all such further actions, as may be reasonably necessary or appropriate to sell, transfer, convey,
assign and deliver fully to Buyer and its respective successors or permitted assigns, all of the
properties, rights, titles, interests, estates, remedies, powers and privileges intended to be
conveyed to Buyer under this Agreement, and to otherwise make effective or evidence the
transactions contemplated by this Agreement.

                Section 1.7 Conflicts with Other Bidders. In the event of any conflict
regarding the Acquired Assets between this Agreement and agreements governing other sales of
the Seller’s assets in the Bankruptcy Case (the “Other Agreements”) defined herein or therein,
Buyer shall cooperate in good faith with Seller, whether before or after the Closing Date, to
ensure all assets are allocated between the parties in order to reflect the intent of Buyer hereunder
and any such other purchasers of Seller’s assets pursuant to the Other Agreements. Without
limitation to the foregoing, Buyer agrees to enter into a non-exclusive, perpetual, worldwide,
royalty-free license in favor of the buyer or buyers of the Non-Marlin Business to use Patents
Nos. 10,254,063 and 10,718,584 in the Non-Marlin Business. "Non-Marlin Business" shall have
the meaning provided to the term “Business” as set forth in the Asset Purchase Agreement
between Seller and the Roundhill Group, LLC executed as of the date hereof or if the
transactions contemplated by such Asset Purchase Agreement are not consummated, shall mean
the design, development, testing, manufacture, marketing, sale and distribution of firearms and
related components not using the Marlin name.




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                                ARTICLE 2. CONSIDERATION

               Section 2.1 Consideration. The aggregate consideration for the sale and
transfer to Buyer of the Acquired Assets (the “Purchase Price”) shall be an amount equal to
Thirty Million United States Dollars (US$30,000,000) (the “Gross Closing Cash Payment”), to
be adjusted pursuant to Section 2.2(b), and paid and delivered in accordance with Section 3.3(a).

               Section 2.2    Good Faith Deposit.

                (a)     Concurrently with the execution and delivery of this Agreement,
notwithstanding anything to the contrary in this Agreement, Buyer shall pay to Seller the amount
of Three Million United States Dollars (US$3,000,000) by wire transfer of immediately-
available funds (the “Good Faith Deposit”). The Good Faith Deposit shall not be subject to any
Lien, attachment, trustee process or any other judicial process of any creditor of either of Seller
or Buyer and shall be deposited in a segregated deposit account of Seller and held in trust to be
administered solely in accordance with the terms of this Agreement and the Bidding Procedures
Order. Upon the Closing, the Good Faith Deposit shall be an Excluded Asset and shall not be
subject to any restrictions under this Agreement.

              (b)     If the Closing occurs, the Gross Closing Cash Payment shall be reduced
by the amount of the Good Faith Deposit (such resulting amount, the “Net Closing Cash
Payment”), to be paid and delivered in accordance with Section 3.3(a).

               (c)    If this Agreement is terminated pursuant to Section 10.1, the Good Faith
Deposit shall be repaid to Buyer or retained by Seller in the amounts and at the times set forth in
Section 10.2(a) through Section 10.2(c).

                (d)     Buyer (or Affiliate thereof) shall be entitled to deduct and withhold, and
Buyer (or Affiliate thereof) shall deduct and withhold, any amounts that it is required to deduct
and withhold pursuant to any provision of applicable Tax Law in connection with any payments
required to be made by Buyer (or Affiliate thereof) pursuant to the terms of this Agreement. To
the extent that amounts are so withheld by Buyer (or Affiliate thereof), such withheld amounts
shall be treated for all purposes of this Agreement as having been paid to the Person otherwise
entitled to receive such payments pursuant to this Agreement.

                          ARTICLE 3. CLOSING AND DELIVERIES

                Section 3.1 Closing. Subject to the terms and conditions set forth herein, the
consummation of the transactions contemplated by this Agreement (the “Closing”) shall take
place remotely by the electronic exchange of documents and signatures, or such other place as
may be agreed upon, at 7:00 a.m., local Pacific Time, on the fifth (5th) Business Day following
the satisfaction or, to the extent permitted by this Agreement, waiver of each of the conditions set
forth in Article 9 of this Agreement (other than those conditions that, by their nature, are to be
satisfied at the Closing, but subject to the satisfaction, or waiver to the extent permitted by this
Agreement, of such conditions), or such other date as may be agreed to by Seller and Buyer,
which date shall not be earlier than the first day following the Sale Order becoming final and not
subject to appeal (the “Closing Date”).


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               Section 3.2    Seller’s Deliveries. At the Closing, Seller shall deliver or cause to
be delivered to Buyer:

               (a)    all of the Acquired Assets, together with one or more duly executed bills
of sale, warranty deeds, endorsed certificates of title and other evidence of transfer and
instruments of conveyance appropriate for the applicable Acquired Assets, each as reasonably
requested by Buyer and otherwise in form and substance customary for transactions of this
nature and reasonably acceptable to Buyer and Seller;

               (b)    one or more duly executed assignment agreements for the Assigned
Contracts, in form and substance customary for transactions of this nature and reasonably
acceptable to Buyer and Seller (each, an “Assignment Agreement”);

               (c)    one or more duly executed assignment agreements for the Assigned FF&E
Leases, in form and substance customary for transactions of this nature and reasonably
acceptable to Buyer and Seller (each, an “Assignment of Lease”);

                (d)     one or more duly executed assignments of (i) the trademark and patent
registrations and applications included in the Acquired Intellectual Property registered in the
name of Seller, in a form suitable for recording in the U.S. Patent and Trademark Office (and
equivalent offices in jurisdictions outside the United States), (ii) the Internet domain name
registrations and applications included in the Acquired Intellectual Property registered in the
name of Seller, in a form suitable for filing with all applicable domain name registries (and
Seller shall have completed any and all online procedures with all applicable domain name
registries and provided Buyer with all login and account information to allow Buyer to take over
ownership and management of such Internet domain name registrations and applications), (iii)
the social media accounts included in the Acquired Intellectual Property (and Seller shall have
completed any and all online procedures with all applicable social media outlets and provided
Buyer with all login and account information to allow Buyer to take over ownership and
management of such social media accounts), and (iv) general assignments of all other Acquired
Intellectual Property, in each case in form and substance customary for transactions of this nature
and reasonably acceptable to Buyer and Seller (each, an “Acquired Intellectual Property
Assignment”);

               (e)    copies of all approved ATF-required forms necessary to transfer firearms
regulated by the National Firearms Act to Buyer;

               (f)    the officer’s certificate required to be delivered pursuant to Section 9.2(a)
and Section 9.2(b);

               (g)    a certified copy of the Sale Order;

              (h)    with respect to each entity comprising Seller, a certificate in compliance
with Treasury Regulation Section 1.1445-2, certifying that the transactions contemplated hereby
are exempt from withholding under Section 1445 of the Code.




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               Section 3.3    Buyer’s Deliveries. At the Closing, Buyer shall deliver or cause to
be delivered to Seller:

               (a)     cash in an amount equal to the Net Closing Cash Payment, by wire
transfer of immediately available funds to the U.S. bank account or accounts of Seller identified
by Seller in writing reasonably in advance of the Closing;

               (b)     one or more duly executed Assignment Agreements;

               (c)     one or more duly executed Assignments of Leases;

               (d)     one or more duly executed Acquired Intellectual Property Assignments;
and

               (e)     the officer’s certificate required to be delivered pursuant to Section 9.1(a)
and Section 9.1(b).

                     ARTICLE 4. REPRESENTATIONS AND WARRANTIES

              Section 4.1 Representations and Warranties of Seller. Seller represents and
warrants to Buyer as follows:

                (a)     Corporate Organization. Each entity comprising Seller is duly formed or
incorporated and validly existing and in good standing under the laws of its respective state of
domicile. Subject to any necessary authority from the Bankruptcy Court, each entity comprising
Seller has the requisite corporate or limited liability company power and authority to conduct the
Business as now being conducted and to carry out its obligations under this Agreement. Seller is
duly qualified to do business and is in good standing in every jurisdiction in which the character
of the properties owned or leased by it or the nature of the business(es) conducted by it makes
such qualification necessary.

               (b)     Authorization and Validity. Each entity comprising Seller has the
corporate or limited liability company power and authority necessary to enter into this
Agreement and each Ancillary Agreement and, subject to the Bankruptcy Court’s entry of the
Sale Order, to carry out its obligations hereunder and thereunder. The execution and delivery of
this Agreement has been duly authorized by all necessary corporate or limited liability company
action by the boards of directors or managers of Seller, and no other corporate or limited liability
company proceedings are necessary for the performance by Seller of its obligations under this
Agreement or the consummation by Seller of the transactions contemplated by this Agreement.
This Agreement has been duly and validly executed and delivered by Seller and, subject to the
Bankruptcy Court’s entry of the Sale Order and assuming due authorization, execution and
delivery by Buyer, is a valid and binding obligation of Seller enforceable against Seller in
accordance with its terms.

             (c)     No Conflict or Violation. Neither the execution and delivery by Seller of
this Agreement or any of the Ancillary Agreements to which Seller is a party, nor (subject to the
Bankruptcy Court’s entry of the Sale Order) the consummation of the transactions contemplated
by this Agreement or the Ancillary Agreements, nor compliance by Seller with any of the

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provisions hereof or thereof, will (x) conflict with or result in any breach of any provision of the
respective certificates of incorporation or formation of Seller or the respective by-laws or
operating agreements of Seller, (y) violate any provision of law, regulation, rule or other legal
requirement of any Government (“Law”) or any order, judgment or decree of any court or
Government (“Order”) applicable to Seller or any of its properties or assets, except, in either of
the foregoing cases (x) and (y), for any conflict or violation as would not reasonably be expected
to cause a Material Adverse Effect.

               (d)    Government Persons. Seller is not required to submit any notice, report or
other filing with, and no consent, approval or authorization is required by, any Government
Person in connection with the execution, delivery, consummation or performance of this
Agreement or the consummation of the transactions contemplated hereby.

               (e)     Title and Ownership. Seller has good title to, or right by license, lease or
other agreement to use, the Acquired Assets. Subject to the entry of the Sale Order, at the
Closing, Seller will have the right to transfer the Acquired Assets to Buyer free and clear of all
Liens, other than Permitted Liens. The Acquired Assets represent all of the assets used by Seller
in the conduct of the Business.

               (f)    Compliance with Law. Except as set forth on Schedule 4.1(f), (i) Seller
has operated the Business in material compliance with all applicable Laws, and (ii) except as
may result from the Bankruptcy Case, Seller has not received written notice of any violation of
any applicable Laws, nor is Seller in default with respect to any Order applicable to the Acquired
Assets.

               (g)     Contracts and Leases. As of the Effective Date, other than as set forth on
Schedule 4.1(g) or in motions or other pleadings or similar items filed with the Bankruptcy
Court, neither Seller nor, to Seller’s Knowledge, any other party to any of the Assigned
Contracts or Assigned FF&E Leases has commenced any action against any of the parties to
such Assigned Contracts or Assigned FF&E Leases or given or received any written notice of
any default or violation under any Assigned Contract or Assigned FF&E Lease that was not
withdrawn or dismissed, except only for those defaults that will be cured in accordance with the
Sale Order (or that need not be cured under the Bankruptcy Code to permit the assumption and
assignment of the Assigned Contracts and Assigned FF&E Leases free and clear of such
defaults). Assuming due authorization, execution, delivery and performance by the other parties
thereto, each of the Assigned Contracts and Assigned FF&E Leases is, or will be at the Closing,
valid, binding and in full force and effect against Seller, except as otherwise set forth on
Schedule 4.1(g).

               (h)    Permits. Schedule 4.1(h) sets forth a complete and correct list of all
material Permits currently held by Seller in connection with the Business (“Material Permits”),
and all Material Permits at the current locations of the Business are, except as would not cause a
Material Adverse Effect, in full force and effect.

                 (i)     Intellectual Property. Schedule 12.1(a) sets forth a complete and correct
list of all registrations and applications of the trademarks, patents and domain names owned and
primarily used by Seller in connection with the Business. The patents set forth on Schedule


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12.1(a) include all the patents currently used for the manufacture of the Products currently
produced by the Seller.

               (j)    Condition of Acquired Assets. The Owned FF&E and Leased FF&E
included in the Acquired Assets in the aggregate is in good condition and working order, normal
wear and tear excepted and are free from deferred maintenance, and each individual item which
would cost in excess of $5,000 to replace is in good condition and working order, normal wear
and tear excepted and is free from deferred maintenance.

               (k)    Trademarks. Schedule 12.1(a) includes a complete and correct list of all
unregistered trademarks and service marks owned and primarily used by Seller in the Business.

              (l)    Seller Not a Foreign Person. Seller is not a “foreign person” within the
meaning of Section 1445 or 1446 of the Code.

               (m)     Necessary FF&E. The Owned FF&E and the Leased FF&E include the
equipment, machinery, furniture, fixtures and improvements, woodworking equipment,
engraving equipment, molds, forms, tooling and spare parts and any other tangible personal
property (including without limitation consumables located at the premises of the Business) that
is necessary for the production of all the Products as currently produced by the Seller.

               Section 4.2 Representations and Warranties of Buyer. Buyer represents and
warrants to Seller as follows:

               (a)    Corporate Organization. Buyer is a corporation duly incorporated, validly
existing and in good standing under the Laws of the State of Delaware. Buyer has the requisite
corporate power and authority to own its properties and assets and to conduct its business as now
conducted and to carry out its obligations under this Agreement and each of the Ancillary
Agreements to which Buyer is a party.

                 (b)     Qualification to do Business. Buyer is duly qualified to do business and is
in good standing in every jurisdiction in which the character of the properties owned or leased by
it or the nature of the business(es) conducted by it makes such qualification necessary.

                (c)   Authorization and Validity. Buyer has the requisite corporate power and
authority necessary to enter into this Agreement and each of the Ancillary Agreements to which
Buyer is a party, and to carry out its obligations hereunder and thereunder. The execution and
delivery of this Agreement and those Ancillary Agreements to which Buyer is a party have been
duly authorized by all necessary corporate action by the board of directors (or equivalent), and
no other corporate proceedings are necessary for the performance by Buyer of its obligations
under this Agreement and each of the Ancillary Agreements to which Buyer is a party, or the
consummation by Buyer of the transactions contemplated hereby or thereby. This Agreement
and each of the Ancillary Agreements to which Buyer is a party have been duly and validly
executed and delivered by it and are valid and binding obligations of Buyer enforceable against it
in accordance with their respective terms.

             (d)   No Conflict or Violation. Neither the execution and delivery by Buyer of
this Agreement or any of the Ancillary Agreements to which Buyer is a party, nor the

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consummation of the transactions contemplated hereby or thereby, nor compliance by Buyer
with any of the provisions hereof or thereof, will (i) conflict with or result in any breach of any
provision of the certificate of incorporation or by-laws (or equivalent documents) of Buyer, (ii)
violate any provision of Law, or any Order applicable to Buyer or any of its properties or assets,
or (iii) automatically result in a modification, violation or breach of, or constitute (with or
without notice or lapse of time or both) a default (or give rise to any right, including but not
limited to, any right of termination, amendment, cancellation or acceleration) under, any of the
terms, conditions or provisions of any contract, indenture, note, bond, lease, license or other
agreement to which Buyer is a party or by which it is bound or to which any of its properties or
assets is subject.

               (e)    Consents and Approvals. The execution, delivery and performance of this
Agreement and the Ancillary Agreements to which Buyer is a party do not and will not require
the consent or approval of, or filing with, any Government or any other Person, other than (i) as
may be required to be obtained by Buyer after the Closing in order to own or operate any of the
Acquired Assets; (ii) for entry of the Sale Order by the Bankruptcy Court; or (iii) for such
consents, approvals and filings, of which the failure to obtain or make would not, individually or
in the aggregate, have a material adverse effect on the ability of Buyer to consummate the
transactions contemplated by this Agreement or by the Ancillary Agreements to which Buyer is a
party.

              (f)   Adequate Assurances Regarding Assigned Contracts and Assigned FF&E
Leases. Buyer is and will be capable of satisfying the conditions contained in Sections
365(b)(1)(C) and 365(f) of the Bankruptcy Code with respect to the Assigned Contracts and
Assigned FF&E Leases.

               (g)   Financial Capability. Buyer and any Buyer Acquisition Vehicle currently
has, or at Closing will have available, funds necessary to consummate the transactions
contemplated by this Agreement, including the acquisition of the Acquired Assets, and the
payment therefor to Seller of the Purchase Price, and to perform its obligations under this
Agreement and the Ancillary Agreements to which Buyer is a party on the terms and subject to
the conditions contemplated hereby and thereby

               (h)     Investigation by Buyer. Buyer has conducted its own independent review
and analysis of the Business, the Acquired Assets, operations, technology, assets, liabilities,
financial condition and prospects of the Business as formerly carried on by Seller and
acknowledges that Seller has provided Buyer with reasonable access to the personnel, properties,
premises and records of the Business for this purpose. Buyer has conducted its own independent
review of all Orders of, and all motions, pleadings, and other submissions to, the Bankruptcy
Court in connection with the Bankruptcy Case. In entering into this Agreement, Buyer has relied
solely upon its own investigation and analysis, and Buyer (i) acknowledges that neither Seller
nor any of its Affiliates or Related Persons makes or has made any representation or warranty,
either express or implied, as to the accuracy or completeness of any of the information provided
or made available to Buyer or its Affiliates or Related Persons, except for the representations and
warranties contained in Section 4.1 (which are subject to the limitations and restrictions
contained in this Agreement); and (ii) agrees, to the fullest extent permitted by Law, that none of
Seller, its Affiliates or any of their respective Related Persons shall have any liability or

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responsibility whatsoever to Buyer or its Affiliates or Related Persons on any basis (including,
without limitation, in contract or tort, under federal or state securities Laws or otherwise, but
excluding misrepresentation or concealment arising from actual fraud of Seller) based upon any
information provided or made available, or statements made, to Buyer or its Affiliates or Related
Persons (or any omissions therefrom), including, without limitation, in respect of the specific
representations and warranties of Seller set forth in this Agreement, except, with regard to Seller,
for the representations and warranties contained in Section 4.1 and, with respect to such
representations and warranties, subject to the limitations and restrictions contained in this
Agreement.

               Section 4.3     Warranties Exclusive; Schedules.

               (a)   The representations and warranties contained in Article 4 are the only
representations or warranties given by the parties to this Agreement and all other express or
implied warranties are disclaimed. Without limiting the foregoing, the Acquired Assets are
otherwise conveyed “AS IS, WHERE IS, WITH ALL FAULTS, AND WITHOUT ANY
WARRANTY WHATSOEVER, EXPRESS OR IMPLIED”, except to the extent set forth in this
Agreement.

                (b)   Should any Exhibit or Schedule not be completed and attached to this
Agreement as of the Effective Date, Seller and Buyer will promptly negotiate in good faith any
such Exhibit or Schedule, which Exhibit or Schedule must be acceptable to each of Seller and
Buyer in their reasonable discretion prior to being attached hereto.

                (c)    The disclosure of any matter or item in any schedule hereto shall not be
deemed to constitute an acknowledgement that any such matter is required to be disclosed or is
material or that such matter would result in a Material Adverse Effect.

               Section 4.4 Survival of Representations and Warranties.               None of the
representations or warranties of Buyer or Seller set forth in this Agreement or any Ancillary
Agreement to which Buyer or Seller is a party or in any certificate delivered pursuant to Section
9.1(a), Section 9.1(b), Section 9.2(a) or Section 9.2(b) shall survive the Closing (and, for the
avoidance of doubt, all covenants set forth in this Agreement or any Ancillary Agreement to
which Buyer or Seller is a party shall survive in accordance with their respective terms).

                         ARTICLE 5. COVENANTS OF THE PARTIES

               Section 5.1     Covenants of Seller. Seller covenants as follows:

               (a)     Commercially Reasonable Efforts. Between the Effective Date and the
Closing Date, Seller shall use commercially reasonable efforts to (except as may be disclosed to
Buyer) (i) obtain all necessary consents, waivers, authorizations and approvals of all
Governments, and of all other Persons, required to be obtained by Seller in connection with the
execution, delivery and performance by it of this Agreement and the Ancillary Agreements to
which Seller is a party, (ii) take, or cause to be taken, all actions, and to do, or cause to be done,
all things necessary or proper, consistent with applicable Law, to consummate and make
effective in an expeditious manner the transactions contemplated by this Agreement and the


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Ancillary Agreements, and (iii) maintain the Acquired Assets substantially in accordance with
Seller’s current practices and procedures (as adjusted for the effects of any COVID Restrictions).

                (b)    Access to Properties and Documents; Confidentiality. Seller shall afford
to Buyer, and to the accountants, counsel and representatives of Buyer, reasonable access
(subject to any COVID Restrictions) during normal business hours throughout the period from
the Effective Date until the Closing Date (or the earlier termination of this Agreement pursuant
to Article 10) to all Documents of Seller relating to the Acquired Assets. Upon reasonable prior
notice, Seller shall also afford Buyer reasonable access, taking into account any COVID
Restrictions and Seller’s resources and other commitments, during normal business hours, to all
Acquired Assets, and to Seller’s executive officers, accountants, counsel, employees and other
representatives, throughout the period prior to the Closing Date (or the earlier termination of this
Agreement pursuant to Article 10). Seller shall afford to Buyer and Buyer’s representatives
access to the Business to observe, assess, or otherwise review Seller’s operation of the Business.
The rights of access contained in this Section 5.1(b) are granted subject to, and on, the following
terms and conditions: (i) any such investigation shall be conducted in a reasonable manner; (ii)
all information provided to Buyer or its agents or representatives by or on behalf of Seller or its
agents or representatives (whether pursuant to this Section 5.1(b) or otherwise) will be governed
and protected by the Confidentiality Agreement, dated as of June 30, 2020 by and between
Buyer and ROC (the “Confidentiality Agreement”) and the Clean Team Agreement, dated as of
August 7, 2020 by and between Buyer and ROC; and (iii) such rights of access shall not affect or
modify the conditions set forth in Article 9 or the obligations set forth in Section 6.5 in any way.

                (c)    Operation of the Business. Except as otherwise contemplated or permitted
by this Agreement or the Ancillary Agreements, would not constitute a Material Adverse Effect,
or with the prior consent of Buyer (such consent not to be unreasonably withheld, conditioned or
delayed), or in connection with any Order relating to the Bankruptcy Case, between the Effective
Date and the Closing Date, Seller shall (i) use best efforts to safeguard and maintain the
Acquired Assets in their condition as of the Effective Date (except for ordinary wear and tear)
and prevent any destruction thereof or material damage thereto between the Effective Date and
the Closing Date, (ii) not enter into, materially amend or terminate any Assigned Contract or
Assigned FF&E Lease outside of the ordinary course of business where such amendment or
termination would have a material and adverse effect on the value of the Acquired Assets taken
as a whole and (iii) notify Buyer of any notices relating to or proposed changes affecting Seller's
insurance policies covering any of the Acquired Assets. Notwithstanding the foregoing, nothing
in this Agreement shall restrict Seller from rejecting any Contract or Lease that is not an
Assigned Contract or Assigned FF&E Lease.

               Section 5.2    Covenants of Buyer. Buyer covenants as follows:

              (a)     Commercially Reasonable Efforts. Buyer shall use all commercially
reasonable efforts to (i) obtain all consents and approvals of all Governments, and all other
Persons, required to be obtained by Buyer to effect the transactions contemplated by this
Agreement and the Ancillary Agreements, and (ii) take, or cause to be taken, all action, and to
do, or cause to be done, all things necessary or proper, consistent with applicable Law, to
consummate and make effective in an expeditious manner the transactions contemplated by this
Agreement and the Ancillary Agreements.

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               (b)     Adequate Assurances Regarding Assigned Contracts and Assigned FF&E
Leases. With respect to each Assigned Contract and Assigned FF&E Lease, Buyer shall
undertake reasonable efforts to provide adequate assurance of the future performance of such
Assigned Contract or Assigned FF&E Lease by Buyer; provided that, for clarity the failure to
provide adequate assurance shall not be a breach of this Section 5.2(b) if Buyer has undertaken
reasonable efforts to provide such assurance. Buyer agrees that it will promptly take all actions
as are reasonably requested by Seller to assist in obtaining the Bankruptcy Court’s entry of the
Sale Order, including, without limitation, furnishing affidavits, financial information or other
documents or information for filing with the Bankruptcy Court and making Buyer’s employees
and representatives available to testify before the Bankruptcy Court.

                (c)    Cure of Default. Buyer shall, without any adjustment to the Purchase
Price, as of the Closing or, in respect of any Assigned Contracts or Assigned FF&E Leases for
which the Bankruptcy Court does not enter an Order fixing the Cure Amount until after the
Closing, then immediately following the entry of such Order, cure any and all defaults under the
Assigned Contracts and Assigned FF&E Leases, including paying the applicable Buyer’s Cure
Amount, which defaults are required to be cured under the Bankruptcy Code, so that such
Assigned Contracts and Assigned FF&E Leases may be assumed by Seller and assigned to Buyer
in accordance with the provisions of Section 365 of the Bankruptcy Code.

                (d)    Performance under Assigned Contracts and Assigned FF&E Leases.
Buyer shall (i) from and after the Closing Date, assume all obligations and liabilities of Seller
under the Assigned Contracts and Assigned FF&E Leases, (ii) from and after the Closing Date,
take all actions necessary to satisfy its obligations and liabilities under the terms and conditions
of each of the Assigned Contracts and Assigned FF&E Leases, and (iii) indemnify, defend and
hold harmless Seller, Seller’s Affiliates, and all of their respective Related Persons from and
against any damages, losses, costs, expenses and other liabilities arising out of a breach of this
Section 5.2(d) or any of Buyer’s other covenants contained in this Agreement or any Ancillary
Agreements to which Buyer is a party.

                (e)      Released Claims. Effective as of the Closing Date, Buyer, on behalf of
itself and its Affiliates and each of their respective employees, directors, officers, shareholders,
and advisors, hereby covenants and agrees that it shall not (i) assert any Claims that constitute
Acquired Assets to the extent such Claims have been, or are at any time thereafter, released by or
on behalf of Seller or any other Person pursuant to the Plan, an Order of the Bankruptcy Court,
or otherwise or (ii) pursue, prosecute or assert any rights related to any Claims against
employees, officers, directors, counsel and other advisors of Seller, including by way of offset or
recoupment.

                          ARTICLE 6. ADDITIONAL AGREEMENTS

               Section 6.1     Bankruptcy Matters.

                 (a)     Backup Bidder. In the event that Buyer is designated as the “Backup
Bidder” in accordance with and as defined in the Bidding Procedures Order, Buyer agrees that it
will keep the Backup Bid (as defined in the Bidding Procedures Order) open and irrevocable
until the earlier of (i) 5:00 p.m. (prevailing Central Time) on the date that is sixty (60) days after


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the date of entry of the Bankruptcy Court’s Order approving the Alternative Transaction and (ii)
the closing date of the Alternative Transaction. Notwithstanding anything to the contrary in this
Agreement, Seller may also identify and enter into agreements respecting (x) a “back-up” bid
relating to an Alternative Transaction, and/or (y) a liquidation sale of all or a portion of the
Inventory and the other assets of Seller, in either case to become effective in the event Buyer
does not perform in accordance with the terms of this Agreement.

               (b)      Notice to Holders of Liens, Claims and Interests. Seller has provided
notice of the Sale to all holders of Liens, Claims and Interests in accordance with the Bankruptcy
Code, the Federal Rules of Bankruptcy Procedure, the Local Rules for the Bankruptcy Court and
any other applicable Order of the Bankruptcy Court.

                (c)     Entry of Sale Order. Seller has filed or will file with the Bankruptcy
Court one or more motions which, collectively, seek the entry of the Sale Order. The Sale Order
provides that, without limitation and notwithstanding anything to the contrary in this Agreement
(including any Assigned Contract), Buyer is not liable for, and is taking the Acquired Assets free
of, any Excluded Liability. Seller and Buyer shall use reasonable best efforts to cooperate, assist
and consult with each other to secure the entry of the Sale Order, and to consummate the
transactions contemplated by this Agreement, including furnishing affidavits or other documents
or information for filing with the Bankruptcy Court for the purposes, among others, of providing
necessary assurances of performance by Buyer under this Agreement. In the event that any
Orders of the Bankruptcy Court relating to this Agreement shall be appealed by any Person (or a
petition for certiorari or motion for reconsideration, amendment, clarification, modification,
vacation, stay, rehearing or reargument shall be filed with respect to any such Order), Seller and
Buyer will cooperate in determining and pursuing the response to any such appeal, petition or
motion and Seller and Buyer shall use their commercially reasonable efforts to obtain an
expedited resolution of any such appeal, petition or motion. For purposes of this Section 6.1(c)
only, commercially reasonable efforts shall without limitation require each party to this
Agreement to pay its costs and expenses reasonably required in connection with preparing and
seeking entry of the Sale Order by the Bankruptcy Court and resolution of any appeal therefrom;
provided the cost and expenses of the resolution of any appeal therefrom shall be the sole
responsibility of Seller.

               Section 6.2 Further Assurances. At the request and the sole expense of the
requesting party, either party shall, at any time after the Closing Date, execute and deliver such
documents as the other party or its counsel may reasonably request to effectuate the purposes of
this Agreement.

               Section 6.3    Reserved.

               Section 6.4    Reserved.

               Section 6.5 Transitional License. Effective upon the Closing, for a period not
to exceed one hundred eighty (180) calendar days, Buyer shall grant Seller a non-exclusive,
royalty-free, non-transferrable, non-extendable right and license to use the “Marlin” name and
the trademarks and service marks included in the Acquired Assets, solely in connection with the
wind-down and liquidation of Seller’s estate and the conclusion of the Bankruptcy Case,


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including for purposes of administering a plan of liquidation of the Excluded Assets, reconciling
claims and making distributions.

                 Section 6.6 Access Covenant. Upon reasonable request from Seller, during
reasonable hours, and subject to the terms of the Confidentiality Agreement, Buyer will, for a
period of two (2) years following the Closing Date, provide to Seller, and the accountants,
counsel and representatives of Seller, including any administrator of the Plan or Seller’s estate,
such access to any pre-closing books and records relating to the Business in Buyer’s possession
as is reasonably necessary to permit Seller to monetize any Excluded Assets and otherwise
liquidate its estate after the Closing and confirmation of the Plan and to conclude the Bankruptcy
Case, including the administration of the Plan, reconciliation and litigation of claims and making
of distributions contemplated under the Plan, or otherwise. Such access will include (a)
reasonable access to Buyer’s personnel, information technology systems and books and records
and (b) the use of office space for individuals and office support of appropriate secretaries or
clerks for employees of Seller engaged in such wind-down and liquidation process. Buyer will
reasonably cooperate with Seller in the provision of such services, provided that Seller will
reimburse Buyer for reasonable out-of-pocket costs and expenses incurred by Buyer in
connection with providing such services (which for the avoidance of doubt will not include
salaries paid to Buyer’s consultants or employees or Buyer’s overhead but may include
temporary service workers (at customary and reasonable hourly costs) if needed based upon the
reasonable time demands of the regular work of Buyer’s employees and the reasonable time
demands of Seller’s employees engaged in the liquidation).

               Section 6.7 Indemnification for Use of Real Property. Buyer shall indemnify,
defend and hold harmless (i) Seller, (ii) the lessors of any Leased Real Property, and (iii) Seller’s
and such lessors’ respective Affiliates and Related Persons from and against all claims, demands,
causes of action, losses, damages, liabilities, costs and expenses (including, without limitation,
attorneys’ fees and disbursements) suffered or incurred by such Seller, Affiliate or Related
Persons in connection with (A) Buyer’s or Buyer’s agents’ or representatives’ entry upon the
Owned Real Property or the Leased Real Property in connection with their exercise of the right
of access pursuant to Section 6.6, and (B) any and all other activities undertaken by Buyer or
Buyer’s agents or representatives with respect to any such Owned Real Property or Leased Real
Property in connection with their exercise of the right of access pursuant to Section 6.6.

               Section 6.8 Removal of Assets. At Closing, Seller will have caused all of the
Acquired Assets to be located at the Owned Real Property or the Leased Real Property. At
Closing, all Owned FF&E and Leased FF&E that is included in the Acquired Assets will have
been disconnected by Seller from physical connection with Seller’s property and all surfaces of
said Owned FF&E and Leased FF&E will have been cleaned as to be free from any chemical
residue, waste material, Hazardous Substances, pollution or petroleum products or by-products
(“Prohibited Material”); provided however, that, in the event that Seller continues to operate the
Business between the Effective Date and the Closing, Seller will provide Buyer with the
opportunity (following reasonable advance written notice) and right to have one or more
observers designated by Buyer present at the time of any and all disconnections and cleanings of
the Acquired Assets. At Closing, Seller will provide to Buyer a certification by an independent
environmental engineering firm previously approved by Buyer that the Owned FF&E and Leased
FF&E that is included in the Acquired Assets is free from contact with the property of Seller and

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is not in contact with any Prohibited Material. Buyer or its agents will remove the Acquired
Assets on or after the Closing from Seller’s facilities. Seller will reasonably cooperate with
Buyer and its agents in such removal efforts and will provide Buyer and its agents with such
access to Seller’s facilities (including the right to enter such facilities) as is necessary for Buyer
or its agents to remove the Acquired Assets. Seller will deliver to Buyer prior to Closing an
irrevocable license (rent and cost free) to access the facilities at which the Acquired Assets are
located, including the Owned Real Property and Leased Real Property, for a period not to exceed
one hundred eighty (180) days after the Closing Date to remove the Acquired Assets, and Seller
will cause any purchaser of any such Owned Real Property and assignee of such Leased Real
Property to agree to be bound by such license prior to such sale or assignment.

               Section 6.9 Certain Records. Seller shall be solely responsible for the
retention (including all costs, expenses, Liabilities and Claims arising from or relating to such
retention) of written or electronic copies of all records provided to Buyer and shall be solely
responsible for providing such records to third parties in connection with any court order or
permitted discovery relating to any Retained Litigation.

                            ARTICLE 7. EMPLOYEES AND WARN

                Section 7.1 Transferred Employees. Buyer shall have the right, but not the
obligation, at or after the Closing, to make offers of employment to and hire any employee of
Seller determined by Buyer to be a key employee with respect to the Products. Seller shall
reasonably cooperate and assist Buyer in identifying and making offers of employment to any
such individuals, and in transitioning any such individuals hired by Buyer. If the Closing occurs,
any such Employees who accept any such offer no later than five (5) days after the Closing Date
are referred to in this Agreement as the “Transferred Employees”. Buyer does not and will not,
however, assume any Employee Liabilities or other Claims associated with any Transferred
Employees, including any union-related collective bargaining agreement or any Benefit Plan.

               Section 7.2 WARN Act. Seller shall be responsible for, and shall perform and
pay for, all Liabilities for provision of notice or payment in lieu of notice or any applicable
penalties under the Worker Adjustment and Retraining Notification Act (the “WARN Act”) or
any similar state or local law arising on account of Buyer’s acquisition of the Acquired Assets or
termination of any employees, including any Transferred Employees (collectively, “WARN
Liabilities”).

                Section 7.3 Third-Party Beneficiary. No provision of this Article 7 shall
(a) create any third-party beneficiary or other rights in any current or former employee (including
any beneficiary or dependent thereof) of Seller, Buyer or any other Person, (b) constitute or
create, or be deemed to constitute or create, an employment agreement or employee benefit plan,
(c) constitute or be deemed to constitute an amendment to any employee benefit plan sponsored
or maintained by Seller or Buyer, or (d) alter or change the employment at-will status of any
Employees.




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                                      ARTICLE 8. TAXES.

                Section 8.1 Taxes Related to Purchase of Assets. All recording and filing fees
and all federal, state and local sales, transfer, excise, value-added or other similar Taxes,
including, without limitation, all state and local Taxes in connection with the transfer of the
Acquired Assets, but excluding all income taxes and other fees based upon gain realized by
Seller as a result of the sale of the Acquired Assets (collectively, “Transaction Taxes”), that may
be imposed by reason of the sale, transfer, assignment and delivery of the Acquired Assets, and
which are not exempt under Section 1146(c) of the Bankruptcy Code, shall be paid by Buyer.
Buyer and Seller agree to cooperate to determine the amount of Transaction Taxes payable in
connection with the transactions contemplated under this Agreement, and Seller agrees to assist
Buyer reasonably in the preparation and filing of any and all required returns for or with respect
to such Transaction Taxes with any and all appropriate taxing authorities.

               Section 8.2    Cooperation on Tax Matters.

               (a)     Buyer and Seller agree to furnish or cause to be furnished to each other, as
promptly as practicable, such information and assistance relating to the Acquired Assets as is
reasonably necessary for the preparation and filing of any Tax Return, claim for refund or other
required or optional filings relating to Tax matters, for the preparation for and proof of facts
during any Tax audit, for the preparation for any Tax protest, for the prosecution or defense of
any suit or other proceeding relating to Tax matters and for the answer to any governmental or
regulatory inquiry relating to Tax matters.

                (b)    Buyer agrees to retain possession, at its own expense, of all accounting,
business, financial and Tax records and information (i) relating to the Acquired Assets that are in
existence on the Closing Date and transferred to Buyer hereunder and (ii) coming into existence
after the Closing Date that relate to the Acquired Assets before the Closing Date, for a period of
at least six (6) years from the Closing Date, and will give Seller notice and an opportunity to
retain any such records in the event that Buyer determines to destroy or dispose of them after
such period. In addition, from and after the Closing Date, Buyer agrees that it will provide access
to Seller and its attorneys, accountants and other representatives (after reasonable notice and
during normal business hours and without charge) to those portions of books, records, documents
and other information that relate solely to the Acquired Assets and time periods on or prior to
Closing as Seller may reasonably deem necessary to (x) properly prepare for, file, prove, answer,
prosecute and/or defend any such Tax Return, claim, filing, tax audit, tax protest, suit,
proceeding or answer or (y) administer or complete any cases under Chapter 11 of the
Bankruptcy Code of Seller. Such access shall include, without limitation, access to any
computerized information retrieval systems relating to the Acquired Assets as they existed on or
before the Closing, unless such access cannot be limited to the appropriate information, in which
case, Buyer may, at its reasonable discretion, retrieve electronic data compilations of the
appropriate information. Notwithstanding anything else in this Agreement to the contrary, Seller
shall not have any right of access, review or inspection with respect to Buyer’s combined,
consolidated or unitary Tax Returns.

               (c)     If Seller receives any refund, overpayment or rebate of Taxes (including
any refund, interest, overpayment or rebate relating to any Straddle Period) that is attributable to

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Taxes paid by Buyer or any Affiliate thereof or otherwise borne by Buyer or any Affiliate
thereof, it shall promptly, and in no case later than ten (10) Business Days after receipt thereof,
pay such refund, overpayment or rebate over to Buyer net of any reasonable out-of-pocket cost
or expense incurred in connection with such refund, overpayment or rebate.

               (d)

                        (i)    Seller, at Seller’s sole cost and expense, shall prepare and file, or
cause to be prepared and filed, (A) all Tax Returns for any taxable period ending on or prior to
the Closing Date, (B) any Tax Returns for Excises Taxes with respect to firearms, guns and other
items subject to Excise Taxes (“Excise Tax Property”) for Excise Property sold or otherwise
disposed of on or prior to the Closing Date and (iii) Tax Returns with respect to a Straddle Period
not required to be filed by Buyer pursuant to Section 8.2(d)(ii) (“Seller Straddle Period Return”),
in each case relating to the Acquired Assets or Business. In the case of a Seller Straddle Period
Return, Seller shall furnish, no later than ten (10) days prior to the anticipated filing date of the
applicable Seller Straddle Period Return, for Buyer’s review and comment, and Seller shall
accept any reasonable comments made by Buyer. Buyer shall pay to Seller the portion of Taxes
shown as due (if any) on any Seller Straddle Period Return, solely to the extent such Taxes relate
to the Acquired Assets and are not Excluded Taxes, that are allocable to the portion of the
Straddle Period beginning on the day following the Closing Date (if any). Any such payments
shall be made prior to the anticipated filing date,.

                       (ii)    Buyer shall prepare and file, or cause to be prepared and filed
(with Seller’s reasonable cooperation) all Tax Returns relating solely to the Acquired Assets for
a Straddle Period solely to the extent that the Buyer is required to file such Tax Returns pursuant
to applicable Law (“Buyer Straddle Period Returns”). Buyer shall furnish any Buyer Straddle
Period Return, no later than ten (10) days prior to the anticipated filing date of the applicable
Straddle Period Tax Return, for Seller’s review and comment, and Buyer shall consider in good
faith comments made by Seller. Seller shall pay to Buyer the portion of Taxes shown as due on
the Straddle Period Tax Return that are allocable to the portion of the Straddle Period ending on
or prior to the Closing Date. Any such payments shall be made prior to the anticipated filing
date. Notwithstanding the foregoing, Seller shall not have any right to review or comment with
respect to any Straddle Period Tax Return to the extent that such Tax Return is a combined,
consolidated or unitary Tax Return of Buyer.

                     (iii) Buyer and Seller shall reasonably cooperate in the preparation of
any Tax Return described in this Section 8.2(d).

                      (iv)   Buyer shall be permitted to offset any Taxes for which Seller is
responsible pursuant to this Agreement by any refunds payable to Seller or an Affiliate
thereunder pursuant to Section 1.2(g).

               (e)     Buyer and Seller will cooperate and Buyer shall use commercially
reasonable efforts to cause the Buyer or any Buyer Acquisition Vehicle to be registered with the
Alcohol and Tobacco Tax and Trade Bureau as a “manufacturer” for purposes of the Firearms
Ammunition and Excise Tax on or before the Closing Date.



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                 Section 8.3 Allocation of Purchase Price. Promptly (and in any event within
sixty (60) days) following the Closing Date, Buyer shall deliver a schedule to Seller allocating
the Purchase Price among the Acquired Assets (the “Allocation”). Seller and Buyer will
cooperate to resolve any disputes regarding the Allocation and to file with the Internal Revenue
Service their respective Forms 8594 as provided for in Section 1060 of the Code on a basis
consistent with the Allocation, and the Allocation shall be reflected on any Tax Returns required
to be filed as a result of the transactions contemplated by this Agreement.

       ARTICLE 9. CONDITIONS PRECEDENT TO PERFORMANCE BY PARTIES.

                Section 9.1 Conditions Precedent to Performance by Seller. The obligation of
Seller to consummate the transactions contemplated by this Agreement is subject to the
fulfillment, at or before the Closing Date, of the following conditions, any one or more of which
(other than the conditions contained in Section 9.1(c)) may be waived by Seller in its sole
discretion:

               (a)     Representations and Warranties of Buyer. All representations and
warranties made by Buyer in Section 4.2 shall be accurate in all material respects on and as of
the Closing Date as if again made by Buyer on and as of such date, except for (i) those
representations and warranties that speak solely as of a specific date and that were true and
correct as of such date, and (ii) inaccuracies that do not result in a material adverse effect on
Buyer’s ability to perform its obligations hereunder, and Seller shall have received a certificate,
dated as of the Closing Date and signed by a duly authorized officer of Buyer, solely in such
capacity on behalf of Buyer, to that effect.

                (b)    Performance of the Obligations of Buyer. Buyer shall have performed in
all material respects all obligations required under this Agreement to be performed by it on or
before the Closing Date (except with respect to the obligation to pay the Good Faith Deposit and
the Purchase Price in accordance with the terms of this Agreement, which obligations shall be
performed in all respects), and Seller shall have received a certificate, dated as of the Closing
Date and signed by a duly authorized officer of Buyer, solely in such capacity on behalf of
Buyer, to that effect.

              (c)    Consents and Approvals. The Bankruptcy Court shall have entered the
Sale Order, and no Order staying, modifying, or amending the Sale Order shall be in effect on
the Closing Date.

               (d)     No Violation of Orders. No preliminary or permanent injunction or other
Order that declares this Agreement invalid or unenforceable in any respect or which prevents the
consummation of the transactions contemplated by this Agreement shall be in effect.

               (e)    Cure of Defaults. At or prior to the Closing, any and all defaults under the
Assigned Contracts and Assigned FF&E Leases that are required to be cured under the
Bankruptcy Code shall have been cured, so that such Assigned Contracts and Assigned FF&E
Leases may be assumed by Seller and assigned to Buyer in accordance with the provisions of
Section 365 of the Bankruptcy Code.



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                (f)     Buyer’s Deliveries. Buyer shall have delivered to Seller all of the items
set forth in Section 3.3.

                Section 9.2 Conditions Precedent to Performance by Buyer. The obligations of
Buyer to consummate the transactions contemplated by this Agreement are subject to the
fulfillment, at or before the Closing Date, of the following conditions, any one or more of which
(other than the conditions contained in Section 9.2(c)) may be waived by Buyer in its sole
discretion:

                (a)    Representations and Warranties of Seller. All representations and
warranties made by Seller in Section 4.1 shall be accurate in all material respects on and as of the
Closing Date as if again made by Seller on and as of such date, except for (i) those
representations and warranties that speak solely as of a specific date and that were true and
correct as of such date, and (ii) inaccuracies that do not result in a Material Adverse Effect, and
Buyer shall have received a certificate, dated as of the Closing Date and signed by a duly
authorized officer of Seller, solely in such capacity on behalf of Seller, to that effect.

                (b)     Performance of the Obligations of Seller. Seller shall have performed all
obligations required under this Agreement to be performed by it on or before the Closing Date,
other than failures of performance (i) that do not result in a Material Adverse Effect or (ii) under
those obligations of Seller set forth in Section 6.2(d), and Buyer shall have received a certificate,
dated as of the Closing Date and signed by a duly authorized officer of Seller, solely in such
capacity on behalf of Seller, to that effect.

               (c)     Consents and Approvals. The Bankruptcy Court shall have entered the
Sale Order, and no Order staying, modifying, reversing or amending the Sale Order shall be in
effect on the Closing Date.

               (d)    No Violation of Orders. No preliminary or permanent injunction or other
Order that declares this Agreement invalid in any respect or prevents the consummation of the
transactions contemplated by this Agreement shall be in effect.

                (e)     Seller’s Deliveries. Seller shall have delivered to Buyer all of the items
set forth in Section 3.2.

                                 ARTICLE 10. TERMINATION.

              Section 10.1 Conditions of Termination. This Agreement may be terminated at
any time before the Closing:

               (a)     By mutual written consent of Seller and Buyer;

                (b)    By Seller, by notice to Buyer, on or after the date that is one hundred
twenty (120) calendar days after the Petition Date (the “Warranty Termination Date”), if the
condition contained in Section 9.1(a) has not been satisfied or waived; provided, however, that
Seller shall not have the right to terminate this Agreement under this Section 10.1(b) if Seller is
then in material breach of this Agreement;


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               (c)     By Seller, by notice to Buyer, if Seller has previously provided Buyer with
written notice of Buyer’s failure to perform any material covenant of Buyer contained in this
Agreement and Buyer has failed on or before 11:59 PM (Central Time) on the fifth (5th)
Business Day after such notice to perform such covenant; provided, however, that Seller shall
not have the right to terminate this Agreement under this Section 10.1(c) if Seller is then in
material breach of this Agreement;

              (d)      By Seller, by notice to Buyer, on or after the date that is one hundred
twenty (120) calendar days after the Petition Date (the “Approval Termination Date”), if any
condition contained in Section 9.1(c) or Section 9.1(d) has not been satisfied or waived;
provided, however, that Seller shall not have the right to terminate this Agreement under this
Section 10.1(d) if Seller is then in material breach of this Agreement;

                (e)    By Buyer, by notice to Seller, on or after the Warranty Termination Date,
if the condition contained in Section 9.2(a) has not been satisfied or waived; provided, however,
that Buyer shall not have the right to terminate this Agreement under this Section 10.1(e) if
Buyer is then in material breach of this Agreement;

               (f)      By Buyer, by notice to Seller, if Buyer has previously provided Seller with
written notice of a failure to perform any material covenant of Seller contained in this Agreement
and Seller has failed on or before 11:59 PM (Central Time) on the fifth (5th) Business Day after
such notice to perform such covenant; provided, however, that Buyer shall not have the right to
terminate this Agreement under this Section 10.1(f) if Buyer is then in material breach of this
Agreement;

               (g)      By Buyer, by notice to Seller, after the Approval Termination Date, if any
condition contained in Section 9.2(c), Section 9.2(d) or Section 9.2(i) has not been satisfied or
waived; provided, however, that Buyer shall not have the right to terminate this Agreement under
this Section 10.1(g) if Buyer is then in material breach of this Agreement;

                (h)     By Buyer, by notice to Seller, or by Seller, by notice to Buyer, if the
Bankruptcy Court enters an Order dismissing or converting the Bankruptcy Case into a case
under Chapter 7 of the Bankruptcy Code, appointing a trustee in the Bankruptcy Case, or
appointing an examiner with enlarged power related to the operation of the Business (beyond
those set forth in Section 1106(a)(3) or (4) of the Bankruptcy Code) under Section 1106(b) of the
Bankruptcy Code, or the occurrence of any of the foregoing;

               (i)    By Seller, five (5) Business Days after notice to Buyer, if the Bankruptcy
Court has not entered the Sale Order by the date that is sixty (60) calendar days after the Petition
Date; and

               (j)     Automatically, upon the earlier of (i) Seller consummating an Alternative
Transaction, and (ii) sixty (60) days following the date upon which the Bankruptcy Court issues
a Final Order approving an Alternative Transaction.




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               Section 10.2 Effect of Termination; Remedies.

                (a)    In the event of termination pursuant to Section 10.1, this Agreement shall
become null and void and have no effect (other than Article 10, Article 11, and Article 12, which
shall survive termination), with no liability on the part of Seller or Buyer, or their respective
Affiliates or Related Persons, with respect to this Agreement, except for (i) the liability of a party
for its own expenses pursuant to Section 11.4, (ii) the obligation of Buyer under Section 6.1(a),
(iii) obligations under the Confidentiality Agreement and (iv) any liability provided for in
Section 10.2(b) through Section 10.2(d), inclusive.

               (b)     If this Agreement is terminated pursuant to Section 10.1(a), Section
10.1(d), Section 10.1(e), Section 10.1(f), Section 10.1(g), Section 10.1(h), Section 10.1(i), or
Section 10.1(j), then the Good Faith Deposit shall, within three (3) Business Days, be returned
by Seller to Buyer.

               (c)    If this Agreement is terminated pursuant to Section 10.1(b) or Section
10.1(c), then Seller may, at its sole election (i) within three (3) Business Days, retain the Good
Faith Deposit as liquidated damages (the “Break Fee”) or (ii) without limitation to Seller’s
remedies under clause (i) of this Section 10.2(c) require Buyer to specifically perform under the
terms of this Agreement and each of the Ancillary Agreements to which Buyer is a party.

                 (d)     Notwithstanding anything to the contrary herein, but without limitation to
the right to enforce covenants as set forth in Article 6 if the Closing does not occur, Seller’s
entitlement to the Break Fee (to the extent provided for in this Agreement) will constitute
liquidated damages (and not a penalty) and, if Seller retains such amount, then notwithstanding
anything to the contrary contained herein, such Break Fee shall be the sole and exclusive remedy
available to Seller and any other Person against Buyer, its Subsidiaries, and any of their
respective Affiliates in connection with this Agreement and the transactions contemplated hereby
(including as a result of the failure to consummate the Closing or for a breach or failure to
perform hereunder or otherwise) and none of Buyer, its Subsidiaries or any of their respective
Affiliates shall have any further liability relating to or arising out of this Agreement or the
transactions contemplated hereby. Each Party acknowledges that the agreements contained in
this Section 10.2 are an integral part of the transactions contemplated by this Agreement, without
which such Party would not have entered into this Agreement. Nothing in this Section 10.2 shall
limit or restrict a Party’s rights (i) under Section 11.10 or (ii) in the event the Closing occurs, any
rights of a Party arising from or relating to the breach of this Agreement by another Party
(including Buyer’s rights under Section 6.3, Section 6.4 and Section 6.6).

                                ARTICLE 11. MISCELLANEOUS.

                Section 11.1 Successors and Assigns. Prior to the Closing, neither Buyer nor
Seller shall assign this Agreement or any rights or obligations hereunder without the prior written
consent of the other, and any such attempted assignment without such prior written consent shall
be void and of no force and effect; provided that if Buyer wishes, upon prior written notice to
Seller, to assign its rights, obligations and liabilities hereunder no later than ten (10) days prior to
the Closing Date to a Buyer Acquisition Vehicle, such prior written consent of Seller shall not



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unreasonably be withheld. This Agreement shall inure to the benefit of and shall be binding
upon the successors and permitted assigns of the parties to this Agreement.

                Section 11.2 Governing Law; Jurisdiction. This Agreement shall be construed,
performed and enforced in accordance with, and governed by, the Laws of the State of New
York (without giving effect to the principles of conflicts of Laws thereof), except to the extent
that the Laws of such State are superseded by the Bankruptcy Code. For so long as Seller is
subject to the jurisdiction of the Bankruptcy Court, the parties to this Agreement irrevocably
elect as the sole judicial forum for the adjudication of any matters arising under or in connection
with the Agreement, and consent to the exclusive jurisdiction of, the Bankruptcy Court. After
Seller is no longer subject to the jurisdiction of the Bankruptcy Court, the parties to this
Agreement irrevocably elect as the sole judicial forum for the adjudication of any matters arising
under or in connection with this Agreement, and consent to the jurisdiction of, any state or
federal court having competent jurisdiction over the Southern District of New York.

           Section 11.3 WAIVER OF JURY TRIAL.   EACH PARTY TO THIS
AGREEMENT IRREVOCABLY AND UNCONDITIONALLY WAIVES ANY RIGHT IT
MAY HAVE TO A TRIAL BY JURY IN RESPECT OF ANY LITIGATION DIRECTLY OR
INDIRECTLY ARISING OUT OF OR RELATING TO THIS AGREEMENT OR THE
TRANSACTIONS CONTEMPLATED BY THIS AGREEMENT. EACH PARTY TO THIS
AGREEMENT CERTIFIES AND ACKNOWLEDGES THAT (A) NO REPRESENTATIVE,
AGENT OR ATTORNEY OF ANY OTHER PARTY HAS REPRESENTED, EXPRESSLY OR
OTHERWISE, THAT SUCH OTHER PARTY WOULD NOT, IN THE EVENT OF
LITIGATION, SEEK TO ENFORCE SUCH WAIVER, (B) IT UNDERSTANDS AND HAS
CONSIDERED THE IMPLICATIONS OF SUCH WAIVER, (C) IT MAKES SUCH WAIVER
VOLUNTARILY, AND (D) IT HAS BEEN INDUCED TO ENTER INTO THIS
AGREEMENT BY, AMONG OTHER THINGS, THE MUTUAL WAIVERS AND
CERTIFICATIONS IN THIS SECTION 11.3.

                Section 11.4 Expenses. Except as expressly otherwise provided herein, each of
the parties to this Agreement shall pay its own expenses in connection with this Agreement and
the transactions contemplated by this Agreement, including, without limitation, any legal and
accounting fees, whether or not the transactions contemplated by this Agreement are
consummated.

               Section 11.5 Broker’s and Finder’s Fees. Each of the parties to this Agreement
represents and warrants that it has dealt with no broker or finder in connection with any of the
transactions contemplated by this Agreement other than as set forth on Schedule 11.5, whose
fees and expenses shall, as between the parties to this Agreement, be the responsibility of the
party indicated on Schedule 11.5, and no other broker or other Person is entitled to any
commission or broker’s or finder’s fee in connection with any of the transactions contemplated
by this Agreement or the Ancillary Agreements.

               Section 11.6 Severability. In the event that any part of this Agreement is
declared by any court or other judicial or administrative body to be null, void or unenforceable,
said provision shall survive to the extent it is not so declared, and all of the other provisions of
this Agreement shall remain in full force and effect only if, after excluding the portion deemed to

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be unenforceable, the remaining terms shall provide for the consummation of the transactions
contemplated by this Agreement in substantially the same manner as originally set forth at the
later of the date this Agreement was executed or last amended.

               Section 11.7 Notices.

                (a)     All notices, requests, demands and other communications under this
Agreement shall be in writing and shall be deemed to have been duly given: (i) on the date of
service, if served personally on the party to whom notice is to be given; (ii) when transmitted via
electronic mail to the applicable electronic mail address set forth below if confirmation of receipt
is obtained promptly after completion of transmission; (iii) on the day after delivery to Federal
Express or similar overnight courier or the Express Mail service maintained by the United States
Postal Service; or (iv) on the fifth (5th) day after mailing, if mailed to the party to whom notice is
to be given, by first class mail, registered or certified, postage prepaid and properly addressed, to
the party as follows:

       If to Seller:

               Remington Outdoor Company, Inc.
               100 Electronics Blvd., SW
               Huntsville, Alabama 35824
               Attention: Ken D'Arcy
               Email: ken.darcy@remington.com

       With a copy in either case to (which copy alone shall not constitute notice):

               O’Melveny & Myers LLP
               400 South Hope Street
               Los Angeles, California 90071
               Attention: John Paul Motley, Esq., and Stephen H. Warren, Esq.
               Phone: (213) 430-6100 and (213) 430-7875, respectively
               Email: jpmotley@omm.com and swarren@omm.com, respectively

               If to Buyer:

               Sturm, Ruger & Company, Inc.
               1 Lacey Place
               Southport, Connecticut 06890
               Attention: Christopher J. Killoy
               Email: ckilloy@ruger.com


               With    a   copy    to   (which    copy    alone    shall   not   constitute   notice):

               Sturm, Ruger & Company, Inc.
               1 Lacey Place
               Southport, Connecticut 06890


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               Attention: Kevin B. Reid, Sr., Esq.
               Email: kreid@rugerlegal.com

               and

               Dentons US LLP
               1221 Avenue of the Americas
               New York, NY 10020-1089
               Attention: Claude D. Montgomery, Esq.
               E-mail: claude.montgomery@dentons.com


               (b)     Any party may change its address for the purpose of this Section 11.7 by
giving the other party written notice of its new address in the manner set forth above.

               Section 11.8 Amendments; Waivers. This Agreement may be amended or
modified, and any of the terms, covenants, representations, warranties or conditions hereof may
be waived, only by a written instrument executed by the parties to this Agreement, or in the case
of a waiver, by the party waiving compliance. Any waiver by any party of any condition, or of
the breach of any provision, term, covenant, representation or warranty contained in this
Agreement, in any one or more instances, shall not be deemed to be or construed as a furthering
or continuing waiver of any such condition, or of the breach of any other provision, term,
covenant, representation or warranty of this Agreement.

              Section 11.9 Time of Essence. Time is of the essence in the performance of
each and every term of this Agreement.

               Section 11.10 Specific Performance. The provisions of this Agreement are
uniquely related to Seller’s and Buyer’s desire to consummate the transactions contemplated by
this Agreement, and such transactions represent a unique business opportunity at a unique time
for Seller and Buyer. As a result, irreparable damage may occur to Seller and/or Buyer in the
event that any of the obligations of the other party under this Agreement were not performed in
accordance with their specific terms. Although liquidated or other monetary damages may be
available for the breach of covenants and undertakings contained in this Agreement, monetary
damages may be difficult to ascertain and may be an inadequate remedy therefor. Accordingly,
if Buyer or Seller breaches any provision of this Agreement, then without limitation to the non-
breaching party’s rights under clause (i) of Section 10.2 or Buyer’s rights under Section 6.3 and
Section 6.4, the non-breaching party shall be entitled to seek an injunction or injunctions,
specific performance and any and all other equitable relief to prevent or restrain breaches of this
Agreement.

               Section 11.11 Public Announcements. Promptly after the execution and delivery
of this Agreement by both Buyer and Seller and approval by the Bankruptcy Court, the parties
shall make a joint press release in form and substance reasonably satisfactory to both of them
regarding the transactions contemplated herein. Thereafter, prior to the Closing, no party shall
make any press release or public announcement concerning the transactions contemplated by this
Agreement without the prior written consent of the other party (such consent not to be

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unreasonably withheld, conditioned or delayed) unless a press release or public announcement is
required by Law, as is the case for Buyer as a publicly traded company, or Order of the
Bankruptcy Court. If any such announcement or other disclosure is required by Law or Order of
the Bankruptcy Court, the disclosing party agrees, if permitted by Law or Order of the
Bankruptcy Court, to give the nondisclosing party prior notice of, and an opportunity to
comment on, the proposed disclosure. Notwithstanding anything to the contrary in this Section
11.11, Seller (a) shall file this Agreement with the Bankruptcy Court in connection with
obtaining the Sale Order and (b) may disclose this Agreement to its equityholders and lenders to
the extent required by the provisions of any of Seller’s bylaws, credit agreements and other pre-
existing contractual obligations.

               Section 11.12 Entire Agreement. This Agreement (including the Ancillary
Agreements referenced herein), the Sale Order and the Confidentiality Agreement contain the
entire understanding between the parties to this Agreement with respect to the transactions
contemplated by this Agreement and supersede and replace all prior and contemporaneous
agreements and understandings, oral or written, with regard to such transactions. All schedules
to this Agreement and any documents and instruments delivered pursuant to any provision of this
Agreement are expressly made a part of this Agreement as fully as though completely set forth in
this Agreement.

               Section 11.13 Parties in Interest. Nothing in this Agreement is intended to or
shall confer any rights or remedies under or by reason of this Agreement on any Persons other
than Seller and Buyer and their respective successors and permitted assigns. Nothing in this
Agreement is intended to or shall relieve or discharge the obligations or liability of any third
Persons to Seller or Buyer. This Agreement is not intended to nor shall give any third Persons
any right of subrogation or action over or against Seller or Buyer.

               Section 11.14 Bulk Sales Laws. Buyer waives compliance by Seller, and Seller
waives compliance by Buyer, with the provisions of the “bulk sales”, “bulk transfer” or similar
laws of any state, other than any Laws which would exempt any of the transactions contemplated
by this Agreement from any Tax liability which would be imposed but for such compliance.

                Section 11.15 Construction. The article and section headings in this Agreement
are for reference purposes only and shall not affect the meaning or interpretation of this
Agreement. The parties to this Agreement have jointly participated in the negotiation and
drafting of this Agreement. In the event of an ambiguity or question of intent or interpretation
arises, this Agreement shall be construed as if drafted jointly by the parties hereto and no
presumptions or burdens of proof shall arise favoring any party by virtue of the authorship of any
of the provisions of this Agreement. Each defined term used in this Agreement has a comparable
meaning when used in its plural or singular form. As used in this Agreement, the word
“including” and its derivatives means “without limitation” and its derivatives, the word “or” is
not exclusive and the words “herein,” “hereof,” “hereby,” “hereto” and “hereunder” refer to this
Agreement as a whole.

               Section 11.16 Counterparts and Facsimiles. This Agreement may be executed in
counterparts, each of which shall be deemed an original, but all of which shall constitute the
same instrument. Executed signature pages to this Agreement may be delivered by electronic

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mail and such electronic copies will be deemed as sufficient as if actual signature pages had been
delivered.

                                  ARTICLE 12. DEFINITIONS.

               Section 12.1 Certain Terms Defined. As used in this Agreement, the following
terms have the following meanings:

        “Affiliate” means, with respect to any Person, any Person directly or indirectly
controlling, controlled by or under direct or indirect common control with such other Person.

        “Alternative Transaction” means Seller consummating any transaction or series of
transactions, whether a going concern sale, liquidation or otherwise, that involves a sale of all or
substantially all of the Business or the Acquired Assets by Seller to a purchaser or purchasers
other than Buyer.

        “Ancillary Agreements” means, collectively, the Assignment and Assumption
Agreements, Assignment and Assumption of Leases, Acquired Intellectual Property
Assignments, warranty deeds, and other certificates, affidavits and releases delivered pursuant to
Article 3.

       “ATF” means the United States Bureau of Alcohol, Tobacco, Firearms and Explosives.

         “Avoidance Actions” means any and all claims and remedies of Seller under Sections
510 and 542 through 553 of the Bankruptcy Code or under similar state laws including, without
limitation, fraudulent conveyance claims, and all other causes of action of a trustee and debtor-
in-possession under the Bankruptcy Code.

        “Business Day” means any day other than Saturday, Sunday and any day that is a legal
holiday or a day on which banking institutions in New York, New York are authorized by Law
or other governmental action to close.

        “Buyer Acquisition Vehicle” means a Creditworthy entity that is wholly-owned and
controlled by Buyer.

         “Cash” means all cash and cash equivalents held by Seller, including all petty cash,
register cash, undeposited checks, cash in transit and marketable securities, in each case as of
immediately prior to the Closing (and including without limitation (i) the Good Faith Deposit,
(ii) the Net Closing Cash Payment, (iii) any fee reserves or escrows established by Seller, and
(iv) any cash in the Dominion Account (as defined in the Priority Term Loan)).

      “CBA” means that certain Collective Bargaining Agreement between Remington Arms
Company, LLC and International Union, United Mine Workers of America (2016-2022), as
amended or otherwise modified from time to time.

         “City of Huntsville Project Development Liabilities” means all Liabilities arising under
(i) that certain Project Development Agreement dated as of February 27, 2014, by and among the
City of Huntsville, Alabama, Madison County, Alabama, The Industrial Development Board of

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the City of Huntsville, and Seller, as amended or otherwise modified from time to time, (ii) that
certain note issued by Seller to the City of Huntsville on February 27, 2014 in the original
principal amount of $12,500,000 and (iii) that certain Mortgage and Security Agreement dated as
of February 27, 2014, by Seller in favor of the City of Huntsville.

        “Claims” encompasses the definition in Bankruptcy Code §101(5) and under this
Agreement also includes any and all liabilities, obligations, rights, credits, defenses, allowances,
rebates, choses in action, rights of recovery, set-off, causes of action, civil or criminal, any
contributions received from or owed to charitable or other organizations, assertions of legal or
moral responsibility, in each case known or unknown, pending or threatened, at law or in equity,
direct or derivative, liquidated or unliquidated, matured or unmatured, disputed or undisputed,
choate or inchoate, judgments, demands, rights of first refusal or offer, recoupment, rights of
recovery, reimbursement, contribution, indemnity, exoneration, rights under products liability,
alter ego, environmental, intellectual property (including any infringement thereof), tort, contract
and any other legal or equitable basis of liability, charges of any kind or nature, debts arising in
any way in connection with any agreements, acts or failures to act, and all pending, threatened,
asserted or unasserted actions against Seller or any of its Affiliates, or any of their respective
current or former officers, employees, agents or independent contractors, any of their assets or
properties, the Business, or any of their operations or activities arising out of or relating to any
matter, occurrence, action, omission or circumstance, and includes any Claims against Buyer
under doctrines of successor liability or any other ground or theory (which Claim may also be an
Interest or Lien).

       “Code” means the Internal Revenue Code of 1986, as amended.

       “Contract” means any contract, indenture, note, bond, lease, license, premium finance
arrangement, purchase order, sales order, Internet domain name account or agreement, social
media account or agreement or other agreement to which Seller is a party; provided that
Contracts do not include any Lease or any employment or similar Contracts.

        “COVID Restrictions” means any quarantine, “shelter in place”, “stay at home”,
workforce reduction, social distancing, shut down, closure, sequester or any other applicable
Law, order, directive, guideline or recommendation by any Government of competent
jurisdiction instituted in response to the COVID-19 virus.

       “Creditworthy” means sufficiently capitalized, to the reasonable satisfaction of Seller
upon provision to Seller of substantiating documentary evidence, to be able to pay the Purchase
Price.

        “Damages” means any and all Claims, obligations, actions, suits, proceedings, hearings,
investigations, charges, complaints, claims, demands, injunctions, judgments, orders, decrees,
rulings, damages (including, without limitation, lost income, revenues and profits, multiples of
earnings, diminution in value, consequential damages, indirect damages, incidental damages,
special damages, exemplary damages and punitive damages), dues, penalties, fines, costs,
amounts paid in settlement, Taxes, Liens, Encumbrances, losses, expenses, and fees, including
court costs and reasonable attorneys’ fees and expenses.



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        “D&O Insurance” means the policy in effect as of the Effective Date that provides for
insurance from liability for current and former directors and officers of Seller, including
insurance from Liabilities with respect to all claims (including, under “tail” insurance coverage,
those claims brought within six (6) years from the Closing Date) arising out of or relating to
events which occurred on or prior to the Closing Date (including in connection with the
transactions contemplated by this Agreement).

      “DIP Facility” means any debtor-in-possession financing advanced to Seller in the
Bankruptcy Case.

        “Documents” means all files, documents, instruments, papers, books, reports, records,
tapes, microfilms, photographs, letters, budgets, forecasts, ledgers, journals, title policies,
surveys, customer lists, regulatory filings, operating data and plans, technical documentation
(design specifications, functional requirements, operating instructions, logic manuals, flow
charts, etc.), user documentation (installation guides, user manuals, training materials, release
notes, working papers, etc.), marketing documentation (sales brochures, flyers, pamphlets, web
pages, etc.), and other similar materials, in each case whether or not in electronic form.

         “Employee Benefit Plans” means (a) all “employee benefit plans,” as defined in Section
3(3) of ERISA, (b) all employment, consulting or other individual compensation agreements, and
(c) all bonus or other incentive (performance or retention), equity or equity-based compensation,
deferred compensation, severance pay, sick leave, vacation pay, salary continuation, disability,
hospitalization, medical, life insurance, scholarship programs or other plans, contracts, policies
or arrangements that provide for compensation for employee benefits as to which Seller has any
obligation or Liability, contingent or otherwise.

       “Employee Liabilities” means all Liabilities of Seller to or with respect to all Employees
whenever arising and Liabilities of the type specified in Section 1114 of the Bankruptcy Code
owing to retired employees of Seller, including, for the avoidance of doubt, under the CBA.

        “Employee Records” means all employment and benefit records (in whatever form
maintained) in the possession of Seller or its agents and pertaining to any Transferred Employee,
or any spouse, dependent or other beneficiary of any such Transferred Employee.

        “Employees” means all individuals, as of the date of this Agreement, who are employed
by Seller within the scope of the Business (including Employees who are absent due to COVID
Restrictions or vacation, family leave, short-term disability, COVID 19-related furloughs or
absences or other approved leave of absence) including those employed in connection with the
ownership, operation and management of the Business.

       “Encumbrance” means any claims, interests, rights of setoff, recoupment, netting and
deductions, rights of first offer, first refusal and any other similar contractual property, legal or
equitable rights, and any successor or successor-in-interest liability under any theory.

        “Environmental Laws” means all applicable federal, state and local statutes, ordinances,
rules, Orders, regulations and other provisions having the force of law, all judicial and
administrative Orders and determinations, and all common law concerning pollution or
protection of human health and the environment, including, without limitation, all those relating

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to the presence, use, production, generation, handling, transportation, treatment, storage,
disposal, distribution, labeling, testing, processing, discharge, release, threatened release, control
or cleanup of any hazardous materials, including petroleum and petroleum byproducts.

       “ERISA” means the Employee Retirement Income Security Act of 1974, as amended.

        “Excise Taxes” means all Taxes imposed under Section 4181 of the Code and Chapter 53
of the Code, including but not limited to Sections 5801, 5811 and 5821 of the Code, and any and
all similar Taxes.

        “Excluded Taxes” means (i) any Liability or obligation for Taxes of the Seller or any
Affiliate thereof; (ii) any and all Taxes for any Pre-Closing Tax Period relating to the Acquired
Assets; (iii) any and all Taxes relating to the Excluded Assets; (iv) the Pre-Closing Date Share of
all Taxes relating to the Acquired Assets with respect to any Straddle Period and (v) any Excise
Taxes related to the Acquired Assets with respect to Excise Tax Property sold or otherwise
disposed of on or prior to the Closing Date or otherwise incurred prior to the Closing.

       “Exit Term Loan” means that certain Term Loan Agreement, dated as of May 15, 2018
(as amended by that certain Amendment No. 1, dated as of April 18, 2019, that certain
Amendment No. 2, dated as of May 1, 2019, that certain Amendment No. 3, dated as of August
15, 2019, that certain Amendment No. 4, dated as of February 21, 2020, and that certain
Amendment No. 5, dated as of March 27, 2020, and as it may be further amended, supplemented
or otherwise modified from time to time), by and among FGI Operating Company, LLC, the
guarantors party thereto from time to time, Ankura Trust Company, LLC, as administrative agent
and collateral agent and the lenders party thereto.

        “FILO Facility” means that certain First Lien Last-Out Term Loan Agreement, dated as
of May 15, 2018 (as amended by that certain Amendment No. 1, dated as of April 18, 2019, that
certain Amendment No. 2, dated as of May 1, 2019, that certain Amendment No. 3, dated as of
August 15, 2019, that certain Amendment No. 4, dated as of October 11, 2019, that certain
Amendment No. 5 dated as of February 21, 2020, and that certain Amendment No. 6, dated as of
March 27, 2020, and as it may be further amended, supplemented or otherwise modified from
time to time), by and among FGI Operating Company, LLC, the guarantors party thereto from
time to time, Ankura Trust Company, LLC, as administrative agent and collateral agent and the
lenders party thereto.

        “Final Order” means an Order, ruling or judgment of any court of competent jurisdiction
that has not been reversed, stayed, modified or amended, and as to which no appeal, petition for
certiorari, motion or petition for rehearing or reargument is pending, and the deadline for any
such filing has expired.

        “GCA” means Gun Control Act of 1968 (Chapter 44 of Title 18, United States Code §
921 et seq).

        “Government” means any agency, division, subdivision, audit group, procuring office or
governmental or regulatory authority in any event or any adjudicatory body thereof, of the
United States, or any state, county or municipality thereof, including the employees or agents
thereof.

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        “Historic Firearms Books and Records” means all historic books and records relating to
the sale of firearms included in the Acquired Assets, including all records required to be kept
pursuant to parts 447, 478, and, 479 of title 27, Code of Federal Regulations.

        “Intellectual Property” means (1) all intellectual property (whether or not registered and
whether developed or under development) which arises from or relates to the Business arising
from or in respect of the following: (a) all patents and applications therefore (filed or unfiled),
including continuations, divisionals, continuations-in-part, or reissues of patent applications and
patents issuing thereon; (b) all trademarks, service marks, trade names, service names, brand
names, all trade dress rights, logos, Internet domain names, social media accounts and corporate
names and general intangibles of a like nature, together with the goodwill associated with any of
the foregoing, and all applications, registrations and renewals thereof; (c) copyrights and
registrations and applications therefore and works of authorship, and mask work rights; (d) all
Software and programming necessary to manufacture the Products and/or operate and maintain
the Owned FF&E and/or the Leased FF&E; (e) confidential information, know-how, trade
secrets, inventions and designs and design packages for the Products (drawings, files, schematics
and other design elements); and (f) without limiting the foregoing, the specific model names and
numbers and intellectual property set forth on Schedule 12.1(a), and (2) all claims or causes of
action arising out of or related to past, present or future infringement or misappropriation of
Seller’s rights or interests in intellectual property that is not an Excluded Asset and any related
remedies, including, without limitation, the right to sue for past, present or future infringement,
misappropriation, or violation of rights related to the Intellectual Property and collect damages
therefor.

      “Intercompany Note” means that certain Amended and Restated Promissory Note issued
on April 18, 2019, for the principal amount of $100,000,000, by Remington Arms Company,
LLC in favor of FGI Holding Company, LLC.

         “Interests” means all rights and entitlements of any nature including, without limitation,
security interests, assignments of Liens or Claims, licenses, leases, contract rights, indentures,
instruments, licenses, options, escheatment, abandoned property, unclaimed property, covenants,
conditions, zoning, planning and any other restrictions, easements, encroachments, Permits or
other interests in property or limitations on the use of real property or irregularities in title, rights
of first refusal, rights to injunctive or other legal or equitable relief, any attributes of ownership,
rights or restrictions of any kind and nature, whenever incurred, scheduled or unscheduled,
perfected or unperfected, liquidated or unliquidated, matured or unmatured, legal or equitable
(which Interests may also be Liens or Claims).

        “Knowledge” or any other similar term or knowledge qualification means, with respect to
(i) Seller, the actual knowledge, together with the knowledge such individual would be expected
to obtain after reasonable investigation, of either of Ken D’Arcy (President and Chief Executive
Officer of ROC), Mark Little (Vice President and Chief Financial Officer of ROC), as of the date
the applicable representation or warranty is made or deemed made under this Agreement and (ii)
Buyer, the actual conscious knowledge, together with the knowledge such individual would be
expected to obtain after reasonable investigation, of Christopher J. Killoy, President and Chief
Executive Officer and Thomas A. Dineen, Senior Vice President, Treasurer, and Chief Financial
Officer, as of the date the applicable representation or warranty is made or deemed made under

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this Agreement.

        “Leased Real Property” means all leasehold or subleasehold estates and other rights of
Seller to possess, use or occupy (or to grant others the right to possess, use or occupy) any land,
buildings, structures, improvements, fixtures or other interest in real property, in each of the
foregoing cases, to the extent possessed, used or occupied in connection with the Business.

        “Leases” means all leases, subleases, licenses and other agreements, including all
amendments, extensions, renewals, and other agreements with respect thereto, pursuant to which
Seller has the right to possess, use, lease or occupy (or to grant others the right to possess, use or
occupy) any personal property asset.

      “Lexington Property” means the Remington Arms Company property located at 1
Murphy Road, Building 3, Lexington, MO 64067.

        “Liabilities” includes any and all liabilities, obligations, Claims against, in each case
known or unknown, pending or threatened, at law or in equity, direct or derivative, liquidated or
unliquidated, matured or unmatured, disputed or undisputed, choate or inchoate, absolute,
accrued, judgments, demands, rights of first refusal or offer, recoupment, rights of recovery,
reimbursement, contribution, indemnity, exoneration, rights under products liability, alter ego,
environmental, intellectual property (including any infringement thereof), tort, contract and any
other legal or equitable basis of liability, charges of any kind or nature, debts arising in any way
in connection with any agreements, acts or failures to act, and all pending, threatened, asserted or
unasserted actions against Seller or any of its Affiliates, or any of their respective current or
former officers, employees, agents or independent contractors, any of their assets or properties,
the Business, or any of their operations or activities arising out of or relating to any matter,
occurrence, action, omission or circumstance, and includes any Claims against Buyer under
doctrines of successor liability or any other ground or theory (which Claim may also be an
Interest or Lien).

        “Lien” means any mortgage, pledge, security interest, encumbrance, lien (statutory or
other lien including, but not limited to warehouseman’s and mechanics’ liens), restriction on use
or conditional sale agreement.

        “Material Adverse Effect” means a state of facts, event, change or effect on the value of
the Acquired Assets or the Business that results in a material and adverse effect on the value of
the Acquired Assets or the Business taken as a whole, but excludes any state of facts, event,
change or effect caused by events, changes or developments relating to (A) changes resulting
from, or from any motion, application, pleading or Order filed relating to, the Bankruptcy Case;
(B) any action of Seller taken pursuant to, or any failure of Seller to take any action prohibited
by, any Order of the Bankruptcy Court, this Agreement or any of the Ancillary Agreements to
which Seller is a party; (C) the public disclosure of this Agreement or any of the Ancillary
Agreements or any of the transactions contemplated hereby or thereby, (D) changes, after the
Effective Date, in United States generally accepted accounting principles, (E) changes in general
United States economic, monetary or financial conditions, including changes in prevailing
interest rates, credit availability, and the credit markets generally, as well as changes in the
commercial real estate markets in the geographic regions in which Seller operates the Business,


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(F) changes in the firearms, ammunition or sporting goods industries in general, (G) any acts of
God, natural disasters, terrorism, armed hostilities, sabotage, war (whether or not declared) or
(H) any occurrence, outbreak, escalation or worsening of, or furloughs or Government actions
(including any COVID Restrictions) instituted in response to, any epidemic, pandemic or other
disease; provided, further, that in the cases of clauses (D), (E), (F), (G) and (H) above, such
change, event or circumstance shall be taken into account to the extent it has a disproportionate
adverse impact on the Business, Acquired Assets or financial condition of Seller, taken as a
whole, compared to other companies operating in the industries in which Seller operates.

       “National Firearms Act” means the National Firearms Act of 1934, as amended, 26
U.S.C. § 5801 et seq.

        “Non-Debtor Affiliate” means any person or entity that is an affiliate within the meaning
of the Section 101(2) that is not a debtor whose case has been administratively consolidated with
the Bankruptcy Case.

       “Owned Real Property” means all land and all buildings, structures, fixtures and other
improvements located thereon, and all easements, rights of way, servitudes, tenements,
hereditaments, appurtenances, privileges and other rights thereto, owned by Seller.

        “Pension Plan” means Remington Arms Company, LLC Pension and Retirement Plan,
(f/k/a Remington Arms Company, Inc. Pension and Retirement Plan), as amended from time to
time, whereby the Marlin Firearms Co. Employees’ Pension Plan (a/k/a Marlin Firearms
Company Employees Pension Plan), as amended from time to time, was merged into the
Remington Arms Company, LLC Pension and Retirement Plan.

       “Permits” means any means all licenses, permits, certificates, clearance, registration,
consents and other authorizations and approvals from any Government.

         “Permitted Liens” mean: (a) Liens and Interests consisting of (i) current Taxes and
assessments not yet due and payable, or Liens for Taxes that are being contested in good faith by
appropriate legal proceedings and for which appropriate reserves under GAAP have been
established in the Balance Sheets, (ii) all easements, rights-of-way, servitudes, covenants,
conditions, restrictions, obligations and other similar matters of record affecting title to real
property, (iii) statutory, common law or contractual liens of landlords, and (iv) the applicable
zoning and use regulations or other Laws of any Government, in each case, that do not materially
affect the current use of the underlying asset and are not violated in any material respect by the
operation of the Business as currently conducted thereon; (b) any imperfection of title with
respect to any asset that does not materially interfere with the present occupancy, use or
marketability of such asset and the continuation of the present occupancy or use of such asset; (c)
such covenants, conditions, restrictions, easements, encroachments or encumbrances that are not
created pursuant to mortgages or other financing or security documents, or any other state of
facts, that do not materially interfere with the present occupancy or use of an asset; (d) all terms,
conditions and restrictions under any applicable Permits; and (e) the rights under the Acquired
Intellectual Property granted under (1) that certain Trademark License Agreement, by and
between RA Brands and Crossman Corporation, a Delaware corporation, dated as of January 18,
2016, as amended by Amendment #1 to Trademark License Agreement, dated as of June 4, 2019


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and as amended, supplemented and modified from time to time, (2) that certain Trademark
License Agreement, by and between RA Brands and Gator Cases Inc., a Florida corporation,
dated as of November 5, 2019, as amended by Amendment #1 to Trademark License Agreement,
dated as of August 19, 2020 and as amended, supplemented and modified from time to time, and
(3) that certain Exclusive Trademark License Agreement, by and between RA Brands and Buck
Knives, Inc., a Nevada corporation, dated as of January 18, 2017, as amended, supplemented and
modified from time to time.

       “Person” means any individual, corporation, partnership, joint venture, association, joint-
stock company, trust, unincorporated organization or Government.

       “Plan” means a Joint Chapter 11 Plan filed by Seller with the Bankruptcy Court.

         “Pre-Closing Date Share” means (a) with respect to any income Tax liability for a
Straddle Period, the amount that would be due for the portion of the tax period beginning on the
first day of such Straddle Period and ending on the Closing Date, based on an interim closing of
the books as of the close of business on the Closing Date, and (b) with respect to any other Tax
liability for a Straddle Period, the total amount due for the entire Straddle Period, multiplied by
(x) the number of days in such Straddle Period on or before the Closing Date divided by (y) the
total number of days in such Straddle Period.

       “Pre-Closing Tax Period” means any Tax period (or portion thereof) ending on or before
the Closing Date.

         “Priority Term Loan” means that certain Loan and Security Agreement, dated as of April
18, 2019 (as amended by that certain Amendment No. 1, dated May 1, 2019, that certain
Amendment No. 2, dated June 24, 2019, that certain Amendment No. 3, dated August 15, 2019,
that certain Amendment No. 4, dated October 11, 2019, that certain Amendment No. 5, dated
February 21, 2020, and that certain Amendment No. 6, dated March 27, 2020, and as it may be
further amended, supplemented or otherwise modified from time to time), by and among FGI
Operating Company, LLC, the guarantors party thereto, Cantor Fitzgerald Securities, as
administrative agent and initial collateral agent, and the lenders party thereto.

        “Related Person” means, with respect to any Person, all past, present and future directors,
officers, members, managers, stockholders, employees, controlling persons, agents,
professionals, attorneys, accountants, investment bankers or representatives of any such Person.

        “Remington Name” means “Remington,” either alone or in combination with other
words, graphics or designs, including all rights in said term as a trade name, trade mark,
corporate name, service mark and domain name, including any confusingly similar variation,
derivative or transaction thereof.

       “Retained Litigation” means all litigation and Claims arising or related to events prior to
the Closing.

       “Seller D&Os” means the current or former directors and officers insured under the D&O
Insurance.


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        “Software” means any and all (a) computer programs, including any and all software
implementations of algorithms, models and methodologies, whether in source code or object
code, (b) databases and compilations, including any and all data and collections of data, whether
machine readable or otherwise, (c) descriptions, flow-charts and other work product used to
design, plan, organize and develop any of the foregoing, (d) screens, user interfaces, report
formats, firmware, development tools, templates, menus, buttons and icons, and (e) all
Documents related to any of the foregoing.

        “State of Alabama Project Development Liabilities” means all Liabilities under that
certain Project Agreement dated as of February 17, 2014, by and between the State of Alabama
and ROC, as amended or otherwise modified from time to time.

          “Straddle Period” means any taxable period that includes but does not end on the Closing
Date.

        “Subsidiary(ies)” means, when used with respect to any specified Person, any other
Person (a) of which the specified Person or any Subsidiary thereof is a general partner, (b) of
which the specified Person or a Subsidiary thereof own at least a majority of the securities or
other interests having by their terms ordinary voting power to elect a majority of the board of
directors or others performing similar functions for such other Person of which owns the
specified person or a Subsidiary thereof, or (c) that is directly or indirectly controlled by the
specified Person or any Subsidiary thereof.

       “Tax Return” means any report, return, information return, filing or other information,
including any schedules, exhibits or attachments thereto, and any amendments to any of the
foregoing required to be filed or maintained in connection with the calculation, determination,
assessment or collection of any Taxes (including estimated Taxes).

        “Taxes” means (a) all taxes, however denominated, including any interest, penalties or
additions to tax that may become payable in respect thereof, imposed by any Government, which
taxes shall include all income taxes, payroll and employee withholding, unemployment
insurance, social security (or similar), sales and use, Excise Taxes (whether or not deferred),
franchise, gross receipts, occupation, real and personal property, stamp, transfer, worker’s
compensation, customs duties, registration, documentary, value added, alternative or add-on
minimum, estimated, environmental (including taxes under Section 59A of the Code as in effect
for Tax years beginning prior to January 1, 2018) and (b) any liability for items described in
clause (a) of this definition under Treasury Regulation Section 1.1502-6 (or any corresponding or
similar provision of state, local, or non-U.S. law), by contract, as a transferee or successor,
payments under any Tax allocation, sharing, or similar agreement (whether oral or written), or
otherwise, in each case, whether disputed or not; and “Tax” shall mean any one of them.

               Section 12.2 All Terms Cross-Referenced.                                   Each of the following terms is
defined in the Section set forth opposite such term:

Term                                                                                                                           Section

Acquired Assets .............................................................................................................. Section 1.1
Acquired Intellectual Property .................................................................................... Section 1.1(f)

                                                                   43

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Acquired Intellectual Property Assignment ................................................................ Section 3.2(d)
Acquired Policy Rights .............................................................................................. Section 1.1(d)
Affiliate ......................................................................................................................... Section 12.1
Agreement .......................................................................................................................... Preamble
Allocation........................................................................................................................ Section 8.3
Alternative Transaction................................................................................................. Section 12.1
Ancillary Agreements ................................................................................................... Section 12.1
Approval Termination Date ...................................................................................... Section 10.1(d)
Assignment Agreement ............................................................................................... Section 3.2(b)
Assignment of Lease ................................................................................................... Section 3.2(c)
Assigned Business Contracts ...................................................................................... Section 1.1(e)
Assigned Contracts ..................................................................................................... Section 1.1(e)
Assigned FF&E Leases ............................................................................................... Section 1.1(c)
ATF ............................................................................................................................... Section 12.1
Avoidance Actions ........................................................................................................ Section 12.1
Bankruptcy Case .................................................................................................................. Recitals
Bankruptcy Code ................................................................................................................. Recitals
Bankruptcy Court ................................................................................................................. Recitals
Bidding Procedures Motion ................................................................................................ Recitals
Bidding Procedures Order.................................................................................................... Recitals
Break Fee .................................................................................................................. Section 10.2(c)
Business ............................................................................................................................... Recitals
Business Day ................................................................................................................. Section 12.1
Buyer .................................................................................................................................. Preamble
Buyer Acquisition Vehicle............................................................................................ Section 12.1
Buyer Straddle Period Return .................................................................................... Section 8.2(d)
Cash............................................................................................................................... Section 12.1
CBA .............................................................................................................................. Section 12.1
City of Huntsville Project Development Liabilities...................................................... Section 12.1
Claims ........................................................................................................................... Section 12.1
Closing ............................................................................................................................ Section 3.1
Closing Date.................................................................................................................... Section 3.1
Code .............................................................................................................................. Section 12.1
Confidentiality Agreement.......................................................................................... Section 5.1(b)
Contract ......................................................................................................................... Section 12.1
COVID Restrictions ...................................................................................................... Section 12.1
Creditworthy ................................................................................................................. Section 12.1
Cure Amount............................................................................................................... Section 1.4(a)
D&O Insurance ............................................................................................................ Section 12.1
Damages ........................................................................................................................ Section 12.1
DIP Facility .................................................................................................................. Section 12.1
Documents .................................................................................................................... Section 12.1
Effective Date .................................................................................................................... Preamble
Employee Benefit Plans ................................................................................................ Section 12.1
Employee Liabilities ..................................................................................................... Section 12.1
Employee Records ........................................................................................................ Section 12.1


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Employees ..................................................................................................................... Section 12.1
Encumbrance................................................................................................................. Section 12.1
Environmental Laws ..................................................................................................... Section 12.1
ERISA ........................................................................................................................... Section 12.1
Excise Tax Property ................................................................................................... Section 8.2(d)
Excise Taxes ................................................................................................................. Section 12.1
Excluded Assets .............................................................................................................. Section 1.2
Excluded Insurance Policies ....................................................................................... Section 1.2(c)
Excluded Liabilities ........................................................................................................ Section 1.3
Excluded Taxes ............................................................................................................ Section 12.1
Exit Term Loan ............................................................................................................. Section 12.1
FILO Facility ................................................................................................................ Section 12.1
Final Order .................................................................................................................... Section 12.1
GCA .............................................................................................................................. Section 12.1
Good Faith Deposit ..................................................................................................... Section 2.2(a)
Government................................................................................................................... Section 12.1
Gross Closing Cash Payment ...................................................................................... Section 2.1(a)
Historic Firearms Books and Records .......................................................................... Section 12.1
Intellectual Property ...................................................................................................... Section 12.1
Intercompany Note........................................................................................................ Section 12.1
Interests ......................................................................................................................... Section 12.1
Inventory ..................................................................................................................... Section 1.1(h)
Knowledge .................................................................................................................... Section 12.1
Law ............................................................................................................................. Section 4.1(c)
Leased FF&E .............................................................................................................. Section 1.1(c)
Leased Real Property .................................................................................................... Section 12.1
Leases............................................................................................................................ Section 12.1
Liabilities ...................................................................................................................... Section 12.1
Lien ............................................................................................................................... Section 12.1
Material Adverse Effect ................................................................................................ Section 12.1
Material Permits .......................................................................................................... Section 4.1(h)
National Firearms Act ................................................................................................... Section 12.1
Necessary Consent .......................................................................................................... Section 1.5
Net Closing Cash Payment ......................................................................................... Section 2.2(b)
Non-Debtor Affiliate ..................................................................................................... Section 12.1
Order ........................................................................................................................... Section 4.1(c)
Other Agreements ........................................................................................................... Section 1.7
Owned FF&E .............................................................................................................. Section 1.1(b)
Owned Real Property .................................................................................................... Section 12.1
Pension Plan .................................................................................................................. Section 12.1
Permits .......................................................................................................................... Section 12.1
Person............................................................................................................................ Section 12.1
Petition Date......................................................................................................................... Recitals
Plan ............................................................................................................................... Section 12.1
Pre-Closing Date Share ................................................................................................ Section 12.1
Pre-Closing Tax Period ................................................................................................ Section 12.1


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Priority Term Loan ....................................................................................................... Section 12.1
Products................................................................................................................................ Recitals
Prohibited Material ........................................................................................................ Section 6.8
Purchase Price ................................................................................................................. Section 2.1
Related Person .............................................................................................................. Section 12.1
Remington Name .......................................................................................................... Section 12.1
Retained Litigation........................................................................................................ Section 12.1
ROC ................................................................................................................................... Preamble
Sale Hearing ................................................................................................................ Section 1.4(a)
Sale Order ............................................................................................................................ Recitals
Seller .................................................................................................................................. Preamble
Seller D&Os .................................................................................................................. Section 12.1
Seller Straddle Period Return ..................................................................................... Section 8.2(d)
Seller’s Knowledge ....................................................................................................... Section 12.1
Software ........................................................................................................................ Section 12.1
Specified Relied Upon Documents .............................................................................. Section 12.1
State of Alabama Project Development Liabilities ....................................................... Section 12.1
Straddle Period .............................................................................................................. Section 12.1
Subsidiary(ies) .............................................................................................................. Section 12.1
Tax Return .................................................................................................................... Section 12.1
Taxes ............................................................................................................................. Section 12.1
Transaction Taxes ........................................................................................................... Section 8.1
Transferred Employees ................................................................................................... Section 7.1
WARN Act...................................................................................................................... Section 7.2
WARN Liabilities ........................................................................................................... Section 7.2
Warranty Termination Date ...................................................................................... Section 10.1(b)




                                          [Signatures are on the following pages.]




                                                                       46

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                                   ROC

                                   REMINGTON OUTDOOR COMPANY,
                                   INC.

                                   By:
                                         Name:
                                         Title:

                                   SUBSIDIARIES OF ROC

                                   FGI OPERATING COMPANY, LLC

                                   By: ________________________________
                                       Name:
                                       Title:

                                   FGI HOLDING COMPANY, LLC

                                   By:
                                         Name:
                                         Title:

                                   BARNES BULLETS, LLC

                                   By:
                                         Name:
                                         Title:

                                   REMINGTON ARMS COMPANY, LLC

                                   By:
                                         Name:
                                         Title:

                                   RA BRANDS, L.L.C.

                                   By:
                                         Name:
                                         Title:

                                   OUTDOOR SERVICES, LLC

                                   By:
                                         Name:
                                         Title:


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                                   FGI FINANCE INC.

                                   By:
                                         Name:
                                         Title:



                                   HUNTSVILLE HOLDINGS LLC

                                   By:
                                         Name:
                                         Title:



                                   TMRI, INC.

                                   By:
                                         Name:
                                         Title:



                                   REMINGTON ARMS DISTRIBUTION
                                   COMPANY, LLC

                                   By:
                                         Name:
                                         Title:



                                   32E PRODUCTIONS, LLC

                                   By:
                                         Name:
                                         Title:



                                   GREAT OUTDOORS HOLDCO, LLC

                                   By:
                                         Name:
                                         Title:


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                                                              EXECUTION VERSION




                           DISCLOSURE SCHEDULES

                                        to

                        ASSET PURCHASE AGREEMENT

                                  by and among

                       STURM, RUGER & COMPANY, INC.

                                       and

                    REMINGTON OUTDOOR COMPANY, INC.

                                       and

        EACH OF THE SUBSIDIARIES OF REMINGTON OUTDOOR COMPANY,

                        INC. Dated as of September 26, 2020




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        These Disclosure Schedules (these “Schedules” and each a “Schedule”) are furnished pursuant to
the Asset Purchase Agreement (the “Agreement”), dated as of September 26, 2020, by and
among Remington Outdoor Company, Inc., a Delaware corporation and debtor-in-possession (“ROC”),
each of the subsidiaries of ROC set forth on the signature pages to the Agreement (collectively with
ROC, “Seller”), and Sturm, Ruger & Company, Inc. (“Buyer”). All capitalized terms used but not
otherwise defined herein shall have the meanings set forth in the Agreement, unless the context otherwise
requires.

         These Schedules are hereby incorporated in and made a part of the Agreement as if set forth in
full therein and are an integral part of the Agreement. The information contained in these Schedules is
disclosed solely for purposes of the Agreement, and no information contained herein shall be
deemed to be an admission by any party to the Agreement to any third party of any matter
whatsoever (including any violation of law or breach of contract). These Schedules and the
information and disclosures contained herein are intended only to qualify and limit the
representations, warranties or covenants of the Seller contained in the Agreement and shall not be
deemed to expand in any way the scope or effect of any of such representations, warranties or
covenants. In disclosing the information in these Schedules, Seller does not waive any attorney-client
privilege associated with such information or any protection afforded by the work-product doctrine with
respect to any of the matters disclosed or discussed herein. The disclosures in these Schedules are to be
taken as relating to the representations and warranties as a whole, notwithstanding the fact that these
Schedules are arranged by sections corresponding to the sections in the Agreement, or that a particular
section of the Agreement makes reference to a specific section of the Schedules, and notwithstanding
that a particular representation and warranty may not make a reference to the Schedules. Disclosure of an
item on one Schedule shall be deemed disclosure on all other Schedules to which the applicability of
the disclosure of such item is reasonably apparent on its face from such disclosure.

        Neither the specification of any dollar amount in any representation or warranty nor the
disclosure of a document or information in these Schedules is intended, or shall be construed or offered in
any dispute between the parties to the Agreement as evidence of, the materiality of such dollar amount,
document or information, nor does it establish any standard of materiality upon which to judge the
inclusion or omission of any similar documents or information in such Schedule or any other
Schedule. The headings and descriptions of the disclosures herein are for convenience of reference only
and are not intended and do not alter the meaning of any provision of the Agreement or these Schedules.




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                                  Schedule 1.1(b)
                                  Owned FF&E



                 See Marlin FF&E - Fixed Assets on following pages.




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                                         Marlin FF&E - Fixed Assets


                                                  Marlin FF&E - Fixed Assets
  Product Family          Location      Asset                               Asset description
      Marlin              Huntsville   3016244   W0821-W0827 - Blk Oxide & Passivate Fnshing Lines
      Marlin              Huntsville   3016598   W1386- Upton Salt Bath
      Marlin              Huntsville   3016297   Polisher, Fanuc M710/50 Robot SARF 240626
      Marlin              Huntsville   3016173   W0793 - Talon Barrel Contour/Chamber N2X2500/1000
      Marlin              Huntsville   3016174   W0794 - Talon Barrel Contour/Chamber NLX2500/700
      Marlin              Huntsville   3015395   W1829 - DMG Mori N2X2500/1000
      Marlin              Huntsville   3016520   W1397 Powder Coat Modular Room
      Marlin              Huntsville   3016244   Black Oxide Phase II
      Marlin              Huntsville   3017165   W1601 - Robotic Polish Cell Conversion
      Marlin              Huntsville   3016466   VERTICAL CNC ROBODRILL XT RECV 292318
      Marlin              Huntsville   3016631   W1442-Sarf Barrel Press
      Marlin              Huntsville   3016244   Black Oxide PII Cont/Tank Install
      Marlin              Huntsville   3017043   W1534 - XT Rifle Assembly
      Marlin              Huntsville   3016234   W0837 - Bridgeport GX300 Vert Mill SN GXPB3G0001
      Marlin              Huntsville   3016235   W0838 - Bridgeport GX300 Vert Mill SN GXPB3G0007
      Marlin              Huntsville   3016236   W0839 - Bridgeport GX300 Vert Mill SN: GXPB3G0004
      Marlin              Huntsville   3016237   W0842 - Bridgeport GX300 Vert Mill SN: GXPB3H0022
      Marlin              Huntsville   3016239   W0856 - Bridgeport GX300 Vert Mill SN: GXPB3H0024
      Marlin              Huntsville   3015397   W1828 - DMG Mori NLX2500MC/700
      Marlin              Huntsville   3016598   W1386-Upton Salt Bath Trench System
      Marlin              Huntsville   3016553   Striker Assembly Station
      Marlin              Huntsville   3016519   W1396-Parts Washer (Aluminum-Small Parts)
      Marlin              Huntsville   3016244   Black Oxide PII Misc
      Marlin              Huntsville   3016553   Head Space Machine
      Marlin              Huntsville   3016971   414507 Receiver Die Cast Tool
      Marlin              Huntsville   3017042   XT Error Proof Assy Line Material
      Marlin              Huntsville   3017146   W3102-XT Pack Line Trigger Pull
      Marlin              Huntsville   3016292   CMM MACHINE - XT EXPANSION 292318
      Marlin              Huntsville   3016553   Bolt Assembly Station
      Marlin              Huntsville   3016672   80/20 Material Talon
      Marlin              Huntsville   3017044   W1461 - XT Assy Line Trigger Pull
      Marlin              Huntsville   3016629   W1444-SARF/XT 860 Servo Dual Pos CMT Marker
      Marlin              Huntsville   3016630   W1443-SARF/XT 860 Servo Dual Pos CMT Marker
      Marlin              Huntsville   3016244   Black Oxide PII 6000 Gallon Tank
      Marlin              Huntsville   3016667   W1450 -SARF Line PAC Control
      Marlin              Huntsville   3016549   W0802 - Vibetech Tumbler
      Marlin              Huntsville   3016244   Black Oxide Phase II
      Marlin              Huntsville   3016290   W3115 -SARF RECEIVER HAAS VERTICAL CENTER 292287
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       Marlin             Huntsville   3017200   W3125 Shooting Jack
       Marlin             Huntsville   3017201   W3126 Shooting Jack
       Marlin             Huntsville   3016471   W0855 1017 XT BOLT MACHINING (front & rear)
       Marlin             Huntsville   3016237   WO 842 1017 XT BOLT MACHINING (front & rear)
       Marlin             Huntsville   3016234   W0837 1017 XT BOLT MACHINING (front & rear)
       Marlin             Huntsville   3016235   W0838 1017 XT BOLT MACHINING (front & rear)
       Marlin             Huntsville   3016236   W0839 1017 XT BOLT MACHINING (front & rear)
       Marlin             Huntsville   3016239   W0856 1017 XT BOLT MACHINING (front & rear)
       Marlin             Huntsville   3016243   W1423 - Dust Collector for Robot Barrel Polisher
       Marlin             Huntsville   3017046   W - Torque Arm and Gold RBU
       Marlin             Huntsville   3016461   W1583 - XT BARREL PRESS 292311
       Marlin             Huntsville   3016970   414507 Receiver Cast Trim Die
       Marlin             Huntsville   3016598   W1386- Upton Salt Bath
       Marlin             Huntsville   3016669   W1436 -16061403 SARF Rilfle Trigger Pull St
       Marlin             Huntsville   3017147   W3103 XT Trigger Assembly
       Marlin             Huntsville   3016244   Black Oxide/Passivate Load/Unload Carts (24)
       Marlin             Huntsville   3016520   W1397 Powder Coat Modular Room
       Marlin             Huntsville   3016244   Black Oxide Phase II Refurb West Containment
       Marlin             Huntsville   3016855   W1468-770 Line Torque System
       Marlin             Huntsville   3016856   W1469-770 Line Torque System
       Marlin             Huntsville   3016244   Black Oxide Misc PII
       Marlin             Huntsville   3016667   W1450 -Sarf Line PAC Final 20%
       Marlin             Huntsville   3016901   XT Inner Mag Tube
       Marlin             Huntsville   3016201   Safety Fence and gates Barrel Lines
       Marlin             Huntsville   3016473   TORQUE WRENCH SARF Front/Rear Takedown 292325
       Marlin             Huntsville   3016819   XT Trigger Release G4751200-011 ID 260-10
       Marlin             Huntsville   3016263   BARREL SPINDLE LINERS XT LINE 292296
       Marlin             Huntsville   3016476   DC TORQUE TOOL XT FIRE CONTROL TO RECEIVER 292330
       Marlin             Huntsville   3016477   DC TORQUE TOOL XT SWIVEL STUD, 292330
       Marlin             Huntsville   3016269   DC TORQUE TOOL SARF TRIGR GUARD, SWVEL STUD 292330
       Marlin             Huntsville   3016262   VISION SYSTEM XT BARREL ASSEMBLY 292303
       Marlin             Huntsville   3017045   W1535 - XT Assy Line Cameras
       Marlin             Huntsville   3016462   W1583 - ADD'L spend XT BARREL PRESS 292311
       Marlin             Huntsville   3016273   DC TORQUE TOOL SARF FRONT SIGHT 292330
       Marlin             Huntsville   3016481   DC TORQUE TOOL XT EJECTOR, PEEP SCREWS 292330
       Marlin             Huntsville   3016362   W1355-Rofin Laser Programming and Support
       Marlin             Huntsville   3016631   W1442-Sarf Barrel Press
       Marlin             Huntsville   3017044   W1461-XT Assembly Line Trigger Pull final 10%
       Marlin             Huntsville   3016669   W1436 - 16061403 SARF Rifle Trigger Pull 15%
       Marlin             Huntsville   3015624   W1957 - Cognex Scanner 1A1442PB207179
       Marlin             Huntsville   3016244   Electrical work and Racks Black Oxide
       Marlin             Huntsville   3016244   Black Oxide Electrical Work
       Marlin             Huntsville   3016256   EXTRACTOR PRESS XT ASSEMBLY 292318
                                                       5

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       Marlin             Huntsville   3016291   ADD'L SARF RECEIVER HAAS VERTICAL CENTER 292287
       Marlin             Huntsville   3016462   W1583 - ADD'L spend XT BARREL PRESS 292311
       Marlin             Huntsville   3016630   W1443-SARF/XT 860 Servo Dual Pos CMT Marker tax
       Marlin             Huntsville   3016962   W 1532 - Paint Booth Vacuum
       Marlin             Huntsville   4002264   CMM Programming, XT Front & Rear Bolt 292323
       Marlin             Huntsville   3016598   Upton Salt Bath Water Lift Stations
       Marlin               Illion     3017236   Palmary OCD2025 Extomax Grinder - 251085
       Marlin               Illion     3016900   Marlin Bbl Turn Lathe - 251004
       Marlin               Illion     3015273   DuraVert 5100 w Flange Contact - 250924
       Marlin               Illion     3017059   69964 p 30 6 Station Finger Lever Fix 251007
       Marlin               Illion     3015557   Rofin Laser - 250970
       Marlin               Illion     3014435   Technidrill bbl reaming machine - 250900
       Marlin               Illion     3016902   Marlin Octagone Bbl Mod - 251005
       Marlin               Illion     3015556   Rofin Laser
       Marlin               Illion     3017071   CMM SF-454 - 250999
       Marlin               Illion     3014416   Duravertical 5080 - 250935
       Marlin               Illion     3014417   Duravertical 5080 - 250935
       Marlin               Illion     3017069   Marlin 336 95 Rec Tooling - OP 90 Fixt - 250999
       Marlin               Illion     3014072   Mori Seki VMC - M4 - 250871
       Marlin               Illion     3014411   5100 DURA-VERT VMC PER MAC11829-R1 - 250903
       Marlin               Illion     3014408   5100 DURA-VERT VMC PER MAC11829-R1 - 250903
       Marlin               Illion     3014409   5100 DURA-VERT VMC PER MAC11829-R1 - 250903
       Marlin               Illion     3014410   5100 DURA-VERT VMC PER MAC11829-R1 - 250903
       Marlin               Illion     3017192   MORI SEIKI MILLING MACHINE #8 - 250998
       Marlin               Illion     3017191   MORI SEIKI MILLING MACHINE #9 - 250998
       Marlin               Illion     3015558   DMG MORI 5080 - 250958
       Marlin               Illion     3014105   Fadel 4020 VMC - 250875
       Marlin               Illion     3015559   DMG MORI 5080 - 250958
       Marlin               Illion     3015560   DMG MORI 5080 - 250958
       Marlin               Illion     3017034   M&E
       Marlin               Illion     3014413   5080 DURA-VERT VMC PER MAC11828-R2 - 250904
       Marlin               Illion     3014406   5080 DURA-VERT VMC PER MAC11828-R2 - 250902
       Marlin               Illion     3014407   5080 DURA-VERT VMC PER MAC11828-R2 - 250902
       Marlin               Illion     3013451   Wisconsin - Marlin
       Marlin               Illion     3014078   Mori Seki 635 - 250879
       Marlin               Illion     3014079   Mori Seki 635 - 250879
       Marlin               Illion     3014107   Mori Seki DuraVertical 1035eco - 250880
       Marlin               Illion     3014108   Mori Seki DuraVertical 1035eco - 250880
       Marlin               Illion     3014109   Mori Seki DuraVertical 1035eco - 250880
       Marlin               Illion     3014110   Mori Seki DuraVertical 1035eco - 250880
       Marlin               Illion     3017226   UNIVERSAL LASER Model 6, 15OD - 251094
       Marlin               Illion     3014247   5080 DURA-VERT VMC PER MAC11828-R2 - 250903
       Marlin               Illion     3012017   Barnes Reamer Upgrade - 251091 - 43125
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       Marlin             Illion   3012875   CNC CHECKERING MACHINE - MFC #085-011
       Marlin             Illion   3014088   Mori Seki 1035 - 250877
       Marlin             Illion   3014080   Mori Seki - 250885
       Marlin             Illion   3014084   Mori Seki Dura Verticle 635 - 250878
       Marlin             Illion   3014085   Mori Seki Dura Verticle 635 - 250878
       Marlin             Illion   3016067   Bbl Line Fixture - 250986
       Marlin             Illion   3014142   Finger Lever Fixture - 250875
       Marlin             Illion   3017225   Rosler Rotary Vibrator RI 400S - 251076
       Marlin             Illion   3017225   Rosler Rotary Vibrator RI 400S - 251076
       Marlin             Illion   3017225   Rosler Rotary Vibrator RI 400S - 251076
       Marlin             Illion   3017225   Rosler Rotary Vibrator RI 400S - 251076
       Marlin             Illion   3015276   Cmm Model SP454 - 250966
       Marlin             Illion   3015253   Rotary Table - 250903
       Marlin             Illion   3017070   TGP Fixture Q14-026-E1 - 250999
       Marlin             Illion   3010992   Goff Blaster - 250638
       Marlin             Illion   3015259   CHB-12 notcher - 250903
       Marlin             Illion   3015277   CMM Model SP545 - 250966
       Marlin             Illion   3014408   5100 DURA-VERT VMC PER MAC11829-R1 - 250903
       Marlin             Illion   3014409   5100 DURA-VERT VMC PER MAC11829-R1 - 250903
       Marlin             Illion   3014410   5100 DURA-VERT VMC PER MAC11829-R1 - 250903
       Marlin             Illion   3014411   5100 DURA-VERT VMC PER MAC11829-R1 - 250903
       Marlin             Illion   3015254   Ball Lock Subplate - 250903
       Marlin             Illion   3012822   PW 6 Spindle Reamer rebuild/conversion MFC#015-004
       Marlin             Illion   3012812   CNC Turning Center W/High Pressure Pump NH105-076
       Marlin             Illion   3017058   D-69919 1894 Big Loop OP10 251007
       Marlin             Illion   3017033   M&E
       Marlin             Illion   3013668   DETECHSOL Lathe - 250828
       Marlin             Illion   3012868   Micro Lase Series Marking System
       Marlin             Illion   3017242   Marlin Dark Series Big Loop Lever F410163 - 251101
       Marlin             Illion   3015918   Op 50 Fixture for Marlin - 250981
       Marlin             Illion   3012809   PW 6 SPINDLE REAMER REBUILD - NH 015-003
       Marlin             Illion   3013230   S MInimill - 250808
       Marlin             Illion   3014403   Detroit 15 ton 66"stroke Dual Ram Broach
       Marlin             Illion   3016434   In Process Inspection Laser - 250979
       Marlin             Illion   3015256   39A Fixtures - 250903
       Marlin             Illion   3012829   REBUILD P&W DEEP HOLD DRILL - NH 010-022
       Marlin             Illion   3017068   444 Marlin Carrier Fixture - 250994
       Marlin             Illion   3015919   Op 4 Fixture for Marlin - 250981
       Marlin             Illion   3012871   FANUC ROBODRILL ECO CNC - NH 105-083
       Marlin             Illion   3015564   MAKE OPT10 TGP FIXTURE - 250958
       Marlin             Illion   3012821   Wisconsin Drill/Tap Head rebuild - MFC #008-004
       Marlin             Illion   3017064   VH-8 Index Fourth axis rotary - 251007
       Marlin             Illion   3012830   FANUC ROBODRILL ECO CNC CTR - NH105-086
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       Marlin             Illion   3012827   Rebuild P&W Deep Hole Drill - NH 010-014
       Marlin             Illion   3013254   Used Okuma Crown Marlin - 250820
       Marlin             Illion   3015561   MAKE OPT30 TGP FIXTURE - 250958
       Marlin             Illion   3016432   Marlin 1894 Carrier Fixture - 250991
       Marlin             Illion   3017060   Rotary Table - 251007
       Marlin             Illion   3014414   Equator - 250904
       Marlin             Illion   3012872   HWACHEON CUTEX 160 CNC TURNING CENTER
       Marlin             Illion   3015252   Tag Fixture - 250903
       Marlin             Illion   3013238   Used Brown & Sharp - 250813
       Marlin             Illion   3015008   Modular Plate Kit - 250885
       Marlin             Illion   3014528   DORT 26 - 250914
       Marlin             Illion   3016061   Rec toolong OP 50 39A - 250903
       Marlin             Illion   3016056   406175 Upper Clamp
       Marlin             Illion   3015257   Sliding Balistic Glass Door - 250903
       Marlin             Illion   3015920   Gauge D-68545 Marlin - 250958
       Marlin             Illion   3017067   Start Up tooling for 1894 Big Loop - 251007
       Marlin             Illion   3015562   MAKE OPT20 TGP FIXTURE - 250958
       Marlin             Illion   3015264   Mori Seiki Rotary - 250904
       Marlin             Illion   3017238   Laser Engraving - Gunstock Checkering
       Marlin             Illion   3016055   5601740 SC 39A Bolt Tool - 250903
       Marlin             Illion   3014106   DDRT-260 10" Rotary Table - 250880
       Marlin             Illion   3016433   444 Marlin Carrier Fixture - 250994
       Marlin             Illion   3012766   INDUCTION HEAT TREAT MACHINE - NH119-015
       Marlin             Illion   3016062   Rec toolong OP 10 39A - 250903
       Marlin             Illion   3016063   Rec toolong OP 20 39A - 250903
       Marlin             Illion   3016064   Rec toolong OP 30 39A - 250903
       Marlin             Illion   3016065   Rec toolong OP 40 39A - 250903
       Marlin             Illion   3017035   OTHER - INCLUDE W/M&E
       Marlin             Illion   3012831   CARBO LATHE - NH 041-013
       Marlin             Illion   3012815   FANUC Robodrill 'ECO' - NH105074
       Marlin             Illion   3012873   FADAL 4020 - MFC #105-064
       Marlin             Illion   3012771   OKAMOTO GRINDING MACHINE - NH027-042
       Marlin             Illion   3012869   2D Data Laser Reader
       Marlin             Illion   3017041   Lug Welder - 250779
       Marlin             Illion   3012824   Rebuild B&S #12 - NH021-088
       Marlin             Illion   3012773   FADAL 2216FX - NH105-066
       Marlin             Illion   3014406   5080 DURA-VERT VMC PER MAC11828-R2 - 250902
       Marlin             Illion   3014407   5080 DURA-VERT VMC PER MAC11828-R2 - 250902
       Marlin             Illion   3010947   Auto-Densimeter - 250624
       Marlin             Illion   3013663   Marlin Fadel Fixturing - 250824
       Marlin             Illion   3012813   FANUC Robomate CNC Vertical Machining NH105-071
       Marlin             Illion   3017237   Laser Engraving - Gunstock Checkering
       Marlin             Illion   3017063   69965-16 op20 336 Locator
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       Marlin             Illion   3017066   70904-16 P14-026 op60 locator - 251007
       Marlin             Illion   3012811   Rebuild B&S 12 Plain Milling Machine-MFC #021-105
       Marlin             Illion   3017116   Tool for Marlin Rec Line - 250903
       Marlin             Illion   3017062   69964-45 op30 clamp arm - 251007
       Marlin             Illion   3014405   Indexable Chamber Mill - 250880
       Marlin             Illion   3015260   Marlin Bbl Fixture - 250903
       Marlin             Illion   3017065   4119200 84 CAB 3HP Dust Coll - 251007
       Marlin             Illion   3016057   5614607 Rgh Bot Proof LH 39A - 250903
       Marlin             Illion   3016068   Install 5100 Duravert VMC - 250903
       Marlin             Illion   3015272   Gage for E-67937 - 250904
       Marlin             Illion   3012769   ROBODRILL MATE CNC MACHINE - NH105-044
       Marlin             Illion   3017061   69964-34 op 30 F407261 Locator - 251007
       Marlin             Illion   3015263   Chip Blaster - 250903
       Marlin             Illion   3005455   DEHOFF 4 SPDLE GUN DRILL MCHE 41216 66-1 123244
       Marlin             Illion   3012775   REBUILD P&W D/H DRIL - NH 010-017
       Marlin             Illion   3012816   FANUC Robodrill 'ECO' - NH105-077
       Marlin             Illion   3016432   Marlin 1894 Carrier Fixture - 250991
       Marlin             Illion   3002175   MONORAIL SYSTEM 38846
       Marlin             Illion   3001506   MICROCARB FURNACE 30076 82-1
       Marlin             Illion   3012721   SURFACE GRINDER - HAND FEED - NH027-027
       Marlin             Illion   3012722   MODERN AUTO C-O MACH - NH 075-011
       Marlin             Illion   3012723   HARIG AUTO GRINDER - NH 027-029
       Marlin             Illion   3012724   FIXED CTR TAPPING HD - NH 116-041
       Marlin             Illion   3012726   4 SPINDLE DRILL HD - NH 116-025
       Marlin             Illion   3012727   FRONT&END LOGIC CTRL - NH021-069
       Marlin             Illion   3012728   FRONT&END LOGIC CTRL - NH021-106
       Marlin             Illion   3012729   MATSUURA MILLING - NH105-033
       Marlin             Illion   3012730   2HA-12 HARPERIZER - NH069-032
       Marlin             Illion   3012731   BBL/REC ASSEMBLY MAC - NH082-038
       Marlin             Illion   3012732   LEBLOND MILLING MACH - NH105-034
       Marlin             Illion   3012733   DECKAL TOOL & GRINDR - NH028-039
       Marlin             Illion   3012736   CHERKERING MACHINE - NH085-006
       Marlin             Illion   3012739   1000 ORBITING RIVETR - NH116-074
       Marlin             Illion   3012740   CHECKERING MACHINE - NH085-008
       Marlin             Illion   3012741   VERT KNEE CNC MILL M - NH105-043
       Marlin             Illion   3012742   JOHNFORD MACHINING CTR #1 TWIN SPIND 105-045
       Marlin             Illion   3012743   B&S #12 MILLING MACH - NH021-135
       Marlin             Illion   3012744   MAGNAFLUX DEMAGNITZR - NH 054-004
       Marlin             Illion   3012745   NICHOLS MILLING MACH - NH019-124
       Marlin             Illion   3012746   SHUTTLE MACH - NH008-028
       Marlin             Illion   3012747   WISCONSIN SHUTTLE REBUILD - F-47802 008-028
       Marlin             Illion   3012748   NOBLEWEST MARK MACH - NH 043-025
       Marlin             Illion   3012749   NOBLEWEST MARK MACH - NH 043-021
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       Marlin             Illion   3012750   WISCONSIN 3SPIN VERT REAMER - NH 116-044
       Marlin             Illion   3012751   DAEWOO ACE V35 - NH105-053
       Marlin             Illion   3012752   MATSUURA MACHINING CENTER- 81011633 NH105023
       Marlin             Illion   3012759   MATSUURA MC-710V-DC - NH 105-030
       Marlin             Illion   3012761   ROTARY TABLE W/ELECT - NH105-061
       Marlin             Illion   3012762   CYL PWR DOVETAIL - NH008-004
       Marlin             Illion   3012764   FADAL MACHINING - NH105-061
       Marlin             Illion   3012765   KINGSBURY WISCONSIN - NH 008-004
       Marlin             Illion   3012767   ABSOLENT MIST COLLECTOR - NH094-042
       Marlin             Illion   3012768   INDUCTION HEAT TREAT MACHINE - NH 119-015
       Marlin             Illion   3012772   LAPOINTE BROACH UPGRADE - NH 035-003
       Marlin             Illion   3012779   J&L OPTICAL COMPARTR - NH 083-001
       Marlin             Illion   3012782   CIN HYDRO BROACH MAC - NH035-011
       Marlin             Illion   3012783   B&S MILLING MACHINE - NH021-133
       Marlin             Illion   3012784   PWR SUPPLY & HEAT XC - NH119-019
       Marlin             Illion   3012788   BRIDGEPORT VERTICAL MILLING MACHINE - NH 018-002
       Marlin             Illion   3012791   HYRLIC SURFACE GRINR - NH027-033
       Marlin             Illion   3012792   HORIZONTAL BROACH - NH038-010
       Marlin             Illion   3012793   3HP B&S 7#12 MILLER - NH021-080
       Marlin             Illion   3012795   CAMTROL - NH 041-017
       Marlin             Illion   3012796   B&S#12 PLAIN MILLER - NH021-099
       Marlin             Illion   3012797   COLONIAL BROACH - NH037-016
       Marlin             Illion   3012800   REBUILD BALL SCREWDR - NH 010-018
       Marlin             Illion   3012802   LAPOINTE VERTICAL BROACH KNEE REBUILT 035-002
       Marlin             Illion   3012803   USED CIN RISE & FALL MILL MACHINE - NH023-004
       Marlin             Illion   3012810   WISCONSIN DRILL HEAD REBUILD - NH 008-004
       Marlin             Illion   3012814   Torit VS1200 - Dust Collector
       Marlin             Illion   3012823   TORIT VS1200
       Marlin             Illion   3012825   REBUILD WISCONSIN HEAD - TU-475-245 - NH008-004
       Marlin             Illion   3012849   LEBLOND REGAL LATHE - NH039054
       Marlin             Illion   3012850   42"BPT MILL MACH - NH 018-019
       Marlin             Illion   3012853   CINN CONTOUR GRINDER - NH028-002
       Marlin             Illion   3012854   CINN CONTOUR GRINDER - NH028-003
       Marlin             Illion   3012855   JACKMILL T&C GRINDER - NH 028-038
       Marlin             Illion   3012856   KGS200 SURFCE GRINDR - NH027-030
       Marlin             Illion   3012857   DECKAL TOOL & GRINDR - NH028-040
       Marlin             Illion   3012858   MATSURA 500V W/CRT - NH105-039
       Marlin             Illion   3012859   MATSURA 500V W/CRT - NH105-040
       Marlin             Illion   3012861   ELEC CONTRL C/O MACH - NH075-005
       Marlin             Illion   3012862   RETROFIT ROUTER #5 - EKSTROM NH 067-001
       Marlin             Illion   3012863   RETROFIT #5 ROUTER
       Marlin             Illion   3012864   RICHARDSON COPYLATHE - NH 062-008
       Marlin             Illion   3012865   REBUILT MODERN C/O MACHINE - NH075-005
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       Marlin               Illion     3012866   FANUC Robodrill 'ECO' - NH 105077
       Marlin               Illion     3012867   B&S #12 FRONT AND REAR CONTROL STATION
       Marlin               Illion     3012874   MATSUURA MC760V-DC - NH 105-001
       Marlin               Illion     3013669   A2-5 chuck adapter - 250828
       Marlin               Illion     3014142   Finger Lever Fixture - 250875
       Marlin               Illion     3014404   1013714 Collet 7/16th - 250880
       Marlin               Illion     3014412   A2237 Tool Changer - 250903
       Marlin               Illion     3015255   Retention Knob for Mori Seiki - 250903
       Marlin               Illion     3015261   Bolt Fixture - 250903
       Marlin               Illion     3015262   Drill Unit - 250903
       Marlin               Illion     3015266   Ball Lock Assembly - 250904
       Marlin               Illion     3015267   Upper Design - 409748 - 250904
       Marlin               Illion     3015268   Base Gage for B-69737 & B-52705
       Marlin               Illion     3015269   Base Gage for D-67942 - 250904
       Marlin               Illion     3015270   Base Gage for D-67965 - 250904
       Marlin               Illion     3015271   Gage for E-67921 - 250904
       Marlin               Illion     3016058   Drill Fixture for 39A - 250903
       Marlin               Illion     3016059   Bolt Fixture 39A - 250903
       Marlin               Illion     3016060   Lathe Locators 39A - 250903
       Marlin               Illion     3016066   Program Equator OP 10 39A - 250903
       Marlin               Illion     4001826   2D Data Laser Reader Software
       Marlin               Illion     4001827   DataMan 7500 Software
       Marlin               Illion     4001828   DATAMAN 7500 SOFTWARD
       Marlin               Illion     5000106   CROWN TRUCK 32849
       Marlin             Huntsville             M00127 Barrel Blanking: Mollart Drill
       Marlin             Huntsville             W0791 Barrel Blanking: Unisig Reamer
       Marlin             Huntsville             W0792 Barrel Blanking: Unisig Rifler
       Marlin             Huntsville             W1394 Barrel Blanking: Cell 4 Automation
       Marlin             Huntsville             W1560 M001348 T&C: Bridgeport Mill
       Marlin             Huntsville             M001370 T&C : OKUMA Mill
       Marlin             Huntsville             W1432 Ajax Tocco SARF Heat Induction
       Marlin             Huntsville             W1565 SARF RCVR Robodrill
       Marlin             Huntsville             W1539 SARF RCVR Robodrill
       Marlin             Huntsville             4116M698 Vibetech Tumbler SARF RCVR
       Marlin             Huntsville             W0855 Bridgeport Mill M001374
       Marlin             Huntsville             XT Bolt Shear Test
       Marlin             Huntsville             XT Bolt Torque Station
       Marlin             Huntsville             XT Bolt Handle Bend Station
       Marlin             Huntsville             SARF Inner Mag Tube Assembly
       Marlin             Huntsville             XT/SARF Striker Knob Paint and Bake
       Marlin             Huntsville             W1566 XT RCVR OP10 OKUMA
       Marlin             Huntsville             W1533 XT RCVR Ohio Broach
       Marlin             Huntsville             W2845 XT RCVR Op30-1 Leadwell
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       Marlin             Huntsville   W2846 XT RCVR OP40 Leadwell
       Marlin             Huntsville   W3115 XT RCVR OP40A HAAS Ream/Flex hone
       Marlin             Huntsville   W1562 XT ASSY Bolt Rofin Laser




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                                          Marlin Tooling

                                        Marlin FF&E Tooling
 Plant                Material   Desc                                       Qty
 ILN                   312265    SPINDLE SLEEVES - 80 GRIT 8 1/2 x 10 5/8   200
 ILN                   312894    OIL, CUTTING, ECOCUT 100GD                   2
 ILN                   312957    SOCK SLEEVE 8 X 7-15/32 P/N 5029 (2"        10
 ILN                   312958    PUMP SLEEVE 9" X 13-3/4 " 900DZ 120 GRIT    44
 ILN                   312959    VONNEGUT LOADINGS 4X19-3/8 1/4SLASH 150G    48
 ILN                   312960    PUMP SLEEVE 8" X 7.4687" 900DZ 150J        200
 ILN                   312961    VONNEGUT BRUSHES 4" WHITE SH-65            480
 ILN                   312962    ACTIVATOR, AEROSOL C A GLUE 12 oz #5012      4
 ILN                   312963    FILTER, AIR SPRAY BOOTH PP-020-020-030       9
 ILN                   312964    FILTER, CONE PAPER MEDIUM 6502-78229         6
 ILN                   312965    LINER, BINKS POT 10 GAL (12PK) 868-7766      2
 ILN                   312966    CUP, MEASURING 2.5 QT S-W                    3
 ILN                   312967    SEALER, PRE-CAT LACQUER 30 SHEEN 3-3030     15
 ILN                   312968    TOPCOAT, C.A.B. CLEAR 20 SHEEN 3-2020       11
 ILN                   312969    MARKER,FELT PERFECT BROWN S-W 1-2249         6
 ILN                   312971    MARKER,FELT LIGHT NATURAL BROWN OAK          1
 ILN                   312973    STAIN, SWD DYE S61XXN10700-4323              6
 ILN                   312974    SPONGE,3M ULTRAFINE SANDING, 03346582      250
 ILN                   312983    GLUE, C A 2oz THICK SHER-WILLIAMS 9-3002     1
 ILN                   312984    GLUE,C A 2oz MEDIUM SHER-WILLIAMS 9-2002     3
 ILN                   312985    GLUE, C A 2oz THIN SHER-WILLIAMS 9-1002      2
 ILN                   312986    NEEDLE, SPRAY GUN SP-300S-14-K               2
 ILN                   312987    Oil, Ecocut 484 TC                           2
 ILN                   312990    SEALER, VARNISH VALGUARD CONV # AUS5800    205
 ILN                   312994    VONNEGUT LOADINGS 4X19-3/8 1/4SLASH 220G     6
 ILN                   312997    PUMP SLEEVE 9" X 13-3/4 "RB346MJ 100GRIT   209
 ILN                   312998    PUMP SLEEVE 9" X 13-3/4 "RB346MJ 180GRIT    44
 ILN                   312999    PUMP SLEEVE 9" X 7-15/32"RB346MJ 120GRIT    38
 ILN                   313000    PUMP SLEEVE 9" X 7-15/32"RB346MJ 180GRIT    40
 ILN                   313034    TAPE, MASKING BLUE PAINTERS 2" X 60 YDS      6
 ILN                   313035    BELT,ABRASIVE HERMES 2-1/2 X 132 80 GRIT    76
 ILN                   313036    BELT,ABRASIVE HERMES 3X132 CN466XFLEX120    91
 ILN                   313037    BELT, ABRASIVE NORAX 3 X 132 U254 30X      174
 ILN                   313038    BELT, ABRASIVE NORAX 3 X 132 U254 80X      208
 ILN                   313042    WHEEL, TAMPICO P/N 90210 BRUSH TRIM         96
 ILN                   313044    BELT, ABRASIVE 6x168 600G RB515X HERMES     49
 ILN                   313045    PUMP SLEEVE 9" X 7-15/32"RB346MJ 100GRIT    43
 ILN                   313084    BELT, ABRASIVE 4x132 320G RB515X HERMES    100
 ILN                   313105    COMPOUND, CUTTING LEAROK 418 2 x 4"x 15"     1
                                                 13

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 ILN                      313144   STIKIT DISC 12", 900 DZ P120J, 72383540        245
 ILN                      313149   BELT, ABRASIVE 4x132 100G RB346MJ HERMES       202
 ILN                      313154   BELT, ABRASIVE 4x168 600G RB515X HERMES          60
 ILN                      313155   PLATE,ARBOR 4.25 DIA TO 1.25 HOLE#75342           6
 ILN                      313157   DISC, ABRASIVE 12" DIA 80 GRIT #90843251          6
 ILN                      313158   PAD, BUE-12" ROUND FELT #407222                   1
 ILN                      313174   MEDIA, 46 GRIT ALUMINUM OXIDE G201046            30
 ILN                      313199   BELT, ABRASIVE 5X178 120G CERAMIC CR454Z         22
 ILN                      313200   MEDIA,TRIANGULAR 20 DEGREE VC1-1/8 10550         30
 ILN                      313206   COMPOUND,180GR DIVINE RED LION, 3# TUBE           9
 ILN                      313403   BUFF, OSBORN 12"X3"X1.25A P HR AY120913          23
 ILN                      313404   BUFF, OSBORN 12"X5"X1-1/4 SAY12BR2-J             25
 ILN                      314094   LACQUER STICK,GOLD 517-100-003AB                  3
 ILN                      314210   COMPOUND,COLOR P/N JALC3568 2x2x9                80
 ILN                      314211   COMPOUND,COLOR P/N JALC3776 2x2x9                23
 ILN                      314283   PAINT, SPRAY,FLAT BLACK #789793                   4
 ILN                      314407   WHEEL, GRINDING,23A54-L5VBE 24X5-1/4X1/2          1
 ILN                      314425   WHEEL, CUT-OFF ,DREMEL#426 3W842                 50
 ILN                      314558   WHEEL, GRINDING 66253306699 14"x1/2x5             3
 ILN                      314563   PELLETS,CLEANING .45 CAL #929-105-450AB           6
 ILN                      314564   PELLETS,CLEANING .30 CAL #929-105-300AB           3
 ILN                      314565   PELLETS,CLEANING .357 CAL #929-105-357AB          4
 ILN                      314566   PELLETS,CLEANING .22 CAL #929-105-022AB           1
 ILN                      314567   PELLETS,CLEANING .338 CAL #929-105-338AB          4
 ILN                      315015   GLOVE, a3 Cut Resis, Size Sm 51611820          120
 ILN                      315017   GLOVE, A3 Cut Resis, Size LG 51611796            36
 ILN                      315040   TAG, BLUE U-LINE S-2410BLU                        2
 ILN                      315041   TAG, GREEN U-LINE S-2410G                         3
 ILN                      315128   SEGMENT,GRINDING#P370767 11-5/16x2-1/8x6         43
 ILN                      315129   BELT, ABRASIVE 4x132 320G RB346MJ HERMES       160
 ILN                      315135   SLEEVE, CANVAS 3 X 9 P/N 5039                    14
 ILN                      315136   BLADDER, RUBBER 3 X 9 P/N 3900                   16
 ILN                      315170   BAG, POLY U-LINE S-1004 6x12 2 MIL         2,000.00
 ILN                      315184   STAPLE, U-LINE S-22480                            1
 ILN                      315244   BUFF, DISC ,12"DIA 20 PLY 555-FIF-168            90
 ILN                      315246   STAIN, MARLIN DR50GA VALSPAR                     48
 ILN                      315249   GUN BLUE,BROWNELLS #082-440-002WB-44/40           5
 ILN                      315271   ROLL, MASKING .75" x 1.5" 3M 1280                24
 ILN                      315327   TAG,U-LINE S-6042PW-10 INC HAWKS-6401770   9,000.00
 ILN                      315364   GREASE,HIGH PERF. SHELL GADUS S2 V220 00          2
 ILN                      315479   PAD, HI FLEX SCUFFING 4-1/2x5-1/2 180G            1
 ILN                      315535   BELT, ABRASIVE 4 x 168 220G CORK HERMES        411
 ILN                      315693   ROLL, ANTI RUST PAPER U-LINE #S-12819             1
                                                   14

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 ILN                      315704   WHEEL, BADOR 9/16DX 2"W 3/16 SHANK                4
 ILN                      315705   WHEEL, BADOR 1-1/2"DX 2"W 70DUR SMOOTH            3
 ILN                      315706   WHEEL, BADOR 1"DX 2"W 70DUR SMOOTH                1
 ILN                      315707   WHEEL, BADOR 3/4"DX 2"W 70DUR SMOOTH              6
 ILN                      316767   HANDLE, DEBURRING NOGA PV1000 #73454837           4
 ILN                      317309   3/4"-8MM MILLING SLEEVE                           4
 ILN                      317477   1 1/2" OPEN END WRENCH                            2
 ILN                      317526   COLLET, REDUCER, 1.25 TO 1, P/N 1093536           2
 ILN                      317530   BELT,ALUM.OXIDE 280 GRIT 4x168 RB525           345
 ILN                      317540   BELT, POLISHING, 2X132, 180 GRIT JA 165          50
 ILN                      317542   BELT, POLISHING, 4X132, 400 GRIT CORK          100
 ILN                      317543   SET SCREW, DOUBLE, M6X1, STCM11                   9
 ILN                      317583   UN 1814, POTASSIUM HYDROXIDE, SOLUTION            5
 ILN                      317596   BELT, POLISHING, 4"X168", 240 GRIT             189
 ILN                      317607   CHUCK JAWS, 22 CAL, B-4381                        4
 ILN                      317623   BELT, ABRASIVE, 4"X36", 240 GRIT AL OXID         20
 ILN                      317643   CHUCK, HYDRAULIC, 8MM, CV40BHCSLT08M669           1
 ILN                      317671   BADER WHEEL, 5/8" X 2", 3/16" SHANK               6
 ILN                      317673   BELT, JFLEX POLISHING, 600 GRIT                610
 ILN                      317674   BELT, POLISHING, KK772J COMPACT GRAIN          162
 ILN                      317677   AMLOK-PNEU. ROD CLAMP, ADV-100250MXO              1
 ILN                      317703   BIT, SLOTTED SCREWDRIVER, BROWNELLS              11
 ILN                      317994   COOLANT, FUCHS ECO COOL 715 (TOTE)                1
 ILN                      317995   MATS FOR HANGING BULLET TRAP                      1
 ILN                      318043   END CAPS, VINYL, 1.5" DIA.                 2,500.00
 ILN                      318064   471 TAPE, 3/4" WIDE, WHITE, MSC 06269799         18
 ILN                      318065   471 TAPE, 1/2" WIDE, RED                       120
 ILN                      318073   WISURA 2315LC/F, 55 GAL. DRUM                     8
 ILN                      318113   POUCH, FOAM, 1/8 X 8 X 16                  3,000.00
 ILN                      318176   SHIM STOCK, PLASTIC, .01", BROWN SHEET            1
 ILN                      318177   SHIM STOCK, PLASTIC, .015" , PINK SHEET           2
 ILN                      319752   PLUNGER, SPRING, CL-30-SPS-1                      7
 ILN                      319793   ABRASIVE, 3M, 405U SAND PAPER - MARLIN            9
 ILN                      319895   COMPOUND, ZF-113, 55 GALLON                       4
 ILN                      320105   TAPE, MASKING HI-TEMP, 2", MSC 06270458          12
 ILN                      320193   MEDIA, POLISH RCP 9.5/9.5S-V15 TRIANGLE        700
 ILN                      320253   SLEEVE, 3M, 9 X 10 5/8, 80 GRIT                450
 ILN                      320254   SLEEVE, 3M, 9 X 10 5/8, P150 GRIT                50
 ILN                      320258   BELT, ABRASIVE 320 GRIT, 2X168, KK772J         100
 ILN                      320337   Locator, 336 D-68494-28                           1
 ILN                      320480   .433/11mm, S.C. Brush, 320 grit                  47
 ILN                      320481   .472/12mm, S.C. Brush, 320 grit                  28
 ILN                      320482   .500/12.7mm, S.C. Brush, 320 grit                24
                                                   15

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 ILN                      320483   .394/10mm, S.C. Brush, 320 grit            29
 ILN                      320554   038" Screw Driver Bit, Ball Lock           40
 ILN                      320563   .026" Screw Driver Bit, Ball Lock          30
 ILN                      320692   Step Motor Single Shaft 100-0013-00-A       2
 ILN                      320753   Rail X Axis 32" 700-0381-00D                1
 ILN                      405099   06 BEARING, NEEDLE B-912-OH obs             8
 ILN                      423015   LENS KIT 145-0021-00-C 2.5"UNIVER. LASER    1
 ILN                      423293   BELT, TIMING 140XL037                       4
 ILN                      423303   ASSEMBLY,GUN GUYSON#100043 MOD#400BRONZE    2
 ILN                      423304   NOZZLE, GUYSON#100011 1/4"BORON CARBIDE     3
 ILN                      423305   ASSEMBLY,GUN GUYSON#100003 MOD#900BRONZE    2
 ILN                      423306   NOZZLE, GUYSON#100015 1/2"BORON CARBIDE     1
 ILN                      423354   CYLINDER, ENERPAC RW-50                     3
 ILN                      423364   BUSHING, ARBOR TAPERED BROWN-SHARPE         3
 ILN                      423424   LOCKOUT, ELECTRICAL PLUG, MSC 04604781      1
 ILN                      423443   MOTOR, X-AXIS DRIVE SCHMIDT P/N 010604      1
 ILN                      423444   MOTOR, Y-AXIS DRIVE SCHMIDT P/N 010603      1
 ILN                      423445   SPRING ASS'Y ,BODY SCHMIDT P/N 010082       5
 ILN                      423446   O-RING, BODY ASS'Y SCHMIDT P/N 010083      10
 ILN                      423447   PIN,MARKING FOR SHORT STYLUS P/N09003701    3
 ILN                      423448   STYLUS ASS'Y,SHORT W/LONG PINP/N09003007    2
 ILN                      423453   AIR JET, 7/64" GUYSON#100139                5
 ILN                      423548   FILTER, CHIP BLASTER #3015-10              11
 ILN                      423553   WHEEL, CONTACT 70 DURO FORK 9/16" x 2"     12
 ILN                      423555   FILTER BAG SET McMASTER-CARR #2168K43       1
 ILN                      423844   NUT,ARBOR BRASS, 1"-8LH                     3
 ILN                      423846   NUT,ARBOR BRASS, 1"-14 RH                   5
 ILN                      423847   NUT,ARBOR BRASS, 1"-14 LH                   2
 ILN                      423974   CYLINDER, HYDRAULIC ENERPAC SLSD-51         2
 ILN                      423993   CLIP, ENERPAC CYLINDER PA1157049           10
 ILN                      424165   LOCATOR PIN, MARLIN OP30                    9
 ILN                      424433   CHUCK, HYDRAULIC, CV40BHCSL050669           4
 ILN                      424434   COLLET, REDUCER, 3/4" TO 16MM               3
 ILN                      424435   FAIRLANE TOOL STEEL SERRATED GRIPPER       14
 ILN                      424436   WORK SUPPORT, ENERPAC WFM71 .38" STROKE     2
 ILN                      424442   FIXTURE, OP10, 1894 FINGER LEVER            2
 ILN                      424454   OCTAGON BARREL JAWS                         9
 ILN                      424463   FIXTURE, OP10, 1894 TEXAS FINGER LEVER      4
 ILN                      424464   PIN, LOCATING, 336/1895/1894 OP20           4
 ILN                      424465   PIN, LOCATING, 336/1895/1894 OP30           4
 ILN                      424585   MIST LUBE SPRAY COOLANT - KLINGELHOFER      2
 ILN                      424660   TAILSTOCK CENTER, LATHE, 102715071-A18      2
 ILN                      424661   TAILSTOCK CENTER, LATHE, 102715071-A11      1
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 ILN                      424662   TAILSTOCK CENTER, LATHE, 102715071-A12      2
 ILN                      424663   TAILSTOCK CENTER, LATHE, 102715071-A13      1
 ILN                      424664   TAILSTOCK CENTER, LATHE, 102715071-A14      2
 ILN                      424665   TAILSTOCK CENTER, LATHE, 102715071-A15      2
 ILN                      424667   TAILSTOCK CENTER, LATHE, 102715071-A17      2
 ILN                      424714   LINE, HYDRAULIC SLIM 3/4" KENN 75669        5
 ILN                      426597   TIMING BELT, CAM-5 WOOD LASER, 264-3M-15    4
 ILN                      426598   TIMING BELT, CAM-5 WOOD LASER, 339-3M-15    4
 ILN                      426599   TIMING BELT, CAM-5 WOOD LASER, 300-3M-15    4
 ILN                      426600   TIMING BELT, CAM-5 WOOD LASER, 228-3M-15    4
 ILN                      426601   TIMING BELT, UNIVERSAL, Y, 21-1405          2
 ILN                      426623   TIMING BELT, CAM-5 WOOD LASER,2388-3M-15   10
 ILN                      426624   TIMING BELT, UNIVERSAL, Z LONG, 21-1210     4
 ILN                      426625   TIMING BELT, UNIVERSAL, X, 21-1404          5
 ILN                      426626   TIMING BELT, UNIVERSAL, Z SHORT, 21-1110    4
 ILN                      426628   BELT, DRIVE, X AXIS, GT3-460-5MGT-25        4
 ILN                      426629   BELT, DRIVE, Y AXIS, GT3-525-5MGT-25        2
 ILN                      426630   BELT, DRIVE, Z AXIS, GT3-525-5MGT-25        2
 ILN                      427116   Velcro - Wood Laser Fixtures                2
 ILN                      427117   Pressure Cylinder Top Lid PLS Series        4
 ILN                      427118   Flex Ribbon Cable - Wood Laser              3
 ILN                      427119   Key Pad - Wood Laser - X Series             4
 ILN                      427120   Screw - Wood Laser - Lens Cover             6
 ILN                      427124   Pressure Cylinder Top Lid X2-660 Series     2
 ILN                      427126   Lexan Door Window - Series X Wood Laser     1
 ILN                      427128   LCD Display Board - Wiod Laser- X Series    4
 ILN                      427143   Beam Window - Wood Laser                    4
 ILN                      427144   Glass Door Window - Series P Wood Laser     1
 ILN                      427145   Removable Drill Bushing #SF328.2900 "L"     2
 ILN                      427146   Lower Flex Board - Wood Laser               3
 ILN                      427147   Upper Flex Board - Wood Laser               4
 ILN                      427247   Wood Laser Y Axis Wheel                     8
 ILN                      427263   GRIPPER, PNEUMATIC PHD-GRS33-1-63X32-CU     3
 ILN                      427393   CLAMP, ARM C-68501-36, OP 50                1
 ILN                      427464   Spray Gun Tool Kit BIN-K-5052               5
 ILN                      427465   Spray Gun Baffle BIN-AS-17-100-K OBS 120    5
 ILN                      700109   ARBOR,MILLING,STYLE B SCULLY JONES 36162    1
 ILN                      700133   BIT, SCREWDRIVER, APEX 493-BX              14
 ILN                      700134   BIT, SCREWDRIVER,PHILLIPS APEX 552-X       11
 ILN                      700236   CHUCK, COLLET, UNIVERSAL AF80350 300KS      2
 ILN                      700642   DRILL, STR SHANK-JOBBERS LENGTH #N          2
 ILN                      700675   DRILL, COMBINATION,PLAIN TYPE 8             3
 ILN                      700757   ENDMILL, 4 FLUTE-S E.-R.H. 9/16"           10
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 ILN                      703471   BLADE, WORK REST B-83724                      2
 ILN                      703552   DRILL, STR SHANK,TAPER LENGTH 'F'             5
 ILN                      709613   COLLET, KENNAMETAL 32ER0750 3/4"              3
 ILN                      709616   COLLET, BB14 25ER0500 1/2"                   10
 ILN                      710355   HOLDER, TOOL KENNAMETAL KGMSR1650N            2
 ILN                      714708   DRILL, GARR #41 CARBIDE EDP#56240            22
 ILN                      715160   button, Bore C-4683-00, Complete w/Rod        7
 ILN                      715174   DRILL, STEP REF#32110 A-9249                 52
 ILN                      715195   Tool, Form Barrel A-6256-00                   8
 ILN                      715205   REAMER, BORE A-8900-00                       24
 ILN                      715222   Reamer, Bore finish A-8896-00                17
 ILN                      715225   Drill, Deep Hole B-7460-00                   36
 ILN                      715226   06 Drill, Chamber Rough B-7469-00 OBS        12
 ILN                      715232   BROACH, HORIZONTAL C-2025 DET #1              3
 ILN                      715234   ENDMILL,A-8229-00                             2
 ILN                      715235   Reamer, Carbide Bore A-9255-00               20
 ILN                      715236   06 Reamer, Bore A-9329-00                    19
 ILN                      715241   ENDMILL, A-5826 HSS, 336 RECEIVER             7
 ILN                      715242   BUSHING, B-3435 RECEIVER 336 D. HOLE          7
 ILN                      715243   BUSHING, B-4462 336 DEEP HOLE DRILL           6
 ILN                      715244   06 Carrier, Milling CTR. B-2392-00 SET/8      2
 ILN                      715247   06 C'sink, Chamber B-3120-00 OBS              6
 ILN                      715248   Reamer, Chamber Rough B-3121-00              15
 ILN                      715251   06 C'BORE,W/PILOT B-3119-011895.45-70 OBS     2
 ILN                      715256   Drill, Deep Hole B-4038-00                   49
 ILN                      715257   Cutter B-4048-00                              5
 ILN                      715258   Drill, Deep Hole B-4090-02                   32
 ILN                      715266   Tool, Form Blank, Barrel B-4266              20
 ILN                      715269   ZZ C'sink, Chamber B-4458-00                  7
 ILN                      715271   06 Form Tool, Barrel, Modern B-4611-00 OBS    3
 ILN                      715273   Drill, Deep Hole, Barrel B-5265-00           35
 ILN                      715274   06 TOOL CUT OFF B-4546 OBS                    2
 ILN                      715277   DRILL, SUBLAND B-7162 RECEIVER 450           11
 ILN                      715282   Tool, Form B-5517-00                          5
 ILN                      715283   06 HOLDER, TAP D-1297 OBS                     3
 ILN                      715285   06 ENDMILL, Ball B-6599-00 OBS                3
 ILN                      715286   Reamer, Bore B-6715-00                       15
 ILN                      715288   Reamer, Bore B-6716-00                       21
 ILN                      715290   Reamer, Bore B-6718-00                       15
 ILN                      715295   Drill, Deep Hole B-6938-1                    24
 ILN                      715297   06 Reamer, Chamber, Finish B-6949-00 OBS      8
 ILN                      715298   06 Reamer, Finish B-6950-00 OBS               1
 ILN                      715300   Tool, Form Circular B-6975-00                 7
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 ILN                      715301   Drill, Deep Hole B-7150-00                    13
 ILN                      715302   Reamer, Bore B-7153-00                        10
 ILN                      715303   06 Reamer, Chamber Rough B-7156-00 OBS         6
 ILN                      715307   DRILL, STEP MARLIN A-8276                      3
 ILN                      715308   CUTTER, CHECKERING MARLIN B-6534              32
 ILN                      715313   06 BROACH, VERTICAL C-2209-00, SET OF 3        3
 ILN                      715314   06 BROACH, VERTICAL C-2210-00 SET OF 2 OBS     2
 ILN                      715315   06 BROACH, INSERT C-2816-00 SET OF 3 OBS       2
 ILN                      715318   Tool, Crowning C-3195-24                       2
 ILN                      715319   Button, Rifling, No coating C-3669-00          6
 ILN                      715320   Reamer, Chamber Rough C-4516-00               16
 ILN                      715326   ZZ Reamer, Chamber Rough C-4860-00 OBS        12
 ILN                      715329   BROACH, BORE 45 CAL. D-2889-01                 3
 ILN                      715330   BROACH, RIFLING 45 CAL. D-2889-02              4
 ILN                      715331   BROACH, D-3000-01                              8
 ILN                      715332   BROACH, D-3000-02                              7
 ILN                      715333   Broach, Bore, Rifling D-3001-01               15
 ILN                      715334   Broach, Groove, Rifling D-3001-02             23
 ILN                      715335   BROACH, GROOVE D-3002-02                       8
 ILN                      715336   Broach, Bore, Rifling D-3081-01                8
 ILN                      715337   Broach, Groove, Rifling D-3081-02              6
 ILN                      715338   06 Broach, Bore, Rifling D-3090-01             7
 ILN                      715339   06 Broach, Groove, Rifling D-3090-02           9
 ILN                      715340   Broach, Bore D-3381                            7
 ILN                      715341   Broach, Rifling D-3382                         9
 ILN                      715362   Insert, TNMG432M5, VALENITE                   30
 ILN                      715364   Endmill, Ball 4fltd 9/64"                     24
 ILN                      715366   Insert, Carbide TPMA 32NGR 0463 612           57
 ILN                      715375   Insert, Iscar DGR4803C-4D 328                 60
 ILN                      715376   Blade, Iscar DGAMM-38-4                       14
 ILN                      715395   06 Tool, Shave, A-068-00, RECEIVER 39A         6
 ILN                      715396   06 ENDMILL, Receiver 39 A-0087-00              6
 ILN                      715413   Plug, Breech Gallery NoGo A-0925-01           10
 ILN                      715414   Plug, Breech Assembly Go A-0925-02            15
 ILN                      715415   Plug, Breech Assembly No-Go A-0925-03          3
 ILN                      715416   06 Router, Forearms A-1138-00 OBS             36
 ILN                      715417   Cutter, Finger Lever 39 A-1140-00              4
 ILN                      715418   06 Cutter,T-Slot, Receiver 36 A-1202-00 OBS   59
 ILN                      715421   Plug, Breech, Assem Max 35 Rem A-2220-00       8
 ILN                      715422   06 Drill, Subland, Receiver 39 A-3671         26
 ILN                      715424   Plug, Breech 44 Gallery No-Go A-4340-01        8
 ILN                      715425   Plug, Breech 44 Assembly Go A-4340-02          2
 ILN                      715426   Plug, Breech 44 Assembly No Go A-4340-03       2
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 ILN                      715431   Plug, Breech 45/70 Assem Go A-5619-01          11
 ILN                      715432   Plug, Breech 45/70 Assem No-Go A-5619-02        9
 ILN                      715433   Chamfer Tool, Chamber 95 A-5625-00             19
 ILN                      715434   06 Center, Live, Barrel 39 A-6022-04           12
 ILN                      715435   06 Center, Live, .654 Dia. A-6022-05           12
 ILN                      715436   06 Center, Live, .667 Dia. A-6022-06           12
 ILN                      715437   06 Center, Live, .813 Dia A-6022-13            12
 ILN                      715438   Cutter, Cut Off A-6086-00                      12
 ILN                      715440   ZZ PILOT, C'SINK 38/55 B-6869 DET#3            15
 ILN                      715441   Cutter, T-Slot, Receiver 95 A-6278-00          14
 ILN                      715446   Reamer, Receiver 94 A-6512-00                   5
 ILN                      715448   Plug, Breech, 357 Assembly Go A-6557-02         3
 ILN                      715449   Plug, Breech, 357 Assem No-Go A-6557-03        10
 ILN                      715450   Cutter, Roughing A-7208, 336, 94,444            8
 ILN                      715455   06 Pilot, .349 Dia., 35 Cal. A-7650-02         12
 ILN                      715458   06 Pilot, .451 Dia., 45-70 Cal. A-7650-05      12
 ILN                      715461   06 Pilot, 338 Marlin A-7650-20                 12
 ILN                      715462   06 Stamp, Proof, JM A-7847-00 HI-POW. BBLS      6
 ILN                      715464   Plug, Breech, 45 Colt Ass NoGo A-7981-02        3
 ILN                      715468   ZZ PILOT, C'SINK 338 MX B-6869 DET#6           15
 ILN                      715469   Mill, Thread, Rec 450 & 308 A-8996-00           8
 ILN                      715470   ENDMILL, Receiver 450 A-8997-00                 6
 ILN                      715471   Reamer, Bore 30/30 A-9012-00                   34
 ILN                      715472   06 DRILL,C'Sink, Barrel 30/30 A-9072 **OBS*    12
 ILN                      715473   Cutter Set A-9073-00                           12
 ILN                      715474   Reamer, Special, 450 A-9123-00                 16
 ILN                      715475   06 Reamer, Bore, Carbide 444 A-9254-00 OBS     12
 ILN                      715480   06 Cutter w/flat 39 Receiver B-5775             4
 ILN                      715481   Cutter, T Slot, 36 Hammer B-5866-00           101
 ILN                      715482   Drill & Holder B-5868-00                       56
 ILN                      715483   Reamer, Mag Hole, Deburr, .560 A-9278-03        6
 ILN                      715486   Plug, Breach, No Go Assy, 410 A-9340-02         4
 ILN                      715487   06 CutterFormLoadingSpring338 A-9349 OBS        9
 ILN                      715488   ENDMILL, Receiver 94 A-9419-00 OBS             12
 ILN                      715489   06 Cutter, Miller, RecTang 39 B-0004-00         3
 ILN                      715490   06 Cutter, Gang, Bold 39 B-0009-00              3
 ILN                      715494   DRILL, COMB and C'BORE B-3376                  45
 ILN                      715496   06 DRILL GUIDE, BARREL B-3527-01 OBS           11
 ILN                      715497   Tap, 336 Receiver B-3473                       48
 ILN                      715498   06 Drill Guide, 357 B-3527-02 OBS               4
 ILN                      715499   Drill Guide, 45/70 B-3527-04                    4
 ILN                      715500   Drill Guide, 44 B-3527-05                      12
 ILN                      715501   Drill Guide, 32/20 B-3527-12                    8
                                                     20

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 ILN                      715503   06 Drill Guide, 30 B-3527-21 OBS               8
 ILN                      715504   06 Drill Guide, 38/55 B-3527-22                6
 ILN                      715505   06 Drill Guide, 444 B-3527-23                  6
 ILN                      715506   06 Drill Guide, 338 B-3527-25                  8
 ILN                      715507   06 Drill,DeepHole,Bolt20' 36B-3608-00 OBS     43
 ILN                      715508   DRILL, SUBLAND B-4236 1895 RECEIVER           19
 ILN                      715510   Drill, Deep Hole 44 Mag .412 B-4090-01        14
 ILN                      715511   Bushing, Driven, 336 Barrel B-4131-A          10
 ILN                      715512   Drill, Subland, Receiver 357 B-4371-00         6
 ILN                      715513   CUTTER, CONVEX B-1058-01 SETS OF 2             2
 ILN                      715515   ROLL, MARKING B-7005 MARLIN BBL                4
 ILN                      715516   REAMER, Carbon Steel, Receiver B-4525-00      36
 ILN                      715518   Tool Bit, 336 Breech Bolt B-4616-00           48
 ILN                      715521   Barrel Tap, 39 Receiver B-4633                13
 ILN                      715525   Drill,Chamber25/32,33630-30B-4866-00 OBS      12
 ILN                      715529   06 Button, Rifling, 32-20 B-5489-01            4
 ILN                      715532   REAMER, BREECH BOLT M336/94 A-766             28
 ILN                      715543   ROLL, MARKING B-7117 MARLIN BBL                3
 ILN                      715544   06 CENTER,TAIL STOCK B-6383-06                 3
 ILN                      715546   Safety, 9 1/4 Lg. 45 Colt B-6420-02           28
 ILN                      715547   Safety, 357 Magnum B-6751-00                   6
 ILN                      715548   Safety, 9 1/4 Lg, 357 Mag B-6752-00           13
 ILN                      715549   Safety, Broach, 30-30 B-6877-00               40
 ILN                      715550   Drill, Deep Hole, 38-55, 48 LG B-6880-00       8
 ILN                      715551   Safety, Broach, 444 B-6884-00                  8
 ILN                      715552   ARBOR, B-4238 1895 RECEIVER                    2
 ILN                      715554   06 Reamer,ChamberSemiFin450B-6953-00 OBS       2
 ILN                      715555   06 Bushing, Drive 39 Barrel B-6962-02          6
 ILN                      715556   Bushing, Driving 36, 94 Barrel B-6962-03       5
 ILN                      715557   06 Bushing Drive 1.031,1895B-6962-05 OBS       6
 ILN                      715558   Bushing, Drive - 450 Caliber B-6985-00         6
 ILN                      715560   Reamer, Chamber,Semi Fin 30-30 B-7006-00      14
 ILN                      715562   Drill,Deep Hole 45-70Cal 52 lg B-7020-00      23
 ILN                      715563   Reamer, Chamber, Finish, 35 B-7021-00          6
 ILN                      715565   Reamer, Chamber, Rough, 35 B-7023-00           4
 ILN                      715566   06 Reamer, Bore 45/70 B-7326-00 OBS           12
 ILN                      715567   Pull Rod, Broach, 357 Caliber C-4425-00       16
 ILN                      715569   Pull Rod, Broach,30-30 Caliber C-4520-00       4
 ILN                      715570   Pull Rod, Broach, 44 Caliber C-4525-00        17
 ILN                      715571   Button,Rifling,30-30 4140 Ma'l C-4584-00      31
 ILN                      715572   Button, Rifling, 35, Coated C-4601-00         12
 ILN                      715573   06 ENDMILL, Ball SGS36546CARB 3/4 X 1/2 X4     5
 ILN                      715579   06 SAW,CIRCULAR BCT 200 x 2.0 x 32T x 120SC   12
                                                    21

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 ILN                      715581   Bushing, Drive B-3838-1                     2
 ILN                      715582   Bushing, Drive B-3838-4                     4
 ILN                      715587   Endmill, Carbide 4fltd 9/64"x 3/16 SH CC    3
 ILN                      715588   Bushing, Drive B-3838-3                     3
 ILN                      715590   Jaw, Chuck B-4382-A,Sell in sets of 2       5
 ILN                      715593   TAP, B-3968 336 RECEIVER MARLIN 30/30      18
 ILN                      715594   06 Adapter A-1013 OBS                       3
 ILN                      715595   Cutter A-1453                              40
 ILN                      715597   Cutter, Rad. A-2274, FORM RELIEF SET/2     12
 ILN                      715598   Finger, Driving A-5788                      6
 ILN                      715599   Cutter A-2926 DOUBLE ANGLE, BR. BOLT 336    6
 ILN                      715606   Drill w/ Extention A-6406                  32
 ILN                      715616   Cutter A-9284, BREECH BOLT 1895             9
 ILN                      715621   Die, Thread Chasing B-2307                  7
 ILN                      715624   Bushing, Drive B-3838-2                     3
 ILN                      715625   Center, Tailstock B-4514                    3
 ILN                      715630   Holder, Tool B-4619                         1
 ILN                      715632   Drill, 8.1 mm B-4864 OBS                   12
 ILN                      715636   Wheel, Borozon B-5626                       4
 ILN                      715640   Drill , HAND DEBURRING TOOL B-6999-2        1
 ILN                      715642   Drill, Precision Twist 3.2 mm #78513199    24
 ILN                      715644   Saw, Cut Off A-7043                        11
 ILN                      715649   Breech Bolt, Milling Cutter C-2501          6
 ILN                      715652   Stamp, Roll B-7139                          3
 ILN                      715657   06 Plate, Former B-2518                     3
 ILN                      715658   06 Bushing, Rear B-5838-03 OBS              3
 ILN                      715659   06 Bushing, Rear B-5838-08 OBS              3
 ILN                      715662   ENDMILL, 1/4 Carbide A-8099                 6
 ILN                      715665   DRILL, Necking A-6407                      23
 ILN                      715666   06 Holder A-820 OBS                         3
 ILN                      715668   06 ENDMILL, A-8496 OBS                     10
 ILN                      715674   ARBOR, B-4239 336 RECEIVER                  2
 ILN                      715678   06 REAMER, CHAMBER SEMI-FIN 30-06 C-4778   13
 ILN                      715679   06 REAMER, CHAMBER FINISH 30-06 C-4779     13
 ILN                      715735   DRILL, STEP MARLIN A-8276 (SK) (R)         13
 ILN                      715736   DRILL, MARLIN A-7702                       12
 ILN                      715738   06 BROACH INSERT C-2053-2                   1
 ILN                      715739   06 BROACH INSERT SPACER C-2053-3 OBS        4
 ILN                      715740   06 BROACH INSERT C-2053-4                   1
 ILN                      715741   06 BROACH INSERT C-2053-5                   1
 ILN                      715742   06 BROACH INSERT C-2053-6                   5
 ILN                      715744   BROACH INSERT LEFT SIDE C-3517-1            3
 ILN                      715745   BROACH INSERT LEFT SIDE C-3517-2            1
                                                   22

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 ILN                      715746   BROACH INSERT LEFT SIDE C-3517-3       2
 ILN                      715747   BROACH INSERT LEFT SIDE C-3517-4       3
 ILN                      715748   BROACH INSERT LEFT SIDE C-3517-5       3
 ILN                      715749   BROACH INSERT LEFT SIDE C-3517-6       2
 ILN                      715750   BROACH INSERT LEFT SIDE C-3517-7       3
 ILN                      715751   BROACH INSERT LEFT SIDE C-3517-8       6
 ILN                      715752   BROACH INSERT LEFT SIDE C-3517-9       1
 ILN                      715753   BROACH INSERT LEFT SIDE C-3517-10      2
 ILN                      715754   BROACH INSERT RIGHT SIDE C-3531-1      3
 ILN                      715755   BROACH INSERT RIGHT SIDE C-3531-2      2
 ILN                      715756   BROACH INSERT RIGHT SIDE C-3531-3      3
 ILN                      715757   BROACH INSERT RIGHT SIDE C-3531-4      3
 ILN                      715758   BROACH INSERT RIGHT SIDE C-3531-5      3
 ILN                      715759   BROACH INSERT RIGHT SIDE C-3531-6      3
 ILN                      715763   CUTTER, B-6507-00 336 RECEIVER         4
 ILN                      715770   CUTTER, A-9135 RECEIVER 1895          20
 ILN                      715773   06 BROACH INSERT C-2053-7              1
 ILN                      715774   BROACH INSERT SPACER C-2053-8          3
 ILN                      715775   BROACH INSERT SPACER C-2053-9          2
 ILN                      715776   06 BROACH INSERT C-2053-10             1
 ILN                      715777   BROACH INSERT SPACER C-2053-11         2
 ILN                      715778   06 BROACH INSERT C-2053-12             1
 ILN                      715779   BROACH INSERT SPACER C-2053-13         2
 ILN                      715780   06 BROACH INSERT C-2053-14             1
 ILN                      715781   06 BROACH INSERT C-2053-15             1
 ILN                      715782   06 BROACH INSERT C-2053-17             2
 ILN                      715783   06 BROACH INSERT C-2053-18             1
 ILN                      715784   BROACH INSERT SPACER C-2053-19         2
 ILN                      715785   06 BROACH INSERT C-2053-20             1
 ILN                      715786   BROACH INSERT SPACER C-2053-21         2
 ILN                      715787   06 BROACH INSERT C-2053-22             1
 ILN                      715788   06 BROACH INSERT C-2053-23             1
 ILN                      715789   06 BROACH INSERT C-2053-24             1
 ILN                      715790   06 BROACH INSERT C-2053-25             2
 ILN                      715791   06 BROACH INSERT C-2053-26             2
 ILN                      715792   06 BROACH INSERT C-2053-27             2
 ILN                      715795   BROACH INSERT C-2054-1                 1
 ILN                      715796   BROACH INSERT C-2054-2                 1
 ILN                      715797   BROACH INSERT C-2054-3                 1
 ILN                      715798   BROACH INSERT C-2054-4                 1
 ILN                      715799   BROACH INSERT C-2054-5                 1
 ILN                      715800   BROACH INSERT C-2054-6                 1
 ILN                      715801   BROACH INSERT C-2054-7                 1
                                                   23

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 ILN                      715806   CUTTER, A-0243 T-SLOT 336 RECEIVER          15
 ILN                      715807   06 CUTTER, A-253 T-SLOT 336 RECEIVER OBS    56
 ILN                      715808   CUTTER, SAW B-0293        336 RECEIVER      96
 ILN                      715814   Drill, A-7537                               60
 ILN                      715815   DRILL, COMB. & C'BORE B-3380                20
 ILN                      715816   06 DRILL, STEP B-7074                       15
 ILN                      715817   Cutter, Finish A-6807, M/336, 444,36t       12
 ILN                      715818   Cutter, A-982, M/36,44, 444,36t             14
 ILN                      715819   Cutter, A-983, M/36T                        20
 ILN                      715820   BROACH , C-3533-1, TRIGGER GRD PLATE         6
 ILN                      715821   BROACH , C-3533-2, TRGR GUARD PLATE         11
 ILN                      715824   PUNCH, A-1773                               11
 ILN                      715827   Cutter, Slot A-6735                         14
 ILN                      715833   DRILL, STEP A-4712                          28
 ILN                      715834   DRILL, STEP A-6516                           3
 ILN                      715835   REAMER, DEBURRING A-6598                     9
 ILN                      715836   REAMER, A-6711                               4
 ILN                      715837   CUTTER,GANG C-2510                          11
 ILN                      715838   CUTTER,GANG C-2513                           3
 ILN                      715844   REAMER, MARLIN 1895/450 B-6968               5
 ILN                      715845   Tool, Shave A-6217                          20
 ILN                      715846   Tool, Shave A-1487                          70
 ILN                      715848   Tool, Shave A-1144                          26
 ILN                      715849   Tool, Shave B-5807                          12
 ILN                      715850   TAP, SPECIAL A-7008                         11
 ILN                      715851   TAP,SPECIAL B-3477 USED IN MARLIN           26
 ILN                      715852   06 TAP, SPECIAL B-3474                     173
 ILN                      715857   INSERT, KENNAMETAL LNEU1245R08 KC725        20
 ILN                      715858   CUTTER, SLOT KENNAMETAL KS255BLNE1245        1
 ILN                      715860   06 INSERT,SANDVIK N331.1A-054508H-PL4240    50
 ILN                      715862   DRILL, COMB. & C'BORE B-4723                17
 ILN                      715865   Endmill, A-6303                             14
 ILN                      715866   Reamer, Cutter A-1784                        3
 ILN                      715867   DRILL, SGS 68278 SERIES 101 4.5MM           20
 ILN                      715868   ENDMILL, SGS 30823 TIALN COAT 13/64          1
 ILN                      715870   DRILL, STD 1.95MM                           18
 ILN                      715871   REAMER, .2120 CHUCKING 4FL                  11
 ILN                      715872   TAP, .210-32 BOTTOM                         21
 ILN                      715873   TAP, .210-28 NOR 4-FLUTED                    5
 ILN                      715874   Saw, A-5617                                 10
 ILN                      715875   CUTTER SET B-6176-01                         1
 ILN                      715876   CUTTER, MILLING B-2856, SETS OF TWO          5
 ILN                      715877   06 DOG, B-2047 OBS                           3
                                                   24

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 ILN                      715883   DRILL, COMB. & C'BORE B-3381                  23
 ILN                      715884   CUTTER, C-1858                                 2
 ILN                      715885   CUTTER, ROUGH A-8697--SETS OF TWO             17
 ILN                      715887   CUTTER, INSERTED MILLING B-6722                7
 ILN                      715889   06 Tool, Shave A-5738                          6
 ILN                      715890   CUTTER A-510                                   2
 ILN                      715891   BROACH C-3530 DETAILS 1 AND 2                  6
 ILN                      715895   CUTTER,GANG C-4136 FORM RELIEF                10
 ILN                      715898   DRILL, GUHRING 2.9 MM Gurhring 305            10
 ILN                      715917   Reamer, Bore B-6554                           30
 ILN                      715918   Insert, Carbide TPMA 54NGR 0463 612           11
 ILN                      715919   DRILL, STEP A-6460                            19
 ILN                      715920   DRILL, SUBLAND B-4200 M/1895                  23
 ILN                      715921   06 CUTTER SET B-6176-02 OBS                    3
 ILN                      715925   CUTTER, ENDMILL B-5863 CORNER ROUND            8
 ILN                      715927   CUTTER, GANG C-2099 LOAD SPRING 336            9
 ILN                      715929   CUTTER, FORM A-6472 MILL 336, 94               6
 ILN                      715934   CUTTER, SET C-2260 FIN. MILL BOTTOM 1894       6
 ILN                      715943   DRILL, 3.2mm TITEX #A1549 TFP COATING         23
 ILN                      715946   CUTTER , FORM RELIEF, D-62550                  1
 ILN                      715949   06 H8ACH,C-2025-2,DOVETAILDETAIL 2ONLY OBS     3
 ILN                      715951   BROACH INSERT SPACER C-2053-16                 2
 ILN                      715954   ENDMILL, RANI INDEX. TXD90-0750F               2
 ILN                      715955   INSERT, WIDIA RAN- ADHT 090308-RP354         120
 ILN                      715967   CUTTER, DOVETAIL SOLID CARBIDE A-6305          7
 ILN                      715968   54deg endmill CUTTER, B-6883                  12
 ILN                      715977   CUTTER, B-793                                  5
 ILN                      715978   CUTTER, MILLING B-4749                         8
 ILN                      715980   SAW, SLITTING A-9388                           2
 ILN                      715981   06 CUTTER, B-080 OBS                           3
 ILN                      716002   COLLET, PARLEC DA300-0078                      4
 ILN                      716003   CUTTER,GANG MILL ASS'Y C-2277                  3
 ILN                      716004   CUTTER, A-8653                                 3
 ILN                      716008   06 CUTTER, A-7119                              5
 ILN                      716010   CUTTER,GANG MILL ASS'Y C-2280                  3
 ILN                      716011   CUTTER,GANG MILL ASS'Y C-2303                  3
 ILN                      716015   CUTTER, MILLING B-2321                         5
 ILN                      716016   CUTTER, SIDE MILLING A-6706                    3
 ILN                      716017   CUTTER, A-8652                                 3
 ILN                      716018   CUTTER, MILLING B-5532                         8
 ILN                      716021   DRILL, #50 CARBIDE GARR# 89181-1205H          23
 ILN                      716022   ROD/TUBE, REAMER 30-30 C-2288 DET#6           33
 ILN                      716024   CUTTER, ANGLE B-2513                           6
                                                   25

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 ILN                      716025   CUTTER, RAD. A-4807                           6
 ILN                      716026   06 CUTTER, A-1086 OBS                         3
 ILN                      716030   CUTTER, A-5135                                6
 ILN                      716031   06 CUTTER,GANG C-4886                         3
 ILN                      716032   DRILL, SPECIAL STEP A-4379                   30
 ILN                      716033   REAMER,SPECIAL & C'SINK A-4380               20
 ILN                      716035   DRILL, JOBBERS 5.25 mm MSC#01076512           9
 ILN                      716040   CENTER, DEAD ROYAL PART# 64692411            10
 ILN                      716041   06 DRIVER, FACE PT#4210 CARBOLATHE OBS        3
 ILN                      716043   COLLET, KENNAMETAL 25ER0125 1/8"              5
 ILN                      716046   CHUCK,COLLET KENNAMETAL CV40BER25250          3
 ILN                      716047   TAP, BOTTOMING,4 FLUTE 3B HSG 13/16-20       20
 ILN                      716048   BUTTON & ROD, ASSEMBLY C-4605 30/30          49
 ILN                      716075   ROLL, MARKING B-5641                          2
 ILN                      716076   ROLL, MARKING M/336C B-4648                   2
 ILN                      716078   BROACH, M/336 C-3848 DET#1,#2,#3              4
 ILN                      716079   BROACH, M/336 C-3040 DET#1,2,3,4,5            7
 ILN                      716080   BROACH, INSERT C-2345 DET#1,#2                2
 ILN                      716089   ASSEMBLY, BUTTON COMPLETE 22 C-3666-A         6
 ILN                      716091   06 REAMER, PULL A-3285                       30
 ILN                      716092   Drill, Deep Hole B-3830-1                    24
 ILN                      716115   STAMP, ID SSTL M/336 A-9054                   2
 ILN                      716119   DRILL, COMB and C'BORE B-3381                23
 ILN                      716120   CUTTER, STAG TOOTH 6"x.750"x1-1/4"24T        25
 ILN                      716122   CUTTER, STAG TOOTH 5"x.750"x1-1/4"24T         6
 ILN                      716123   BROACH INSERT C-2927 DET# 1 THRU 6            3
 ILN                      716125   BROACH, M/336 D-1583 DET#1,2,3,4,6            1
 ILN                      716128   BROACH INSERT C-4279 DET# 1 THRU 5            3
 ILN                      716129   06 INSERT ISCARAPK1003PDTR-RM IC328OBS       80
 ILN                      716133   ENDMILL, GARR VRX 1/2" A-61144               17
 ILN                      716153   INSERT, KENNAMETAL LNEU1245R08SGP KC725M    124
 ILN                      716154   INSERT, KENN SPCT3125PPEL8LD2 KC725M         25
 ILN                      716155   INSERT, KENN SPCT3125PPER8LD2 KC725M         60
 ILN                      716163   INSERT, KENNAMETAL EP1008 EHD KC725M         90
 ILN                      716164   INSERT, KENNAMETAL KDMB0312M0ERGC KC515M     38
 ILN                      716167   ENDMILL,KENNAMETAL M1D075E1003W075L110        1
 ILN                      716169   06 CUTTER, SLOT KENN KSSS400BSP10N551-630     2
 ILN                      716170   CUTTER, SLOT MILLING KENN KS44BLNE1240        2
 ILN                      716193   COLLET, SANDVIK 003670 A393.09-C12-1250       2
 ILN                      716195   CUTTER, STAGGARD TOOTH 4"x.500"x1" 18T        6
 ILN                      716196   ENDMILL 1" DIA CARBIDE--6 FL GARR 51377       4
 ILN                      716197   06 DRILL, SUBLAND B-4522 1894 RECEIVER       13
 ILN                      716198   06 REAMER, STEP B-4375 1894 RECEIVER          8
                                                  26

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 ILN                      716200   BUSHING, DRILL SF-16-10 .128 ID               6
 ILN                      716202   ENDMILL,GARR PART#62535 VRX 1/2" SQ END       2
 ILN                      716203   06 Pilot, .218 Dia., 39A BBL A-7650-7 OBS     3
 ILN                      716205   DRILL, CENTER #2 x 4 (71044242)              14
 ILN                      716206   DRILL, SGS EDP#57189 5/16"                   17
 ILN                      716207   06 CUTTER, B-009 OBS                          2
 ILN                      716213   REAMER, #33(.113)                            19
 ILN                      716214   Reamer, B-7367                                4
 ILN                      716215   06 Cutter, Tee A-7063 (12 sets of 2)         12
 ILN                      716220   06 TOOL, SHAVE A-5059                        40
 ILN                      716221   06 HOLDER, SHAVE TOOL B-2475 OBS              2
 ILN                      716222   TOOL, SHAVE A-7057 REV 9                    472
 ILN                      716223   TOOL, SHAVE A-5082                           40
 ILN                      716224   REAMER, SPECIAL B-7368                        8
 ILN                      716227   REAMER, A-9036                               22
 ILN                      716229   HOLDER, TAP Z LOCK P/N708-3949-168 ZAGAR      2
 ILN                      716235   CUTTER, B-4780                                9
 ILN                      716237   06 CUTTER, B-4786                            10
 ILN                      716239   06 CUTTER, A-6381                            10
 ILN                      716251   TOOLHOLDER, KENNAMETAL NSR163D                2
 ILN                      716252   INSERT, THREADING NG3044R KC5025             35
 ILN                      716253   06 DRILL, SUBLAND A-7334                     10
 ILN                      716254   06 CUTTER, C-3448                            10
 ILN                      716257   CUTTER, C-3451 (SET OF 5)                     4
 ILN                      716258   06 CUTTER, KEYSEAT A-7900                    10
 ILN                      716259   ZZ DRILL, CENTER A-7073 OBS                  11
 ILN                      716267   DRILL,& C'SINK A-4381                         5
 ILN                      716268   REAMER, A-4382                                9
 ILN                      716269   CUTTER, C-2431                                2
 ILN                      716270   CUTTER, B-014                                 3
 ILN                      716271   06 CUTTER, B-4949 OBS                         7
 ILN                      716272   CUTTER, B-5947                                8
 ILN                      716273   INSERT, THREADING NG3M100RK KC5025           45
 ILN                      716274   DRILL, A-6963                                10
 ILN                      716278   DRILL, STEP B-6504                            5
 ILN                      716280   BUR, CARBIDE,1/8" DOUBLE CUT 8175A27          6
 ILN                      716281   COLLET, KENNAMETAL 16ER060M 6 MM              6
 ILN                      716283   CUTTER, A-1310                                8
 ILN                      716284   C'BORE, A-059                                 8
 ILN                      716288   06 CUTTER, A-072                             10
 ILN                      716291   06 CUTTER, GANG B-4199                        2
 ILN                      716292   06ILL, CENTER A-4320 OBS                      3
 ILN                      716303   06 CUTTER, A-105 OBS                          3
                                                    27

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 ILN                      716304   CUTTER, FORMED ROUGHING B-5772                9
 ILN                      716305   06 CUTTER, FORMED FINISH B-5773               6
 ILN                      716314   06 ASSEMBLY, BORE REAMER MARLIN C-62006-A    34
 ILN                      716315   ASSEMBLY, BORE REAMER MARLIN C-62006-B      102
 ILN                      716316   06 ASSEMBLY, BORE REAMER MARLIN C-62006-C     7
 ILN                      716317   ASSEMBLY, BORE REAMER MARLIN C-62006-D       30
 ILN                      716318   06 ASSEMBLY, BORE REAMER MARLIN**OBS**        1
 ILN                      716319   06 ASSEMBLY, BORE REAMER MARLIN**OBS**       14
 ILN                      716320   06 ASSEMBLY, BORE REAMER MARLIN C-62006-G    12
 ILN                      716321   06 ASSEMBLY, BORE REAMER MARLIN C-62006-H    12
 ILN                      716322   ASSEMBLY, BORE REAMER MARLIN C-62006-J       26
 ILN                      716323   06 ASSEMBLY, BORE REAMER MARLIN C-62006-K    12
 ILN                      716324   ASSEMBLY, BORE REAMER MARLIN C-62006-L       10
 ILN                      716325   ASSEMBLY, BORE REAMER MARLIN C-62006-M        6
 ILN                      716326   06 ASSEMBLY, BORE REAMER MARLIN C-62006-N    12
 ILN                      716334   06 COLLET, UNIVERSAL ACURA-FLEX AF-130        1
 ILN                      716335   CHUCK, COLLET, UNIVERSAL AF80349 300KS        1
 ILN                      716336   ADAPTER,ENDMILL 1/2 AF80343 300KS             1
 ILN                      716337   06 COLLET, 5/64 UNIVER RA-FLEX AF-1 OBS       5
 ILN                      716338   COLLET, 25/64 UNIVERSAL ACURA-FLEX AF-75      4
 ILN                      716340   LOCATOR, ROBOT-MARLIN C-4632 DET#4(41)        2
 ILN                      716343   06 REAMER,CHAMBER 30-30 JGS#3638-CPF         11
 ILN                      716345   06 ASSEMBLY, BORE REAMER MARLIN C-62006-Q     3
 ILN                      716346   ENDMILL, A-3181                              12
 ILN                      716347   DRILL, 3/32 TITEX #A1249XPL                  20
 ILN                      716349   BUSHING, REAMER .6788 SF-64-28 A-62110        9
 ILN                      716358   BUSHING, DRILL .595 ID x 1.25 OD 4140        40
 ILN                      716359   BUSHING, DRILL .788 ID x 1.25 OD 4140        40
 ILN                      716360   HOLDING FIXTURE ROBOT-MARLIN E-682 DET#4      8
 ILN                      716361   HOLDING FIXTURE ROBOT-MARLIN E-682 DET#5     12
 ILN                      716364   06 Drill, B-7478          OBS                12
 ILN                      716367   06 CHUCK, SCULLY JONES #09570                 4
 ILN                      716372   06 REAMER, CHUCKING HSS STR FLUTE .2355       6
 ILN                      716373   COLLET #A3000 23/32 MODERN MACHINE            3
 ILN                      716376   COLLET, PAR ER25-0437                         1
 ILN                      716377   DRILL, 3/32 TITEX #A1249TFL-3/32IN           24
 ILN                      716383   REAMER, 3/16 (.1875) GARR #95579              3
 ILN                      716384   REAMER, .1895 STR SHANK A-7893                1
 ILN                      716385   06 CUTTER, FORM C-4791                        2
 ILN                      716388   CUTTER SET B-7169                             4
 ILN                      716390   Drill, Step, 39 Receiver A-9401              12
 ILN                      716391   ENDMILL, 3/8" x 3" x3/8 SHANK STD 4FLUTE      3
 ILN                      716392   Guide, Drill B-3804                           6
                                                   28

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 ILN                      716403   ENDMILL, 1/8" CARBIDE DE SGS#31001             6
 ILN                      716413   COLLET, PAR-ER16-0125 1/8"                     1
 ILN                      716415   06 ENDMILL, A-6154 OBS                         8
 ILN                      716417   06 CUTTER, STAG TOOTH COATED 5"x1/2"x1-1/4     6
 ILN                      716418   HOLDER, TOOL KENNAMETAL MSRNR124B              4
 ILN                      716420   COLLET, AF-138 3/4"                            1
 ILN                      716422   06 CUTTER, INSERTED MILLING B-6709             6
 ILN                      716423   REAMER STD .0768 DIA                          12
 ILN                      716427   LOCATOR, CHUCK B-7390 DET#2                    2
 ILN                      716433   ENDMILL, DE 5/8"x5/8"-1-3/8" FL LGTH M42      11
 ILN                      716434   COLLET, PAR ER20-0437                          8
 ILN                      716435   SCREW, INSERT KENNAMETAL MS-2205 PKG          14
 ILN                      716436   06 Jaw, Chuck #HUR-KT6P 3 PCS PER SET          2
 ILN                      716437   REAMER, .115 CARBIDE MSC#82111501              7
 ILN                      716438   ENDMILL, 1/4" 4FL LH MSC#71775167              2
 ILN                      716440   DRILL, CORE LIVE PILOT JGS#11563-HDS-LP        9
 ILN                      716446   DRILL, CORE LIVE PILOT JGS#11570-HDS-LP       12
 ILN                      716447   DRILL, CORE LIVE PILOT JGS#11558-HDS-LP        4
 ILN                      716449   REAMER,FINISH CARBIDE JGS#11051-B-SB-CF        5
 ILN                      716455   REAMER,FINISH CARBIDE JGS#10876-C-SB-CF       12
 ILN                      716456   REAMER,FINISH CARBIDE JGS#10979-C-SB-CF        3
 ILN                      716457   06 MILL,TUBE END CHAMFERING9/16 OD TUBE OBS    2
 ILN                      716458   MILL, TUBE END CHAMFERING .750 OD TUBE         2
 ILN                      716459   06 MILL,TUBE END CHAMFERING .875 ODTUBE OBS    2
 ILN                      716460   CUTTER SET A-9188 (SET OF 2)                   4
 ILN                      716461   Drill, Flat Bottom A-7923                     24
 ILN                      716462   C'sink B-4831                                  2
 ILN                      716463   DRILL, SPECIAL A-5975                          4
 ILN                      716464   06 SAWS, SLITTING W/SIDE TEETH B-7146          2
 ILN                      716473   06 DIE,THREAD M/39A BBL B-2308 OBS             2
 ILN                      716474   ENDMILL, A-7567 (12 sets of 2)                36
 ILN                      716477   06 POINT, MADISON DRIVE #4399-151-00002        3
 ILN                      716483   06 CUTTER, C-4320 OBS                          2
 ILN                      716485   BUSHING,DRILL .790"IDx1.375"ODx1.750L SF       4
 ILN                      716486   06 JAW, CNC LATHE PT#KT8MH OBS                 3
 ILN                      716487   INSERT, SPEB-1511CB X20                       70
 ILN                      716488   SCREW, INSERT 164-T                           20
 ILN                      716489   CUTTER, T-SLOT RH 1" DIA K-TOOL                5
 ILN                      716490   COLLET, ER16-0255 PARLEC                       3
 ILN                      716491   06 COLLET,ACURA FLEX SERIES 38 RDF-044 3/8"    3
 ILN                      716493   BUSHING,DRILL 17/64 IDx1/2"x1" (R)             4
 ILN                      716494   06 COLLET, KENNAMETAL 300DA0188                3
 ILN                      716495   DRILL, JOBBERS 17/64 #31115A55                 6
                                                   29

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 ILN                      716499   ENDMILL, 7/16"x1/2" SH,DE,HSS TiCN COAT     3
 ILN                      716517   CUTTER, STAGERED TOOTH A-5128               7
 ILN                      716518   06 CUTTER, C-1424                           3
 ILN                      716521   06 ENDMILL, A-6344 OBS                     24
 ILN                      716522   ENDMILL, SE,HSS 1/4"CENTER CUT TiCN COAT   10
 ILN                      716523   NUT RUNNER B-4255                           5
 ILN                      716525   06 BUSHING, DRILL #33(.113) SF-20-12        3
 ILN                      716526   BUSHING, DRILL 1/8(.125) SF-16-12           2
 ILN                      716527   BUSHING, DRILL #28(.1405) SF-20-8           7
 ILN                      716528   BUSHING, DRILL .162 SF-20-12                1
 ILN                      716529   BUSHING, DRILL #14(.182) P-20-8             1
 ILN                      716530   06 BUSHING, DRILL .2115 SF-24-12 OBS        3
 ILN                      716531   BUSHING, DRILL 5/16 I.D. (.3125)SF-48-12    2
 ILN                      716532   06 BUSHING, DRILL .5709 SF-64-34 OBS        4
 ILN                      716533   BUSHING, DRILL .6632 SF-64-28               4
 ILN                      716534   06 BUSHING, DRILL .6406(41/64) SF-56-24     2
 ILN                      716535   BUSHING, DRILL .6582(21/32) SF-64-34        1
 ILN                      716536   BUSHING, DRILL .6875(11/16) SF-64-34        2
 ILN                      716544   DRILL, STR SHANK-JOBBERS LENGTH 1.6MM      12
 ILN                      716545   Cutter, T , A-5090                         17
 ILN                      716546   06 CUTTER, DOVETAIL A-7286                  6
 ILN                      716548   C'SINK, A-8308                             14
 ILN                      716549   TAP, .210-28 GH3 STR FLUTE #5077751        37
 ILN                      716551   06 INSERT,ALORIS GTN-3 GRAINGER#2RKK6OBS    6
 ILN                      716552   TAP, PLUG 4-40 2FL PENTA BLUE SPPT         14
 ILN                      716553   SPOTFACE, A-7003                           10
 ILN                      716555   GUIDE, DRILL C-100 INTERNATIONAL.          14
 ILN                      716556   GUIDE, DRILL B-200 INTERNATIONAL.          10
 ILN                      716557   TAP, PLUG ,.194-36 GH2                     12
 ILN                      716558   ENDMILL, GARR PART#62567 VRX 1/2"x4"L       2
 ILN                      716560   CENTER, TAILSTOCK MARLIN C-62428-A          3
 ILN                      716561   CENTER, TAILSTOCK MARLIN C-62428-B          6
 ILN                      716562   CENTER, TAILSTOCK MARLIN C-62428-C          5
 ILN                      716563   POINT, CENTER FOR FACE DRIVER PT# 88354     8
 ILN                      716564   Drill Guide, 45 COLT B-3527-13              5
 ILN                      716565   BUSHING, DRILL 7/32 (.2188) SF-32-12        1
 ILN                      716568   COLLAR, C-41763-B DET. 8-3                  1
 ILN                      716569   COLLAR, C-41763-C DET. 9-3                  2
 ILN                      716570   BUSHING, DRILL SF-20-8 .1592 ID             3
 ILN                      716573   CENTER, TAILSTOCK MARLIN C-62428-D          3
 ILN                      716574   CENTER, TAILSTOCK MARLIN C-62428-E          2
 ILN                      716575   CENTER, TAILSTOCK MARLIN C-62428-F          4
 ILN                      716577   KNOB, RETENTION TOOLHOLDER BT-40            1
                                                   30

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 ILN                      716605   DRILL, SPOT 1/4" 90 DEGREE GARR #91020        3
 ILN                      716614   COLLET, KENNAMETAL 16ER0188 #1729817         10
 ILN                      716620   Broach, Insert C-2056-DET 5                   7
 ILN                      716623   COLLET 5C ROUND .6875 ID (11/16)              8
 ILN                      716624   ASSEMBLY, BORE REAMER MARLIN C-62006-R       20
 ILN                      716628   SCREW. SPECIAL 5/8-11 x 3.5 A-62559          28
 ILN                      716629   COLLET, ERICKSON ER20-0125 1/8"               2
 ILN                      716630   TAP, 5-40 PM HSS-E SPRL PT PLUG TIN COAT     17
 ILN                      716631   ENDMILL, GARR 5/8" .045CR EDP#80400          13
 ILN                      716632   SCREW, INSERT KENNAMETAL MS1281              20
 ILN                      716642   ROLL DIE, MARK INSCRIPTION B-7123             2
 ILN                      716643   ROLL,MARKING INSCRIPTION B-7535               1
 ILN                      716645   DRILL, MORSE 3.2 mm TL COBALT PARABOLIC      32
 ILN                      716646   BUSHING, DRILL SF-20-12 .1065 ID              7
 ILN                      716647   BUSHING, DRILL UN-SF-16-.4050 2.9MM ID        8
 ILN                      716650   ANVIL(BRASS PLATE) B-63054                   19
 ILN                      716651   CUTTER, SLOTTING KENNAMETAL #2518820R3        6
 ILN                      716652   ROLL DIE, MARK INSCRIPTION B-7364             3
 ILN                      716653   ROLL DIE, MARK INSCRIPTION B-7527             2
 ILN                      716664   BROACH, BORE D-3002-01                        4
 ILN                      716665   DRILL,TAP ,CARBIDE #16 (.177)GARR #89411     10
 ILN                      716666   ENDMILL, GARR P/N 13137                      19
 ILN                      716667   DRILL,SPOT,3/8x 90 DEGREE GARR #91030        17
 ILN                      716668   DRILL,CARBIDE #47 (.0785) GARR #89201        11
 ILN                      716669   06 DRILL,CARBIDE #33(.1130) GARR #89291OBS    2
 ILN                      716673   COLLET, ER 16 4mm-5mm REGOFIX 1116.05000      5
 ILN                      716674   COLLET, ER 20 1mm-2mm REGOFIX 1120.02000      2
 ILN                      716675   COLLET, ER 20 2mm-3mm REGOFIX 1120.03000      2
 ILN                      716676   COLLET, ER 20 4mm-5mm REGOFIX 1120.05000      2
 ILN                      716679   ENDMILL, BALL,CARBIDE 4F XG-402-12BNFL       20
 ILN                      716680   ENDMILL, FLAT,CARBIDE 4F ST-400-12FL         21
 ILN                      716682   ROLL DIE, MARK INSCRIPTION B-6763             2
 ILN                      716683   ROLL DIE, MARK INSCRIPTION B-6774             4
 ILN                      716684   ROLL DIE, MARK INSCRIPTION B-6831             3
 ILN                      716685   ROLL DIE, MARK INSCRIPTION B-6957             2
 ILN                      716686   ROLL DIE, MARK INSCRIPTION B-7534             1
 ILN                      716687   REAMER, .108 HSS STR FL MA FORD#27210800     10
 ILN                      716712   COLLET, ER 32 .250 REGOFIX 1132.06500         2
 ILN                      716714   HOLDER,COLLET ER 32 REGOFIX 2638.13253        2
 ILN                      716715   06 DRILL, 16.5MM TITEX #A6489DPP-16.5 SHO    81
 ILN                      716716   REAMER, HANNIBAL COOLANT THROUGH#429678      13
 ILN                      716717   COLLET, ER 32 9/16" SEALED #032-036-ICS       3
 ILN                      716718   COLLET, ER 32 18mm SEALED #032-720CS          2
                                                   31

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 ILN                      716720   COLLET, KENNAMETAL 25ER0188                 9
 ILN                      716721   ROLL DIE, MARK INSCRIPTION B-7363           2
 ILN                      716723   NUT, ER 32 REGOFIX 343220000                3
 ILN                      716724   DISK,COLLET SEALING ER32 #3932.00650        4
 ILN                      716736   CUTTER, SAW B-2778       336 SEAR           2
 ILN                      716739   COLLET, ADJ LYNDEX NIKKEN NK 3/4-1/2DPTH    4
 ILN                      716753   ROLL DIE, MARK INSCRIPTION B-7458           3
 ILN                      716754   DRIVER, FACE LH LATHE 88085 MSC08623290    12
 ILN                      716756   CENTER, LIVE A-667838I11 .6190 DIA          3
 ILN                      716757   CENTER, LIVE A-667838I11 .6290 DIA          2
 ILN                      716758   CENTER, LIVE A-667838I11 .6370 DIA          2
 ILN                      716759   CENTER, LIVE A-667838I11 .6430 DIA          1
 ILN                      716761   CENTER, LIVE A-667838I11 .7060 DIA          2
 ILN                      716762   CENTER, LIVE A-667838I11 .7280 DIA          1
 ILN                      716763   ENDMILL, BALL NOSE KDMB0312R551A031ST       6
 ILN                      716764   ENDMILL, BALL NOSE KDMB0750R630A075SN       1
 ILN                      716767   06 REAMER, GARR-TL #95543 CARBIDE 0.1780   20
 ILN                      716768   06 DRILL, GARR-TL #89400 11/64 (.1719)     15
 ILN                      716769   ROLL DIE, MARK INSCRIPTION B-7459           3
 ILN                      716770   DOG, TIMING C-63377-A                       6
 ILN                      716771   DOG, TIMING C-63377-B                      16
 ILN                      716772   DOG, TIMING C-63377-C                      24
 ILN                      716773   CENTER, LIVE A-667838I11 .7660 DIA          1
 ILN                      716846   COLLET, ER25 (.375"ID) 25375 AO-1001        2
 ILN                      716847   ROLL DIE, MARK INSCRIPTION B-6887           4
 ILN                      716848   DRILL BIT,1/4" BRAD POINT (R)              17
 ILN                      716851   ROLL DIE, MARK INSCRIPTION B-7009           2
 ILN                      716852   ROLL DIE, MARK INSC B-7317 **OBS**          4
 ILN                      716867   CUTTER, DOVETAIL KENNAMETAL #2461334-A     57
 ILN                      716871   06 Tool, Crowning C-3195-17                 2
 ILN                      716872   CUTTER, HELICAL FORM TOOL A-63588          23
 ILN                      716873   ROLL DIE, MARK INSCRIPTION B-7318           2
 ILN                      716874   ROLL DIE, MARK INSCRIPTION B-7492           1
 ILN                      716875   ROLL DIE, MARK INSCRIPTION B-7526           2
 ILN                      716876   06 ROLL DIE, MARK INSCRIPTION B-7563        2
 ILN                      716879   COLLET, ER25 15/64" 025-240-SP              4
 ILN                      716881   COLLET, ER25 3/16"                          2
 ILN                      716882   COLLET, ER25 5/16"                          5
 ILN                      716883   COLLET, ER25 5/32"                          5
 ILN                      716884   COLLET, ER25 7/32"                          5
 ILN                      716885   COLLET, ER25 9/64"                          6
 ILN                      716886   COLLET, ER25 11/64"                         2
 ILN                      716887   CENTER, TAILSTOCK MARLIN C-62428-G          7
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 ILN                      716888   CENTER, TAILSTOCK MARLIN C-62428-H             2
 ILN                      716889   CENTER, TAILSTOCK MARLIN C-62428-J             2
 ILN                      716890   TAP, BOTTOMING,4 FL H-2 8-36 MORSE            24
 ILN                      716893   WASHER, SPHERICAL MSC#82429325                28
 ILN                      716894   DRIVER, FACE LH 88084 ROHM MSC#08623282        8
 ILN                      716897   GAGE, HEADSPACE 308 ME "GO" C-63387-A         13
 ILN                      716898   GAGE, HEADSPACE 308 ME "NO GO" C-63387-B      13
 ILN                      716899   GAGE, HEADSPACE 338 ME "GO" C-63538-A         14
 ILN                      716900   GAGE, HEADSPACE 338 ME "NO GO" C-63538-B      11
 ILN                      716901   HOLDER, TOOL CAT40 5/16" #CV40ZEM031138        4
 ILN                      716902   HOLDER, TOOL CAT40 1/2" #CV40ZE M050175        2
 ILN                      716903   06 HEAD,SPRING TAPPING CAT40 #GM81-110050B     1
 ILN                      716904   CLAMP, TOOL #GM68-499540                       2
 ILN                      716905   06 COLLET, SPRING TAP ADAPTER #GM81-11800B     1
 ILN                      716906   BIT,MARLIN 336, BROWNELLS#080-087-011AB        8
 ILN                      716910   BROACH ASSEMBLY SET D-2069 DET#2,3,4,5,6       3
 ILN                      716936   DRILL, GARR #28 CARBIDE EDP#77331             12
 ILN                      716937   DRILL, GARR #29 CARBIDE EDP#89321             10
 ILN                      716938   STYLUS ASSEMBLY,SCHMIDT DOT PEEN 10076         3
 ILN                      716939   PIN ASSEMBLY,SCHMIDT DOT PEEN 010085           1
 ILN                      716943   HOLDER, TOOL KENNAMETAL BT40EM1000374          1
 ILN                      716946   Endmill, 1/2" 4FL CC Carbide RH A-8810        22
 ILN                      716952   BLOCK, VEE ONE EACH E-671-57 A&B               6
 ILN                      716954   06 MANDREL,THREADED M/336TGP B4819 OBS        25
 ILN                      716958   HOLDER, TOOL KENNAMETAL BT40EM050255           1
 ILN                      716960   BLADE, KENNAMETAL A4M50R2S12B020025            3
 ILN                      716961   INSERT, KENNAMETAL A4R0200M2SP00GMP           30
 ILN                      716966   TIP, NYLON PUNCH,BROWNELLS#080-475-001AB       3
 ILN                      716967   PODS, TOOL CHEVALIER P/N 2601-08083000        20
 ILN                      717015   HOLDER,THREADMILL KENN TM25D067L110Z2          2
 ILN                      717016   HOLDER,THREADMILL H&C TOOL SR0570H14           8
 ILN                      717017   DRILL, CARBIDE KENNAMETAL B976A04500          21
 ILN                      717018   INSERT, THREAD KENN TN25N20UN KC610M           5
 ILN                      717033   HOLDER, TOOL KENNAMETAL BT40BSM2C100177        1
 ILN                      717041   SCREW, INSERT KENNAMETAL MS1282               20
 ILN                      717042   CHUCK, DRILL, SCULLY-JONES 09149 .125"#0      11
 ILN                      717043   DRILL, STEP 5132694                            6
 ILN                      717044   DRILL, STEP 5128720                            4
 ILN                      717045   DRILL, STEP 5188721                           36
 ILN                      717046   DRILL, STEP 5048499                           28
 ILN                      717047   DRILL, STEP 5127081                           19
 ILN                      717048   DRILL, STEP 5048498                           12
 ILN                      717050   INSERT,THREADING B-64217 14I12SP 027/898     227
                                                   33

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 ILN                      717054   DRILL, 1/8 TITEX #A1166-1/8"                 8
 ILN                      717073   PLUG, HEADING MIN GO 35 REM A-2219-A        10
 ILN                      717074   PLUG, HEADING INSP MAX 35 REM A-2219-B      10
 ILN                      717076   REAMER, 5/8"x 2-1/4 FL 9/16 SHANK #22234     5
 ILN                      717077   HOLDER, TOOL KENNAMETAL BT40EM075255         1
 ILN                      717078   06 HOLDER, TOOL KENNAMETAL BT40EM125250      1
 ILN                      717079   HOLDER, TOOL KENNAMETAL BT40BER16060M        3
 ILN                      717095   COLLAR, C-41763-D DET. 10-3                  1
 ILN                      717098   06 BUSHING, DRILL SF-32-8 .3070 ID           3
 ILN                      717140   ASSEMBLY, BUTTON COMPLETE 22 C-3666-B        9
 ILN                      717141   ASSEMBLY, BUTTON COMPLETE 22 C-3666-C        6
 ILN                      717170   CLAMP, FIXTURE D-62780 DET#5/3               4
 ILN                      717171   CLAMP, FIXTURE D-62780 DET#16/3              3
 ILN                      717172   CLAMP, FIXTURE D-62780 DET#17/3              2
 ILN                      717174   ROLL DIE, MARK INSCRIPTION B-7501            3
 ILN                      717178   HONE,RIFLE .357 BROWNELLS #080-608-238AB     2
 ILN                      717179   HONE,RIFLE .44 BROWNELLS #080-608-244AB      1
 ILN                      717180   HONE,RIFLE .45 BROWNELLS #080-608-245AB      1
 ILN                      717181   06 REAMER, ROUGH CHAMBER 45/70 KENNAMETAL   17
 ILN                      717182   REAMER, FINISH CHAMBER 45/70 KENNAMETAL     46
 ILN                      717183   CLAMP, FIXTURE D-62780 DET#9/5               2
 ILN                      717184   CLAMP, FIXTURE D-62780 DET#11/5              4
 ILN                      717185   CLAMP, FIXTURE D-62780 DET#14/5              3
 ILN                      717189   GAGE,HEADSPACE 338 "INSP MAX" C-63538-C     10
 ILN                      717190   GAGE,HEADSPACE 308 "INSP MAX" C-63387-C      5
 ILN                      717191   MILL, PROFILE KENNAMETAL #2846250-R01        3
 ILN                      717192   INSERT, KENNAMETAL SDEB26152 KCPK30         97
 ILN                      717206   ENDMILL, HARVI HPHV312S4050CH KCPM15        49
 ILN                      717207   ENDMILL, HARVI HPHV750S4088CH KCPM15        20
 ILN                      717208   DRILL,FLAT BOTTOM B707A03175FBG KC7315      23
 ILN                      717210   DRILL,STARTER KENNAMETAL 4054506 KC7315     14
 ILN                      717211   DRILL,DEEP.257 KENN MM5506332 KCPK20        15
 ILN                      717213   FIXTURE,TIGHTENING TF30 TAPER KENNAMETAL     1
 ILN                      717214   FIXTURE,TIGHTENING TF40 TAPER KENNAMETAL     1
 ILN                      717217   ENDMILL,BALL KENNAMETAL UEBD0312J2A 5/16     8
 ILN                      717223   COLLET, 16C 11/16" (MSC #79786935)           8
 ILN                      717224   KNOB, RETENTION C40-1500-MORI                3
 ILN                      717225   ENDMILL,FINISH.3125 ROBBJACK STR-430-10A    59
 ILN                      717226   ENDMILL,ROUGH .3125 ROBBJACK STR-401-10A    33
 ILN                      717227   DRILL, CENTER #4 GARR #58060 .3125 DIA       3
 ILN                      717228   HOLDER,CHAMFER INSERT KENNAMETAL#1023676     3
 ILN                      717229   HOLDER, 1.500"CAT KENNAMETAL #1025986        3
 ILN                      717230   WRENCH, ALLEN T HANDLE 5/32" #71-360-714     7
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 ILN                      717231   WRENCH, ALLEN T HANDLE 9/64" #71-360-713     9
 ILN                      717232   COLLET, 16C 23/32" (MSC #79786950)           2
 ILN                      717235   DRILL, MORSE 1/8 (.125) 135 DEG SPLIT PT    12
 ILN                      717236   MILL, 2" INDEXABLE KENNAMETAL #2479510       5
 ILN                      717237   CHUCK, CAT40 MILL 1" KENNAMETAL#3100359      5
 ILN                      717238   INSERT,KENNAMETAL EP1408EHDKCP30 3033731    35
 ILN                      717243   BIT, HEX 7/32" 5570A18                       3
 ILN                      717253   PIN, STEP DIAMOND D-62780 DET#26/5          12
 ILN                      717254   CHUCK, HYD CAT40 6MM KENNAMETAL#1605145      4
 ILN                      717255   CHUCK, HYD CAT40 12MM KENNAMETAL#2079279     2
 ILN                      717256   SLEEVE,REDUCTION 12MM/7MM KENN #3026644      4
 ILN                      717257   SLEEVE,REDUCTION 12MM/8MM KENN #3026645      5
 ILN                      717273   COLLET,ER25 1/4"(.250)KENNAMETAL#1729857     4
 ILN                      717276   REAMER,FINISH CHAMBER KENNAMETAL#5496887    88
 ILN                      717277   ENDMILL, KENNAMETAL 3/4" #5393782 KCPM15    22
 ILN                      717278   SLEEVE,MILLING CHUCK 3/8" KENN #3101075      5
 ILN                      717279   SLEEVE,MILLING CHUCK 1/2" KENN #3101077      6
 ILN                      717280   CHUCK,CAT40 MILL 3/4" KENN, (SEE-717595)     3
 ILN                      717283   ENDMILL, CARB KENN UCDE1000J5BS, 4048705    26
 ILN                      717284   ENDMILL, 1/4" 7 DEG KENNAMETAL #5373126     33
 ILN                      717285   ENDMILL, HARVI HPHV188S4031L #4047704       42
 ILN                      717286   ENDMILL, HARVI HPHV375S4088 #4047755        31
 ILN                      717298   ENDMILL, 5/32 KENN 4BN0156IR056A KC633M     48
 ILN                      717299   CUTTER,T-SLOTKENN#5390664 KCPM15 B-5496     13
 ILN                      717300   REAMER, ROUGH CHAMBER 30-30 KENN#5496886    89
 ILN                      717301   REAMER,FINISH CHAMBER 30-30 KENN#5496885   103
 ILN                      717304   ENDMILL,KENNAMETAL HEC156S356R10 KC635M      5
 ILN                      717343   ENDMILL, CARBIDE 7/32 KENNAMETAL#1115695     4
 ILN                      717344   ENDMILL, CARB 9/64 2SE0140IR056A KC633M      4
 ILN                      717345   REAMER, .1270 CARBIDE GARR #95348           93
 ILN                      717353   REAMER, .1075 HSS STR FL 3.5" OAL            5
 ILN                      717363   ENDMILL, GARR VRX A-66201                    6
 ILN                      717385   ENDMILL, RADIUS KENNAMETAL 5397535          85
 ILN                      717386   CUTTER, RADIUS KENNAMETAL 5394269 KCPM15    17
 ILN                      717390   DRILL,SC KENNAMETAL 5424172 at .127 dia     26
 ILN                      717394   ENDMILL, SHORT CUT UEDE0156J3AS KC643M      55
 ILN                      717395   ENDMILL,SHORT CUT UCDE219J5BS KC643M        15
 ILN                      717404   MILL, SHELL RODEKA,KENNAMETAL #4178126       2
 ILN                      717405   INSERT,KENNAMETAL RNGJ1204M0SGD#4146586    158
 ILN                      717406   MILL, 1" INDEXABLE KENNAMETAL #2479507       4
 ILN                      717407   INSERT, KENNAMETAL EP1416EHD #3033954       42
 ILN                      717423   HEAD, DRIVE GUN DRILL B-4087                 7
 ILN                      717424   DRILL,CARBIDE KENNAMETAL #5395727 2.2mm     94
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 ILN                      717425   CUTTER, SLOT KENN KSSS400ASP10N625             1
 ILN                      717426   INSERT, KENNAMETAL SPET31251PPEL8GB2          20
 ILN                      717427   INSERT, KENNAMETAL SPET31251PPER8GB2         200
 ILN                      717430   ZC MILL, 22 DEGREE KENNAMETAL #60035104        3
 ILN                      717432   CUTTER,FORM 3".641R KENNAMETAL #60096122      19
 ILN                      717434   ENDMILL,BALLNOSE.562 KENN #MM5824551           9
 ILN                      717435   ENDMILL,BALLNOSE 1/2 KENNAMETAL#1257709        3
 ILN                      717436   CUTTER, RADIUS KENNA 5426990 (B-65000)        27
 ILN                      717437   CUTTER, RADIUS KENNAMETAL #5426908-R01        43
 ILN                      717438   CUTTER RADIUS KENN#5426909-R01 C-65305-A      21
 ILN                      717441   ROLL, MARKING M/336C LIMITED C-66594           1
 ILN                      717444   CUTTER, T KENNAMETAL MM5362660                25
 ILN                      717445   CUTTER, T KENNAMETAL MM5363328 A-243           8
 ILN                      717446   HOLDER, ENDMILL 1.25"KENNAMETAL#1013426        1
 ILN                      717447   DRILL, BUGLE KENNAMETAL #5407725 B-5868       30
 ILN                      717449   SLEEVE,HYD TOOL 7/8" CAT40 KENN #3101096       4
 ILN                      717455   MILL, SHELL,KENNAMETAL #2267643                4
 ILN                      717456   INSERT, KENNAMETAL EP1864EHD #3379064        200
 ILN                      717460   CUTTER, FORM .641R KENNAMETAL #5474522        14
 ILN                      717461   DRILL, 5.616mm 8XD KENNAMETAL #4149636        38
 ILN                      717462   HOLDER,TOOL KENN MM6712630                     5
 ILN                      717463   ENDMILL,1" W/ C RAD KENNAMETAL 4048662        36
 ILN                      717467   DRILL, 3.2 mm KENNAMETAL #4150636             50
 ILN                      717468   DRILL, 2.383 mm KENNAMETAL #4149153           69
 ILN                      717469   ENDMILL, .257 DIA KENNAMETAL DWG#5427564      57
 ILN                      717470   BAR, BORING MICRO KENNAMETAL #1270952          2
 ILN                      717471   06 SCREW, HARDWARE KENNAMETAL #1260087        10
 ILN                      717472   INSERT,CDHH120605L KENNAMETAL #1937516        52
 ILN                      717473   INSERT CDHB120601 KENNAMETAL #4050607         55
 ILN                      717474   CHUCK,CAT40 MILL1.25" KENNAMETAL#3100362       5
 ILN                      717476   COLLET, KENNAMETAL 100TG1000 (1014105)         2
 ILN                      717477   ADAPTER,SLOTTING 1.25"KENNAMETAL#1015362       3
 ILN                      717483   ENDMILL,BALLNOSE.156 KENNAMETAL#2890952      131
 ILN                      717484   06 COLLET, 1/4" ID 1-1/4 OD #GLO-8612C-1/4     1
 ILN                      717487   CUTTER,T SPECIAL KENNAMETAL DWG#60097282       6
 ILN                      717493   COLLET, KENNAMETAL 75HC0562 #1093269           8
 ILN                      717495   ENDMILL,ROUGHING .625 KENNAMETAL 4048697      11
 ILN                      717533   ENDMILL, SC .258 DIA KENNAMETAL#5413286       26
 ILN                      717534   INSERT, KENNAMETAL NG3156RK KC5010            20
 ILN                      717535   HOLDER,T.N. KENNAMETAL NSR123B #1097586        1
 ILN                      717536   COLLET, KENNAMETAL 16ER0312 #1729819           2
 ILN                      717537   CHUCK,COLLET KENNAMETAL CV40BER16250           1
 ILN                      717538   COLLET, KENNAMETAL 16ER0156 #1949905           2
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 ILN                      717539   COLLET, KENNAMETAL 16ER0125 #1729816         4
 ILN                      717541   REAMER,FINISH CHAMBER 44MAG KENN#5485621    36
 ILN                      717543   REAMER,FINISH CHAMBER 357 KENN#5485618       9
 ILN                      717545   CENTER, LIVE 4MT QUAD BEARING #ROP-10664     2
 ILN                      717546   CENTER, LIVE 4MT VERSA TURN #ROP-10834       2
 ILN                      717568   SLEEVE,HYD CHUCK KENNAMETAL #75HC0188        5
 ILN                      717569   06 SLEEVE,HYD CHUCK KENNAMETAL #75HC040M     4
 ILN                      717572   SLEEVE,HYD CHUCK KENNAMETAL #75HC060M        1
 ILN                      717580   MILL, CHAMFER KENNAMETAL #5488471 KCPM15    16
 ILN                      717588   SLEEVE, MILLING CHUCK KENN #75SMC0250        5
 ILN                      717590   MILL, SHELL,KENN #M1D200E1405S075L157        1
 ILN                      717593   TOOL, CHAMFER(NIAGARA) EDP 76601 4FSE90      1
 ILN                      717599   HOLDER, TOOL BT30 ER25 #483-425 (2SQ)        4
 ILN                      717600   PULLSTUD, ROBODRILL PS585 45#07801 (2SQ)     2
 ILN                      717603   KNOB,RETENTION NV000253607A(GX510 CAT40)    19
 ILN                      717614   ENDMILL, .200" DIA KENNAMETAL #5488471      15
 ILN                      717615   Plug,Breech45/70 Gallery No-Go A-5619-03     3
 ILN                      717617   CUTTER, T-SLOT KENNAMETAL#5491502 KCPM15    20
 ILN                      717618   ENDMILL,BALLNOSE.125 KENNAMETAL#5824506     39
 ILN                      717620   HOLDER,TOOL V-FLANGE KENN #CV40SA125400      2
 ILN                      717623   ROLL, MARKING INSCRIPTION B-4641             2
 ILN                      717624   ROLL DIE, MARK INSCRIPTION B-6781            3
 ILN                      717625   ROLL, MARKING INSCRIPTION B-6995             1
 ILN                      717626   ROLL DIE, MARK INSCRIPTION B-7292            3
 ILN                      717627   ROLL DIE, MARK INSCRIPTION B-6888            1
 ILN                      717629   ROLL DIE, MARK INSCRIPTION B-7096            3
 ILN                      717630   06 ROLL DIE, MARK INSCRIPTION B-7547 OBS     1
 ILN                      717631   06 ROLL DIE, MARK INSCRIPTION B-7572 OBS     2
 ILN                      717632   SANDING SLAVE,M/60 TRIGGER GUARD C-3434      7
 ILN                      717633   SANDING SLAVE,M/900 MAG BOX C-3688           9
 ILN                      717634   SANDING SLAVE,M/900 TRIGGER GUARD B-5413     3
 ILN                      717635   REAMER, STEP KENNAMETAL #5496822            18
 ILN                      717638   HOLDER, KENNAMETAL CV40BER32275 #1261619     1
 ILN                      717639   06 DRILL,FLAT BTM B707A09525FBG #3505140    50
 ILN                      717641   BIT,HEX SOCKET 7/32" 1/4 SQ DR #54075A48     7
 ILN                      717643   HOLDER,TOOL CAT40 -.437-4 PRECISION COMP     4
 ILN                      717644   ENDMILL,BALLNOSE KENNAMETAL BNEC500S4200   115
 ILN                      717646   HOLDER, HYD KENN MM6805779                   4
 ILN                      717647   COLLET, KENNAMETAL 20HCM0250 #1093567        5
 ILN                      717665   SLEEVE, KENNAMETAL 75SMC0625 #3101079        4
 ILN                      717666   HOLDER,CV40BTGF050250 KENNAMETAL#2987290     4
 ILN                      717667   Router Bit, MAR FE FADAL, A-1138 (R)        13
 ILN                      717668   ENDMILL,1/2" W/C RAD KENNAMETAL 5491429    287
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 ILN                      717669   INSERT, KENNAMETAL EP1004EHD KCPK30         45
 ILN                      717670   MILL, KENNAMETAL #M1D100E1003W075L125        2
 ILN                      717671   ENDMILL,5/8" W/C RAD KENNAMETAL 5434381     18
 ILN                      717673   HOLDER,KENNAMETAL CV40BHC14M400 #6793965     2
 ILN                      717679   SLEEVE,HYD CHUCK KENNAMETAL #12HC0812        3
 ILN                      717681   CUTTER, T KENNAMETAL#5147281 KC633M          4
 ILN                      717689   COLLET, KENNAMETAL 16ERTC8 #1026400          2
 ILN                      717690   COLLET, KENNAMETAL 25ERTC12 #1026444         5
 ILN                      717691   COLLET, KENNAMETAL 16ER035M #1108458         2
 ILN                      717692   EXTENSION, COLLET SANDVIK ER16 (#5HNG9)      5
 ILN                      717696   COLLET,#8TAP KENNAMETAL 25ERTC8 10126432     2
 ILN                      717698   COLLET, STEEL #A3000 1-1/32 25 DEGREE        2
 ILN                      717699   06 COLLET, STEEL #A3000 13/16 25 DEGREE      2
 ILN                      717700   COLLET, STEEL #A3000 15/16 25 DEGREE         1
 ILN                      717707   ROUGHER, KENN HPRST500S4125 #3331486         8
 ILN                      717718   06 ENDMILL, .200" DIA KENNAMETAL #5540252    2
 ILN                      717719   25deg non polited countersink #5540253       8
 ILN                      717720   30deg Non polited countersink #5540254      25
 ILN                      717721   38deg. non polited countersink #5540255      8
 ILN                      717722   45deg. non piolited countersink #5540256     6
 ILN                      717725   DRILL,SC KENNAMETAL B042A01600CPG(1.6MM)    20
 ILN                      717733   ENDMILL, KENNAMETAL HPHV KCPM15 #5532805    44
 ILN                      717734   ENDMILL, KENNAMETAL HPHV KCPM15 #5532806    18
 ILN                      717735   ENDMILL,KENNAMETALHPHVKCPM15#5532807        12
 ILN                      717737   DRILL,KENNAMETAL B041A06500CPG KC7325       23
 ILN                      717749   ENDMILL, KENNAMETAL SPATZM #5539613         25
 ILN                      717750   06 WRENCH, ISCAR EDG-33A MSC #52706660       1
 ILN                      717752   COLLET, KENNAMETAL 25ER020M 2mm #1125486     3
 ILN                      717755   BUSHING, DRIVE B-7057                       18
 ILN                      717770   BUSHING, DRILL PRESS FIT .1556 P-20-8U       4
 ILN                      717772   PUNCH, RIVET MARLIN A-6712                   4
 ILN                      717783   ENDMILL,KENNAMETAL HPHV375S4150 #4071892    21
 ILN                      717796   ADAPTER,ENDMILL KENNAMETAL CV40EM050262      5
 ILN                      717805   DRILL,SC KENNAMETAL4150216 B041A05400CPG    13
 ILN                      717806   DRILL,SC KENNAMETAL4150202 B041A04500CPG    10
 ILN                      717807   DRILL,SC KENNAMETAL4150665 B042A04852CPG    38
 ILN                      717808   DRILL,SC KENN MM4151811 B042A02870CPG       10
 ILN                      717809   DRILL,SC KENNAMETAL4149632 B053A05410CPG    20
 ILN                      717814   CUTTER, T KENNAMETAL#5544238 5/8 SPECIAL     8
 ILN                      717819   ENDMILL,HARVI KENN HPHV625S4213 #4067265    14
 ILN                      717820   DRILL,SC KENNAMETAL 5553541 .0738 KC7325    71
 ILN                      717821   CUTTER, T KENNAMETAL#5501487 KCPM15         48
 ILN                      717830   DRILL, STEP KENNAMETAL #5552190 KC7315      51
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 ILN                      717831   DRILL, STEP KENNAMETAL #5554796 KCPK15       70
 ILN                      717839   ENDMILL, KENNAMETAL SPATZM #5550308          13
 ILN                      717863   COLLET, KENNAMETAL 25ER0625 #1729902          2
 ILN                      717864   COLLET, KENNAMETAL 25ER0562 #1950131          2
 ILN                      717868   KNOB, RETENTION MORI SEIKI POM40CFMG          7
 ILN                      717875   ENDMILL, HPHV625S4075 KENNAMETAL 4067236     44
 ILN                      717876   SLEEVE, KENNAMETAL 75SMC0563 #3101078         6
 ILN                      717877   DRILL,ROUGHKENNAMETAL B256A13500#2229364     15
 ILN                      717878   DRILL,ROUGHKENNAMETAL B256A11000#2229365     20
 ILN                      717880   DRILL,STEP KENNAMETAL 2003988153#5426091     11
 ILN                      717881   HOLDER, KENNAMETAL CV40TG075275 #1025799      4
 ILN                      717882   COLLET, (2X)KENNAMETAL 75TG160M #1014629      3
 ILN                      717883   DRILL,STEP KENNAMETAL 2003988135#5427334     16
 ILN                      717884   HOLDER, KENNAMETAL CV40EM075375 #1025944      2
 ILN                      717885   ENDMILL,HPRST625S6125 KENNAMETAL 3331489      9
 ILN                      717886   DRILL, KENNAMETAL B225A07938HP#4112642       37
 ILN                      717887   HOLDER, KENNAMETAL MM6790855                  5
 ILN                      717888   ENDMILL, KENNAMETAL 4071919                  17
 ILN                      717889   DRILL, KENNAMETAL B225A04500HP#4112597       76
 ILN                      717890   HOLDER, KENNAMETAL CV40BTG500300#4135683      3
 ILN                      717891   COLLET, KENNAMETAL 50TG060M #1105133          2
 ILN                      717892   COLLET,TAP KENNAMETAL 50TGST12 #1017016       2
 ILN                      717893   DRILL, KENNAMETAL B269A06500HP#4169261       17
 ILN                      717904   ENDMILL, ROUGH 1/2" KENNAMETAL #5563673      70
 ILN                      717905   ADAPTER, ENDMILL 5/8 KENN CV40ZEM062175       3
 ILN                      717913   HOLDER,TOOL KENN CV40SMC075138 #3641492       1
 ILN                      717914   SCREW, TORX PLUS KENNAMETAL MS2167           10
 ILN                      717915   MILL, BODY RODEKA,KENNAMETAL #4178124         2
 ILN                      717917   ENDMILL, HARVI HPHV188S4031 #4047702          8
 ILN                      717918   COLLET, KENNAMETAL 75SMC0188 #3101073         3
 ILN                      717919   DRILL,SC KENNAMETAL4150184 B041A03500CPG     14
 ILN                      717920   DRILL,SC KENNAMETAL#4112640 B225A07800HP     31
 ILN                      717921   HOLDER, KENNAMETAL MM6805775                  4
 ILN                      717922   DRILL,STEP KENNAMETAL 112768482J3VH          30
 ILN                      717924   COUNTERBORE, 30-30 KENNAMETAL #5566637        3
 ILN                      717925   COUNTERBORE, 308 KENNAMETAL #5565604        118
 ILN                      717926   COUNTERBORE, .357 KENNAMETAL #5565021        62
 ILN                      717927   COUNTERBORE, .410 KENNAMETAL #5565020        59
 ILN                      717928   ZC COUNTERBORE, .44mag KENNAMETAL #556       24
 ILN                      717929   COUNTERBORE, 45-70 KENNAMETAL #5564989        7
 ILN                      717930   COUNTERBORE, 35REM KENNAMETAL #5565023       54
 ILN                      717931   COUNTERBORE, 39A KENNAMETAL #5565549         78
 ILN                      717932   06 COUNTERBORE, 45LTD KENNAMETAL #5565024    56
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 ILN                      717933   COUNTERBORE, .338 KENNAMETAL #5565022         68
 ILN                      717944   ENDMILL, .205" DIA KENNAMETAL #5378393         2
 ILN                      717949   PUNCH, RIVETING MARLIN A-8071                  4
 ILN                      717951   06 COLLET,3/4"KENNAMETAL75TG07501014030 OBS    3
                                   06 TOOL,CHAMFER KENN KSEM0625R1SS075F45
 ILN                      717952   OBS                                             4
 ILN                      717953   06 ENDMILL,KENNAMETALMDRHEC500S4100 OBS        30
 ILN                      717954   ENDMILL, HPHV500S4100 KENNAMETAL 4071908       15
 ILN                      717956   BUSHING,C STYLE TOOL HOLDER #GLO-8613C          3
 ILN                      717957   ROLL MARK M/1895CB BARREL, B-67960              3
 ILN                      717964   COLLET/SLEEVE,#3026451 KENN 12MHC040M           2
 ILN                      717965   COLLET/SLEEVE,#3101074 KENNAMETAL               5
 ILN                      717966   ENDMILL, KENNAMETAL #4047693 / KCPM15           3
 ILN                      717967   COLLET/SLEEVE,#1013834 KENNAMETAL               4
 ILN                      717968   06 ENDMILL, KENN. #4047746 / KCPM15 (5/16)     64
 ILN                      717969   ENDMILL, KENM. #4067306 / KCPM15 ( 1")         27
 ILN                      717970   DRILL, .138 KENNAMETAL #2985272 KC7315          7
 ILN                      717971   HOLDER, KEN. MM5631955                          3
 ILN                      717972   TAP, 8-32 KENNAMETAL# 4117167 KP6525           16
 ILN                      717973   HOLDER, KENNAMETAL#1901046 CV40BER16500         5
 ILN                      717974   T-CUTTER,(LOADING SPRING SLOT 5427250          14
 ILN                      717975   ENDMILL, KENAMETAL #4071884 KCPM15             12
 ILN                      717976   DRILL,STEP (TANG) KENAMETAL #5425635           47
 ILN                      717978   COLLET, KENAMETAL # 1092708                     3
 ILN                      717979   ENDMILL, (CART.SLOT)KEN.#4047754               36
 ILN                      717980   CUTTER,DOVETAIL KENNAMETAL #5493734             9
 ILN                      717981   ENDMILL, KENNAMETAL #5424861(BOLT STOP)        10
 ILN                      717982   CUTTER-T, .090 KENNAMETAL #5426833             19
 ILN                      717983   CUTTER-T, .625 KENNAMETAL # 5424978            10
 ILN                      717984   ENDMILL,KENNAMETAL4048717 UCDE 5/16 5 FL        4
 ILN                      717985   CUTTER-T, DOUB.45 CHAMF.KEN.# 5544422          11
 ILN                      717986   ENDMILL,HARVI KENNAMETAL #4047725 KCOM15       13
 ILN                      717987   MILL,DOVETAIL KEN.#5543908 (CUSTOM)            54
 ILN                      717989   06 INSERT,SCREW-ON,END MILL KEN.#1023679       50
 ILN                      717990   06 DRILL,SC KEN.#4151118 (3XD COOLANT)         50
 ILN                      717992   DRILL, STEP KEN.#5543744 (CUSTOM)              38
 ILN                      718010   COLLET, 40ER0875 KENNA.#1950206                 4
 ILN                      718011   COLLET, CV40BER40300 KENNA.#2249704             3
 ILN                      718012   COLLET, 32ER0562 KENNA.#1950155 9/16            3
 ILN                      718013   COLLET, 40ER1000 KENNA.#1729940                 4
 ILN                      718014   COLLET, 40ER0750 KENNAMETAL #1729939            4
 ILN                      718024   DRILL,CORE 45 COLT KEN.#5576922                31
 ILN                      718025   DRILL,CORE 45-70 KEN.#5576899                 169
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 ILN                      718026   DRILL,CORE 35 REM KEN.#5576920               57
 ILN                      718027   DRILL,CORE 30-30 KEN.#5576921                86
 ILN                      718028   DRILL,CORE 357 MAG KEN.#5576925               3
 ILN                      718029   DRILL,CORE 308 MAG KEN.#5576923              74
 ILN                      718030   DRILL,CORE 444 MARLIN KEN.#5576928           65
 ILN                      718031   DRILL,CORE .338 KEN.#5580728 DWG60192213     68
 ILN                      718032   DRILL,CORE .410 CAL KEN.#5576924             73
 ILN                      718033   REAMER,CHAMBER,FINISH .410 KEN.#5576926      43
 ILN                      718034   06 REAMER,CHAMBER,ROUGH .410 KEN.#5576929    32
 ILN                      718035   DRILL,B042A07938CPG (.3125) KEN.#4150710     11
 ILN                      718043   DRILL, KENN KSEM0634R10SS075#1729875          4
 ILN                      718044   BLADE, DRILLKENN KSEM1600PCM#2646081 OBS     99
 ILN                      718045   BLADE, DRILL KENN KSEM1650HPGM #2499757     300
 ILN                      718050   HOLDER, ENDMILL CAT40 KENN-TL#5583911         5
 ILN                      718051   SLEEVE, HYD KENNAMETAL #12HC0688#1093530      7
 ILN                      718058   ADAPTER,ENDMILL KENNAMETAL CV40EM075575       2
 ILN                      718059   HOLDER, KENNAMETAL#2249703 CV40BER25600       3
 ILN                      718060   COLLET CLOSER, LEXAIR 16C #65204              1
 ILN                      718064   COLLET, KENNAMETAL 20HCM0375 #1093569         3
 ILN                      718070   ROLL DIE, MARK INSCRIPTION B-5406             4
 ILN                      718073   DRILL,CORE 44 MAG KENNAMETAL#5586202 OBS     25
 ILN                      718083   ROLL DIE, MARK INSCRIPTION B-6775             3
 ILN                      718093   DRILL,SC KENNAMETAL 5590913 .679 KCPK15     258
 ILN                      718094   ENDMILL, SC FORM .354 KENNAMETAL#5601573     86
 ILN                      718102   MILL, DRILL 45 DEGREE GARR #58267            12
 ILN                      718104   WRENCH, ROUND KENNAMETAL TG50 #1273814        3
 ILN                      718105   WRENCH, ROUND KENNAMETAL TG75 #119229         2
 ILN                      718106   WRENCH, ROUND KENNAMETAL TG100 #1192230       2
 ILN                      718107   WRENCH, 30MM A/F KENN TG50 184 #1284014       3
 ILN                      718108   WRENCH, OPEN END KENNAMETAL TG75 #102605      3
 ILN                      718109   WRENCH, OPEN END KENNAMETAL TG100#102607      1
 ILN                      718110   WRENCH, INSERT KENNAMETAL NG6 #1124601        2
 ILN                      718111   REAMER, ROUGH CHAMBER 35REM KENN#5487254     51
 ILN                      718112   REAMER,FINISH CHAMBER 35REM KENN#5486664     25
 ILN                      718113   RING,DRIVE KENNAMETAL KAP2251254#1247663      2
 ILN                      718115   SLOTTER, KENNAMETAL KVNS05118OD#1247742       2
 ILN                      718122   TAP,13/16-20 W/WELDON KENNAMETAL#5608226     49
 ILN                      718123   REAMER, ROUGH CHAMBER 308 KENN#5487368       39
 ILN                      718124   REAMER,FINISH CHAMBER 308 KENN#5487370       35
 ILN                      718125   REAMER, ROUGH CHAMBER 338 KENN#5487376       36
 ILN                      718126   REAMER,FINISH CHAMBER 338 KENN#5487378       36
 ILN                      718127   REAMER, ROUGH CHAMBER 444 KENN#5487360       29
 ILN                      718128   REAMER,FINISH CHAMBER 444 KENN#5487362       13
                                                  41

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 ILN                      718130   REAMER,FINISH CHAMBER 45COLTKENN#5487364     7
 ILN                      718131   REAMER, CHAMBER 39A KENNAMETAL#5486668      68
 ILN                      718132   REAMER, ROUGH CHAMBER 32H&R KENN#5487372    24
 ILN                      718133   REAMER,FINISH CHAMBER 32H&R KENN#5487374    18
 ILN                      718135   ENDMILL,KENNAMETAL HPHV500S4063 #4071900    11
 ILN                      718136   DRILL,SC KENNAMETAL#4111743 B221A04090HP    28
 ILN                      718140   MASKING, MARLIN RECEIVER (J.J.SHORT)       171
 ILN                      718141   TOOL, CUSTOM FORM KENNAMETAL#5533987        89
 ILN                      718142   Bushing, Driven, 336 Barrel B-4131-B        20
 ILN                      718146   CUTTER, T-SLOT KENNAMETAL#5597621           25
 ILN                      718147   CUTTER, SADDLE KENNAMETAL#5593509           49
 ILN                      718150   CUTTER,T LH SC KENNAMETAL#5506590 KCPM15    25
 ILN                      718151   TOOL,FORM SC KENNAMETAL#5474612 KCPM15      80
 ILN                      718152   DRILL, STEP KENNAMETAL #5557085 KCPK15       9
 ILN                      718154   ENDMILL, 8MM KENNAMETAL #1722853            25
 ILN                      718155   CUTTER ,CHAMFER KENNAMETAL #1023610          2
 ILN                      718156   INSERT, KENNAMETAL TPMT110204LF #1845219    25
 ILN                      718157   TAP,8-32 KENNAMETAL# T820NC#08-32RH3-XL6    42
 ILN                      718451   TOOL, CROWNING 30-30 KENNAMETAL#5632923     34
 ILN                      718452   TOOL, CROWNING 45-70 KENNAMETAL#5632924     34
 ILN                      718459   ASSEMBLY, REPLACEMENT HEAD Q13-050-RP1       4
 ILN                      718460   COLLET,TAP ER25 #10 KENNAMETAL#25ERTCT10     4
 ILN                      718461   MILL, SHELL,KENNAMETAL#5302956               3
 ILN                      718462   INSERT,KENNAMETAL#5172843 RPPT43SGE         70
 ILN                      718493   TOOL, CROWNING 44MAG KENNAMETAL#5632925     34
 ILN                      718494   TOOL, CROWNING .357 KENNAMETAL#5632926      35
 ILN                      718563   QSTAP 6-48NS 3FL KENNAMETAL#2004323005     101
 ILN                      718564   CUTTER, T KENNAMETAL#5640819                25
 ILN                      718566   DRILL,SC KENNAMETAL4150226 B041A06000CPG    50
 ILN                      718573   INSERT,KENNAMETAL NR3062RKKC5010#4175959    10
 ILN                      718577   COLLET, KENNAMETAL 100TGCHP180M              5
 ILN                      718623   TOOL,FORM SC KENNAMETAL#5583667 KCPM15      14
 ILN                      718633   STUD, K20 ZERO POINT 303149                 11
 ILN                      718634   STUD, K20 TIMING 303156                     17
 ILN                      718635   SCREW, ZPS K20 ENGAGEMENT 303222             6
 ILN                      718653   BUSHING, SLOTTED LOCATOR CL-4-SLLB           4
 ILN                      718654   BUSHING, LINER CARR-LANE L-28-6              4
 ILN                      718667   COLLET, KENNAMETAL 50TG080M 8MM              2
 ILN                      718668   SLEEVE,HYD CHUCK KENNAMETAL #75HC030M        2
 ILN                      718669   BODY, DRILL KENNAMETAL KSEM1125R7SS125       1
 ILN                      718705   ROLL, MARKING MARLIN 410 B-7149              3
 ILN                      718706   ROLL, MARKING MARLIN 410XLR B-7487           4
 ILN                      718708   MILL, CHAMFER KENN#1023681 KIPR046SD2660     2
                                                  42

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 ILN                      718709   INSERT, KENNAMETAL SDEB26151 #2210029            25
 ILN                      718710   HOLDER,INSERT KENN#3742558 M1D125E1005W*          3
 ILN                      718716   DRILL,CORE ST PILOT 32 H&R KEN.#5613470          15
 ILN                      718718   MILL,SHELL,KENN 1024994 KSSISR200SD430F3          2
 ILN                      718719   INSERT, KENN#2458914 SDET434SNGB2 .063R          40
 ILN                      718720   SCREW,TORX .2109-28x.283 410165 408723     6,141.00
 ILN                      718775   ENDMILL,BALL KENN UEBD0125J3A #4169662            2
 ILN                      718776   CENTER,DEAD3MTW/CARBIDE TIP #93534 71034          3
 ILN                      718815   PLUG, HEAD SPACEING "NO GO" A-4428-1G             2
 ILN                      718816   PLUG, HEAD SPACEING "GO" A-4428-2A                4
 ILN                      718817   PLUG, HEAD SPACEING "NO GO" A-4428-3A             4
 ILN                      718821   CHUCK, HYD MM6805773                              4
 ILN                      718822   HOLDER,CV40 .750 DIA FASTENAL SKU3376621          3
 ILN                      718843   HOLDER, CAT40 1.25D ERICKSON SKU1261617           4
 ILN                      718855   DUMMY ROUNDS, MARLIN 308 (GLENCO)                 2
 ILN                      719480   BUSHING, MARLIN GUNDRILL,39A, C-68696-A           7
 ILN                      719481   BUSHING, MARLIN GUNDRILL,32-20,C-68696-C          8
 ILN                      719488   BUSHING, MARLIN GUNDRILL, 444, C-68696-H          4
 ILN                      719489   BUSHING, MARLIN GUNDRILL, 410, C-68696-F          4
 ILN                      719510   BARREL BROACH SAFETY, B-6420-3                    2
 ILN                      719559   BROACH HEAD PULL JAWS                             4
 ILN                      719568   TOOL, CARBIDE, 1/4" DIA. 6077949               155
 ILN                      719569   1894 COWBOY 44 MAG ROLL MARK                      3
 ILN                      719584   1/2 5F CONCAVE .75RAD W/WELDON                   42
 ILN                      719586   BROACH RIFLE PULL HEAD JAWS D-3004-1              8
 ILN                      719587   ENDMILL,.625" .750" LOCZ4                      200
 ILN                      719588   HARVI EM 5/16 X 5/16 X 1/2 X 2 4047737            5
 ILN                      719589   ENDMILL, SC FORM CUTTER                          12
 ILN                      719605   ENDMILL,FORM,5FL                                  6
 ILN                      719607   ENDMILL,FORM,5FL,RH                               4
 ILN                      719613   NIAGARA CUSTOM POWER MILL C-2464                  1
 ILN                      719659   DRILL, B042A03200CPG KC7325, P/N4150636          60
 ILN                      719670   TAP, .210-28 2B RHS/RHC, 3FL 6128084             94
 ILN                      719688   CENTER, #3MT (10832) 01028356 B-77573             2
 ILN                      719689   CENTER, LIVE, #4MT QUAD-BEARING (10664)           2
 ILN                      719690   DRILL, .1339" SC, B053A03400CPG KC7325           58
 ILN                      719691   DRILL, .1614" SC, B053A04100CPG KC7325           21
 ILN                      719695   06 DROP PLUG, 45 COLT, C-69823-C                  3
 ILN                      719696   DROP PLUG, 308 MARLIN EXPRESS, C-69823-L          2
 ILN                      719697   DROP PLUG, 357 MAG., C-69823-E                    2
 ILN                      719698   DROP PLUG, 45-70 GOVT., C-69823-A                 1
 ILN                      719699   DROP PLUG, 338 MARLIN EXPRESS, C-69823-H          2
 ILN                      719700   DROP PLUG, 410, C-69823-B                         2
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 ILN                      719701   DROP PLUG, 444 MARLIN, C-69823-G            2
 ILN                      719702   DROP PLUG, 30-30 WIN, C-69823-K             2
 ILN                      719703   DROP PLUG, 35 REM, C-69823-J                2
 ILN                      719704   DROP PLUG, 22, C-69823-M                    2
 ILN                      719705   DROP PLUG, 32-20 WIN, C-69823-F             2
 ILN                      719706   DROP PLUG, 44 MAG, C-69823-D                2
 ILN                      719707   ROLLMARK, 1895 GSBL, 45-70 GOVT.            4
 ILN                      719708   CUTTER, CONVEX, SETS OF 2, B-1058-3         4
 ILN                      719713   STAMP, B-69857-A                            1
 ILN                      719714   STAMP, B-69857-B                            2
 ILN                      719715   STAMP, B-69857-C                            2
 ILN                      719718   COLLET, REDUCER, .500 TO .375 1606049       5
 ILN                      719719   COLLET, REDUCER, .750 TO .500 1093268       6
 ILN                      719720   ENDMILL, .500 DIA, CSENDMILL-6182171       54
 ILN                      719721   REDUCER, 20MM/16MM, 20MHC160M               5
 ILN                      719723   DRILL, 2.4MM/.0945.5XD SC 4149154          20
 ILN                      719724   COUNTERBORE, PILOTED, .17WSM 6167923        3
 ILN                      719725   REAMER, FINISH, .17WSM SC CHMBR 6167356     7
 ILN                      719727   REAMER, ROUGH, .17WSM SC CHMBR 6167924      7
 ILN                      719730   ENDMILL, 8MMX19MM HARVI, UCDE0800A5ARA     39
 ILN                      719731   ENDMILL, FORM, 4FL, 60658219,6193227       24
 ILN                      719734   STAMP, PROOF, (REP) FOR OCTAGON BBL         3
 ILN                      719740   REAMER, BORE, MARLIN 357, C-69842-E        20
 ILN                      719741   REAMER, BORE, MARLIN 410, C-69842-J        14
 ILN                      719742   REAMER, BORE, MARLIN 45 COLT, C-69842-N     6
 ILN                      719743   REAMER, BORE, MARLIN 35 CAL, C-69842-F      6
 ILN                      719744   REAMER, BORE, MARLIN 444, C-69842-M         9
 ILN                      719745   REAMER, BORE, MARLIN 45-70, C-69842-P      48
 ILN                      719746   REAMER, BORE, MARLIN 30-30SS, C-69842-Q     2
 ILN                      719747   REAMER, BORE, MARLIN 22, C-69842-A         15
 ILN                      719748   REAMER, BORE, MARLIN 338, C-69842-D        15
 ILN                      719749   REAMER, BORE, MARLIN 308 WIN, C-69842-R    11
 ILN                      719750   REAMER, BORE, MARLIN 32 MAG, C-69842-C     16
 ILN                      719756   LOCATOR, SQUARE THREAD BLADE, 28787TC-01    1
 ILN                      719757   ENDMILL, 11.5MM DIA X .500 SHANK           27
 ILN                      719758   COLLET, REDUCER, 1.25 TO .875 12HC0875      4
 ILN                      719759   ENDMILL, .500, CSENDMILL-6201028 KCPM15    46
 ILN                      719765   308MX BUT-END LOCATOR BLADE                 2
 ILN                      719766   WORK SUPPORT, VEKTEK 10-0715-06             3
 ILN                      719767   DRILL, 4.062MM SC, KC7325 6220343          10
 ILN                      719803   GAUGE PLUG,1894-45 COLT, NO-GO HEADING      8
 ILN                      719804   GAUGE PLUG,1894-45 COLT, GO HEADING         7
 ILN                      719808   SLEEVE, REDUCER, .75 TO .25                 2
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 ILN                      719809   TAP, #8-40 UNS-2B RH 3FL, SEMI BOTTOMING    80
 ILN                      719833   ENDMILL, 8MM 4FL HARVI P/N4046269           11
 ILN                      719834   ENDMILL, .500, SCENDMILL-6234830            28
 ILN                      719835   CHUCK, HYDRAULIC, CV40 HC INCH, 1605101      4
 ILN                      719900   SHAVE TOOL, C-70052                         43
 ILN                      719923   HARVI ENDMILL, .375X.375X.5X.2 4047752      42
 ILN                      719924   HARVI ENDMILL, .219" DIA. 6282697            3
 ILN                      719926   TAP, 8-32, KENNAMETAL                       36
 ILN                      719933   ENDMILL, 5F FORM, 1X1/4X1.144X4.1/2          2
 ILN                      719935   REDUCER COLLET, 1-1/4 TO 1/2, 12HC0500       1
 ILN                      719936   REDUCER COLLET, 1/14 TO 5/8, 12HC0625        1
 ILN                      719938   PIN RETRACT BAR                              2
 ILN                      719939   RETRACT BALL                                 2
 ILN                      719946   TOOL HOLDER, KENNAMETAL TOP NOTCH            2
 ILN                      719966   FORM TAP, #6-48, 2B HSS RH UNCTD 6MM SHK    95
 ILN                      719968   ROLLMARK, 45 COLT, OCTAGON BBL               2
 ILN                      719969   ROLLMARK, 357 MAG, OCTAGON BBL               1
 ILN                      719970   ROLLMARK, 44 REM MAG, OCTAGON BBL            1
 ILN                      719973   ROLLMARK, 45 COLT, ROUND BBL                 1
 ILN                      719974   DRILL, 3.6MM SC, B053A03600CPG              35
 ILN                      719988   SADDLE GRIPPER, .44 MAG                      5
 ILN                      719989   SADDLE GRIPPER, .357                         4
 ILN                      719991   ENDMILL, 3/16", GARR SERIES 246 MA 51117    20
 ILN                      719992   ENDMILL, 1", 5F, SC FORM, .656 R 6308377   106
 ILN                      719995   ENDMILL, 16MM, CSENDMILL-6326909 KCPM15      4
 ILN                      719996   ENDMILL, 16MM, CSENDMILL-6326910 KCPM15     25
 ILN                      719997   OP10 PISTOL GRIP FINGER LEVER FIXTURE        4
 ILN                      719998   DRILL, .2126, WITH BACK CHAMFER, KC7315     16
 ILN                      720000   FIXTURE, MAG TUBE ASSY. GUIDE               28
 ILN                      720001   FIXTURE, OP10, 1895 FINGER LEVER             4
 ILN                      720005   REAMER SHANK, MARLIN 45-70, C-54532-K       14
 ILN                      720008   ENDMILL, HARVI, 16MMX32MM 4046393            1
 ILN                      720011   T-SLOT CUTTER, .360                          1
 ILN                      720012   REAMER, BUTTON BORE, CARBON, MARLIN 336     33
 ILN                      720023   REAMER, BUTTON BORE, STAINLESS, 336 MARL    28
 ILN                      720024   REAMER, SHANK, 35 REM, 357 MAG, MAR.336     20
 ILN                      720025   REAMER SHANK, MARLIN 22 CAL C-54532-G       20
 ILN                      720027   REAMER, SHANK, 30-30, 338, MARLIN 336       40
 ILN                      720028   DRILL, .254 SC KU, 6.452MM KC7325           30
 ILN                      720053   DRILL GUIDE, MARLIN 45LC, B-3527-9           8
 ILN                      720054   ENDMILL, 3/4", 4FL GP BN, 5824554            2
 ILN                      720063   BUTTON, MARLIN 30-30, PLCC7870               6
 ILN                      720064   BUTTON, MARLIN 30-30, PLCC7868               9
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 ILN                      720065   BUTTON, MARLIN 30-30, PLCC7869              13
 ILN                      720068   ENDMILL, 3/4" 4FL GP BN, P/N: 5824554       40
 ILN                      720077   ENDMILL, KENNAMETAL 5824403                 28
 ILN                      720078   ENDMILL, KENNAMETAL 6086340                 12
 ILN                      720098   GODRILL, .213 (5.41MM) B041A05410CPG         8
 ILN                      720105   TAP, .157-40                               129
 ILN                      720106   ENDMILL, 1/2", 4FLT BALL 5824535             3
 ILN                      720123   ROLLMARK, 336 TDL, B-71566                   2
 ILN                      720131   ROLLMARK, 1894 SBL - 44 REM MAG, B-71556     5
 ILN                      720149   DRILL, SPECIAL STEP, MARLIN A-70303         23
 ILN                      720178   HOLDER, BIT, KENNAMETAL                      1
 ILN                      720283   REAMER, C-69842-B MARLIN 30-30 CARBON BO     3
 ILN                      720371   BURR, 10mm CYLINDER RUBBER ROTARY TOOL      10
 ILN                      720473   BURR, 10mm BULLET RUBBER ROTARY TOOL        15
 ILN                      720490   Jaw Bottom, Carrier 1894 fixture det. 23     1
 ILN                      720491   Locator Pin, Carrier fixture, det 26         1
 ILN                      720492   Locator, Carrier fixture, det 24             1
 ILN                      722937   CLAMP ARM, D-70904-20                        1
 ILN                      723128   CLAMP ARM, C-68501-38, OP 50                 1
 ILN                      723129   CLAMP ARM, C-68501-26, OP 50                 1
 ILN                      723131   Belt, Abrasive 6 x 186, 400 grit           130
 ILN                      723133   Jaw Top, Carrier 1894 fixture det. 22        1
 ILN                      723134   Gripper, opposing end, carrier444 det 29     1
 ILN                      723135   Gripper, opposing sadd carrier357 det 33     2
 ILN                      723148   CLAMP ARM, D-70904-19                        1
 ILN                      723149   CLAMP, ROEMHELD COMPACT 1802-101             1
 ILN                      723150   LOCATOR, D-70904-16 OP60                     1
 ILN                      723208   DRILL, STEP, .215, GUHRING 7/32 B-77500     24
 ILN                      723213   Belt, Abrasive 6 x 186, 220 grit 276804    100
 ILN                      723217   JAW, TOP, 4.875, CARRIER FIXTURE DET 16      1
 ILN                      723218   JAW, BOTTOM, 4.875, CARRIER FIXTU DET 17     1
 ILN                      723219   JAW, TOP, 444, CARRIER FIXTURE DET 18        1
 ILN                      723220   JAW, BOTTOM, 444, CARRIER FIXTURE DET 19     1
 ILN                      723221   JAW, TOP, .357, CARRIER FIXTURE DET 20       1
 ILN                      723222   JAW, BOTTOM, .357, CARRIER FIXTU DET 21      1
 ILN                      723323   PLUG, HOLDING SPIN POLISH, C-55644-T         2
 ILN                      723326   Reamer, Finish Chamber, 44 Rem Mag          27
 ILN                      723435   REAMER,.079/.0792 CARBIDE, 3MM SHANK 3/4     5
 ILN                      723459   TORQUE SCREW DRIVER, 20 TO 100 IN. OZ.       2
 ILN                      723483   Torque Screw Driver - 3 to 15 in-lb          3
 ILN                      723514   ENDMILL, BALL .500d x 300 x 3/16, RE SHK     5
 ILN                      723523   CHUCK, HYDRAULIC EXPANSION 12 BTB            1
 ILN                      723524   CHUCK, HYDRAULIC 1/2 BT40                    1
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 ILN                    723526   CLAMP, LH VEKTEK 15-0605-00-L DA SWING      1
 ILN                    723546   ENDMILL 5/16 .015CR GORILLA MILL           51
 ILN                    723547   ENDMILL 5/8" .030CR GORILLA MILL           41
 ILN                    723563   CLAMP, ROEMHELD COMPACT 1803-101            1
 ILN                    723564   EFFECTOR, 1894 BREECH BOLT D-67172-19       8
 ILN                    723565   EFFECTOR, 1894 BREECH BOLT D-67172-09       8
 ILN                    723566   CLAMP, D-68493-26 No Inspection             2
 ILN                    723567   ENDMILL, 5/16" DIA. 4 FLUTE .015 RADIUS    78
 ILN                    723583   Removable Drill Bushing #SF328.2130 #3      4
 ILN                    723590   TOOLHOLDER, BT30HCT20100M, BT30             2
 ILN                    723591   SLEEVE, 20HCM0312 20MM-5/16                 2
 ILN                    723603   14MM, DRILL SC 5XD KC7325 KENNA 4150787    59
 ILN                    723606   TAP, 8-40 UNS H2 2FLT PLUG (REGAL)         24
 ILN                    723624   TAP, 6-48 FORM 2B 4L HSS 6MM SHK TIN       31
 ILN                    723683   DRILL, 2.235MM/.088 6637326 STEP           34
 ILN                    723684   ENDMILL 1" 6FLT MKTGBA NYS TOOL            23
 ILN                    723685   SLEEVE, HYRAULIC 1.25-18MM 12HC180M         4
 ILN                    723686   REAMER, BORE, MARLIN 45-70 SS, C-69842-U   10
 ILN                    723703   COUNTERBORE, .444 KENNAMETAL 6710224        7
 ILN                    723723   FIXTURE, D-73754 LEVER HOLDING              2
 ILN                    723724   PUNCH, BRASS DRIFT 1/4"                    12
 ILN                    723763   CUTTER, 45 DEGREE CROWN                     1
 ILN                    723764   T-HANDLE, FOR CROWN CUTTER                  1
 ILN                    723783   ENDMILL, KENNA, 1/8" UEDEO125J3AS          24
 ILN                    723784   CLAMP, ARM C-69965-23, REV B, P16-023       1
 ILN                    723798   Harvi 1 TE H1TE4RA0500X200HAR030           11
 ILN                    723813   PULL HEAD JAWS FOR BROACH, D-3004-4         4
 ILN                    723823   COUNTERBORE, PILOTED 0.4478 BREACH CHAMF    5
 ILN                    723824   LOCATING PIN, C-69965-18 P16-023            3
 ILN                    723825   LOCATOR, C-69965-16 P16-023 336             1
 ILN                    723833   CLAMP, ARM BASE C-69964-44 REV B P16-023    2
 ILN                    723834   CLAMP, ARM C-69964-46 P16-023               2
 ILN                    723835   68493-46 CL-1 SRB MODIFICATION              4
 ILN                    723923   ENDMILL, H1TE4RA0250L075HAR015 6676370 K    1
 ILN                    723933   ROLL MARK, B-71859 MOD 1894CST CAL .357     2
 ILN                    723953   TAP, KENNAMETAL MM 6746304 SPCL HSS-E-PM   11
 ILN                    723954   REAMER, KENNAMETAL MM6746131 .410 CHOKE     8
 ILN                    724041   Step Drill, A-77557                        16
 ILN                  A717044    REGRIND, DRILL, STEP, B-64144               2
 ILN                  A717046    REGRIND, DRILL, STEP, B-64203 5048499      30
 ILN                  A717277    REGRIND, EMILL, 3/4" KENNA 5373782         22
 ILN                  A717463    717463 (REGRIND) ENDMILL 4048662           15
 ILN                  A717976    717976 ( REGRIND ) MARLIN 5425635 KC7425    3
                                                47

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 ILN                  A719339   REGRIND, FORM, CARB, .235 RAD, 5554793      5
 ILN                  A719587   719587 (REGRIND ) ENDMILL,.625" 6087490     3
 ILN                  A719996   719996 (REGRIND) ENDMILL                   25
 ILN                  A720054   720054 ( REGRIND ) ENDMILL, 3/4", 4FL GP   14
 ILN                  A720078   720078 (REGRIND) ENDMILL 6086340           17
 ILN                  A720243   720243 (REGRIND) DRILL B966A11500           5
 ILN                  A723684   723684 (REGRIND)ENDMILL 1" 6FLT MKTGBA      3




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                                Schedule 1.1(c)
                                Leased FF&E




None.




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                                Schedule 1.1(e)
                          Assigned Business Contracts




None.




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                                      Schedule 1.1(h)
                                        Inventory


                                     Marlin Products Inventory
  Product Family   Plant     Part                            Desc               QTY*
      Marlin       ARM     F406229   TUBE, MAGAZINE CARBON                          32
      Marlin       ARM     F406266   PIN, FIRING BLANK                              10
      Marlin       ARM     F406272   FOREARM TIP NO STUD 39A                        39
      Marlin       ARM     F406439   SPRING, EXTRACTOR, 1894                        51
      Marlin       ARM     F406445   BULLSEYE                                      464
      Marlin       ARM     F406467   BUTTPLATE                                      81
      Marlin       ARM     F406471   CAP, PISTOL GRIP                               72
      Marlin       ARM     F406484   PIN, TGP LATCH (SS)                            38
      Marlin       ARM     F406487   SIGHT, DOVETAIL FIBER OPTIC                   100
      Marlin       ARM     F406488   PIN, CARRIER ROCKER                           176
      Marlin       ARM     F406489   SPRING, CARRIER ROCKER                      5,810
      Marlin       ARM     F406490   PIN, TRIGGER                                   44
      Marlin       ARM     F406491   PIN, TGP LATCH                                422
      Marlin       ARM     F406492   EXTRACTOR, BLANK                              100
      Marlin       ARM     F406493   BALL, SAFETY                                  243
      Marlin       ARM     F406494   PIN, REAR FIRING                              116
      Marlin       ARM     F406498   SPRING, EJECTOR                               114
      Marlin       ARM     F406499   SPRING, FIRING PIN                            150
      Marlin       ARM     F406500   SPRING, MAG TUBE FOLLOWER                     165
      Marlin       ARM     F406501   PIN, HAMMER STRUT                             226
      Marlin       ARM     F406504   FOLLOWER, MAGAZINE TUBE                        97
      Marlin       ARM     F406507   FOLLOWER, MAG TUBE                             18
      Marlin       ARM     F406508   FOLLOWER, MAGAZINE TUBE                        47
      Marlin       ARM     F406509   SPRING, MAGAZINE TUBE FOLLOWER                123
      Marlin       ARM     F406510   SPRING, TRIGGER SAFETY                        113
      Marlin       ARM     F406511   SPRING, FINGER LEVER PLUNGER                  138
      Marlin       ARM     F406512   SPRING, MAGAZINE TUBE                          21
      Marlin       ARM     F406513   SCREW, SAFETY                                  37
      Marlin       ARM     F406514   SPACER, WASHER                                296
      Marlin       ARM     F406515   SPRING, SAFETY                                 80
      Marlin       ARM     F406520   TRIGGER SPRING 39A/1897                     1,349
      Marlin       ARM     F406522   TRIGGER PIN 39A/1897                          379
      Marlin       ARM     F406526   SAFETY PIN 39A/1897                           150
      Marlin       ARM     F406529   SIGHT, REAR (WILLIAMS)                         45
      Marlin       ARM     F406531   SWIVEL, STUD ASSEMBLY                          32
      Marlin       ARM     F406533   PAD, RIFLE                                     27
      Marlin       ARM     F406534   SIGHT, REAR 1894 COMP                         375




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        Marlin            ARM   F406535   SIGHT, FRONT                                          40
        Marlin            ARM   F406536   SIGHT, REAR AND ELEVATOR, HIGH                        48
        Marlin            ARM   F406537   SPRING, MAG TUBE FOLLOWER                          4,537
        Marlin            ARM   F406538   PIN, FRONT FIRING                                    118
        Marlin            ARM   F406539   FOLLOWER, MAGAZINE TUBE                               96
        Marlin            ARM   F406544   PAD, BROWN RECOIL                                     32
        Marlin            ARM   F406545   PAD,BLK RECOIL 17VS,60SS/WT                            1
        Marlin            ARM   F406547   SCREW, HAMMER SPUR                                 4,374
        Marlin            ARM   F406548   WRENCH, HEX                                       10,019
        Marlin            ARM   F406549   SCREW, PISTOL GRIP CAP                               195
        Marlin            ARM   F406550   SPRING, HAMMER                                       139
        Marlin            ARM   F406552   PIN, FIRING PIN RETAINING                             51
        Marlin            ARM   F406553   PIN, TRIGGER SPRING                                   78
        Marlin            ARM   F406556   PIN, EXTRACTOR                                        89
        Marlin            ARM   F406571   LOOP, #105 5 SECURITY                                 25
        Marlin            ARM   F406724   SCOPE, 3-9X32                                          9
        Marlin            ARM   F406934   LEATHER SLING                                        581
        Marlin            ARM   F406980   MAG TUBE STUD SCREW PL                                 5
        Marlin            ARM   F406985   TGP SUPPORT SCREW PL                                 114
        Marlin            ARM   F406987   TGP SCREW PLATED PATCH                               131
        Marlin            ARM   F406988   FRONT BAND SCREW PL                                   46
        Marlin            ARM   F407003   FRONT BAND SCREW COMPLETE                            384
        Marlin            ARM   F407004   TGP SUPPORT SCREW                                    310
        Marlin            ARM   F407007   TGP SCREW, BLACK OXIDE, PATCH                        233
        Marlin            ARM   F407008   39A/1897 CARTRIDGE CUTOFF SCREW COMPLETE             253
        Marlin            ARM   F407013   SCREW TANG COMPLETE                                   64
        Marlin            ARM   F407015   308 MX CARRIER                                        55
        Marlin            ARM   F407016   CARRIER COMPLETE                                       2
        Marlin            ARM   F407019   44 CARRIER COMPLETE                                   36
        Marlin            ARM   F407020   357 CARRIER COMPLETE                                  55
        Marlin            ARM   F407042   FINGER LEVER SCREW COMPLETE                          164
        Marlin            ARM   F407043   MAG TUBE STUD SCREW COMPLETE                         180
        Marlin            ARM   F407059   SCREW, HAMMER (PLATED) COMPLETE                        6
        Marlin            ARM   F407277   TANG SCREW PLATED                                    112
        Marlin            ARM   F407288   HAMMER SCREW COMPLETE                                135
        Marlin            ARM   F407289   FINGER LEVER SCREW - PLATED                           36
        Marlin            ARM   F407302   CARRIER SCREW COMPLETE                               353
        Marlin            ARM   F407303   CARRIER SCREW PLATED                                 176
        Marlin            ARM   F407320   MARLIN 336, 444, 1894 & 1895 MANUAL                   44
        Marlin            ARM   F408342   BASE, ALUMINUM TOP MOUNT MODEL 336 +                  11
        Marlin            ARM   F410411   SPRING, MARLIN, EXTRACTOR, 1894                        7
        Marlin            ARM   F410460   FULL-BUCKHORN, LONG BLADE, REAR SIGHTS                23
        Marlin            ARM   F413621   HOOD, MARLIN FRONT SIGHT                              41
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        Marlin            ARM   F415054   WILLIAMS FRONT SIGHT BASE                            26
        Marlin            ARM   F415396   MARLIN PACK BOX                                      67
        Marlin            ARM   F416387   MARLIN REAR BAND SCREW                               61
        Marlin            ARM   F416405   MARLIN REAR BAND SCREW PLATED                        26
        Marlin            ARM   F416662   MARLIN PACK BOX-SCOPE                                 8
        Marlin            ARM   F416683   1895, CARRIER ASSB, MARLIN LEVER                     15
        Marlin            ARM   F416685   336 CARRIER ASSEMBLY                                  6
        Marlin            ARM   F416733   FRONT SIGHT 570H IVORY BEAD                           1
        Marlin            ARM   F416752   SKINNER FRONT SIGHT                                   9
        Marlin            ARM   F416753   SKINNER FRONT SIGHT SCREW                            23
        Marlin            ARM   F416754   SKINNER REAR PEEP SIGHT                              16
        Marlin            ARM   F416755   SCREW, FILLISTER HEAD, 8-40x1/4"                     22
        Marlin            ARM   F416756   SCREW, FILLISTER HEAD, 8-40x1/8"                     23
        Marlin            ARM   F416818   SKINNER REAR PEEP SIGHT INSTR & TOOL PCK             23
        Marlin            ARM   F416861   THREAD PROTECTOR, LVRACT, 1/2-28                      4
        Marlin            ARM   F416925   APERTURE ASSB, REAR SIGHT, LEVER ACTION               7
        Marlin            ARM   F416928   SCREW, FILLISTER HEAD 6-48, LEVER ACTION             15
        Marlin            ARM   F417082   APERTURE ASSB, LVRACT, XS, .191 PEEP                 16
        Marlin            ARM   F417083   APERTURE ASSB SCREW, LVRACT, XS, 8-40                17
        Marlin            ARM   F417087   SCREW, LEVER ACTION, LOADING SPRING, BO              59
        Marlin            ARM   F417088   SCREW, LEVER ACTION, LOADING SPRING, EN             102
        Marlin            ARM   F417090   SCREW, FOREND TIP TENON, EN                           6
        Marlin            ARM   F418076   FRONT SIGHT, LVRACT, XS-300                          12
        Marlin            ARM   F418209   444, CARRIER ASSB, MARLIN LEVER                       7
        Marlin            ARM   F418310   SCREW, TANG, BLACK OXIDE, TORX                       36
        Marlin            ARM   F418311   SCREW, HAMMER, BLACK OXIDE, TORX                     40
        Marlin            ARM   F418312   SCREW, CARRIER, BLACK OXIDE, TORX                    38
        Marlin            ARM   F418313   SCREW, STUD, MAG TUBE, BLACK OXIDE, TORX             38
        Marlin            ARM   F418314   SCREW, FINGER LEVER, BLACK OXIDE, TORX               32
        Marlin            ARM   F418315   SCREW, LOADING SPRING, BLACK OXIDE, TORX             32
        Marlin            ARM   F418316   SCREW, TENON, FOREARM TIP, BLK OX, TORX             140
        Marlin            ARM   F418317   SCREW, TGP, BLACK OXIDE, TORX                        37
        Marlin            ARM   F418318   SCREW, TGP SUPPORT, BLACK OXIDE, TORX                38
        Marlin            ARM   F418588   BLACK PARACORD SLING                                  3
        Marlin            ARM   F419274   PARACORD SLING, BLACK                                14
        Marlin            ARM   F419510   LOCK, MARLIN                                         16
        Marlin            ILN   F405376   BLANK, STOCK CURLY MAPLE                            645
        Marlin            ILN   F405383   BLANK, FOREARM CURLY MAPLE                          814
        Marlin            ILN   F405722   BROWN LAMINATE PANEL 41x10x1.75                     467
        Marlin            ILN   F406009   FORGING, RECEIVER (SS)                            1,296
        Marlin            ILN   F406010   FORGING, TGP (SS)                                 1,669
        Marlin            ILN   F406012   FORGING, FINGER LEVER (SS)                        2,503
        Marlin            ILN   F406017   FORGING, TRIGGER GUARD PLATE                      1,621
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        Marlin            ILN   F406019   FORGING, RECEIVER                             5,269
        Marlin            ILN   F406022   BAR, 1 1/32 416SS                            20,194
        Marlin            ILN   F406026   FORGING, FINGER LEVER (SS) TE                 1,304
        Marlin            ILN   F406028   FORGING, FINGER LEVER                         2,735
        Marlin            ILN   F406042   FORGING 336/95 BIG LOOP LEVER                 2,596
        Marlin            ILN   F406049   BLANK, DL FOREARM                               458
        Marlin            ILN   F406055   FORGING, BIG LOOP FINGER LEVER                  679
        Marlin            ILN   F406070   BAR, .937 DIA A1S1 414OR Q&T                 40,069
        Marlin            ILN   F406082   FORGING, FINGER LEVER TEXAS                   2,022
        Marlin            ILN   F406091   BAR, 1 1/32 DIA. 4140 Q&T                    26,658
        Marlin            ILN   F406095   LOADING SPRING, BLANK, 1895, 45-70            4,192
        Marlin            ILN   F406101   LOADING SPRING, BLANK                         4,838
        Marlin            ILN   F406104   BAR, .718 DIA 4140                           25,099
        Marlin            ILN   F406111   BAR, .937 DIA C-1137                          3,824
        Marlin            ILN   F406148   BAR, 13/16 DIA AISI 1137                      6,000
        Marlin            ILN   F406156   T.G.P., MARLIN, FORGING, 1894                 4,388
        Marlin            ILN   F406166   T.G.P., MARLIN, FORGING, 1894, S.S.           2,153
        Marlin            ILN   F406174   FORGING, RECEIVER 94                          3,639
        Marlin            ILN   F406176   FORGING, FINGER LEVER 94                      5,919
        Marlin            ILN   F406185   BAR, .875 X .875 416SS                        6,210
        Marlin            ILN   F406194   LOADING SPRING, BLANK, 1894                   3,420
        Marlin            ILN   F406196   BLANK, 1894DL BUTTSTOCK                         156
        Marlin            ILN   F406198   FORGING, RECEIVER 94SS                        3,228
        Marlin            ILN   F406200   BLANK, FOREARM BIRCH                          2,472
        Marlin            ILN   F406201   BLANK, FOREARM WALNUT                         5,598
        Marlin            ILN   F406203   BLANK, BUTTSTOCK WALNUT                         504
        Marlin            ILN   F406204   BLANK, BUTTSTOCK WALNUT CB                    2,438
        Marlin            ILN   F406215   BLANK, FOREARM TIP                            2,009
        Marlin            ILN   F406225   PLUNGER, FINGER LEVER                         3,343
        Marlin            ILN   F406227   BOLT, CAST LOCKING                            5,448
        Marlin            ILN   F406229   TUBE, MAGAZINE CARBON                         3,567
        Marlin            ILN   F406231   STUD, MAG TUBE BLANK                          4,267
        Marlin            ILN   F406234   EXTRUSION, SEAR                                 206
        Marlin            ILN   F406242   LEAF, REAR SIGHT FOLDING                     10,277
        Marlin            ILN   F406243   EJECTOR, MIM, BLUED                           8,786
        Marlin            ILN   F406248   CASTING, 336/94 HAMMER                        6,733
        Marlin            ILN   F406250   SAFETY, PUSH BUTTON                          13,353
        Marlin            ILN   F406255   EJECTOR, MIM, FOR PLATE                       3,364
        Marlin            ILN   F406257   BAND, REAR                                    4,667
        Marlin            ILN   F406260   TIP, FOREARM                                  1,411
        Marlin            ILN   F406269   BASE, EJECTOR                                   163
        Marlin            ILN   F406275   LEAF, REAR SIGHT FOLDING                      1,047
        Marlin            ILN   F406291   LEAF, REAR SIGHT FOLDING                      6,016
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        Marlin            ILN   F406293   EXTRACTOR, BLANK                         1,597
        Marlin            ILN   F406294   TUBE, MAGAZINE CUTOFF (VENDOR)           4,373
        Marlin            ILN   F406296   STUD, MAG TUBE                           1,859
        Marlin            ILN   F406304   TUBE, MAGAZINE                             284
        Marlin            ILN   F406308   INSERT, FRONT SIGHT                     11,700
        Marlin            ILN   F406313   BASE, REAR SIGHT                         4,955
        Marlin            ILN   F406315   EXTRUSION, FOREARM TIP TENON             1,447
        Marlin            ILN   F406320   SPUR, HAMMER BLANK                      15,954
        Marlin            ILN   F406324   BASE, FRONT RAMP SIGHT                   7,002
        Marlin            ILN   F406328   BASE, FRONT SIGHT                        4,539
        Marlin            ILN   F406330   BASE, FRONT SIGHT                        2,687
        Marlin            ILN   F406332   INSERT, FRONT SIGHT                        308
        Marlin            ILN   F406347   PLUG, MAG TUBE                           2,183
        Marlin            ILN   F406360   PIN, FINGER LEVER PLUNGER               56,134
        Marlin            ILN   F406362   BLANK, MAZAGINE TUBE PLUG                3,033
        Marlin            ILN   F406364   BLANK, FRONT BAND                        3,104
        Marlin            ILN   F406370   PLUG, MAGAZINE TUBE                      2,752
        Marlin            ILN   F406372   PLUG, MAG TUBE                           2,627
        Marlin            ILN   F406381   BASE, SWIVEL                            29,811
        Marlin            ILN   F406388   BLOCK, TRIGGER SAFETY                    8,799
        Marlin            ILN   F406403   CUTOFF, CARTRIDGE                          127
        Marlin            ILN   F406405   SCREW, HAMMER                            2,185
        Marlin            ILN   F406407   SCREW, FINGER LEVER                        623
        Marlin            ILN   F406411   TUBE, MAGAZINE OUTSIDE                      59
        Marlin            ILN   F406419   SPRING, CARTRIDGE GUIDE                     88
        Marlin            ILN   F406424   PLUG, MAG TUBE                           2,733
        Marlin            ILN   F406428   BAND, FRONT                                 30
        Marlin            ILN   F406430   SCREW, FRONT BAND                        6,231
        Marlin            ILN   F406434   WASHER, ROCKER PLUNGER RET.                719
        Marlin            ILN   F406436   PLUG, MAGAZINE TUBE                      5,019
        Marlin            ILN   F406438   PLUNGER, CARRIER ROCKER                  5,898
        Marlin            ILN   F406441   HOOD, FRT RAMP SIGHT 512/9/4            17,554
        Marlin            ILN   F406445   BULLSEYE                                78,360
        Marlin            ILN   F406449   STRUT, HAMMER SPRING STAMP              11,780
        Marlin            ILN   F406451   PLATE, HAMMER SPRING ADJUSTIN           51,113
        Marlin            ILN   F406453   SCREW, FRT RAMP SIGHT                   26,892
        Marlin            ILN   F406461   ELEVATOR, REAR SIGHT                     8,834
        Marlin            ILN   F406463   HOOD, FRONT RAMP SIGHT                  34,969
        Marlin            ILN   F406466   SCREW, TANG                                593
        Marlin            ILN   F406467   BUTTPLATE                                5,986
        Marlin            ILN   F406469   SCREW, SCOPE MT BASE DUM                62,548
        Marlin            ILN   F406470   SLIDE, REAR SIGHT BASE                  10,502
        Marlin            ILN   F406471   CAP, PISTOL GRIP                        18,835
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        Marlin            ILN   F406475   SCREW, FRONT SIGHT BASE BLANK            13,022
        Marlin            ILN   F406477   SCREW, FRONT SIGHT BASE                  18,534
        Marlin            ILN   F406482   INSERT, FRONT SIGHT                       7,189
        Marlin            ILN   F406484   PIN, TGP LATCH (SS)                      21,248
        Marlin            ILN   F406486   SPACER, WASHER                            1,214
        Marlin            ILN   F406490   PIN, TRIGGER                             40,882
        Marlin            ILN   F406491   PIN, TGP LATCH                          107,140
        Marlin            ILN   F406492   EXTRACTOR, BLANK                         12,480
        Marlin            ILN   F406493   BALL, SAFETY                             97,697
        Marlin            ILN   F406494   PIN, REAR FIRING                          7,628
        Marlin            ILN   F406498   SPRING, EJECTOR                          82,187
        Marlin            ILN   F406499   SPRING, FIRING PIN                       43,980
        Marlin            ILN   F406500   SPRING, MAG TUBE FOLLOWER                 5,957
        Marlin            ILN   F406501   PIN, HAMMER STRUT                        20,814
        Marlin            ILN   F406504   FOLLOWER, MAGAZINE TUBE                   5,420
        Marlin            ILN   F406506   PIN, FRONT FIRING (RH)                   10,248
        Marlin            ILN   F406507   FOLLOWER, MAG TUBE                        2,081
        Marlin            ILN   F406508   FOLLOWER, MAGAZINE TUBE                   6,577
        Marlin            ILN   F406509   SPRING, MAGAZINE TUBE FOLLOWER            5,125
        Marlin            ILN   F406510   SPRING, TRIGGER SAFETY                   27,125
        Marlin            ILN   F406511   SPRING, FINGER LEVER PLUNGER             44,679
        Marlin            ILN   F406512   SPRING, MAGAZINE TUBE                     9,984
        Marlin            ILN   F406513   SCREW, SAFETY                            12,810
        Marlin            ILN   F406514   SPACER, WASHER                           29,594
        Marlin            ILN   F406515   SPRING, SAFETY                            9,065
        Marlin            ILN   F406525   RIVET, EJECTOR BASE                          56
        Marlin            ILN   F406532   SHIM                                     77,830
        Marlin            ILN   F406533   PAD, RIFLE                                2,067
        Marlin            ILN   F406535   SIGHT, FRONT                              1,111
        Marlin            ILN   F406536   SIGHT, REAR AND ELEVATOR, HIGH              851
        Marlin            ILN   F406537   SPRING, MAG TUBE FOLLOWER                 3,470
        Marlin            ILN   F406538   PIN, FRONT FIRING                         8,288
        Marlin            ILN   F406539   FOLLOWER, MAGAZINE TUBE                  11,372
        Marlin            ILN   F406541   SPRING, CARR RCKR PLUNGER                 1,635
        Marlin            ILN   F406544   PAD, BROWN RECOIL                         2,361
        Marlin            ILN   F406545   PAD,BLK RECOIL 17VS,60SS/WT               1,819
        Marlin            ILN   F406547   SCREW, HAMMER SPUR                        9,902
        Marlin            ILN   F406549   SCREW, PISTOL GRIP CAP                   45,593
        Marlin            ILN   F406550   SPRING, HAMMER                           18,964
        Marlin            ILN   F406552   PIN, FIRING PIN RETAINING               156,479
        Marlin            ILN   F406553   PIN, TRIGGER SPRING                      80,773
        Marlin            ILN   F406554   SWIVEL, BASE ASSEMBLY                       272
        Marlin            ILN   F406556   PIN, EXTRACTOR                           16,685
                                                 56

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        Marlin            ILN   F406571   LOOP, #105 5 SECURITY                          62,566
        Marlin            ILN   F406573   HAMMER SPUR ENVELOPE                           33,686
        Marlin            ILN   F406575   MANUAL, 410 OWNERS                              2,584
        Marlin            ILN   F406577   TAG, HANG (MARLIN/USA)                         33,708
        Marlin            ILN   F406579   MARLIN BOX SUPPLIED WITH FOAM                     435
        Marlin            ILN   F406673   HORNADY 444MAG 265GR LEVER REVOLUTION           1,200
        Marlin            ILN   F406687   AMMO, HORNADY 450 MARLIN PROOF 350GR              249
        Marlin            ILN   F406688   AMMO, HORNADY 450 MARLIN 350G                   1,260
        Marlin            ILN   F406692   AMMO, F 45 COLT 225GR 45LCA                       780
        Marlin            ILN   F406697   AMMO, W 45 COLT 250GR CB45C                       729
        Marlin            ILN   F406701   AMMO, BLACK HILLS 38SP 158 GR                   5,604
        Marlin            ILN   F406705   AMMO, X41RS5 WIN 410 SUPER SL                      25
        Marlin            ILN   F406708   AMMO, HORNADY 308MX 160 GR                      1,294
        Marlin            ILN   F406709   AMMO,HORNADY 308 MX PROOF                       1,940
        Marlin            ILN   F406710   AMMO HORNADAY 338 MARLIN                        2,665
        Marlin            ILN   F406711   AMMO, 338 MARLIN PROOF                          2,012
        Marlin            ILN   F406900   MARLIN BOX & ENVELOPE LABELS                   60,991
        Marlin            ILN   F406955   TUBE MAGAZINE 1895 CBA NO FINISH                  576
        Marlin            ILN   F406975   TUBE MAGAZINE 1894 SBL NO FINISH                1,230
        Marlin            ILN   F406980   MAG TUBE STUD SCREW PL                          5,052
        Marlin            ILN   F406985   TGP SUPPORT SCREW PL                            6,954
        Marlin            ILN   F406987   TGP SCREW PLATED PATCH                         11,439
        Marlin            ILN   F406988   FRONT BAND SCREW PL                             1,857
        Marlin            ILN   F407003   FRONT BAND SCREW COMPLETE                       5,531
        Marlin            ILN   F407004   TGP SUPPORT SCREW                               4,366
        Marlin            ILN   F407007   TGP SCREW, BLACK OXIDE, PATCH                   7,558
        Marlin            ILN   F407013   SCREW TANG COMPLETE                             3,837
        Marlin            ILN   F407042   FINGER LEVER SCREW COMPLETE                     7,434
        Marlin            ILN   F407043   MAG TUBE STUD SCREW COMPLETE                    9,887
        Marlin            ILN   F407059   SCREW, HAMMER (PLATED) COMPLETE                 8,325
        Marlin            ILN   F407235   BLANK, BUTTSTOCK WALNUT - C GRADE                 248
        Marlin            ILN   F407237   BLANK, FOREARM WALNUT - C GRADE                   554
        Marlin            ILN   F407277   TANG SCREW PLATED                               8,813
        Marlin            ILN   F407288   HAMMER SCREW COMPLETE                          11,282
        Marlin            ILN   F407289   FINGER LEVER SCREW - PLATED                     7,911
        Marlin            ILN   F407302   CARRIER SCREW COMPLETE                         18,458
        Marlin            ILN   F407303   CARRIER SCREW PLATED                            9,110
        Marlin            ILN   F407320   MARLIN 336, 444, 1894 & 1895 MANUAL            35,826
        Marlin            ILN   F407926   TUBE, MAGAZINE 38 SPECIAL                         921
        Marlin            ILN   F407985   MARLIN MAGAZINE TUBE 336 BL                     1,631
        Marlin            ILN   F407986   MARLIN MAGAZINE TUBE 336 XLR                      608
        Marlin            ILN   F408028   TUBE, 450 MAGAZINE 120                          3,088
        Marlin            ILN   F409949   SS MAGAZINE TUBE CUT TO LENGTH                  1,994
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        Marlin            ILN   F409961   BAR STOCK 7/8" X 7/8" 4140 (BREECH BOLT)          12,181
        Marlin            ILN   F409962   BAR STOCK 1" X 1" 4140 (CARRIER)                  18,849
        Marlin            ILN   F410161   1894 Big Loop Lever, Forging                       2,966
        Marlin            ILN   F410163   1894 BIG LOOP LEVER FORGING CRB                       25
        Marlin            ILN   F410411   SPRING, MARLIN, EXTRACTOR, 1894                   22,209
        Marlin            ILN   F414807   REAR SIGHT SEMI-BUCKHORN, LONG BLADE LOW             159
        Marlin            ILN   F415054   WILLIAMS FRONT SIGHT BASE                             22
        Marlin            ILN   F415395   MARLIN 5-PACK BOX                                    483
        Marlin            ILN   F415396   MARLIN PACK BOX                                      591
        Marlin            ILN   F415486   Tube, Magazine 1894 SBL No Finish                  1,854
        Marlin            ILN   F416010   1894 .357 S/A FOREARM TIP BLANK                    4,977
        Marlin            ILN   F416387   MARLIN REAR BAND SCREW                             8,145
        Marlin            ILN   F416405   MARLIN REAR BAND SCREW PLATED                      1,269
        Marlin            ILN   F416662   MARLIN PACK BOX-SCOPE                                134
        Marlin            ILN   F416683   1895, CARRIER ASSB, MARLIN LEVER                   4,216
        Marlin            ILN   F416685   336 CARRIER ASSEMBLY                               4,066
        Marlin            ILN   F416733   FRONT SIGHT 570H IVORY BEAD                          909
        Marlin            ILN   F416752   SKINNER FRONT SIGHT                                  404
        Marlin            ILN   F416753   SKINNER FRONT SIGHT SCREW                            970
        Marlin            ILN   F416754   SKINNER REAR PEEP SIGHT                              416
        Marlin            ILN   F416755   SCREW, FILLISTER HEAD, 8-40x1/4"                   1,360
        Marlin            ILN   F416756   SCREW, FILLISTER HEAD, 8-40x1/8"                   2,036
        Marlin            ILN   F416818   SKINNER REAR PEEP SIGHT INSTR & TOOL PCK           1,703
        Marlin            ILN   F416861   THREAD PROTECTOR, LVRACT, 1/2-28                   1,285
        Marlin            ILN   F416920   1895 SCOPE RAIL, LEVER ACTION                      3,500
        Marlin            ILN   F416921   1895 FRONT SIGHT, LEVER ACTION                       736
        Marlin            ILN   F416923   1894 SCOPE RAIL, LEVER ACTION                      1,109
        Marlin            ILN   F416925   APERTURE ASSB, REAR SIGHT, LEVER ACTION            7,350
        Marlin            ILN   F416926   SCREW, FILLISTER HEAD 8-40, LEVER ACTION           4,289
        Marlin            ILN   F416927   SCREW, FLAT HEAD, 8-40, LEVER ACTION               8,028
        Marlin            ILN   F416928   SCREW, FILLISTER HEAD 6-48, LEVER ACTION           7,541
        Marlin            ILN   F417082   APERTURE ASSB, LVRACT, XS, .191 PEEP                 766
        Marlin            ILN   F417083   APERTURE ASSB SCREW, LVRACT, XS, 8-40                788
        Marlin            ILN   F417087   SCREW, LEVER ACTION, LOADING SPRING, BO           10,289
        Marlin            ILN   F417088   SCREW, LEVER ACTION, LOADING SPRING, EN            6,797
        Marlin            ILN   F417089   SCREW, FOREND TIP TENON, BO                       17,188
        Marlin            ILN   F417090   SCREW, FOREND TIP TENON, EN                        4,365
        Marlin            ILN   F417329   XS SIGHTS LEVER SCOUT SET SCREW                    3,628
        Marlin            ILN   F417330   XS SIGHTS LEVER SCOUT MOUNTING PILLAR              5,100
        Marlin            ILN   F417331   XS SIGHTS LEVER SCOUT PILLAR NUT                   4,154
        Marlin            ILN   F417379   BIRCH BLANK, 870 HDWD TAC14 STOCK                    445
        Marlin            ILN   F417987   MARLIN 410 S/A CARRIER                             1,108
        Marlin            ILN   F418076   FRONT SIGHT, LVRACT, XS-300                          541
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        Marlin            ILN   F418077   MARLIN 1894 FRONT SIGHT, LEVER ACTION               4,599
        Marlin            ILN   F418209   444, CARRIER ASSB, MARLIN LEVER                     1,813
        Marlin            ILN   F418310   SCREW, TANG, BLACK OXIDE, TORX                     12,238
        Marlin            ILN   F418311   SCREW, HAMMER, BLACK OXIDE, TORX                    7,861
        Marlin            ILN   F418312   SCREW, CARRIER, BLACK OXIDE, TORX                   7,708
        Marlin            ILN   F418313   SCREW, STUD, MAG TUBE, BLACK OXIDE, TORX            7,123
        Marlin            ILN   F418314   SCREW, FINGER LEVER, BLACK OXIDE, TORX              7,597
        Marlin            ILN   F418315   SCREW, LOADING SPRING, BLACK OXIDE, TORX            8,215
        Marlin            ILN   F418316   SCREW, TENON, FOREARM TIP, BLK OX, TORX            14,382
        Marlin            ILN   F418317   SCREW, TGP, BLACK OXIDE, TORX                       7,288
        Marlin            ILN   F418318   SCREW, TGP SUPPORT, BLACK OXIDE, TORX               8,267
        Marlin            ILN   F418649   336 SCOPE RAIL, LEVER ACTION                          877
        Marlin            ILN   F418737   BLANK, STOCK CURLY MAPLE, 1894                        150
        Marlin            ILN   F418891   DOVETAIL SLOT BLANKS, BLUE, SKINNER                   388
        Marlin            ILN   F419030   MARLIN RECOIL PAD, 30-35 SHORE                      1,800
        Marlin            ILN   F419129   444 MARLIN MAG TUBE BULGE CARBON, 150TH               359
        Marlin            ILN   F419191   DOVETAIL LADDER SIGHT, SKINNER, 38DRBN                150
        Marlin            ILN   F419192   MARLIN BOX FOR 150TH W/ SINGLE O/PACK                 486
        Marlin            ILN   F419193   MARLIN GUN SOCK                                       640
        Marlin            ILN   F419274   PARACORD SLING, BLACK                               2,782
        Marlin            ILN   F419287   550 PARACORD ROLL                                 407,202
        Marlin            ILN   F419478   SIGHT, FRONT FIBER OPTIC, .343X.312                 1,087
        Marlin            ILN   F419498   PIN, FRONT FIRING, 410                              1,255
        Marlin            ILN   F419510   LOCK, MARLIN                                       45,950
        Marlin            ILN   F419547   PARACORD ROLL, BLACK/GRAY                          66,138
        Marlin            ILN   F419708   SKINNER EXP REAR PEEP SIGHT, 95/336/444               257
        Marlin            ILN   F419751   CHOKE TUBE BAG, MARLIN                              3,460
        Marlin            ILN   F419752   LARGE BAG, WRENCH/TUBES                             1,730
        Marlin            OHL   F405423   MARLIN XT INTERNATIONAL OWNERS MANUAL               2,741
        Marlin            OHL   F406547   SCREW, HAMMER SPUR                                    600
        Marlin            OHL   F406548   WRENCH, HEX                                           976
        Marlin            ARM   F406000   MARLIN 336C 30 CAL BBL 20"                              5
        Marlin            ARM   F406001   444 CAL BBL 22"                                         6
        Marlin            ARM   F406002   1895 BBL CLASSIC 45-70 GOVT 22"                         7
        Marlin            ARM   F406004   336/A BARREL, 30/30 20"                                 8
        Marlin            ARM   F406005   336 SS BARREL, 30 CAL - 20"                            10
        Marlin            ARM   F406006   HAMMER (PLATED)                                        11
        Marlin            ARM   F406011   LEVER, FINGER (36SS)                                   11
        Marlin            ARM   F406015   BOLT, BREECH 1895-450/410 -PLATED                      15
        Marlin            ARM   F406024   SCREW, FOREARM TIP TENON (PLT)                         27
        Marlin            ARM   F406025   LEVER, FINGER (95GS), STAINLESS                        16
        Marlin            ARM   F406027   PLUG, MAGAZINE TUBE (PLATED)                          102
        Marlin            ARM   F406029   SCREW, MAG TUBE STUD (PLATED)                          61
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        Marlin            ARM   F406030   336/1895 STUD, MAG TUBE (PLATED)                 55
        Marlin            ARM   F406031   1895 GS BBL 45-70 GOVT 18.5"                      4
        Marlin            ARM   F406032   1895G BBL 45-70 GOVT 18.5                         1
        Marlin            ARM   F406034   1895MR BBL 410 22"                                5
        Marlin            ARM   F406036   MARLIN 336 XLR BBL 35 CAL 24"                     1
        Marlin            ARM   F406039   1895 SBL BBL 45-70 GOVT 18.5"                     2
        Marlin            ARM   F406040   LEVER, FINGER 1895GBL                           115
        Marlin            ARM   F406045   TUBE, MAGAZINE 1895CB                            34
        Marlin            ARM   F406046   FOREARM, 1894/308MX                               7
        Marlin            ARM   F406047   TIP, FOREARM                                     13
        Marlin            ARM   F406051   MARLIN 35 REM BBL 20"                            15
        Marlin            ARM   F406053   LEVER, FINGER 336                                 6
        Marlin            ARM   F406054   LEVER, FINGER 1895SBL (SS)                       63
        Marlin            ARM   F406060   FOREARM, 336W/30AW                                7
        Marlin            ARM   F406061   LOADING SPRING, 1895M, 450, NI PLATE             40
        Marlin            ARM   F406062   HAMMER BO                                        47
        Marlin            ARM   F406065   BREECH BOLT 35 REM FLUTED                        22
        Marlin            ARM   F406069   444 XLR BBL 444 CAL 24"                          24
        Marlin            ARM   F406071   308 MXLR BBL 308 MARLIN EXP 24"                  14
        Marlin            ARM   F406076   FOREARM 1895CB/1895CBA/1894CB                    27
        Marlin            ARM   F406077   308MX BBL 308 Marlin EXP 22"                      7
        Marlin            ARM   F406079   M/336BL BARREL 30 CAL - 18"                       4
        Marlin            ARM   F406083   MAGAZINE TUBE 338 MXLR                            9
        Marlin            ARM   F406085   MAGAZINE TUBE 338MX                               3
        Marlin            ARM   F406090   LOADING SPRING, 1895M, 450M, B.O.                42
        Marlin            ARM   F406094   LOADING SPRING, 1895, 45-70, B.O.                25
        Marlin            ARM   F406098   LOADING SPRING, 1895, 45-70, NI PLATE            29
        Marlin            ARM   F406099   LOADING SPRING, NI PLATE                         16
        Marlin            ARM   F406100   LOADING SPRING, B.O.                            154
        Marlin            ARM   F406108   LEVER, FINGER (95CB)                              8
        Marlin            ARM   F406109   MAG TUBE STUD - BLUE 410/95/94/308/336           92
        Marlin            ARM   F406110   LOADING SPRING, 338, B.O.                        80
        Marlin            ARM   F406112   FOREARM 336/336SS                                19
        Marlin            ARM   F406113   FOREARM, 336XLR/308XLR GREYLAM                   11
        Marlin            ARM   F406114   FOREARM, 1895XLR/444XLR GREY LAM                  6
        Marlin            ARM   F406116   BOLT, BREECH 35 CAL -PLATED                      99
        Marlin            ARM   F406117   LOADING SPRING, 338, NI PLATE                    47
        Marlin            ARM   F406118   1895 XLR BBL 45-70 GOVT 24"                       7
        Marlin            ARM   F406119   BARREL 1895 45/70 GOVT 18.5" BO                   8
        Marlin            ARM   F406120   MAGAZINE TUBE 1895 CBA                            8
        Marlin            ARM   F406121   FOREARM 95, 444                                  11
        Marlin            ARM   F406123   MARLIN 336 XLR BBL 30 CAL 24"                     8
        Marlin            ARM   F406124   BREECH BOLT 45-70 XLR FLUTED                      7
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        Marlin            ARM   F406125   1895 SDG BBL 45-70 GOVT 16.25"                 15
        Marlin            ARM   F406126   1895GBL BBL 45-70 GOVT 18.5                    22
        Marlin            ARM   F406131   BOLT, BREECH 95 -PLATED                        16
        Marlin            ARM   F406133   FOREARM 410 XLR BROWN LAMINATE                  6
        Marlin            ARM   F406138   EJECTOR 39A/1897                              121
        Marlin            ARM   F406151   1894C BBL 357 CAL 18.5"                        13
        Marlin            ARM   F406152   1894C BBL 44 REM MAG 20"                        3
        Marlin            ARM   F406153   BARREL 1894 CB-357 MAG/38 SPL 24" BO            8
        Marlin            ARM   F406154   1894 SS BREECH BOLT (44)                       43
        Marlin            ARM   F406155   1894H BBL 45LC 20"                              5
        Marlin            ARM   F406157   BARREL 1894 44 MAG/44 SPL 20" BO               17
        Marlin            ARM   F406158   BARREL 1894 CB-357 MAG/38 SPL 20" BO            4
        Marlin            ARM   F406159   BARREL 1894 45 COLT -20" BO                     1
        Marlin            ARM   F406161   BREECH BOLT 1894-32/20                         17
        Marlin            ARM   F406162   1894 SS BBL 44 REM MAG 20"                     11
        Marlin            ARM   F406168   1894 SS BREECH BOLT(357)                       48
        Marlin            ARM   F406172   1894 BREECH BOLT BLANK-CARBON                  47
        Marlin            ARM   F406175   LEVER, FINGER (1894)                           28
        Marlin            ARM   F406178   LEVER, FINGER (1894SS)                          2
        Marlin            ARM   F406180   BOLT, BREECH 45                                 3
        Marlin            ARM   F406181   LOADING SPRING,1894,32-20,B.0.                 35
        Marlin            ARM   F406182   1894 CSS BBL 357 MAG 18.5"                     26
        Marlin            ARM   F406184   1894 BREECH BOLT (357)                          2
        Marlin            ARM   F406189   1894 BREECH BOLT 44                            73
        Marlin            ARM   F406193   LOADING SPRING, 1894, B.O.                     44
        Marlin            ARM   F406195   FOREARM, 1894C-1894CSS 357                     11
        Marlin            ARM   F406199   LOADING SPRING, 1894, NI PLATE                168
        Marlin            ARM   F406205   EXTRACTOR, 30-30/35/308, NI PLATE              24
        Marlin            ARM   F406206   TUBE, MAGAZINE (336SS)                          6
        Marlin            ARM   F406209   TUBE, MAG (1895-450)                            8
        Marlin            ARM   F406212   TUBE, MAGAZINE (GS) 1895 (BULGE)               10
        Marlin            ARM   F406213   TUBE 444XLR MAGAZINE FINISHED                   1
        Marlin            ARM   F406214   TUBE, MAGAZINE, 336C 30                        34
        Marlin            ARM   F406217   TUBE, 336XLR-30 MAGAZINE                      109
        Marlin            ARM   F406220   TUBE, MAGAZINE, 308MX                          12
        Marlin            ARM   F406222   SEAR 36/95                                     30
        Marlin            ARM   F406223   ROCKER, CARRIER                                 1
        Marlin            ARM   F406224   PLUNGER, FINGER LEVER                          65
        Marlin            ARM   F406226   BOLT, 336 LOCKING (CAST)                       56
        Marlin            ARM   F406228   TUBE, MAGAZINE, 1895SBL (BULGE)                12
        Marlin            ARM   F406232   TIP, FOREARM                                    8
        Marlin            ARM   F406240   TUBE, MAGAZINE, 336BL                           9
        Marlin            ARM   F406241   LEAF, FOLDING 336                             543
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        Marlin            ARM   F406244   EXTRACTOR, 45-70/338, B.O.                      21
        Marlin            ARM   F406245   EXTRACTOR, 410/450, NI PLATE                    95
        Marlin            ARM   F406246   EXTRACTOR, B.O                                  58
        Marlin            ARM   F406251   PUSH BUTTON SAFETY ASSB                         15
        Marlin            ARM   F406253   TUBE, MAGAZINE 444 FINISHED (BULGE)              6
        Marlin            ARM   F406254   EJECTOR, PLATED                                  1
        Marlin            ARM   F406256   EXTRACTOR, NI PLATE                             15
        Marlin            ARM   F406258   TUBE, 1895M-XLR MAGAZINE                        18
        Marlin            ARM   F406259   TUBE, MAGAZINE 1895 (BULGE)                     40
        Marlin            ARM   F406261   TUBE, MAGAZINE 95GBL                             8
        Marlin            ARM   F406270   PUSH BUTTON SAFETY 39A/1897                     17
        Marlin            ARM   F406274   LEAF, REAR FOLDING 39                           89
        Marlin            ARM   F406276   TRIGGER, GOLD                                   43
        Marlin            ARM   F406283   STUD, 357SS MAG TUBE - PLATED                   13
        Marlin            ARM   F406284   TUBE, MAGAZINE 32/20                            42
        Marlin            ARM   F406285   TUBE, MAG 1894C- FOR PLATE                      18
        Marlin            ARM   F406289   TIP, FOREARM                                    12
        Marlin            ARM   F406290   LEAF,REAR SIGHT FOLDING:XT & M60                39
        Marlin            ARM   F406292   BOLT, 1894 LOCKING (CAST)                        8
        Marlin            ARM   F406295   357/444 STUD, MAGAZINE TUBE, BLACK OX           20
        Marlin            ARM   F406297   SCREW, MAG TUBE PLUG                           139
        Marlin            ARM   F406299   TUBE, MAGAZINE 357C                             14
        Marlin            ARM   F406300   EXTRACTOR, 1894 44                              45
        Marlin            ARM   F406301   TUBE, MAGAZINE 38 SPECIAL                        6
        Marlin            ARM   F406302   TUBE, MAGAZINE 1894CB-20                         4
        Marlin            ARM   F406303   EXTRACTOR, 1894 SS 44 PLATED                   112
        Marlin            ARM   F406305   TUBE, MAGAZINE 1894                             11
        Marlin            ARM   F406307   INSERT, FRONT SIGHT (TALL)                     126
        Marlin            ARM   F406311   BASE FRONT RAMP SIGHT 336                       45
        Marlin            ARM   F406314   HAMMER SPUR-PLATED                              20
        Marlin            ARM   F406317   FRONT SIGHT BASE (2 SCREW)                      99
        Marlin            ARM   F406319   SPUR, HAMMER BLACK OXIDE                        59
        Marlin            ARM   F406321   FOREARM TIP TENON 39A/1894                     155
        Marlin            ARM   F406322   SPUR, HAMMER 39                                384
        Marlin            ARM   F406323   TENON, FOREARM TIP OFFSET                      666
        Marlin            ARM   F406325   TENON, FOREARM TIP                              51
        Marlin            ARM   F406326   TENON FOREARM TIP (OFFSET)                      29
        Marlin            ARM   F406327   BASE, FRONT SIGHT                               93
        Marlin            ARM   F406329   BASE, FRONT SIGHT                               61
        Marlin            ARM   F406333   SCREW, HAMMER -PLATED                          169
        Marlin            ARM   F406334   SCREW, CARRIER -PLATED                         240
        Marlin            ARM   F406335   SCREW, FINGER LEVER -PLATED                     55
        Marlin            ARM   F406336   PLUG, MAG TUBE -PLATED                          10
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        Marlin            ARM   F406337   SCREW, TGP SUPPORT -PLATED                    207
        Marlin            ARM   F406339   SCREW, TGP -PLATED                            201
        Marlin            ARM   F406340   BLOCK, TRIGGER SAFETY -PLATED                 341
        Marlin            ARM   F406341   PIN, F.L. PLUNGER -PLATED                     106
        Marlin            ARM   F406342   BAND, FRONT -PLATED                            33
        Marlin            ARM   F406343   SCREW, FRONT BAND -PLATED                      52
        Marlin            ARM   F406345   SCREW, MAG TUBE PLUG -PLATED                  773
        Marlin            ARM   F406346   PLUG, MAG TUBE                                 16
        Marlin            ARM   F406348   PLUG, 336XLR MAG TUBE -PLATED                  19
        Marlin            ARM   F406351   HAMMER SCREW                                   26
        Marlin            ARM   F406352   EXTRACTOR, B.O.                               132
        Marlin            ARM   F406353   SCREW, CARRIER                                 54
        Marlin            ARM   F406355   SCREW, FINGER LEVER                            28
        Marlin            ARM   F406357   SCREW, MAG TUBE STUD                           26
        Marlin            ARM   F406359   PIN, FINGER LEVER PLUNGER                      15
        Marlin            ARM   F406361   PLUG, MAGAZINE TUBE                            38
        Marlin            ARM   F406363   BAND, FRONT, L/A, BO                           93
        Marlin            ARM   F406365   EXTRACTOR, B.O.                                38
        Marlin            ARM   F406367   SCREW, FRONT BAND                               4
        Marlin            ARM   F406369   PLUG, MAGAZINE TUBE                            53
        Marlin            ARM   F406371   PLUG, MAG TUBE                                 55
        Marlin            ARM   F406374   SCREW, TGP SUPPORT                             21
        Marlin            ARM   F406382   TRIGGER NICKEL PLATED                          82
        Marlin            ARM   F406383   SCREW, TRIGGER GUARD PLATE                     32
        Marlin            ARM   F406386   TRIGGER GOLD PLATED                             9
        Marlin            ARM   F406387   BLOCK, TRIGGER SAFETY                          34
        Marlin            ARM   F406391   PLUG, 1895M-XLR MAG TUBE -PLATED               12
        Marlin            ARM   F406392   CARTRIDGE CUTOFF SCREW 39A/1897                20
        Marlin            ARM   F406394   EJECTOR BASE SCREW 39A/1897                   562
        Marlin            ARM   F406396   39 SCOPE MOUNT BASE SCREW                   2,490
        Marlin            ARM   F406398   EJECTOR PIN 39A/1897                          286
        Marlin            ARM   F406400   FIRING PIN RETAINING STUD 39A/1897             58
        Marlin            ARM   F406402   CARTRIDGE CUTOFF 39A/1897                      27
        Marlin            ARM   F406404   HAMMER SCREW 39A/1897                         188
        Marlin            ARM   F406406   FINGER LEVER SCREW 39/1897                    547
        Marlin            ARM   F406408   FINGER LEVER SPRING SCREW 39A/1897            829
        Marlin            ARM   F406410   TUBE, MAGAZINE OUTSIDE                          5
        Marlin            ARM   F406412   REBOUND STRUT                                 117
        Marlin            ARM   F406414   CARTRIDGE GUIDE SPRING SCREW                    4
        Marlin            ARM   F406416   THUMB SCREW 39A/1897                            6
        Marlin            ARM   F406418   CARTRIDGE GUIDE 39A/1897                      950
        Marlin            ARM   F406420   CARRIER SCREW, 39A/1897                        86
        Marlin            ARM   F406422   STUD, SWIVEL -PLATED                          149
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        Marlin            ARM   F406423   PLUG, MAGAZINE TUBE                              13
        Marlin            ARM   F406425   PLUG, MAG TUBE 1894C-SS PLATED                   35
        Marlin            ARM   F406426   BAND, FRONT, .357 EN PLATED                     102
        Marlin            ARM   F406427   BAND, FRONT, L/A, 357, BO                        27
        Marlin            ARM   F406429   SCREW, FRONT BAND                               114
        Marlin            ARM   F406431   SCREW, TANG (ALTERNATE)                         214
        Marlin            ARM   F406433   SCREW FRONT BAND, 1894C-SS                       18
        Marlin            ARM   F406435   PLUG, MAG TUBE                                   13
        Marlin            ARM   F406440   HOOD, FRONT SIGHT                                40
        Marlin            ARM   F406442   SCREW, TANG (PLATED)                             26
        Marlin            ARM   F406443   SCREW, SCOPE MT BASE (PLATED)                   126
        Marlin            ARM   F406448   STRUT, HAMMER SPRING                            234
        Marlin            ARM   F406450   PLATE, HAMMER SPRING ADJUSTING                  152
        Marlin            ARM   F406452   SCREW, FRT RAMP SIGHT BASE                      147
        Marlin            ARM   F406460   ELEVATOR, REAR SIGHT                            583
        Marlin            ARM   F406462   HOOD, FRT RAMP SIGHT                             76
        Marlin            ARM   F406465   SCREW, TANG                                     223
        Marlin            ARM   F406468   SCREW, SCOPE MT BASE DUMMY                      219
        Marlin            ARM   F406472   SCREW, FRONT SIGHT BASE                         206
        Marlin            ARM   F406474   SCREW, FRONT SIGHT BASE BLUE                     78
        Marlin            ARM   F406476   SCREW, FRONT SIGHT BASE                         170
        Marlin            ARM   F406485   PIN, REAR FIRING (PLATED)                        50
        Marlin            ARM   F406497   FOLLOWER 444 & 444XLR                            24
        Marlin            ARM   F406505   PIN, FRONT FIRING                               118
        Marlin            ARM   F406530   XS SIGHT SYSTEM (LONG RAIL) 1895SBL              13
        Marlin            ARM   F406584   S/A FOREARM TIP W/SWIVEL 1895GS/STP PL           17
        Marlin            ARM   F406585   336SS S/A, REAR BAND W/STUD (PLATED)             20
        Marlin            ARM   F406587   S/A, SS REC/TGP 95GS                              7
        Marlin            ARM   F406591   S/A, REC/TGP 336                                  8
        Marlin            ARM   F406593   KIT, SCOPE BASE SHIMS                            13
        Marlin            ARM   F406597   S/A, REAR BAND                                   15
        Marlin            ARM   F406598   S/A REC/TGP 338MXLR                               2
        Marlin            ARM   F406599   95,450,444,336 TRIGGER GUARD PLATE               20
        Marlin            ARM   F406601   S/A, CARRIER 308MX                                3
        Marlin            ARM   F406603   S/A, REC/TGP 308MX                                1
        Marlin            ARM   F406604   S/A, REC/TGP 444                                  4
        Marlin            ARM   F406608   S/A, FOREARM TIP SWIVEL BASE                     22
        Marlin            ARM   F406610   S/A, RR SGHT. BASE W/LOW LEAF 336/1894          115
        Marlin            ARM   F406611   S/A, REC/TGP 95 45-70                             1
        Marlin            ARM   F406614   S/A, REAR BAND SWIVEL STUD                      162
        Marlin            ARM   F406615   S/A, REC/TGP 95CB 45-70                           2
        Marlin            ARM   F406617   S/A, FOREARM TIP SWIVEL                          12
        Marlin            ARM   F406618   S/A, REC/TGP 1895XLR                              2
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        Marlin            ARM   F406629   S/A, RR SGHT. BASE W/HIGH LEAF 39/1895             99
        Marlin            ARM   F406631   S/A, REC/TANG/BB 39A                                1
        Marlin            ARM   F406632   S/A, MAG TUBE INSIDE                               10
        Marlin            ARM   F406634   39 CARRIER ASSEMBLY                                 1
        Marlin            ARM   F406636   S/A, REC/TGP/BB 94SS-44                            12
        Marlin            ARM   F406644   S/A, REC/TGP/BB 94CB44                              3
        Marlin            ARM   F406645   S/A, RR SGHT. BASE W/MED LEAF 982/1895G            26
        Marlin            ARM   F406646   T.G.P., MARLIN, ASSEMBLY, 1894                      1
        Marlin            ARM   F406647   S/A, REC/TGP/BB 94CB45                              7
        Marlin            ARM   F406651   S/A, REC/TGP/BB 94CB357                             1
        Marlin            ARM   F406654   S/A, REC/TGP/BB 94SS-357                           10
        Marlin            ARM   F406655   S/A, F.A.TIP SWIVEL BASE -PLATED                   10
        Marlin            ARM   F406658   S/A, SIGHT BASE ONLY (BLUED)                      309
        Marlin            ARM   F406659   S/A, HAMMER SPUR KIT                              136
        Marlin            ARM   F406660   S/A, HAMMER SPUR KIT, PLATED                       26
        Marlin            ARM   F406763   1894 CSBL 357MAG 16.5" BBL                          6
        Marlin            ARM   F406765   1894 SBL 44 REM MAG 16.5" BBL                       6
        Marlin            ARM   F406771   1894 SBL MAG TUBE                                  19
        Marlin            ARM   F406773   XS SIGHT SYSTEM (LONG RAIL) 1894 SBL                3
        Marlin            ARM   F406854   S/A, STK ASSB 336/1895/308/444 XLR'S               25
        Marlin            ARM   F406855   S/A STOCK ASSB 336BL                                6
        Marlin            ARM   F406857   S/A, BUTTSTOCK ASSB 336C,95,444,308,338            42
        Marlin            ARM   F406858   S/A, BUTTSTOCK ASSB 1895G                          13
        Marlin            ARM   F406860   S/A, BUTTSTOCK ASSB HARDWOOD, 336W/A                4
        Marlin            ARM   F406861   S/A STOCK ASSB 410 XLR                             11
        Marlin            ARM   F406865   S/A, BUTTSTOCK ASSB 1894                           29
        Marlin            ARM   F406891   TUBE 336Y MAGAZINE                                  6
        Marlin            ARM   F406892   FOREARM, 336Y HARDWOOD                              1
        Marlin            ARM   F406893   BARREL, MODEL 336C 30-30 16.25"                    36
        Marlin            ARM   F406918   S/A, REC/TGP/BB 94SBL                               6
        Marlin            ARM   F406919   BUTTSTOCK ASSB HARDWOOD, 336Y                       5
        Marlin            ARM   F406923   TUBE, 1895M-XLR MAGAZI NI-PLATED (BULGE)           45
        Marlin            ARM   F406925   SAFETY, PUSH BUTTON FINISHED                       15
        Marlin            ARM   F406931   TRIGGER GOLD PLATE                                420
        Marlin            ARM   F406942   EJECTOR ASSB 336,1894,1895                         51
        Marlin            ARM   F406943   FINGER LEVER ASSB 336,1895                          6
        Marlin            ARM   F407025   EJECTOR ASSB PLATED 336,1894,1895                  40
        Marlin            ARM   F407254   336Y FOREARM EXPRESS                                2
        Marlin            ARM   F407255   336/94 336C SPS MAG TUBE 19.265"                   16
        Marlin            ARM   F407258   M/336W SPS - 30 Cal Barrel - 20"                    1
        Marlin            ARM   F407260   M/336Y SPS - 30 Cal Barrel - 16.25"                21
        Marlin            ARM   F407261   LEVER, FINGER SPS 336                              19
        Marlin            ARM   F407262   SUB ASSM REC TGP 336 SPS                            2
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        Marlin            ARM   F407263   BREECH BOLT 30-30 SPS                              31
        Marlin            ARM   F407264   36W STOCK EXPRESS                                  11
        Marlin            ARM   F408216   FRONT SIGHT INSERT FILED                            1
        Marlin            ARM   F408217   FRONT SIGHT INSERT FILED                          314
        Marlin            ARM   F408821   FOREARM, MARLIN LTD-ED B GRADE                      6
        Marlin            ARM   F408850   BUTTSTOCK, MARLIN LTD-ED, ASSEMBLY                  4
        Marlin            ARM   F409859   MARLIN REAR FIRING PIN BLACK                        4
        Marlin            ARM   F410162   LEVER, FINGER (1894) BIG LOOP SS                    5
        Marlin            ARM   F410238   M1894 - 44 MAG CARRIER ASSB                        99
        Marlin            ARM   F410239   M1894 - 357 MAG CARRIER ASSB                       45
        Marlin            ARM   F410512   BARREL 1895 45/70 GOVT 24"                          9
        Marlin            ARM   F410519   S/A, BUTTSTOCK ASSB 1895 LTD                       10
        Marlin            ARM   F410529   1895SS BBL 45-70 GOVT 18.5 FNC                      7
        Marlin            ARM   F410533   FOREARM, 1895XLR/444XLR GRN/BLK                    34
        Marlin            ARM   F410534   S/A, STK ASSB 336/1895/308/444 GRN/BLK              5
        Marlin            ARM   F410535   FOREARM OCT BBL                                     6
        Marlin            ARM   F410573   BARREL 1895 ABL 18.5" 45-70 GOV'T                  16
        Marlin            ARM   F411022   BARREL 1895 45/70 18.5"                             7
        Marlin            ARM   F411023   BARREL, 1895CB 45/70 26                             9
        Marlin            ARM   F411025   BARREL 1894CB-357 20" OCT.                         12
        Marlin            ARM   F411026   BARREL 1894CB-44 MAG 20" OC                         8
        Marlin            ARM   F411027   BARREL 1894CB-45LC-20"                              7
        Marlin            ARM   F413483   TIP, FOREARM 1895 LTD SW                            7
        Marlin            ARM   F415187   1894 S/A, STOCK ASSB LIMITED EDITION               22
        Marlin            ARM   F415210   FOREARM 1895CB/1895CBA/1894CB CHK C WAL.            3
        Marlin            ARM   F415485   1894 SBL MAG TUBE SS 15.260"                        5
        Marlin            ARM   F416019   336/1895/444/308 STK ASSB GRN/BLCK HWOOD           13
        Marlin            ARM   F416022   FOREARM ASSB GRN/BLACK FINISH HARDWOOD             37
        Marlin            ARM   F416159   S/A, BUTTSTOCK ASSB 1894CB                          6
        Marlin            ARM   F416247   336 REC TGP ASSB ENGRAVED TE CPT BO                 2
        Marlin            ARM   F416558   336 S/A Buttstock Texan Deluxe Satin                3
        Marlin            ARM   F416559   336 FOREARM TEXAN DELUXE SATIN                      3
        Marlin            ARM   F416674   M/336WBL - 30 Cal BBL - 20"                         5
        Marlin            ARM   F416675   FINGER LEVER 336 SPS BL                             5
        Marlin            ARM   F416748   1895TSBL 45-70 GOVT 16.5" BBL                       5
        Marlin            ARM   F416749   FOREARM ASSB BLACK/BLACK FINISH HARDWOOD            6
        Marlin            ARM   F416750   1895 TSBL MAG TUBE 15.446"                          5
        Marlin            ARM   F416757   336/1895/444/308 STK ASSB BLK/BLK HWOOD             7
        Marlin            ARM   F416758   1895 SBL FINGER LEVER SATIN (SS)                    7
        Marlin            ARM   F416759   1895, SUB ASSB REC TGP SS SATIN                    10
        Marlin            ARM   F416760   MARLIN REAR SIGHT BASE FILLER BLACK ASSB            5
        Marlin            ARM   F416859   1894CST 357MAG/38SPL 16.5" SATIN TH BBL             6
        Marlin            ARM   F417037   S/A, REC/TGP/BB 94SS-357 SATIN                      4
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        Marlin            ARM   F417041   LEVER, FINGER (1894) BIG LOOP SS SATIN               19
        Marlin            ARM   F417044   FE ASSB 336 TIP STYLE BLACK/BLACK FINISH              8
        Marlin            ARM   F417162   BREECH BOLT 45-70 SPS                                 9
        Marlin            ARM   F417171   BIRDSHEAD PISTOL GRIP STOCK                           6
        Marlin            ARM   F417178   EXTRACTOR, 1894 357                                   5
        Marlin            ARM   F417967   S/A, BUTTSTOCK ASSB 336 CURLY MAPLE                   4
        Marlin            ARM   F417968   336 FOREARM,CURLY MAPLE,CK HIGH FINISH                3
        Marlin            ARM   F418579   M/336D TH BBL - 30 CAL - 16.25"                       7
        Marlin            ARM   F418581   336 DSMP SUB ASSB REC TGP                            12
        Marlin            ARM   F418586   XS SIGHT SYSTEM, LEVER ACTION, 336                   15
        Marlin            ARM   F418589   M/1895D TH BBL - 45/70 GOVT - 16.25"                  8
        Marlin            ARM   F418590   1895 DSMP MAG TUBE 14.869"                            1
        Marlin            ARM   F418668   336/1895 DSMP WRAPPED FINGER LEVER                   18
        Marlin            ARM   F418725   S/A, BUTTSTOCK ASSB CURLY MAPLE, HGH FIN             10
        Marlin            ARM   F418726   1894 FOREARM CURLY MAPLE CK HIGH FINISH               6
        Marlin            ARM   F418872   1895 FOREARM CURLY MAPLE CK HIGH FINISH               3
        Marlin            ARM   F419261   THREAD PROTECTOR 11/16-24, BLACK OXIDE                8
        Marlin            ILN   F405023   Loading Spring 336 SST & 444 XLR Plated             928
        Marlin            ILN   F405026   Loading Spring 1895GS & XLR PLATED                1,171
        Marlin            ILN   F405027   Loading Spring 1895 GS & XLR FOR PLATE              500
        Marlin            ILN   F406000   MARLIN 336C 30 CAL BBL 20"                          196
        Marlin            ILN   F406001   444 CAL BBL 22"                                     143
        Marlin            ILN   F406002   1895 BBL CLASSIC 45-70 GOVT 22"                      90
        Marlin            ILN   F406005   336 SS BARREL, 30 CAL - 20"                         217
        Marlin            ILN   F406006   HAMMER (PLATED)                                   3,267
        Marlin            ILN   F406011   LEVER, FINGER (36SS)                                194
        Marlin            ILN   F406014   RECEIVER, 1895-450/410                                1
        Marlin            ILN   F406023   RECEIVER (SS) 95 FOR HEAT TREAT                     303
        Marlin            ILN   F406025   LEVER, FINGER (95GS), STAINLESS                      49
        Marlin            ILN   F406027   PLUG, MAGAZINE TUBE (PLATED)                        934
        Marlin            ILN   F406030   336/1895 STUD, MAG TUBE (PLATED)                  3,399
        Marlin            ILN   F406031   1895 GS BBL 45-70 GOVT 18.5"                         26
        Marlin            ILN   F406032   1895G BBL 45-70 GOVT 18.5                            49
        Marlin            ILN   F406034   1895MR BBL 410 22"                                   96
        Marlin            ILN   F406039   1895 SBL BBL 45-70 GOVT 18.5"                       421
        Marlin            ILN   F406040   LEVER, FINGER 1895GBL                               272
        Marlin            ILN   F406045   TUBE, MAGAZINE 1895CB                               239
        Marlin            ILN   F406046   FOREARM, 1894/308MX                                  64
        Marlin            ILN   F406047   TIP, FOREARM                                        237
        Marlin            ILN   F406051   MARLIN 35 REM BBL 20"                                71
        Marlin            ILN   F406053   LEVER, FINGER 336                                    21
        Marlin            ILN   F406054   LEVER, FINGER 1895SBL (SS)                          607
        Marlin            ILN   F406056   LEVER, FINGER 336DL                                 461
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        Marlin            ILN   F406060   FOREARM, 336W/30AW                                269
        Marlin            ILN   F406062   HAMMER BO                                       4,252
        Marlin            ILN   F406064   BREECH BOLT 30-30 XLR FLUTED                        3
        Marlin            ILN   F406076   FOREARM 1895CB/1895CBA/1894CB                     447
        Marlin            ILN   F406079   M/336BL BARREL 30 CAL - 18"                        41
        Marlin            ILN   F406090   LOADING SPRING, 1895M, 450M, B.O.                 604
        Marlin            ILN   F406092   FOREARM, 336BL BROWN LAM. W/CAP                   270
        Marlin            ILN   F406094   LOADING SPRING, 1895, 45-70, B.O.               1,667
        Marlin            ILN   F406098   LOADING SPRING, 1895, 45-70, NI PLATE             281
        Marlin            ILN   F406099   LOADING SPRING, NI PLATE                          309
        Marlin            ILN   F406100   LOADING SPRING, B.O.                              767
        Marlin            ILN   F406103   30-30 BREECH BOLT PLATED                          885
        Marlin            ILN   F406106   RECEIVER 336                                        7
        Marlin            ILN   F406108   LEVER, FINGER (95CB)                              389
        Marlin            ILN   F406109   MAG TUBE STUD - BLUE 410/95/94/308/336          3,848
        Marlin            ILN   F406112   FOREARM 336/336SS                                  22
        Marlin            ILN   F406113   FOREARM, 336XLR/308XLR GREYLAM                    532
        Marlin            ILN   F406114   FOREARM, 1895XLR/444XLR GREY LAM                  785
        Marlin            ILN   F406115   RECEIVER 444P                                     117
        Marlin            ILN   F406116   BOLT, BREECH 35 CAL -PLATED                        97
        Marlin            ILN   F406120   MAGAZINE TUBE 1895 CBA                             79
        Marlin            ILN   F406121   FOREARM 95, 444                                   896
        Marlin            ILN   F406123   MARLIN 336 XLR BBL 30 CAL 24"                      19
        Marlin            ILN   F406124   BREECH BOLT 45-70 XLR FLUTED                       34
        Marlin            ILN   F406126   1895GBL BBL 45-70 GOVT 18.5                       153
        Marlin            ILN   F406128   RECEIVER 95 45-70                                 134
        Marlin            ILN   F406131   BOLT, BREECH 95 -PLATED                            15
        Marlin            ILN   F406133   FOREARM 410 XLR BROWN LAMINATE                    183
        Marlin            ILN   F406151   1894C BBL 357 CAL 18.5"                            96
        Marlin            ILN   F406152   1894C BBL 44 REM MAG 20"                           54
        Marlin            ILN   F406155   1894H BBL 45LC 20"                                 98
        Marlin            ILN   F406167   RECEIVER, 357SS                                    43
        Marlin            ILN   F406175   LEVER, FINGER (1894)                              300
        Marlin            ILN   F406180   BOLT, BREECH 45                                    22
        Marlin            ILN   F406183   RECEIVER 357                                      201
        Marlin            ILN   F406184   1894 BREECH BOLT (357)                              5
        Marlin            ILN   F406187   RECEIVER 94-44                                     19
        Marlin            ILN   F406188   CARRIER 94-44                                     297
        Marlin            ILN   F406189   1894 BREECH BOLT 44                               173
        Marlin            ILN   F406191   CARRIER 94-357                                    359
        Marlin            ILN   F406193   LOADING SPRING, 1894, B.O.                      2,012
        Marlin            ILN   F406195   FOREARM, 1894C-1894CSS 357                         18
        Marlin            ILN   F406199   LOADING SPRING, 1894, NI PLATE                  2,255
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        Marlin            ILN   F406205   EXTRACTOR, 30-30/35/308, NI PLATE              1,867
        Marlin            ILN   F406206   TUBE, MAGAZINE (336SS)                           212
        Marlin            ILN   F406209   TUBE, MAG (1895-450)                             550
        Marlin            ILN   F406212   TUBE, MAGAZINE (GS) 1895 (BULGE)                   7
        Marlin            ILN   F406214   TUBE, MAGAZINE, 336C 30                          671
        Marlin            ILN   F406217   TUBE, 336XLR-30 MAGAZINE                          22
        Marlin            ILN   F406222   SEAR 36/95                                     5,790
        Marlin            ILN   F406224   PLUNGER, FINGER LEVER                          9,538
        Marlin            ILN   F406226   BOLT, 336 LOCKING (CAST)                       5,577
        Marlin            ILN   F406228   TUBE, MAGAZINE, 1895SBL (BULGE)                  692
        Marlin            ILN   F406233   TUBE, 1895SBL & STP, MAGAZINE                  1,284
        Marlin            ILN   F406236   MAG TUBE 444 BULGE CARBON                        401
        Marlin            ILN   F406237   TUBE, 1895 MAGAZINE                              810
        Marlin            ILN   F406238   TUBE, 1895SS MAGAZINE                            655
        Marlin            ILN   F406239   TUBE, 1895CB MAGAZINE                            669
        Marlin            ILN   F406240   TUBE, MAGAZINE, 336BL                             79
        Marlin            ILN   F406241   LEAF, FOLDING 336                              1,391
        Marlin            ILN   F406244   EXTRACTOR, 45-70/338, B.O.                     2,802
        Marlin            ILN   F406246   EXTRACTOR, B.O                                   696
        Marlin            ILN   F406251   PUSH BUTTON SAFETY ASSB                        3,217
        Marlin            ILN   F406252   TUBE, 450 MAGAZINE                               380
        Marlin            ILN   F406253   TUBE, MAGAZINE 444 FINISHED (BULGE)              146
        Marlin            ILN   F406254   EJECTOR, PLATED                                3,993
        Marlin            ILN   F406256   EXTRACTOR, NI PLATE                              145
        Marlin            ILN   F406259   TUBE, MAGAZINE 1895 (BULGE)                      218
        Marlin            ILN   F406261   TUBE, MAGAZINE 95GBL                             187
        Marlin            ILN   F406262   TUBE, MAGAZINE 95GBL                           1,080
        Marlin            ILN   F406274   LEAF, REAR FOLDING 39                            661
        Marlin            ILN   F406283   STUD, 357SS MAG TUBE - PLATED                  2,343
        Marlin            ILN   F406286   SCREW, MAG TUBE 1894C-SS -PLATED               4,131
        Marlin            ILN   F406289   TIP, FOREARM                                     158
        Marlin            ILN   F406290   LEAF,REAR SIGHT FOLDING:XT & M60               4,065
        Marlin            ILN   F406292   BOLT, 1894 LOCKING (CAST)                      3,951
        Marlin            ILN   F406295   357/444 STUD, MAGAZINE TUBE, BLACK OX          1,130
        Marlin            ILN   F406297   SCREW, MAG TUBE PLUG                           7,304
        Marlin            ILN   F406299   TUBE, MAGAZINE 357C                               70
        Marlin            ILN   F406301   TUBE, MAGAZINE 38 SPECIAL                        255
        Marlin            ILN   F406302   TUBE, MAGAZINE 1894CB-20                         118
        Marlin            ILN   F406307   INSERT, FRONT SIGHT (TALL)                     2,081
        Marlin            ILN   F406311   BASE FRONT RAMP SIGHT 336                        524
        Marlin            ILN   F406312   BASE, REAR SIGHT                                 274
        Marlin            ILN   F406314   HAMMER SPUR-PLATED                             3,237
        Marlin            ILN   F406316   SPUR HAMMER FOR PLATE                            999
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        Marlin            ILN   F406317   FRONT SIGHT BASE (2 SCREW)                  759
        Marlin            ILN   F406319   SPUR, HAMMER BLACK OXIDE                  4,032
        Marlin            ILN   F406321   FOREARM TIP TENON 39A/1894                2,893
        Marlin            ILN   F406323   TENON, FOREARM TIP OFFSET                   961
        Marlin            ILN   F406325   TENON, FOREARM TIP                        6,396
        Marlin            ILN   F406326   TENON FOREARM TIP (OFFSET)                2,414
        Marlin            ILN   F406327   BASE, FRONT SIGHT                           655
        Marlin            ILN   F406329   BASE, FRONT SIGHT                         1,117
        Marlin            ILN   F406331   INSERT, FRONT SIGHT (SHORT)               2,500
        Marlin            ILN   F406336   PLUG, MAG TUBE -PLATED                    1,999
        Marlin            ILN   F406340   BLOCK, TRIGGER SAFETY -PLATED             6,050
        Marlin            ILN   F406341   PIN, F.L. PLUNGER -PLATED                 7,191
        Marlin            ILN   F406342   BAND, FRONT -PLATED                       1,193
        Marlin            ILN   F406346   PLUG, MAG TUBE                              572
        Marlin            ILN   F406348   PLUG, 336XLR MAG TUBE -PLATED             1,966
        Marlin            ILN   F406352   EXTRACTOR, B.O.                             769
        Marlin            ILN   F406359   PIN, FINGER LEVER PLUNGER                 6,681
        Marlin            ILN   F406361   PLUG, MAGAZINE TUBE                       1,161
        Marlin            ILN   F406363   BAND, FRONT, L/A, BO                        123
        Marlin            ILN   F406365   EXTRACTOR, B.O.                           1,353
        Marlin            ILN   F406369   PLUG, MAGAZINE TUBE                       2,918
        Marlin            ILN   F406371   PLUG, MAG TUBE                              935
        Marlin            ILN   F406382   TRIGGER NICKEL PLATED                     1,329
        Marlin            ILN   F406386   TRIGGER GOLD PLATED                         415
        Marlin            ILN   F406387   BLOCK, TRIGGER SAFETY                     7,473
        Marlin            ILN   F406422   STUD, SWIVEL -PLATED                      4,828
        Marlin            ILN   F406423   PLUG, MAGAZINE TUBE                       1,528
        Marlin            ILN   F406427   BAND, FRONT, L/A, 357, BO                   887
        Marlin            ILN   F406429   SCREW, FRONT BAND                         4,952
        Marlin            ILN   F406435   PLUG, MAG TUBE                            1,344
        Marlin            ILN   F406437   PLUNGER, CARRIER ROCKER -PLATED           8,780
        Marlin            ILN   F406440   HOOD, FRONT SIGHT                             1
        Marlin            ILN   F406443   SCREW, SCOPE MT BASE (PLATED)            91,567
        Marlin            ILN   F406448   STRUT, HAMMER SPRING                      9,840
        Marlin            ILN   F406450   PLATE, HAMMER SPRING ADJUSTING            9,254
        Marlin            ILN   F406452   SCREW, FRT RAMP SIGHT BASE                6,826
        Marlin            ILN   F406460   ELEVATOR, REAR SIGHT                      4,903
        Marlin            ILN   F406462   HOOD, FRT RAMP SIGHT                      4,373
        Marlin            ILN   F406468   SCREW, SCOPE MT BASE DUMMY               30,872
        Marlin            ILN   F406472   SCREW, FRONT SIGHT BASE                  25,774
        Marlin            ILN   F406474   SCREW, FRONT SIGHT BASE BLUE             23,022
        Marlin            ILN   F406476   SCREW, FRONT SIGHT BASE                   3,804
        Marlin            ILN   F406481   INSERT, FRONT RAMP SIGHT                  2,959
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        Marlin            ILN   F406485   PIN, REAR FIRING (PLATED)                         7,048
        Marlin            ILN   F406497   FOLLOWER 444 & 444XLR                             6,540
        Marlin            ILN   F406505   PIN, FRONT FIRING                                 5,262
        Marlin            ILN   F406582   S/A, REC/TGP 36SS                                   209
        Marlin            ILN   F406584   S/A FOREARM TIP W/SWIVEL 1895GS/STP PL              617
        Marlin            ILN   F406585   336SS S/A, REAR BAND W/STUD (PLATED)              1,481
        Marlin            ILN   F406587   S/A, SS REC/TGP 95GS                                 49
        Marlin            ILN   F406588   S/A TGP (SS)                                        198
        Marlin            ILN   F406589   S/A, REC/TGP 95MR 450/410                           502
        Marlin            ILN   F406591   S/A, REC/TGP 336                                    284
        Marlin            ILN   F406592   S/A, BUTTSTOCK 336/1895/308/444 XLR'S             2,762
        Marlin            ILN   F406594   S/A STOCK 336BL                                     921
        Marlin            ILN   F406599   95,450,444,336 TRIGGER GUARD PLATE                  701
        Marlin            ILN   F406602   S/A, BUTTSTOCK 336C,95,444,308,338                3,670
        Marlin            ILN   F406604   S/A, REC/TGP 444                                    131
        Marlin            ILN   F406607   S/A, BUTTSTOCK 1895G                                624
        Marlin            ILN   F406608   S/A, FOREARM TIP SWIVEL BASE                        884
        Marlin            ILN   F406611   S/A, REC/TGP 95 45-70                               466
        Marlin            ILN   F406614   S/A, REAR BAND SWIVEL STUD                        1,554
        Marlin            ILN   F406615   S/A, REC/TGP 95CB 45-70                             400
        Marlin            ILN   F406616   S/A, BUTTSTOCK HARDWOOD, 336W/A                   2,000
        Marlin            ILN   F406617   S/A, FOREARM TIP SWIVEL                             616
        Marlin            ILN   F406618   S/A, REC/TGP 1895XLR                                809
        Marlin            ILN   F406621   S/A STOCK 410 XLR                                   178
        Marlin            ILN   F406635   S/A, BUTTSTOCK 1894                               1,704
        Marlin            ILN   F406644   S/A, REC/TGP/BB 94CB44                              197
        Marlin            ILN   F406646   T.G.P., MARLIN, ASSEMBLY, 1894                      514
        Marlin            ILN   F406647   S/A, REC/TGP/BB 94CB45                               12
        Marlin            ILN   F406648   BUTTSTOCK, LVRACT, TEXAS, NO CHKR, WALNT            889
        Marlin            ILN   F406651   S/A, REC/TGP/BB 94CB357                             193
        Marlin            ILN   F406654   S/A, REC/TGP/BB 94SS-357                            209
        Marlin            ILN   F406655   S/A, F.A.TIP SWIVEL BASE -PLATED                  1,019
        Marlin            ILN   F406658   S/A, SIGHT BASE ONLY (BLUED)                      2,488
        Marlin            ILN   F406759   BOLT, BREECH 94SS-44 after HT                        10
        Marlin            ILN   F406761   BOLT, BREECH 94SS-357 after HT                       83
        Marlin            ILN   F406763   1894 CSBL 357MAG 16.5" BBL                          276
        Marlin            ILN   F406765   1894 SBL 44 REM MAG 16.5" BBL                       299
        Marlin            ILN   F406771   1894 SBL MAG TUBE                                   323
        Marlin            ILN   F406795   HAMMER FOR PLATE                                    800
        Marlin            ILN   F406804   BREECH BOLT 30-30 FOR PLATE                         299
        Marlin            ILN   F406807   BREECH BOLT 45-70 FOR PLATE                         910
        Marlin            ILN   F406809   SAFETY, PUSH BUTTON FOR PLATE                     2,989
        Marlin            ILN   F406812   1895 EXTRACTOR FOR PLATE                          1,000
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        Marlin            ILN   F406842   S/A, F.A.TIP SWIVEL BASE FOR PLATE                   254
        Marlin            ILN   F406854   S/A, STK ASSB 336/1895/308/444 XLR'S               1,406
        Marlin            ILN   F406855   S/A STOCK ASSB 336BL                                  96
        Marlin            ILN   F406857   S/A, BUTTSTOCK ASSB 336C,95,444,308,338              651
        Marlin            ILN   F406858   S/A, BUTTSTOCK ASSB 1895G                             94
        Marlin            ILN   F406860   S/A, BUTTSTOCK ASSB HARDWOOD, 336W/A                  77
        Marlin            ILN   F406861   S/A STOCK ASSB 410 XLR                               207
        Marlin            ILN   F406865   S/A, BUTTSTOCK ASSB 1894                             176
        Marlin            ILN   F406890   S/A, BUTTSTOCK HARDWOOD, 336Y                         19
        Marlin            ILN   F406892   FOREARM, 336Y HARDWOOD                               178
        Marlin            ILN   F406893   BARREL, MODEL 336C 30-30 16.25"                       29
        Marlin            ILN   F406904   RECEIVER, 44 1894SS @ HT                              15
        Marlin            ILN   F406913   S/A REAR SIGHT BS/SLIDE PLATED                       493
        Marlin            ILN   F406918   S/A, REC/TGP/BB 94SBL                                 70
        Marlin            ILN   F406919   BUTTSTOCK ASSB HARDWOOD, 336Y                        215
        Marlin            ILN   F406925   SAFETY, PUSH BUTTON FINISHED                       2,734
        Marlin            ILN   F406927   1895 TEXAS TRIGGER GUARD PLATE                         8
        Marlin            ILN   F406933   FRONT SIGHT INSERT - BRASS BLACKENED               4,082
        Marlin            ILN   F407255   336/94 336C SPS MAG TUBE 19.265"                     677
        Marlin            ILN   F407257   336Y SPS MAG TUBE 15.565"                            210
        Marlin            ILN   F407258   M/336W SPS - 30 Cal Barrel - 20"                     605
        Marlin            ILN   F407260   M/336Y SPS - 30 Cal Barrel - 16.25"                  473
        Marlin            ILN   F407261   LEVER, FINGER SPS 336                                608
        Marlin            ILN   F407262   SUB ASSM REC TGP 336 SPS                             149
        Marlin            ILN   F407263   BREECH BOLT 30-30 SPS                                117
        Marlin            ILN   F408216   FRONT SIGHT INSERT FILED                           1,642
        Marlin            ILN   F408217   FRONT SIGHT INSERT FILED                          11,435
        Marlin            ILN   F409859   MARLIN REAR FIRING PIN BLACK                       5,904
        Marlin            ILN   F410162   LEVER, FINGER (1894) BIG LOOP SS                     474
        Marlin            ILN   F410164   LEVER, FINGER (1894) BIG LOOP CRB                     50
        Marlin            ILN   F410238   M1894 - 44 MAG CARRIER ASSB                          623
        Marlin            ILN   F410239   M1894 - 357 MAG CARRIER ASSB                         843
        Marlin            ILN   F410597   TUBE, MAGAZINE, 1895 LTD                               8
        Marlin            ILN   F410664   M/1894 PISTOL GRIP TRIGGER GUARD PLATE             1,696
        Marlin            ILN   F410665   M/1894SS PISTOL GRIP TRIGGER GUARD PLATE              99
        Marlin            ILN   F411022   BARREL 1895 45/70 18.5"                              122
        Marlin            ILN   F411023   BARREL, 1895CB 45/70 26                              107
        Marlin            ILN   F411025   BARREL 1894CB-357 20" OCT.                           120
        Marlin            ILN   F411026   BARREL 1894CB-44 MAG 20" OC                           37
        Marlin            ILN   F411027   BARREL 1894CB-45LC-20"                                44
        Marlin            ILN   F413482   SUB ASSY REC TGP 1895 WWG TO POLISH                  166
        Marlin            ILN   F413483   TIP, FOREARM 1895 LTD SW                             158
        Marlin            ILN   F414313   Forearm Tip 1895 LTD                                 650
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        Marlin            ILN   F414315   1895 LTD Forearm Tip - Vendor Machined              191
        Marlin            ILN   F414316   S/A FOREARM TIP - VENDOR MACHINED                     6
        Marlin            ILN   F414317   FOREARM TIP-VENDOR MACHINED                          21
        Marlin            ILN   F415187   1894 S/A, STOCK ASSB LIMITED EDITION                214
        Marlin            ILN   F415210   FOREARM 1895CB/1895CBA/1894CB CHK C WAL.              1
        Marlin            ILN   F415221   BREECH BOLT 444 PLATED                               80
        Marlin            ILN   F415243   Breech Bolt 444                                      74
        Marlin            ILN   F415473   PLUG, MAGAZINE TUBE 1894, 357 NI PLATED             652
        Marlin            ILN   F415485   1894 SBL MAG TUBE SS 15.260"                        271
        Marlin            ILN   F415647   FOREARM, 1894/308MX (LEX)                           639
        Marlin            ILN   F415649   FOREARM, 336W/30AW (LEX)                          2,625
        Marlin            ILN   F415650   FOREARM 1895CB/1895CBA/1894CB (LEX)                 606
        Marlin            ILN   F415651   FOREARM, 336BL BROWN LAM. W/CAP (LEX)               565
        Marlin            ILN   F415652   FOREARM 336/336SS (LEX)                           3,559
        Marlin            ILN   F415653   FOREARM, 336XLR/308XLR GREYLAM (LEX)              1,198
        Marlin            ILN   F415654   FOREARM, 1895XLR/444XLR GREY LAM (LEX)            1,878
        Marlin            ILN   F415655   FOREARM 95, 444 (LEX)                             2,509
        Marlin            ILN   F415656   FOREARM 410 XLR BROWN LAMINATE (LEX)              1,221
        Marlin            ILN   F415661   FOREARM, 1894C-1894CSS 357 (LEX)                  1,225
        Marlin            ILN   F415662   FOREARM, 336Y HARDWOOD (LEX)                        307
        Marlin            ILN   F416011   1894 .357 S/A FOREARMTIP VENDOR MACHINED             46
        Marlin            ILN   F416013   1894 .357 FOREARM TIP PLATED                        285
        Marlin            ILN   F416020   1895 S/A BUTTSTOCK ASSY NO CHECKERING             5,166
        Marlin            ILN   F416021   S/A BUTTSTOCK 336/1895/444/308 HARDWOOD           6,642
        Marlin            ILN   F416023   1895XLR/444XLR FOREARM ASSY UNCKRD WOOD           4,477
        Marlin            ILN   F416159   S/A, BUTTSTOCK ASSB 1894CB                          386
        Marlin            ILN   F416407   1895XLR/444XLR FOREARM (NO CHECKERING)            2,734
        Marlin            ILN   F416537   1894 BREECH BOLT M 44 - SS TUMBLED                  143
        Marlin            ILN   F416538   1894 BREECH BOLT M 357 - SS TUMBLED                  27
        Marlin            ILN   F416555   336 REC TGP SUB ASSY POLISH ENGR TDL CPT            232
        Marlin            ILN   F416558   336 S/A Buttstock Texan Deluxe Satin                 25
        Marlin            ILN   F416559   336 FOREARM TEXAN DELUXE SATIN                      134
        Marlin            ILN   F416560   MARLIN 336 TDL 30 CAL BBL 20"                        31
        Marlin            ILN   F416598   MARLIN, TEXAS DLX, STK ASSY, LEX. LEVEL             174
        Marlin            ILN   F416674   M/336WBL - 30 Cal BBL - 20"                          57
        Marlin            ILN   F416740   336BL MAG TUBE SPS                                   32
        Marlin            ILN   F416748   1895TSBL 45-70 GOVT 16.5" BBL                       285
        Marlin            ILN   F416749   FOREARM ASSB BLACK/BLACK FINISH HARDWOOD          1,029
        Marlin            ILN   F416750   1895 TSBL MAG TUBE 15.446"                          356
        Marlin            ILN   F416757   336/1895/444/308 STK ASSB BLK/BLK HWOOD           2,116
        Marlin            ILN   F416758   1895 SBL FINGER LEVER SATIN (SS)                    384
        Marlin            ILN   F416759   1895, SUB ASSB REC TGP SS SATIN                     299
        Marlin            ILN   F416760   MARLIN REAR SIGHT BASE FILLER BLACK ASSB            470
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        Marlin            ILN   F416812   BASE, REAR SIGHT FILLER                             537
        Marlin            ILN   F416859   1894CST 357MAG/38SPL 16.5" SATIN TH BBL             173
        Marlin            ILN   F417036   S/A, F.A.TIP .357 1894 SWIVEL BASE BO               275
        Marlin            ILN   F417037   S/A, REC/TGP/BB 94SS-357 SATIN                      316
        Marlin            ILN   F417038   1894 SBL Mag Tube SS 15.260" Satin                  278
        Marlin            ILN   F417041   LEVER, FINGER (1894) BIG LOOP SS SATIN              211
        Marlin            ILN   F417042   FE ASSY, 336 TIP STYLE MARLIN (NO CHCKR)          3,579
        Marlin            ILN   F417043   FE ASSY, 336 TIP STYLE BLK/BLK- NO CHECK            720
        Marlin            ILN   F417044   FE ASSB 336 TIP STYLE BLACK/BLACK FINISH            754
        Marlin            ILN   F417162   BREECH BOLT 45-70 SPS                               736
        Marlin            ILN   F417171   BIRDSHEAD PISTOL GRIP STOCK                       1,681
        Marlin            ILN   F417178   EXTRACTOR, 1894 357                               1,074
        Marlin            ILN   F417179   EXTRACTOR, 1894 SS 357 FOR PLATE                  1,240
        Marlin            ILN   F417200   EXTRACTOR, 1894 SS 357 PLATED                       993
        Marlin            ILN   F417413   357 OCTAGON FOREARM TIP                             162
        Marlin            ILN   F417817   MARLIN 444 LOADING SPRING, B.O.                   1,138
        Marlin            ILN   F417967   S/A, BUTTSTOCK ASSB 336 CURLY MAPLE                 207
        Marlin            ILN   F417968   336 FOREARM,CURLY MAPLE,CK HIGH FINISH               75
        Marlin            ILN   F418231   336 CURLY MAPLE BUTTSTOCK, LEX. LEVEL               613
        Marlin            ILN   F418579   M/336D TH BBL - 30 CAL - 16.25"                      66
        Marlin            ILN   F418580   336 DSMP MAG TUBE 14.490"                            69
        Marlin            ILN   F418581   336 DSMP SUB ASSB REC TGP                            56
        Marlin            ILN   F418585   336 S/A, FOREARM TIP SWIVEL BASE DSMP               112
        Marlin            ILN   F418589   M/1895D TH BBL - 45/70 GOVT - 16.25"                898
        Marlin            ILN   F418590   1895 DSMP MAG TUBE 14.869"                        1,340
        Marlin            ILN   F418591   1895 45/70 DSMP SUB ASSB REC TGP                  1,528
        Marlin            ILN   F418668   336/1895 DSMP WRAPPED FINGER LEVER                1,171
        Marlin            ILN   F418669   1894 DSMP WRAPPED FINGER LEVER                      600
        Marlin            ILN   F418725   S/A, BUTTSTOCK ASSB CURLY MAPLE, HGH FIN             49
        Marlin            ILN   F418726   1894 FOREARM CURLY MAPLE CK HIGH FINISH             326
        Marlin            ILN   F418744   1894 CURLY MAPLE BUTTSTOCK, LEX. LEVEL               36
        Marlin            ILN   F418752   DSMP, S/A BUTTSTOCK ASSY,NO CK, ILN SAND             23
        Marlin            ILN   F418838   444/1895 S/A, F/A TIP SWIVEL BASE DSMP              214
        Marlin            ILN   F418872   1895 FOREARM CURLY MAPLE CK HIGH FINISH             241
        Marlin            ILN   F418873   1895 FOREARM W/CAP GREEN W/BLACK WEB                517
        Marlin            ILN   F418883   S/A, BUTTSTOCK ASSB, GRN W/ BLK WEBBING               7
        Marlin            ILN   F419007   FOREARM, MODEL 444 150TH SATIN C GRADE              380
        Marlin            ILN   F419008   444 150TH BUTTSTOCK ASSB, S/A-LEX LEVEL             239
        Marlin            ILN   F419010   S/A, BUTTSTOCK ASSB, 444 150TH COMPLETE             197
        Marlin            ILN   F419011   M/444D TH BBL - 444 CAL - 16.25"                    277
        Marlin            ILN   F419012   444 DSMP SUB ASSY REC TGP                           110
        Marlin            ILN   F419013   444 DSMP MAG TUBE 14.495"                           381
        Marlin            ILN   F419027   M/444 150TH 444 CAL OCTAROUND BBL 24"                91
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        Marlin            ILN   F419028   EJECTOR, 410                                        222
        Marlin            ILN   F419031   FINGER LEVER, MARLIN, 150TH ENGRAVED                 26
        Marlin            ILN   F419040   M444 S/A REC/TGP 150TH ENGRAVED CPT                 168
        Marlin            ILN   F419042   S/A, REC/TGP 444 150TH TO ENGRAVE                   225
        Marlin            ILN   F419046   BREECH BOLT 444 SPS                                 239
        Marlin            ILN   F419109   M/1894D TH BBL - .357 CAL - 16.5"                   337
        Marlin            ILN   F419110   94MP357 DSMP SUB ASSY REC/TGP/BB                     80
        Marlin            ILN   F419112   1894 357 S/A, F/A TIP SWIVEL BASE DSMP              415
        Marlin            ILN   F419113   357 DSMP MAG TUBE 15.260"                           475
        Marlin            ILN   F419130   TUBE, MAGAZINE - 444 150TH 22.921"                   64
        Marlin            ILN   F419131   FINGER LEVER, MARLIN, 150TH ENGRAVED BO             345
        Marlin            ILN   F419132   LEVER, FINGER MARLIN 150TH TO ENGRAVE                90
        Marlin            ILN   F419135   444 BREECH BOLT 150TH ENGRAVED PLATED               214
        Marlin            ILN   F419231   44 DSMP MAG TUBE 15.260"                            225
        Marlin            ILN   F419261   THREAD PROTECTOR 11/16-24, BLACK OXIDE            1,962
        Marlin            ILN   F419262   THREAD PROTECTOR 1/2-28, BLACK OXIDE                901
        Marlin            ILN   F419263   THREAD PROTECTOR .578-28, BLACK OXIDE               544
        Marlin            ILN   F419351   M/1894D TH BBL - 44 CAL - 16.5"                     293
        Marlin            ILN   F419411   1895CT 410 BARREL 22"                                59
        Marlin            ILN   F419430   336C COMPACT BUTTSTOCK ASSY, ILN                     53
        Marlin            ILN   F419431   336C COMPACT MAG TUBE 15.565"                       149
        Marlin            ILN   F419435   REC/TGP ASSY, 1895CB, COLOR CASE                      3
        Marlin            ILN   F419437   TIP ASSY, FOREARM, COLOR CASE                        28
        Marlin            ILN   F419439   LEVER, FINGER 95CB COLOR CASE                        28
        Marlin            ILN   F419451   BARREL, 1895 CB, 24" 45-70 GOV'T                     27
        Marlin            ILN   F419456   M/1894C BBL - 357 CAL - 20"                         189
        Marlin            ILN   F419457   S/A, REC/TGP/BB 1894C PG                             96
        Marlin            ILN   F419472   336 COMPACT FOREARM, BANDED, CKRD, ILN              163
        Marlin            ILN   F419479   336 COMPACT FOREARM, LEX LEVEL                    1,431
        Marlin            ILN   F419480   336 S/A COMPACT BUTTSTOCK, LEX. LEVEL               603
        Marlin            ILN   F419485   MAG TUBE 19.095", 1894 357 TIP/BAND                 107
        Marlin            ILN   F419490   S/A BUTTSOTCK ASSY, TEXAS C-GRADE, LEX               28
        Marlin            ILN   F419494   BREECH BOLT 410 FOR PLATE                           506
        Marlin            ILN   F419495   410 BREECH BOLT, 1895, PLATED                       109
        Marlin            ILN   F419512   S/A BUTTSTOCK ASSY TEXAS NO CK C-GR CPT              18
        Marlin            ILN   F419514   336 FOREARM BLACK W/GRAY FINISH, COMP.              536
        Marlin            ILN   F419515   M/336 SS TH BBL - 30 CAL, SATIN, 20"                200
        Marlin            ILN   F419516   S/A, STOCK ASSB, BLK W/GRAY FINISH, COMP            782
        Marlin            ILN   F419517   336, SUB ASSB REC TGP SS SATIN                      218
        Marlin            ILN   F419524   FINGER LEVER, 1895 SATIN W/ BLK/GRY WRAP            147
        Marlin            ILN   F419525   THD PROTECTOR, 5/8 24 - PLATED                      219
        Marlin            ILN   F419526   S/A, REC/TGP/BB, 94MP44                             162
        Marlin            ILN   F419533   410 FIRING PIN BLACK OXIDE                          797
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        Marlin            ILN   F419546    MAG TUBE 18.486", 336SS, SATIN                    225
        Marlin            ILN   F419566    FINGER LEVER, 336 SPS W/ BLACK WRAP                85
        Marlin            ILN   F419567    M/410D CT BARREL - 18.5"                           21
        Marlin            ILN   F419569    410 DSMP MAG TUBE 13.770"                         509
        Marlin            ILN   F419699    THREAD PROTECTOR, 11/16-24,SMOOTH, SS             288
        Marlin            ILN   F419700    THREAD PROTECTOR,11/16-24,SMOOTH, BLK OX          114
        Marlin            ILN   F419701    M/1895TH BARREL - 45-70 GOVT - 19.12"              33
        Marlin            ILN   F419702    M/1895SS TH BARREL - 45-70 GOVT - 19.12"            3
        Marlin            ILN   F419705    410 DSMP SUB ASSY REC TGP                          90
        Marlin            OHL   F406314    HAMMER SPUR-PLATED                                994
        Marlin            OHL   F406913    S/A REAR SIGHT BS/SLIDE PLATED                      3
        Marlin            ARM      70400   1894 44REM MAG/44S&W 20" WALNUT-SG                 12
        Marlin            ARM      70410   1894C 357MAG/38SPL 18.5" WALNUT-SG                  6
        Marlin            ARM      70412   1894 DARK 357MAG/38SPL TH-B 16.5"                   7
        Marlin            ARM      70432   1894SBL 44 R.MAG/44S&W 16.5" LAM-STSL               3
        Marlin            ARM      70433   1894CSBL 357 MAG 16.5" LAM-STSL                     4
        Marlin            ARM      70438   1894SS 357MAG/38SPL TH-MZ 16.5"                     3
        Marlin            ARM      70440   1894CB 357MAG/38SPL 20" WALNUT-SG                   3
        Marlin            ARM      70442   1894CB 44MAG/44SPL 20" WALNUT-SG                    4
        Marlin            ARM      70444   1894CB 45 COLT 20" WALNUT-SG                        8
        Marlin            ARM      70445   1894-45LC 45 LONG COLT 20" WALNUT                   2
        Marlin            ARM      70450   1895TSBL TRAPPER 45-70 GOVT 16.5"                   4
        Marlin            ARM      70454   1895ABL 45-70 GOVT 18.5" GRY/BLK-LAM                1
        Marlin            ARM      70455   1895 DARK 45-70 GOVT TH-B 16.25"                    7
        Marlin            ARM      70456   1895GBL 45-70 GOVT 18.5" BROWN-LAM PG               3
        Marlin            ARM      70460   1895 45-70 GOVT 22" WALNUT-PG                       6
        Marlin            ARM      70462   1895G 45-70 GOVT 18.5" WALNUT-SG                    4
        Marlin            ARM      70464   1895GS 45-70 GOVT 18.5" WALNUT-SG STSL              3
        Marlin            ARM      70467   1895 45-70 GOVT 24" WALNUT LTD-ED                   1
        Marlin            ARM      70478   1895SBL 45-70 GOVT 18" LAM STSL                     6
        Marlin            ARM      70480   1895CB 45-70 GOVT 26" WALNUT-SG                     1
        Marlin            ARM      70491   308MXLR 308 MARLIN EXP 24" LAM-PG STSL              5
        Marlin            ARM      70493   338MXLR 338 MARLIN EXP 24" LAM STSL                 3
        Marlin            ARM      70497   336 DARK 30-30 WIN TH-B 16.25"                      1
        Marlin            ARM      70502   336BL 30-30 WIN 18-1/2" BROWM-LAM PG                4
        Marlin            ARM      70504   336C 30-30 WIN 20" WALNUT-PG                        2
        Marlin            ARM      70506   336C 35 REM 20" WALNUT-PG                           2
        Marlin            ARM      70518   336W 30-30 WIN 20" LAM.STOCK W/BIG LEVER            1
        Marlin            ARM      70519   336W 30-30 WIN 20" ODGREEN&BLACK WEBBING            2
        Marlin            ARM      70520   336W 30-30 WIN 20" HDWD-PG                         14
        Marlin            ARM      70521   336W 30-30 WIN 20" HDWD-PG W/SCOPE                  4
        Marlin            ARM      70530   336XLR 30-30 WIN 24" LAM-PG STSL                    1
        Marlin            ARM      70534   336TDL TEXAN DELUXE 30-30 WIN 20" WALNUT            2
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        Marlin            ARM   70540   444 444 MARLIN 22" WALNUT-PG                       21
        Marlin            ARM   70550   444 MARLIN 24" 150TH ANNIVERSARY                    4
        Marlin            ARM   70600   39A 22S;L;LR 24" WALNUT-PG                          1
        Marlin            ILN   70330   1895 410/22 (.410 BORE)                             6
        Marlin            ILN   70400   1894 44REM MAG/44S&W 20" WALNUT-SG                  4
        Marlin            ILN   70404   1894 DARK 44 REM MAG TH-B 16.5"                    99
        Marlin            ILN   70407   1894C 357MAG/38SPL 20" C.MAPLE (TALO)               1
        Marlin            ILN   70410   1894C 357MAG/38SPL 18.5" WALNUT-SG                  1
        Marlin            ILN   70412   1894 DARK 357MAG/38SPL TH-B 16.5"                  19
        Marlin            ILN   70432   1894SBL 44 R.MAG/44S&W 16.5" LAM-STSL              41
        Marlin            ILN   70433   1894CSBL 357 MAG 16.5" LAM-STSL                    24
        Marlin            ILN   70438   1894SS 357MAG/38SPL TH-MZ 16.5"                     5
        Marlin            ILN   70440   1894CB 357MAG/38SPL 20" WALNUT-SG                   1
        Marlin            ILN   70444   1894CB 45 COLT 20" WALNUT-SG                        5
        Marlin            ILN   70455   1895 DARK 45-70 GOVT TH-B 16.25"                    1
        Marlin            ILN   70460   1895 45-70 GOVT 22" WALNUT-PG                       4
        Marlin            ILN   70464   1895GS 45-70 GOVT 18.5" WALNUT-SG STSL            152
        Marlin            ILN   70478   1895SBL 45-70 GOVT 18" LAM STSL                    44
        Marlin            ILN   70485   1895GBL 45-70 GOVT TH-MZ 18.5" LAM PG               2
        Marlin            ILN   70487   1895SBL 45-70 GOVT TH-MZ 18.5" LAM STSL             2
        Marlin            ILN   70497   336 DARK 30-30 WIN TH-B 16.25"                    258
        Marlin            ILN   70502   336BL 30-30 WIN 18-1/2" BROWM-LAM PG               74
        Marlin            ILN   70504   336C 30-30 WIN 20" WALNUT-PG                       36
        Marlin            ILN   70505   336C 30-30 WIN 20" WALNUT W/SCOPE                  25
        Marlin            ILN   70520   336W 30-30 WIN 20" HDWD-PG                          3
        Marlin            ILN   70524   336Y 30-30 WIN COMPACT 16.25" HDWD-PG               1
        Marlin            ILN   70525   336C 30-30 WIN COMPACT 16.25" WALNUT                3
        Marlin            ILN   70534   336TDL TEXAN DELUXE 30-30 WIN 20" WALNUT            1
        Marlin            ILN   70540   444 444 MARLIN 22" WALNUT-PG                        2
        Marlin            ILN   70543   444 DARK 444 MARLIN TH-B 16.25"                     3
        Marlin            ILN   70550   444 MARLIN 24" 150TH ANNIVERSARY                    2
        Marlin            OHL   70400   1894 44REM MAG/44S&W 20" WALNUT-SG                 42
        Marlin            OHL   70404   1894 DARK 44 REM MAG TH-B 16.5"                   130
        Marlin            OHL   70410   1894C 357MAG/38SPL 18.5" WALNUT-SG                 67
        Marlin            OHL   70412   1894 DARK 357MAG/38SPL TH-B 16.5"                 125
        Marlin            OHL   70432   1894SBL 44 R.MAG/44S&W 16.5" LAM-STSL              36
        Marlin            OHL   70433   1894CSBL 357 MAG 16.5" LAM-STSL                    97
        Marlin            OHL   70438   1894SS 357MAG/38SPL TH-MZ 16.5"                    15
        Marlin            OHL   70440   1894CB 357MAG/38SPL 20" WALNUT-SG                  28
        Marlin            OHL   70444   1894CB 45 COLT 20" WALNUT-SG                       20
        Marlin            OHL   70450   1895TSBL TRAPPER 45-70 GOVT 16.5"                   5
        Marlin            OHL   70451   1895 410/22 ( .410 BORE ) CT                        3
        Marlin            OHL   70455   1895 DARK 45-70 GOVT TH-B 16.25"                    1
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        Marlin            OHL   70456   1895GBL 45-70 GOVT 18.5" BROWN-LAM PG              15
        Marlin            OHL   70460   1895 45-70 GOVT 22" WALNUT-PG                     272
        Marlin            OHL   70462   1895G 45-70 GOVT 18.5" WALNUT-SG                    8
        Marlin            OHL   70464   1895GS 45-70 GOVT 18.5" WALNUT-SG STSL             55
        Marlin            OHL   70478   1895SBL 45-70 GOVT 18" LAM STSL                   220
        Marlin            OHL   70480   1895CB 45-70 GOVT 26" WALNUT-SG                    22
        Marlin            OHL   70484   1895WWG 45-70 GOVT 18.5-NO STOCK or F/E             3
        Marlin            OHL   70485   1895GBL 45-70 GOVT TH-MZ 18.5" LAM PG             134
        Marlin            OHL   70487   1895SBL 45-70 GOVT TH-MZ 18.5" LAM STSL           210
        Marlin            OHL   70497   336 DARK 30-30 WIN TH-B 16.25"                    175
        Marlin            OHL   70504   336C 30-30 WIN 20" WALNUT-PG                        5
        Marlin            OHL   70505   336C 30-30 WIN 20" WALNUT W/SCOPE                   1
        Marlin            OHL   70518   336W 30-30 WIN 20" LAM.STOCK W/BIG LEVER            2
        Marlin            OHL   70519   336W 30-30 WIN 20" ODGREEN&BLACK WEBBING           14
        Marlin            OHL   70520   336W 30-30 WIN 20" HDWD-PG                         35
        Marlin            OHL   70525   336C 30-30 WIN COMPACT 16.25" WALNUT               60
        Marlin            OHL   70530   336XLR 30-30 WIN 24" LAM-PG STSL                   30
        Marlin            OHL   70534   336TDL TEXAN DELUXE 30-30 WIN 20" WALNUT            1
        Marlin            OHL   70540   444 444 MARLIN 22" WALNUT-PG                        5
        Marlin            OHL   70543   444 DARK 444 MARLIN TH-B 16.25"                    31
        Marlin            OHL   70550   444 MARLIN 24" 150TH ANNIVERSARY                    3
        Marlin            HSV   70330   1895 410/22 (.410 BORE)                            12
        Marlin            HSV   70400   1894 44REM MAG/44S&W 20" WALNUT-SG                  2
        Marlin            HSV   70404   1894 DARK 44 REM MAG TH-B 16.5"                     3
        Marlin            HSV   70410   1894C 357MAG/38SPL 18.5" WALNUT-SG                  3
        Marlin            HSV   70412   1894 DARK 357MAG/38SPL TH-B 16.5"                  17
        Marlin            HSV   70433   1894CSBL 357 MAG 16.5" LAM-STSL                     1
        Marlin            HSV   70438   1894SS 357MAG/38SPL TH-MZ 16.5"                     4
        Marlin            HSV   70440   1894CB 357MAG/38SPL 20" WALNUT-SG                   2
        Marlin            HSV   70450   1895TSBL TRAPPER 45-70 GOVT 16.5"                   1
        Marlin            HSV   70451   1895 410/22 ( .410 BORE ) CT                       10
        Marlin            HSV   70455   1895 DARK 45-70 GOVT TH-B 16.25"                    3
        Marlin            HSV   70456   1895GBL 45-70 GOVT 18.5" BROWN-LAM PG               1
        Marlin            HSV   70460   1895 45-70 GOVT 22" WALNUT-PG                       1
        Marlin            HSV   70462   1895G 45-70 GOVT 18.5" WALNUT-SG                    1
        Marlin            HSV   70480   1895CB 45-70 GOVT 26" WALNUT-SG                     2
        Marlin            HSV   70483   1895GSBL SS 45-70 GOVT 18.5"                        4
        Marlin            HSV   70502   336BL 30-30 WIN 18-1/2" BROWM-LAM PG                1
        Marlin            HSV   70521   336W 30-30 WIN 20" HDWD-PG W/SCOPE                  4
        Marlin            HSV   70522   336WTE TEXAS EDITION 30-30 WIN 20" HDWD             1
        Marlin            HSV   70525   336C 30-30 WIN COMPACT 16.25" WALNUT                4
        Marlin            HSV   70527   336C 30-30 WIN 20" CURLY MAPLE                      2
        Marlin            HSV   70540   444 444 MARLIN 22" WALNUT-PG                        4
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        Marlin            ILN   1894 357 S/A, F/A TIP SWIVEL BASE DSMP
        Marlin            ILN   1894 44REM MAG/44S&W 20" WALNUT-SG
        Marlin            ILN   1894 BREECH BOLT (357)
        Marlin            ILN   1894 BREECH BOLT 44
        Marlin            ILN   1894 CSBL 357MAG 16.5" BBL
        Marlin            ILN   1894 DARK 357MAG/38SPL TH-B 16.5"
        Marlin            ILN   1894 DARK 44 REM MAG TH-B 16.5"
        Marlin            ILN   1894 DSMP WRAPPED FINGER LEVER
        Marlin            ILN   1894 FOREARM CURLY MAPLE CK HIGH FINISH
        Marlin            ILN   1894 SBL MAG TUBE SS 15.260"
        Marlin            ILN   1894 SS BREECH BOLT(357)
        Marlin            ILN   1894-45LC 45 LONG COLT 20" WALNUT
        Marlin            ILN   1894C 357MAG/38SPL 18.5" WALNUT-SG
        Marlin            ILN   1894C 357MAG/38SPL 20" C.MAPLE (TALO)
        Marlin            ILN   1894C BBL 357 CAL 18.5"
        Marlin            ILN   1894C BBL 44 REM MAG 20"
        Marlin            ILN   1894CB 357MAG/38SPL 20" WALNUT-SG
        Marlin            ILN   1894CB 44MAG/44SPL 20" WALNUT-SG
        Marlin            ILN   1894CSBL 357 MAG 16.5" LAM-STSL
        Marlin            ILN   1894CST 357MAG/38SPL 16.5" SATIN TH BBL
        Marlin            ILN   1894SBL 44 R.MAG/44S&W 16.5" LAM-STSL
        Marlin            ILN   1894SS 357MAG/38SPL TH-MZ 16.5"
        Marlin            ILN   1895 45/70 DSMP SUB ASSB REC TGP
        Marlin            ILN   1895 45-70 GOVT 22" WALNUT-PG
        Marlin            ILN   1895 BBL CLASSIC 45-70 GOVT 22"
        Marlin            ILN   1895 DARK 45-70 GOVT TH-B 16.25"
        Marlin            ILN   1895 DSMP MAG TUBE 14.869"
        Marlin            ILN   1895 EXTRACTOR FOR PLATE
        Marlin            ILN   1895 GS BBL 45-70 GOVT 18.5"
        Marlin            ILN   1895 S/A BUTTSTOCK ASSY NO CHECKERING
        Marlin            ILN   1895 SBL BBL 45-70 GOVT 18.5"
        Marlin            ILN   1895 SBL FINGER LEVER SATIN (SS)
        Marlin            ILN   1895 SS TEXAS TRIGGER GUARD PLATE
        Marlin            ILN   1895 TEXAS TRIGGER GUARD PLATE
        Marlin            ILN   1895, SUB ASSB REC TGP SS SATIN
        Marlin            ILN   1895CB 45-70 GOVT 26" WALNUT-SG
        Marlin            ILN   1895CBA 45-70 GOVT 18.5" WALNUT-PG
        Marlin            ILN   1895CT 410 BARREL 22"
        Marlin            ILN   1895G BBL 45-70 GOVT 18.5
        Marlin            ILN   1895G 45-70 GOVT 18.5" WALNUT-SG
        Marlin            ILN   1895GBL 45-70 GOVT 18.5" BROWN-LAM PG
        Marlin            ILN   1895GBL 45-70 GOVT TH-MZ 18.5" LAM PG
        Marlin            ILN   1895GBL BBL 45-70 GOVT 18.5
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        Marlin            ILN   1895GS 45-70 GOVT 18.5" WALNUT-SG STSL
        Marlin            ILN   1895MR BBL 410 22"
        Marlin            ILN   1895SBL 45-70 GOVT 18" LAM STSL
        Marlin            ILN   1895SBL 45-70 GOVT TH-MZ 18.5" LAM STSL
        Marlin            ILN   1895TSBL 45-70 GOVT 16.5" BBL
        Marlin            ILN   1895TSBL TRAPPER 45-70 GOVT 16.5"
        Marlin            ILN   1895XLR/444XLR FOREARM ASSY UNCKRD WOOD
        Marlin            ILN   336 COMPACT FOREARM, LEX LEVEL
        Marlin            ILN   336 CURLY MAPLE BUTTSTOCK, LEX. LEVEL
        Marlin            ILN   336 DARK 30-30 WIN TH-B 16.25"
        Marlin            ILN   336 DSMP MAG TUBE 14.490"
        Marlin            ILN   336 FOREARM BLACK W/GRAY FINISH, COMP.
        Marlin            ILN   336 FOREARM,CURLY MAPLE,CK HIGH FINISH
        Marlin            ILN   336 S/A Buttstock Texan Deluxe Satin
        Marlin            ILN   336 S/A, FOREARM TIP SWIVEL BASE DSMP
        Marlin            ILN   336 SS BARREL, 30 CAL - 20"
        Marlin            ILN   336, SUB ASSB REC TGP SS SATIN
        Marlin            ILN   336/1895 DSMP WRAPPED FINGER LEVER
        Marlin            ILN   336/94 336C SPS MAG TUBE 19.265"
        Marlin            ILN   336BL 30-30 WIN 18-1/2" BROWM-LAM PG
        Marlin            ILN   336C 30-30 WIN COMPACT 16.25" WALNUT
        Marlin            ILN   336C 30-30 WIN 20" CURLY MAPLE
        Marlin            ILN   336C 30-30 WIN 20" WALNUT W/SCOPE
        Marlin            ILN   336C 30-30 WIN 20" WALNUT-PG
        Marlin            ILN   336C COMPACT BUTTSTOCK ASSY, ILN
        Marlin            ILN   336SS 30-30 WIN 20" BL PAINTED STOCK&F/E
        Marlin            ILN   336TDL TEXAN DELUXE 30-30 WIN 20" WALNUT
        Marlin            ILN   336W 30-30 WIN 20" HDWD-PG
        Marlin            ILN   336W 30-30 WIN 20" LAM.STOCK W/BIG LEVER
        Marlin            ILN   357 DSMP MAG TUBE 15.260"
        Marlin            ILN   410/35 REM DSMP WRAPPED FINGER LEVER
        Marlin            ILN   444 444 MARLIN 22" WALNUT-PG
        Marlin            ILN   444 150TH BUTTSTOCK ASSB, S/A-LEX LEVEL
        Marlin            ILN   444 CAL BBL 22"
        Marlin            ILN   444 DARK 444 MARLIN TH-B 16.25"
        Marlin            ILN   444 DSMP MAG TUBE 14.495"
        Marlin            ILN   444 DSMP SUB ASSY REC TGP
        Marlin            ILN   444/1895 S/A, F/A TIP SWIVEL BASE DSMP
        Marlin            ILN   94MP357 DSMP SUB ASSY REC/TGP/BB
        Marlin            ILN   95,450,444,336 TRIGGER GUARD PLATE
        Marlin            ILN   BAND, FRONT, L/A, BO
        Marlin            ILN   BARREL 1894CB-357 20" OCT.
        Marlin            ILN   BARREL 1894CB-44 MAG 20" OC
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        Marlin            ILN   BARREL 1895 45/70 18.5"
        Marlin            ILN   BARREL, 1895CB 45/70 26
        Marlin            ILN   BARREL, MODEL 336C 30-30 16.25"
        Marlin            ILN   BASE FRONT RAMP SIGHT 336
        Marlin            ILN   BASE, FRONT SIGHT
        Marlin            ILN   BASE, FRONT SIGHT 60SB/981TS FOR PLATE
        Marlin            ILN   BIRDSHEAD PISTOL GRIP STOCK
        Marlin            ILN   BLOCK, TRIGGER SAFETY FOR PLATE
        Marlin            ILN   BOLT, 1894 LOCKING (CAST)
        Marlin            ILN   BOLT, 336 LOCKING (CAST)
        Marlin            ILN   BOLT, BREECH 45
        Marlin            ILN   BREECH BOLT 30-30 FOR PLATE
        Marlin            ILN   BREECH BOLT 30-30 SPS
        Marlin            ILN   BREECH BOLT 30-30 XLR FLUTED
        Marlin            ILN   BREECH BOLT 35 REM FOR PLATE
        Marlin            ILN   Breech Bolt 444
        Marlin            ILN   BREECH BOLT 444 SPS
        Marlin            ILN   BREECH BOLT 45-70 FOR FNC
        Marlin            ILN   BREECH BOLT 45-70 FOR PLATE
        Marlin            ILN   BREECH BOLT 45-70 SPS
        Marlin            ILN   BREECH BOLT 45-70 XLR FLUTED
        Marlin            ILN   CARRIER 94-357
        Marlin            ILN   CARRIER 94-44
        Marlin            ILN   EJECTOR 39A/1897
        Marlin            ILN   EXTRACTOR, 1894 SS 357 FOR PLATE
        Marlin            ILN   EXTRACTOR, 45-70/338, B.O.
        Marlin            ILN   EXTRACTOR, B.O
        Marlin            ILN   EXTRACTOR, B.O.
        Marlin            ILN   FE ASSY, 336 TIP STYLE MARLIN (NO CHCKR)
        Marlin            ILN   FOREARM 336/336SS (LEX)
        Marlin            ILN   FOREARM 410 XLR BROWN LAMINATE
        Marlin            ILN   FOREARM 95, 444
        Marlin            ILN   FOREARM 95, 444 (LEX)
        Marlin            ILN   Forearm Tip 1895 LTD
        Marlin            ILN   FOREARM TIP TENON 39A/1894
        Marlin            ILN   FOREARM, 1895XLR/444XLR GREY LAM
        Marlin            ILN   FOREARM, 1895XLR/444XLR GREY LAM (LEX)
        Marlin            ILN   FOREARM, 336W/30AW
        Marlin            ILN   FOREARM, 336W/30AW (LEX)
        Marlin            ILN   FOREARM, 336XLR/308XLR GREYLAM
        Marlin            ILN   FOREARM, MODEL 444 150TH SATIN C GRADE
        Marlin            ILN   HAMMER BO
        Marlin            ILN   HAMMER FOR PLATE
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        Marlin            ILN   LEAF, FOLDING 336
        Marlin            ILN   LEAF,REAR SIGHT FOLDING:XT & M60
        Marlin            ILN   LEVER, FINGER MARLIN 150TH TO ENGRAVE
        Marlin            ILN   LEVER, FINGER (1894)
        Marlin            ILN   LEVER, FINGER (1894) BIG LOOP SS
        Marlin            ILN   LEVER, FINGER (1894) BIG LOOP SS SATIN
        Marlin            ILN   LEVER, FINGER (36SS)
        Marlin            ILN   LEVER, FINGER (95CB)
        Marlin            ILN   LEVER, FINGER (95GS), STAINLESS
        Marlin            ILN   LEVER, FINGER 1895GBL
        Marlin            ILN   LEVER, FINGER 1895SBL (SS)
        Marlin            ILN   LEVER, FINGER 336
        Marlin            ILN   LEVER, FINGER 336DL
        Marlin            ILN   LEVER, FINGER SPS 336
        Marlin            ILN   Loading Spring 1895 GS & XLR FOR PLATE
        Marlin            ILN   LOADING SPRING, 1894, B.O.
        Marlin            ILN   LOADING SPRING, 1895, 45-70, B.O.
        Marlin            ILN   LOADING SPRING, 1895M, 450M, B.O.
        Marlin            ILN   LOADING SPRING, B.O.
        Marlin            ILN   LOADING SPRING, NI PLATE
        Marlin            ILN   M/1894D TH BBL - .357 CAL - 16.5"
        Marlin            ILN   M/1894D TH BBL - 44 CAL - 16.5"
        Marlin            ILN   M/1894SS PISTOL GRIP TRIGGER GUARD PLATE
        Marlin            ILN   M/1895D TH BBL - 45/70 GOVT - 16.25"
        Marlin            ILN   M/1895SS TH BARREL - 45-70 GOVT - 19.12"
        Marlin            ILN   M/1895TH BARREL - 45-70 GOVT - 19.12"
        Marlin            ILN   M/336 SS TH BBL - 30 CAL, SATIN, 20"
        Marlin            ILN   M/336BL BARREL 30 CAL - 18"
        Marlin            ILN   M/336D TH BBL - 30 CAL - 16.25"
        Marlin            ILN   M/336W SPS - 30 Cal Barrel - 20"
        Marlin            ILN   M/336WBL - 30 Cal BBL - 20"
        Marlin            ILN   M/410D CT BARREL - 18.5"
        Marlin            ILN   M/444 150TH 444 CAL OCTAROUND BBL 24"
        Marlin            ILN   M/444D TH BBL - 444 CAL - 16.25"
        Marlin            ILN   M1894 - 357 MAG CARRIER ASSB
        Marlin            ILN   M1894 - 44 MAG CARRIER ASSB
        Marlin            ILN   M444 S/A REC/TGP 150TH ENGRAVED CPT
        Marlin            ILN   MAG TUBE STUD - BLUE 410/95/94/308/336
        Marlin            ILN   MARLIN 336 TDL 30 CAL BBL 20"
        Marlin            ILN   MARLIN 336 XLR BBL 30 CAL 24"
        Marlin            ILN   MARLIN 336C 30 CAL BBL 20"
        Marlin            ILN   MARLIN 35 REM BBL 20"
        Marlin            ILN   MARLIN 444 LOADING SPRING, B.O.
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        Marlin            ILN   PIN, FRONT FIRING
        Marlin            ILN   PLUG, MAGAZINE TUBE
        Marlin            ILN   PLUNGER, CARRIER ROCKER FOR PLATE
        Marlin            ILN   PLUNGER, FINGER LEVER
        Marlin            ILN   PUSH BUTTON SAFETY ASSB
        Marlin            ILN   RECEIVER 336
        Marlin            ILN   RECEIVER 357
        Marlin            ILN   RECEIVER 444P
        Marlin            ILN   RECEIVER 94-44
        Marlin            ILN   RECEIVER 94SS-44 FOR HEAT TREAT
        Marlin            ILN   RECEIVER 95 45-70
        Marlin            ILN   RECEIVER (SS) 95 FOR HEAT TREAT
        Marlin            ILN   RECEIVER (SS) 336 FOR HEAT TREAT
        Marlin            ILN   RECEIVER, 1895-450/410
        Marlin            ILN   S/A STOCK 410 XLR
        Marlin            ILN   S/A STOCK ASSB 410 XLR
        Marlin            ILN   S/A BUTTSOTCK ASSY, TEXAS C-GRADE, LEX
        Marlin            ILN   S/A BUTTSTOCK 336/1895/444/308 HARDWOOD
        Marlin            ILN   S/A REAR SIGHT BS/SLIDE BEFORE PLATE
        Marlin            ILN   S/A TGP (SS)
        Marlin            ILN   S/A, BUTTSTOCK ASSB 1894CB
        Marlin            ILN   S/A, BUTTSTOCK 336/1895/308/444 XLR'S
        Marlin            ILN   S/A, BUTTSTOCK 336C,95,444,308,338
        Marlin            ILN   S/A, BUTTSTOCK ASSB 1894
        Marlin            ILN   S/A, BUTTSTOCK ASSB 1895G
        Marlin            ILN   S/A, BUTTSTOCK ASSB 336 CURLY MAPLE
        Marlin            ILN   S/A, BUTTSTOCK ASSB 336C,95,444,308,338
        Marlin            ILN   S/A, BUTTSTOCK ASSB HARDWOOD, 336W/A
        Marlin            ILN   S/A, BUTTSTOCK ASSB, 444 150TH COMPLETE
        Marlin            ILN   S/A, BUTTSTOCK HARDWOOD, 336W/A
        Marlin            ILN   S/A, F.A.TIP SWIVEL BASE FOR PLATE
        Marlin            ILN   S/A, FOREARM TIP SWIVEL BASE
        Marlin            ILN   S/A, REAR BAND
        Marlin            ILN   S/A, REAR BAND SWIVEL STUD
        Marlin            ILN   S/A, REC/TGP 1895 POLISH FOR COLOR CASE
        Marlin            ILN   S/A, REC/TGP 336
        Marlin            ILN   S/A, REC/TGP 444
        Marlin            ILN   S/A, REC/TGP 444 150TH TO ENGRAVE
        Marlin            ILN   S/A, REC/TGP 95 45-70
        Marlin            ILN   S/A, REC/TGP 1895XLR
        Marlin            ILN   S/A, REC/TGP 36SS
        Marlin            ILN   S/A, REC/TGP 95CB 45-70
        Marlin            ILN   S/A, REC/TGP 95MR 450/410
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        Marlin            ILN   S/A, REC/TGP/BB 94CB357
        Marlin            ILN   S/A, REC/TGP/BB 94CB44
        Marlin            ILN   S/A, REC/TGP/BB 94CB45
        Marlin            ILN   S/A, REC/TGP/BB 94SBL
        Marlin            ILN   S/A, REC/TGP/BB 94SS-357
        Marlin            ILN   S/A, REC/TGP/BB 94SS-357 SATIN
        Marlin            ILN   S/A, REC/TGP/BB, 94MP44
        Marlin            ILN   S/A, SIGHT BASE ONLY (BLUED)
        Marlin            ILN   S/A, SS REC/TGP 95GS
        Marlin            ILN   S/A, STK ASSB 336/1895/308/444 XLR'S
        Marlin            ILN   SAFETY, PUSH BUTTON FINISHED
        Marlin            ILN   SAFETY, PUSH BUTTON FOR PLATE
        Marlin            ILN   SEAR 36/95
        Marlin            ILN   SPUR HAMMER FOR PLATE
        Marlin            ILN   SPUR, HAMMER BLACK OXIDE
        Marlin            ILN   SS SPRING, LOADING 357/44 FOR PLATE
        Marlin            ILN   STRUT, HAMMER SPRING
        Marlin            ILN   SUB ASSM REC TGP 336 SPS
        Marlin            ILN   SUB ASSY REC TGP 1895 WWG TO POLISH
        Marlin            ILN   T.G.P., MARLIN, ASSEMBLY, 1894
        Marlin            ILN   TENON FOREARM TIP (OFFSET)
        Marlin            ILN   TENON, FOREARM TIP
        Marlin            ILN   TUBE, MAGAZINE - 444 150TH 22.921"
        Marlin            ILN   TUBE, MAGAZINE 444 FINISHED (BULGE)
        Marlin            ILN   TUBE, MAGAZINE (GS) 1895 (BULGE)
        Marlin            ILN   TUBE, MAGAZINE 1895 (BULGE)
        Marlin            ILN   TUBE, MAGAZINE 357C
        Marlin            ILN   TUBE, MAGAZINE 38 SPECIAL
        Marlin            ILN   TUBE, MAGAZINE OUTSIDE
        Marlin            ILN   TUBE, MAGAZINE, 1895SBL (BULGE)
        Marlin            ILN   TUBE, MAGAZINE, 336C 30




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                                Schedule 1.4(a)
                            Estimated Cure Amount



    1. None.




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                                          Schedule 4.1(f)
                                        Compliance with Law

1. The Arkansas Department of Environmental Quality Consent Administrative Order No. LIS-15-051
   (2015) (which, by its terms, incorporates by reference the Amended Consent Administrative Order 07-
   078-001 (2012), the Second Amended Consent Administrative Order 07-078-002 (2012), and the Third
   Amendment to Consent Administrative Order 07-078-003 (2013)), issued to Remington Arms
   Company, LLC, as further amended by Consent Administrative Order 15-051-001 (2017) and Consent
   Administrative Order 15-051-002 (2018).
2. Administrative Order on Consent, issued by the Missouri Department of Natural Resources to
   Remington Arms Company, LLC, No. 14-HW-E005 with regard to hazardous materials handling,
   storage and disposal.
3. Administrative Settlement, Agreement and Order on Consent for Remedial Investigation/Feasibility
   Study in the matter of Chemetco, Inc. Superfund Site, Hartford, Illinois, CERCLA Docket V-W-15-C-
   019 (2015).
4. Notice of Violation issued by the Arkansas Department of Environmental Quality on December 13,
   2019, with regard to permitted effluent limitation violations.
5. In March 2020, the Company received a pre-litigation settlement offer from Trex Properties LLC
   concerning the Detrex Corporation facility located in Charlotte, NC. The offer names Para USA LLC
   (a Company subsidiary) is a potentially responsible party pursuant to the Comprehensive
   Environmental Response, Compensation, and Liability Act (CERCLA) for alleged transport or disposal
   of hazardous materials at the Detrex facility. The offer demanded a $12,000 payment to release all
   CERCLA, state and natural resource damage claims. Because the Company could not confirm that
   Para USA LLC actually deposited waste at the Trex facility, it did not accept the offer; however, the
   Company cannot rule out potential liability as a potentially responsible party.
6. Citation and Notification of Penalty regarding inspection number 1350744 issued by the U.S.
   Department of Labor, Occupational Safety and Health Administration, dated March 26, 2019 (Ilion,
   NY).
7. Citation and Notification of Penalty regarding inspection number 1353904 issued by the U.S.
   Department of Labor, Occupational Safety and Health Administration, dated March 26, 2019 (Ilion,
   NY).
8. Citation and Notification of Penalty regarding inspection number 314352477 issued by the U.S.
   Department of Labor, Occupational Safety and Health Administration, dated November 4, 2011 (Ilion,
   NY).
9. Citation and Notification of Penalty regarding inspection number 1130012 issued by the U.S.
   Department of Labor, Occupational Safety and Health Administration, dated June 8, 2016 (Lexington,
   MO).
10. Citation and Notification of Penalty regarding inspection number 315538082 issued by the U.S.
    Department of Labor, Occupational Safety and Health Administration, dated August 31, 2011
    (Lexington, MO).
11. Notice of Alleged Safety or Health Hazards issued by the U.S. Department of Labor, Occupational
    Safety and Health Administration, regarding Complaint Number 850727 (Lexington, MO).




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                                Schedule 4.1(g)
                                  Contracts

   1. None.




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                                                                            Schedule 4.1(h)
                                                                            Material Permits

a. Environmental

           Site                            Type of Permit                         Permit/ID #                 Regulator (Agency)                     Name of Permittee

      Huntsville, AL       National Pollutant Discharge Elimination        ALG120479                    Alabama Department of              Remington Outdoor Company
                           System (NPDES) General Permit (Discharges:                                   Environmental Management
                           DSN001-1, DSN002-1, DSN008-1)
      Huntsville, AL       State Indirect Discharge Permit                 IU084500554                  Alabama Department of              Remington Outdoor Company
                                                                                                        Environmental Management
        Ilion, NY          Air Permit                                      6-2128-00019/00373           New York State Department of       Remington Arms Co Inc
                                                                                                        Environmental Conservation
        Ilion, NY          Chemical Bulk Storage Certificate               6-000054                     New York State Department of       Remington Arms Co. Inc.
                                                                                                        Environmental Conservation
        Ilion, NY          Hazardous Waste Reduction Plan                  EPA ID: NYD002240638         New York State Department of       Remington Arms Company, LLC
                                                                                                        Environmental Conservation
        Ilion, NY          Discharge Permit                                HCSD-002                     Herkimer County Sewer District     Remington Arms Company, LLC
        Ilion, NY          SPDES Multi-Sector General Permit (MSGP)        Permit No. GP-0-17-004       New York State Department of       (General Permit; no permittee
                           for Stormwater Discharges                       SPDES ID: NYR00A796          Environmental Conservation         identified)
        Ilion, NY          Petroleum Bulk Storage Certificate              6-120618                     New York State Department of       Remington Arms Company, Inc.
                                                                                                        Environmental Conservation
        Ilion, NY          State Pollutant Discharge Elimination System    DEC ID: 6-2128-00019/00193   New York State Department of       Remington Arms Company, Inc.
                           (SPDES) Discharge Permit                        SPDES No: NY0005282          Environmental Conservation
        Ilion, NY          SPDES                                           DEC ID: 6-2128-00041/00003   New York State Department of       Remington Arms Company Inc
                                                                           SPDES No: NY0245097          Environmental Conservation
        Ilion, NY          Water Withdrawal Permit                         DEC #6-2128-00019/00377      New York State Department of       Remington Arms Co Inc
                                                                                                        Environmental Conservation
        Ilion, NY          Cooling Tower                                   Registration NYS#3378        New York State Department of       Remington Arms
                                                                                                        Environmental Conservation
      Lexington, MO        Air Pollution Control Program Basic             N/A                          Missouri Department of Natural     Remington Arms Company, Inc.
                           Operating Permit                                                             Resources (Air Pollution Control
                                                                                                        Program)
      Lexington, MO        Construction Permit for Emission Source (four   0792-036                     Missouri Department of Natural     S & K Industries, Inc.
                           dry filter spray booths)                                                     Resources (Air Pollution Control
                                                                                                        Program)




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           Site                           Type of Permit                          Permit/ID #                Regulator (Agency)                     Name of Permittee

      Lexington, MO         Construction Permit for Emission Source       0791-011                     Missouri Department of Natural     S & K Industries, Inc.
                            (facility permit)                                                          Resources (Air Pollution Control
                                                                                                       Program)
      Lexington, MO         Construction Permit for Emission Source       1089-006                     Missouri Department of Natural     S & K Industries, Inc.
                            (boiler and spray booths (4))                                              Resources (Air Pollution Control
                                                                                                       Program)
      Lexington, MO         Construction Permit for Emission Source       042012-009, as amended by    Missouri Department of Natural     Remington Arms Co., Inc.
                                                                          042012-009A                  Resources (Air Pollution Control
                                                                                                       Program)
      Lexington, MO         Construction Permit for Emission Source       Project Number 2010-01-024   Missouri Department of Natural     Remington Arms Co., Inc.
                            (cleaning oven)                                                            Resources (Air Pollution Control
                                                                                                       Program)
      Lexington, MO         General State Operating Permit (Storm Water   MOR22C032                    Missouri Department of Natural     Remington Arms Company LLC
                            Permit for Building #1)                                                    Resources (Missouri Clean Water
                                                                                                       Commission)
      Lexington, MO         General State Operating Permit (Storm Water   MOR22C027                    Missouri Department of Natural     Remington Arms Company LLC
                            Permit for Building #3)                                                    Resources (Missouri Clean Water
                                                                                                       Commission)
      Lexington, MO         Haz Waste EPA ID-Bldg #3                      MOD981713175,                EPA and MODNR Hazwaste #           Remington Arms
                                                                          MO(000618)
      Lexington, MO         Haz Waste EPA ID                              MOD029936689,                EPA and MODNR Hazwaste #           Remington Arms
                                                                          MO(000616)


b. Special Tax Stamps and Federal Firearms Licenses

            Site                       Type of License/Permit                   License/Permit #              Regulator (Agency)                   Name of Permittee(s)

                                                                                                       U.S. Dept. of Justice, Bureau of
       Huntsville, AL        Federal Firearms License                     1-63-089-01-3A-08007         Alcohol, Tobacco, Firearms and     Remington Arms Co, LLC
                                                                                                       Explosives
                                                                                                       U.S. Dept. of Justice, Bureau of
                                                                                                                                          Remington/Marlin/H&R
       Huntsville, AL        Federal Firearms License                     1-63-089-10-0E-05652         Alcohol, Tobacco, Firearms and
                                                                                                                                          1871/BFI/DPMS/Bushmaster
                                                                                                       Explosives
                                                                                                       U.S. Dept. of Justice, Bureau of
                                                                                                                                          Remington/Marlin/H&R
       Huntsville, AL        Federal Firearms License                     1-63-089-11-3E-05653         Alcohol, Tobacco, Firearms and
                                                                                                                                          1871/BFI/DPMS/Bushmaster
                                                                                                       Explosives
                                                                                                       U.S. Dept. of Justice, Bureau of
                                                                                                                                          Remington/Marlin/H&R
         Ilion, NY           Federal Firearms License                     6-16-043-10-0G-02475         Alcohol, Tobacco, Firearms and
                                                                                                                                          1871/BFI/DPMS/Bushmaster
                                                                                                       Explosives




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    Site                       Type of License/Permit         License/Permit #           Regulator (Agency)                 Name of Permittee(s)

                                                                                  U.S. Dept. of Justice, Bureau of
                                                                                                                     Remington/Marlin/H&R
Southaven, MS        Federal Firearms License           1-64-033-07-2G-04549      Alcohol, Tobacco, Firearms and
                                                                                                                     1871/BFI/DPMS/AAC
                                                                                  Explosives
                                                                                  U.S. Dept. of Justice, Bureau of
                                                                                                                     Remington/Marlin/Bushmaster/BFI/PA
 Sturgis, SD         Federal Firearms License           3-46-093-07-3D-00877      Alcohol, Tobacco, Firearms and
                                                                                                                     RA ORD/Dakota
                                                                                  Explosives
                                                                                  U.S. Dept. of Justice, Bureau of
                                                                                                                     Remington Arms Distribution
Southaven, MS        Federal Firearms License           1-64-033-01-0L-04862      Alcohol, Tobacco, Firearms and
                                                                                                                     Company, LLC
                                                                                  Explosives
                                                                                  U.S. Dept. of Justice, Bureau of
                                                        Pending application for
Southaven, MS        Federal Firearms License                                     Alcohol, Tobacco, Firearms and
                                                        Southaven Location
                                                                                  Explosives




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                                        Schedule 11.5
                                     Brokers and Finders

1. Ducera Partners, whose fees and expenses shall be the responsibility of Seller.




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                                     Schedule 12.1(a)
                                   Intellectual Property



PATENTS

 Owner            Patent Number   Description

 Remington Arms   6,880,282       LOCKABLE FIREARM SAFETY
 Company, LLC                     DEVICE
 Remington Arms   5,479,737       FIREARM BARREL ASSEMBLY
 Company, LLC
 Remington Arms   5,487,232       DETONATOR ASSEMBLY
 Company, LLC
 Remington Arms   5,606,825       COCKING MECHANISM FOR A
 Company, LLC                     MUZZLE LOADING FIREARM
 Remington Arms   RE37,968        DETONATOR ASSEMBLY
 Company, LLC
 RA Brands LLC    6,519,888       LOCKABLE FIREARM SAFETY
 RA Brands LLC    6,141,896       LOCKABLE FIREARM SAFETY
 RA Brands LLC    6,173,518       LOCKABLE FIREARM SAFETY
 RA Brands LLC    6,804,906       LOCKABLE FIREARM SAFETY
                                  DEVICE

 RA Brands LLC    6,694,659       LOCKABLE FIREARM SAFETY
                                  DEVICE

 RA Brands LLC    5,187,312       TWO STAGE TRIGGER ASSEMBLY


 RA Brands LLC    10,254,063      ROTARY MAGAZINE WITH BOLT
                                  HOLD OPEN ASSEMBLY

 RA Brands LLC    10,718,584      ROTARY MAGAZINE WITH BOLT
                                  HOLD OPEN ASSEMBLY




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REGISTERED TRADEMARKS
 Country    Trademark   Registration   Owner                         Goods
                         Number
 Austria     MARLIN       100274       The Marlin Firearms Company   Firearms, in particular guns and
                                                                     shotguns, ammunition and floors,
                                                                     parts and accessories for aforesaid
                                                                     goods (not included in other classes)




 Benelux     MARLIN       381417       Remington Arms Company,       Firearms, especially rifles and
                                       LLC                           shotguns; ammunition and
                                                                     projectiles; parts and accessories of
                                                                     all the aforementioned products




 Canada      MARLIN     TMA494,892     Remington Arms Company,       Rifles and shotguns and ammunition
                                       LLC                           therefor

 Canada      MARLIN     TMDA32744      Remington Arms Company,       Rifles and shotguns and ammunition
                                       LLC                           therefor

 Colombia    MARLIN        96066       Remington Arms Company,       Firearms; ammunition and shells;
                                       LLC                           explosives; Fireworks



 Denmark     MARLIN     VR198203886    The Marlin Firearms Company   Firearms, especially rifles and
                                                                     shotgun, ammunition and projectiles,
                                                                     including shares and accessories for
                                                                     all the aforesaid goods (not included
                                                                     in other classes)




 Finland     MARLIN        88337       The Marlin Firearms Company   Firearms, especially rifles and
                                                                     shotguns; projectiles and
                                                                     ammunition; parts and fittings of all
                                                                     aforementioned goods




 France      MARLIN       1202148      The Marlin Firearms Company   Firearms, namely carbines and guns
                                                                     for hunting; ammunition and
                                                                     projectiles; parts and accessories for
                                                                     all these goods




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 Germany       MARLIN   1046291   The Marlin Firearms Company   Firearms, in particular long pipe
                                                                weapons (guns) and shotguns, bolts
                                                                blasting apparatus with explosive
                                                                cartridges as well as parts of such
                                                                weapons, rifle barrels, gun stocks,
                                                                magazines and take off; ammunition
                                                                and floors; explosives; fireworks




 Greece        MARLIN   71561     The Marlin Firearms Company   Firearms, mainly rifles and shotguns,
                                                                ammunition and projectiles, spare
                                                                parts of all the above mentioned
                                                                products




 Guatemala     MARLIN   36539     The Marlin Firearms Company   Firearms, ammunition, projectiles,
                                                                explosive substances, fireworks



 Italy         MARLIN   1482688   The Marlin Firearms Company   Firearms, in particular and shotguns;
                                                                ammunition and projectiles, and
                                                                parts and accessories of all said
                                                                goods




 New Zealand   MARLIN   141264    The Marlin Firearms Company   Firearms, in particular rifles and
                                                                shotguns, ammunition and
                                                                projectiles; and parts and fittings in
                                                                this class for all the aforesaid goods




 Nicaragua     MARLIN   10274     The Marlin Firearms Company   Firearms


 Norway        MARLIN   116379    The Marlin Firearms Company   Firearms, rifles and shotguns;
                                                                ammunition and projectiles; their
                                                                parts (not included in other classes);
                                                                gun-cases, view mirror, purifiers,
                                                                and trigger on guns




 Panama        MARLIN   186341    Remington Arms Company,       Shotguns, rifles, revolvers and their
                                  LLC                           parts, firearms, equipment and
                                                                projectiles


 Paraguay      MARLIN   480654    The Marlin Firearms Company   Firearms; ammunition and
                                                                projectiles; explosive substances;
                                                                fireworks




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 Peru              MARLIN        268203      RA Brands, L.L.C.             Firearms and parts thereof;
                                                                           ammunition

 Portugal          MARLIN        215412      Remington Arms Company,       Firearms such as rifles and shotguns,
                                             LLC                           ammunition and projectiles, parts
                                                                           and accessories for the same



 Spain             MARLIN        1506915     Remington Arms Company,       Firearms, includinh shotguns, rifles,
                                             LLC                           revolvers and parts of them all, and
                                                                           ammunition



 Sweden            MARLIN        182752      The Marlin Firearms Company   Firearms, in particular rifles and
                                                                           shotgun; ammunition and projectiles;
                                                                           parts and accessories for aforesaid
                                                                           type of goods




 Switzerland       MARLIN        317594      Remington Arms Company,       Firearms, namely carbines and guns
                                             LLC                           for hunting; ammunition and
                                                                           projectiles; their parts and
                                                                           accessories




 United            MARLIN        649814      The Marlin Firearms Company   Shotguns, rifles and revolvers, and
 Kingdom                                                                   parts included in Class 13, of all
                                                                           such goods; and ammunition




 United States     MARLIN       5,895,398    RA Brands, L.L.C.             Firearms
 of America

 United States     MARLIN         Appln.     RA Brands, L.L.C.             Wheels and lug nuts for wheels for
 of America                     88/376,548                                 automobiles, ATV's (all terrain
                                (Allowed)                                  vehicles), and UTV's (utility terrain
                                                                           vehicles)




 United States     MARLIN        55,158      Remington Arms Company,       Shotguns, rifles, and parts thereof
 of America        (Stylized)                LLC

 United States     MARLIN       1,181,042    Remington Arms Company,       Firearms and parts thereof
 of America        (Stylized)                LLC

 Colombia        MICRO-GROOVE     96068      Remington Arms Company,       Firearms; ammunition and shells;
                                             LLC                           explosives; Fireworks



 Guatemala       MICRO-GROOVE     36540      The Marlin Firearms Company   Firearms, ammunition, projectiles,
                                                                           explosive substances, fireworks



 Nicaragua       MICRO-GROOVE     45308      The Marlin Firearms Company   Firearms




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 Panama          MICRO-GROOVE       23488     The Marlin Firearms Company   Guns, rifles, machine guns and
                                                                            boxes of ammunition, bullets,
                                                                            explosives, firearms, missiles and
                                                                            projectiles




 United States   MICRO-GROOVE     1,866,917   Remington Arms Company,       Rifles and barrels therefor
 of America                                   LLC

 Canada            PRO-FIRE      TMA826,841   Remington Arms Company,       Triggers for firearms
                                              LLC

 European          PRO-FIRE        9547101    The Marlin Firearms Company   Gun lubricants and lubricants for
 Union                                                                      bullets; gas for firearms; Triggers for
 (Community)                                                                firearms; firearms; ammunition for
                                                                            firearms; parts and fittings for
                                                                            firearms




 Mexico            PRO-FIRE        1260908    The Marlin Firearms Company   Triggers for firearms


 United States     PRO-FIRE       3,893,997   Remington Arms Company,       Triggers for firearms
 of America                                   LLC

 Canada           SOFT TECH      TMA877,048   Remington Arms Company,       Recoil pads for firearms sold as an
                                              LLC                           integral component of firearms;
                                                                            recoil pads for firearms



 European         SOFT TECH        9547159    The Marlin Firearms Company   Gun lubricants and lubricants for
 Union                                                                      bullets; gas for firearms; Recoil pads
 (Community)                                                                for firearms; firearms; ammunition
                                                                            for firearms; parts and fittings for
                                                                            firearms




 Mexico           SOFT TECH        1201600    The Marlin Firearms Company   Recoil pads for firearms




UNREGISTERED TRADEMARKS
(Including, but not limited to, all derivatives, variations thereof, and logos related thereto.)
                                                     Mark

 Marlin Model 1897        Marlin Model 55             Marlin Model 27                 Marlin Model 26

 Marlin Model 39          Marlin Model 80             Marlin Model 28                 Marlin Model 25N

 Marlin Model 39A         Marlin Model 512            Marlin Model 31                 Marlin Model 21




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 Marlin Model 25MG       Marlin Model 780           Marlin Model 42            Marlin Model 25M

 Marlin Model 1881       Marlin Model 925           Marlin Model 43

 Marlin Model 1893       Marlin Model 882           Marlin Model 44

 Marlin Model 1894       Marlin Model 982           Marlin Model 49

 Marlin Model 1895       Marlin Model 2000          Marlin Model 53

 Marlin Model 36         Marlin Model MR7           Marlin Model 63

 Marlin Model 336        Marlin Model XT-17         Marlin Model 120

 Marlin Model 444        Marlin Model XT-22         Marlin Model 90

 Marlin Model 60         Marlin Model XL7           Marlin Model 7000

 Marlin Model 70         Marlin Model XS7           Marlin Model 20

 Marlin Model 70PSS      Marlin Model No. 20        Marlin Model 17

 Marlin Model 70P        Marlin Model 1898          Marlin Model 19

 Marlin Model 795        Marlin Model 16            Marlin Model 24



    1.   Long Live the Lever Gun
    2.   MARLIN CUSTOM
    3.   MARLIN CUSTOM SHOP
    4.   DARK SERIES
    5.   CAMP CARBINE
    6.   PAPOOSE
    7.   LEVERMATIC
    8.   COWBOY



DOMAIN NAMES

    1. MarlinFirearms.com, and all credentials needed to administer and control such domain
       name, and any website code that is proprietary to Seller and unique to the website located
       at such domain name.
SOCIAL MEDIA
Access to and ownership of all main accounts, including credentials and, in the case of internet hosting,
contact information for such hosting service, for all social media accounts related to the Marlin brand,
including, but not limited to:
         Facebook.com/MarlinFirearms
         Instagram: @marlinfirearms_official and @marlinfirearmscompany




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        Twitter: @MarlinFirearms
        YouTube.com/user/MarlinFirearms
        Pinterest, if applicable
        TicTok, if applicable


COPYRIGHTED AND PRINT MATERIALS
        Source files and related artwork for all:
                -    Marlin Advertisements
                -    Marlin Digital Advertisements
                -    Marlin Catalogs
                -    Marlin Brochures
                -    Marlin Website and Advertisement Text and Copy

        Contact information for outsourced suppliers related to, and source files for all:
                -    Marlin Firearms Packaging
                -    Marlin Accessory Packaging
                -    Marlin Instruction Manuals

        Information regarding and, to the extent proprietarily owned, ownership of, all typeface and fonts
used primarily in the Marlin Brand




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                                       EXHIBIT 1

                      (See attached form of Bidding Procedures Order)




                                        S-1
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                         IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF ALABAMA
                                    NORTHERN DIVISION

    In re:
                                                              Chapter 11
    REMINGTON OUTDOOR COMPANY,
    INC., et al., 1                                           Case No. 20-81688-11

                        Debtors.                              Joint Administration Requested


                 ORDER ESTABLISHING BIDDING PROCEDURES RELATING
              TO THE SALES OF ALL OR A PORTION OF THE DEBTORS’ ASSETS

             This matter having come before the Court upon the motion (the “Motion”) 2 by Remington

Outdoor Company, Inc., (“Remington” or the “Company”), and its affiliated debtors and debtors

in possession (collectively the “Debtors”) in the above-captioned Chapter 11 cases (collectively,

the “Chapter 11 Cases”), seeking entry of this order (this “Bidding Procedures Order”) (i)

approving the proposed bidding procedures attached hereto as Exhibit 1 (the “Bidding

Procedures”) by which the Debtors will solicit and select the highest or otherwise best offer for

the sale of substantially all or a portion of their assets (the “Acquired Assets”) through one or

more sales of the Acquired Assets (each, a “Sale Transaction” or “Sale”); (ii) establishing

procedures for the assumption and assignment of executory contracts and unexpired leases,

including notice of proposed cure amounts (the “Assumption and Assignment Procedures”);




1
  The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, as
applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding Company, LLC (9899); FGI Operating
Company, LLC (9774); Remington Arms Company, LLC (0935); Barnes Bullets, LLC (8510); TMRI, Inc. (3522);
RA Brands, L.L.C. (1477); FGI Finance, Inc. (0109); Remington Arms Distribution Company, LLC (4655);
Huntsville Holdings LLC (3525); 32E Productions, LLC (2381); Great Outdoors Holdco, LLC (7744); and Outdoor
Services, LLC (2405). The Debtors’ corporate headquarters is located at 100 Electronics Blvd SW, Huntsville,
Alabama 35824.
2
  Capitalized terms used but not otherwise defined herein have the meanings given to them in the Motion or the
Bidding Procedures, as applicable.




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(iii) approving the form and manner of notice with respect to certain procedures, protections,

schedules, and agreements described herein and attached hereto, including the procedures for the

Debtors’ selection of one or more stalking horse bidders (each, a “Stalking Horse Bidder”), if

any, and the provision of Bid Protections (as defined below) to such Stalking Horse Bidder, if

necessary; (iv) scheduling (a) an auction (the “Auction”) if the Debtors receive two (2) or more

timely and acceptable Qualified Bids (as defined below), and (b) a final hearing (the “Sale

Hearing”) to approve one or more Sales of the Acquired Assets; and (v) granting related relief;

and it appearing that the relief requested is in the best interests of the Debtors’ estates, their

creditors, and other parties-in-interest; and it appearing that this Court has jurisdiction over this

matter pursuant to 28 U.S.C. §§ 157 and 1334; and it appearing that the Motion is a core proceeding

pursuant to 28 U.S.C. § 157; and adequate notice of the Motion and opportunity for objection

having been given, with no objections having been filed, or all objections having been resolved or

overruled, as the case may be; and it appearing that no other notice need be given; and after due

deliberation and sufficient cause therefor,

IT IS HEREBY FOUND AND DETERMINED THAT:

        A.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334,

and the General Order of Reference of the United States District Court for the Northern District

of Alabama dated July 16, 1984, as amended on July 17, 1984. This matter is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2). The predicates for the relief granted herein are Sections 105,

363, and 365 of the Bankruptcy Code and Bankruptcy Rules 2002, 6004, and 6006. Venue in this

Court is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

        B.      The legal and factual bases set forth in the Motion establish just cause for the relief

granted herein. Entry of this Bidding Procedures Order is in the best interests of the Debtors and

their respective estates, creditors, and all other parties in interest.

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           C.   The notice of the Motion, the Bidding Procedures Hearing, and the proposed entry

of this Bidding Procedures Order was adequate and sufficient under the circumstances of the

Chapter 11 Cases, and such notice complied with all applicable requirements of the Bankruptcy

Code, the Bankruptcy Rules, and the Local Rules. Accordingly, no further notice of the Motion,

the Bidding Procedures Hearing, or this Bidding Procedures Order is necessary or required.

           D.   The Debtors have demonstrated a compelling and sound business justification for

the Court to grant the relief requested in the Motion, including, without limitation, to (i) approve

the Bidding Procedures, including the procedures for selecting one or more Stalking Horse Bidders

and the provision of the Bid Protections to be determined, (ii) establish the Assumption and

Assignment Procedures, (iii) approve the form and manner of notice of all procedures, protections,

schedules, and agreements described in the Motion and attached hereto, (iv) schedule a date for

the (a) Auction and (b) Sale Hearing; and (v) grant related relief as set forth herein. Such

compelling and sound business justification, which was set forth in the Motion and on the record

at the Bidding Procedures Hearing, including the Declaration of Bradley C. Meyer in Support of

Debtors’ Cash Collateral Motion and Bidding Procedures Motion (the “Meyer Declaration”) and

the Declaration of Colin M. Adams in Support of Debtors’ Cash Collateral Motion and Bidding

Procedures Motion (the “Adams Declaration”) are incorporated herein by reference and, among

other things, form the basis for the findings of fact and conclusions of law set forth herein.

           E.   The Bidding Procedures, substantially in the form attached hereto as Exhibit 1 and

incorporated herein by reference as if fully set forth in this Bidding Procedures Order, are fair,

reasonable and appropriate and represent the best method for maximizing the value of the Debtors’

estates.




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        F.      The Debtors are authorized to pay the break-up fee and expense reimbursement

comprising the Bid Protections. The Bid Protections, to the extent payable under any Stalking

Horse APA, (a)(x) are actual and necessary costs and expenses of preserving the Debtors’ estate

within the meaning of Section 503(b) of the Bankruptcy Code, and (y) shall be treated as allowed

administrative claims against the Debtors’ estates pursuant to Sections 105(a) and 364(c)(1) of the

Bankruptcy Code, are commensurate to the real and material benefits conferred upon the Debtors’

estates by the Stalking Horse Bidders, and (c) are fair, reasonable and appropriate, including in

light of the size and nature of the Sale Transaction, the necessity to announce a sale transaction for

the Acquired Assets, and the efforts that have been and will be expended by the Stalking Horse

Bidders. The Bid Protections are a material inducement for, and condition of, each Stalking Horse

Bidder’s execution of the applicable Stalking Horse APA. Unless it is assured that the Bid

Protections will be available, the Stalking Horse Bidders are unwilling to remain obligated to

consummate the Sale Transaction or otherwise be bound under its Stalking Horse APA (including

the obligations to maintain its committed offer while such offer is subject to higher or better offers

as contemplated by the Bidding Procedures).

        G.      The Sale Notice and the Publication Notice, substantially in the forms attached

hereto as Exhibit 2 and Exhibit 3, respectively, and incorporated herein by reference as if fully set

forth in this Bidding Procedures Order, are appropriate and reasonably calculated to provide all

interested parties with timely and proper notice of the sale of Acquired Assets, including the sale

of Acquired Assets free and clear of all liens, claims, and encumbrances, the Sale Transaction(s),

the Bidding Procedures, the Auction and the Sale Hearing, and no other or further notice is

required.




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        H.       The Post-Auction Notice, substantially in the form attached hereto as Exhibit 4 and

incorporated herein by reference as if fully set forth in this Bidding Procedures Order, is

appropriate and reasonably calculated to provide all interested parties with timely and proper

notice of the Successful Bidder(s), and no other or further notice is required.

        I.       The Assumption and Assignment Notice, substantially in the form attached hereto

as Exhibit 5 and incorporated herein by reference as if fully set forth in this Bidding Procedures

Order, is appropriate and reasonably calculated to provide all interested parties with timely and

proper notice of the potential assumption and assignment of the Designated Contracts in

connection with the sale of the Acquired Assets and the related Cure Costs, and no other or further

notice is required.

        J.       The findings of fact and conclusions of law herein constitute the Court’s findings

of fact and conclusions of law for the purposes of Bankruptcy Rule 7052, made applicable pursuant

to Bankruptcy Rule 9014. To the extent any findings of facts are conclusions of law, they are

adopted as such. To the extent any conclusions of law are findings of fact, they are adopted as

such.

IT IS HEREBY ORDERED, ADJUDGED, AND DECREED THAT:

        1.       The Motion is granted as set forth herein. 3

        2.       All objections to the relief requested in the Motion that have not been withdrawn,

waived, or settled as announced to the Court at the Bidding Procedures Hearing or by stipulation

filed with the Court are overruled except as otherwise set forth herein.




3
  Notwithstanding anything to the contrary herein, the consummation of any Sale Transaction(s) is subject to entry of
the Sale Order(s).


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I.      The Timeline for the Sale

        3.      The Debtors are authorized to proceed with the Sale Transaction(s) in accordance

with the Bidding Procedures and are authorized to take any and all actions reasonably necessary

or appropriate to implement the Bidding Procedures in accordance with the following timeline:

        4.      Deadline                                                 Action

                                                        Hearing to consider approval of the
 August 18, 2020 at 10:00 a.m. (prevailing Central
                                                        Bidding Procedures and entry of the
 Time)
                                                        Bidding Procedures Order
 August 21, 2020                                        Sale Notice Mailing Date
                                                        Assumption and Assignment Service
 August 21, 2020
                                                        Date
                                                        Sale Objection Deadline (defined
                                                        below) excluding any objection based
                                                        on identity of Stalking Horse Bidders,
 September 1, 2020 at 4:00 p.m. (prevailing Central
                                                        Successful Bidder or Backup Bidder or
 Time)
                                                        the form or substance of the Stalking
                                                        Horse Bid, Successful Bid or Backup
                                                        Bid
 September 4, 2020 at 5:00 p.m. (prevailing Central
                                                        Bid Deadline
 Time)
 September 8, 2020 at 12:00 p.m. (prevailing Central
                                                        Reply Deadline (defined below)
 Time)
                                                        Assumption and Assignment
                                                        Objection Deadline (defined below)
 September 8, 2020 by 4:00 p.m. (prevailing Central     excluding any objection related to
 Time) or 14 days following service of the              adequate assurance of future
 Supplemental Notice of Assumption and Assignment       performance of any Stalking Horse
                                                        Bidder, Successful Bidder or Backup
                                                        Bidder
 September 17, 2020 at 10:00 a.m. (prevailing Central
                                                        Auction
 Time)
 September 21, 2020                                     Post-Auction Notice
 September 23, 2020 at 10:00 a.m. (prevailing Central
                                                        Sale Hearing
 Time)




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        5.      For the avoidance of doubt, the Debtors reserve the right, and are authorized to,

modify the above timeline and the Bidding Procedures (the “Modifications”) in accordance with

the provisions of the Bidding Procedures; provided, however, that the Debtors shall consult with

the Consultation Parties or, to the extent provided therein, the Bid Consultation Parties, with

respect to any Modifications. The Committee’s right to request an extension of the above timeline

for cause is expressly reserved.

II.     The Bidding Procedures

        6.      The Bidding Procedures are approved in their entirety. The Debtors are authorized

to take any and all actions reasonably necessary or appropriate to implement the Bidding

Procedures in accordance therewith. The failure to specifically include or reference a particular

provision of the Bidding Procedures in this Bidding Procedures Order shall not diminish or impair

the effectiveness of such provision.

        7.      The Debtors are authorized, in accordance with the Bidding Procedures, to require

Diligence Parties to submit written indications of interest specifying, among other things, the

Acquired Assets proposed to be acquired, the amount and type of consideration to be offered, and

any other material terms to be included in a bid by such party.

        8.      The process and requirements associated with submitting a Qualified Bid are

approved as fair, reasonable, appropriate and designed to maximize recoveries for the benefit of

the Debtors’ estates, creditors, and other parties in interest. As further described in the Bidding

Procedures, the Bid Deadline shall be September 4, 2020 at 5:00 p.m. (prevailing Central

Time). Any disputes or objections to the selection of Qualified Bid(s), Successful Bid(s), or

Backup Bid(s) (all as defined in the Bidding Procedures) shall be resolved by this Court at the Sale

Hearing as set forth herein.



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        9.      The Debtors are authorized to conduct the Auction in accordance with the Bidding

Procedures. The Auction shall take place on September 17, 2020 at 10:00 a.m. (prevailing

Central Time) virtually via video conferencing technology, or at such other place and time as the

Debtors shall notify all Qualified Bidders and the Consultation Parties.

        10.     The Prepetition Secured Creditors shall have the right, subject in all respects to the

Bankruptcy Code and other applicable law and the satisfaction in cash or assumption of claims

secured by senior liens, to credit bid all or any portion of their allowed secured claims pursuant to

Section 363(k) of the Bankruptcy Code or other applicable law, in accordance with the applicable

provisions of the Prepetition Credit Documents and any such credit bid shall be deemed a Qualified

Bid subject to the Intercreditor Agreement (as defined in the D’Arcy Declaration); provided,

however, that nothing herein or in the Bidding Procedures shall affect or in any way limit the right

or ability of any party in interest, including the Committee, to object to the Prepetition Secured

Creditors’ right to credit bid, including the nature, amount, or scope of such credit bid, subject to

the (a) applicable provisions of the Court’s Interim Order Pursuant To 11 U.S.C. §§ 105, 361, 362,

363, 364, 503 and 507 (I) Authorizing Use Of Cash Collateral, (II) Granting Adequate Protection,

(III) Modifying Automatic Stay, (IV) Granting Related Relief, and (V) Scheduling A Final Hearing

Docket No. 90, including paragraph 20 and the Challenge Period (as defined therein), as the same

may be modified in accordance with its terms and (b) Sale Objection Deadline (as defined below).

III.    Stalking Horse Bidder and Bid Protections

        11.     In accordance with the Bidding Procedures, the Debtors may designate one or more

Stalking Horse Bidders for the various segments of their business and may enter into an asset

purchase agreement with each Stalking Horse Bidder (each, a “Stalking Horse APA”), subject to

higher or otherwise better offers at the Auction, which establishes a minimum Qualified Bid at the

Auction with respect to the assets that are the subject thereof.

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        12.     Absent further order of the Court, the Stalking Horse APA shall (i) limit the break-

up fee in favor of the Stalking Horse Bidder in the amount of no more than 3.5% of the cash

consideration proposed to be paid at closing by the Stalking Horse Bidder under the applicable

Stalking Horse APA (the “Break-Up Fee”); (ii) limit any reimbursement for the Stalking Horse

Bidder’s and its attorneys’, accountants’, investment bankers’ and representatives’ documented

fees and expenses actually and reasonably incurred in negotiating and documenting the Stalking

Horse APA, and in preserving and protecting Stalking Horse Bidder’s rights and interests as buyer

and lender in connection with the Chapter 11 Cases to an amount not to exceed 1.0% of the cash

consideration proposed to be paid by at closing the Stalking Horse Bidder under the applicable

Stalking Horse APA (the “Expense Reimbursement”); and/or (iii) set the initial overbid

protection (the “Minimum Overbid Increment” and, together with the Break-Up Fee and the

Expense Reimbursement, the “Bid Protections”) in amounts to be determined by the Debtors in

accordance with the Bidding Procedures. In the event that the Debtors determine that the Bid

Protections must exceed the amounts set forth herein, the Court shall hold a hearing on the approval

of any such greater Bid Protections on an expedited basis, upon the request of the Debtors.

        13.     The Bid Protections, to the extent payable under the Stalking Horse APAs, shall (a)

constitute an allowed administrative expense claim against the Debtors pursuant to Sections 105(a)

and 364(c)(1) of the Bankruptcy Code. Subject to the foregoing, the Bid Protections shall be paid

(i) in cash from the proceeds of any approved Sale or (ii) credited against the purchase price if,

after an Auction, the Stalking Horse Bid, as enhanced at the Auction, is the Successful Bid and the

Sale contemplated by the Stalking Horse APA (as enhanced at the auction) is consummated.

        14.     In the event that the Debtors select one or more parties to serve as a Stalking Horse

Bidder, upon such selection, the Debtors shall provide, to all parties on the Rule 2002 List, all



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parties expressing an interest in the Acquired Assets and all parties holding liens on such Acquired

Assets, three (3) business days’ notice and an opportunity to object to the determination of such

Stalking Horse Bidder and disclosure of the Bid Protections set forth in the Stalking Horse APA,

and absent objection, the Debtors selection of such Stalking Horse Bidder shall be deemed

designated without further order of the Court. To the extent necessary, the Debtors’ right to seek

this Court’s approval of one or more Stalking Horse Bidders, with notice and a hearing, is hereby

preserved.

IV.     Notice Procedures

        15.     The form of Sale Notice substantially in the form attached hereto as Exhibit 2 is

approved.

        16.     Within seven (7) days after the entry of this Bidding Procedures Order or as soon

as reasonably practicable thereafter, the Debtors shall serve the Sale Notice and this Bidding

Procedures Order, including the Bidding Procedures by first-class mail, postage prepaid, or, for

those parties who have consented to receive notice by the Electronic Case Files (“ECF”) system,

by ECF, upon (i) all entities reasonably known to have expressed an interest in a transaction with

respect to all or part of the Acquired Assets within the past two years; (ii) any parties identified by

AlixPartners as potential bidders; (iii) all entities known to have asserted any lien, claim, interest,

or encumbrance in or upon or with respect to any of the Acquired Assets; (iv) all federal, state,

and local regulatory or taxing authorities or recording offices which have a reasonably known

interest in the relief granted herein; (v) counsel for the Committee; (vi) counsel to Cantor

Fitzgerald Securities, as Priority Term Loan Agent under the Debtors’ prepetition Priority Term

Loan Credit Agreement; (vii) counsel to Ankura Trust Company, LLC, as FILO Agent under the

Debtors’ prepetition FILO Term Loan Agreement, and as Exit Term Loan Agent under the

Debtors’ prepetition Exit Term Loan Agreement; (viii) counsel to FILO Lenders; (ix) counsel to

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the Stalking Horse Bidder, if any; (x) counsel to Whitebox Advisors LLC; (xi) counsel for the

Restructuring Committee; (xii) counsel to the Huntsville Note holder; (xiii) the Bankruptcy

Administrator; (xiv) the Securities and Exchange Commission; (xv) the Internal Revenue Service;

(xvi) counsel to the United Mine Workers of America; and (xvii) all known creditors of the

Debtors, including their contract counterparties; provided, however, that to the extent email

addresses are available, parties referenced in this paragraph 15 may be served by email.

        17.     Service of the Sale Notice as described above shall be sufficient and proper notice

of the Sale Transaction with respect to known interested parties.

        18.     The Publication Notice, substantially in the form attached hereto as Exhibit 3, is

approved. The Debtors are directed to publish the Sale Notice, as modified for publication, in the

New York Times, on one occasion on the Mailing Date or as soon as reasonably practicable

thereafter. In addition, the Debtors are authorized, but not directed, to (i) publish the Sale Notice

in additional publications as the Debtors deem appropriate and (ii) cause the Sale Notice to be

posted on their case information website at https://cases.primeclerk.com/RemingtonOutdoor.

        19.     Service of the Publication Notice as described above shall be sufficient and proper

notice of the Sale Transaction with respect to all unknown parties.

        20.     The form of the Post-Auction Notice, substantially in the form attached hereto as

Exhibit 4 is approved. As soon as reasonably practicable after the conclusion of the Auction, the

Debtors shall file on the docket, but not serve, the Post-Auction Notice identifying any Successful

Bidder(s).

V.      Assumption and Assignment Procedures

        21.     The Assumption and Assignment Procedures, as detailed in the Motion and

incorporated herein by reference as if fully set forth in this Bidding Procedures Order, are

approved.

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        22.     The Notice of Assumption and Assignment, substantially in the form attached

hereto as Exhibit 5 is approved.

        23.     On or before August 21, 2020 (any such date, the “Assumption and Assignment

Service Date”), the Debtors shall file with the Court, and post on the Case Website at

https://cases.primeclerk.com/RemingtonOutdoor, the Notice of Assumption and Assignment and

Designated Contracts List. If no Cure Cost is listed on the Designated Contracts List, the Debtors

believe that there is no Cure Cost, as of the date of such notice. On the Assumption and

Assignment Service Date, the Debtors shall serve, via first-class mail, a customized version of the

Notice of Assumption and Assignment that contains the DCL Instructions and Necessary Notice

Information, but omits the Designated Contracts List, on all counterparties to the Designated

Contracts. In addition, the Debtors shall serve, via first-class mail, a modified version of the Notice

of Assumption and Assignment that contains the DCL Instructions and Necessary Notice

Information, but omits the Designated Contracts List on all parties on the Rule 2002 Notice List.

Service of such Notice of Assumption and Assignment as set forth herein shall be deemed proper,

due, timely, good and sufficient notice of, among other things, the proposed assumption and

assignment of the Designated Contracts and rights thereunder, the Cure Costs, and the procedures

for objecting thereto, and no other or further notice is necessary.

        24.     Any objection by a counterparty to a Designated Contract (which does not, for the

avoidance of doubt, include any objection regarding the adequate assurance of future performance

of any Stalking Horse Bidder, Successful Bidder or the Backup Bidder) (a “Designated Contract

Objection”) must (i) be to the proposed assumption and assignment of the applicable Designated

Contract or Cure Costs, if any; (ii) state, with specificity, the legal and factual basis thereof as well

as what Cure Costs such objecting party believes are required, if any; and (iii) include appropriate



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documentation in support thereof. All Designated Contract Objections must be filed and served

on (i) counsel for the Debtors, O’Melveny & Myers LLP, 400 South Hope Street, 18th Floor, Los

Angeles, CA         90071, Attn:      Steve Warren (swarren@omm.com) and Jennifer Taylor

(jtaylor@omm.com); (ii) co-counsel for the Debtors, Burr & Forman LLP, 420 North 20th Street,

Suite 3400, Birmingham, Alabama 35203, Attn: Derek Meek (dmeek@burr.com) and Hanna Lahr

(hlahr@burr.com); (iii) counsel for the Restructuring Committee, Akin Gump Strauss Hauer &

Feld LLP, 2300 N. Field Street, Suite 1800, Dallas, TX 75201, Attn: Sarah Schultz

(sschultz@akingump.com); (iv) counsel for the Committee, Fox Rothschild LLP, 345 California

Street,   Suite     2200,   San    Francisco,   California   94104,   Attn:    Michael    A.   Sweet

(msweet@foxrothschild.com) and Baker Donelson Bearman Caldwell & Berkowitz, P.C., 420 20th

Street North, Birmingham, Alabama 35203, Attn: Matthew Cahill (mcahill@bakerdonelson.com)

and Rita Hullett (rhullett@bakerdonelson.com); (v) the Bankruptcy Administrator, 400 Well

Street, Decatur, Alabama 35602, Attn: Richard Blythe (richard_blythe@alnba.uscourts.gov); (vi)

counsel to the Stalking Horse Bidder, if any; (vii) counsel to the FILO Lenders, Pillsbury Winthrop

Shaw Pittman LLP, Four Embarcadero Center, 22nd Floor, San Francisco, CA 94111-5998,

Attn: Joshua D.       Morse   (joshua.morse@pillsburylaw.com)         and     Andrew     V.    Alfano

(andrew.alfano@pillsburylaw.com); (viii) counsel to Whitebox Advisors LLC, Brown Rudnick

LLP, One Financial Center, Boston, Massachusetts 02111, Attn: Andreas Andromalos

(aandromalos@brownrudnick.com) and Tia C. Wallach (twallach@brownrudnick.com); (ix) all

parties that have requested notice in the Chapter 11 Cases (collectively (i)–(ix), the “Objection

Recipients”); and (x) counsel to any Successful Bidder(s), if known on the Sale Objection

Deadline no later than 4:00 p.m. (prevailing Central Time) fourteen (14) days following the




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Assumption and Assignment Service Date (the “Assumption and Assignment Objection

Deadline”).

        25.     If a Designated Contract Objection is not consensually resolved before the Sale

Hearing, the amount to be paid or reserved with respect to such objection shall be determined at

the Sale Hearing, such later hearing date that the Debtors determine in their discretion, or such

other date determined by this Court.

        26.     Any time after the Assumption and Assignment Service Date and before the closing

of a Sale Transaction, the Debtors reserve the right, and are authorized but not directed, to

(i) supplement the Designated Contracts List with previously omitted Designated Contracts in

accordance with the definitive agreement for a Sale Transaction, (ii) remove a Designated Contract

from the list of contracts that a Successful Bidder proposes be assumed and assigned to it in

connection with a Sale Transaction, or (iii) modify the previously stated Cure Cost associated with

any Designated Contract.

        27.     In the event the Debtors exercise any of the rights listed above, the Debtors shall

promptly serve the Supplemental Notice of Assumption and Assignment by electronic

transmission, hand delivery, or overnight mail on the counterparty (and its attorney, if known) to

each Designated Contract listed on the Supplemental Notice of Assumption and Assignment at the

last known address available to the Debtors. Each Supplemental Notice of Assumption and

Assignment shall set forth (i) the name and address of the counterparty to the Designated Contract

listed thereon; (ii) the proposed effective date of the assignment (subject to the right of the

applicable Successful Bidder, if any, to withdraw such request for assumption and assignment of

that Designated Contract prior to the closing of the applicable Sale Transaction); (iii) sufficient

information to identify the Designated Contract; (iv) the Cure Costs, if any; and (v) proposed



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adequate assurance, if known on the Assumption and Assignment Service Date. The Debtors are

authorized, but not directed, to modify the Supplemental Notice of Assumption and Assignment

as necessary and appropriate to provide customized individual notice to each Designated Contract

counterparty.       In addition, the Debtors are authorized, but not directed, to supplement the

Designated Contract List on the Case Website with any additional Designated Contracts as the

Debtors deem appropriate in their discretion. Service of such Supplemental Notice of Assumption

and Assignment as set forth herein shall be deemed proper, due, timely, good and sufficient notice

of, among other things, the proposed assumption and assignment of the Designated Contracts and

rights thereunder, the Cure Costs, and the procedures for objecting thereto, and no other or further

notice is necessary.

        28.     Any objection by a counterparty to a Designated Contract listed on a Supplemental

Notice of Assumption and Assignment (which does not, for the avoidance of doubt, include any

objection regarding the adequate assurance of future performance of any Stalking Horse Bidder,

Successful Bidder or the Backup Bidder) (a “Supplemental Designated Contract Objection”)

must (i) be to the proposed assumption and assignment of the applicable Designated Contract or

the proposed Cure Costs, if any; (ii) state, with specificity, the legal and factual basis thereof as

well as what Cure Costs such objecting party believes are required, if any; (iii) include appropriate

documentation in support of the objection; and (iv) be filed and served on the Objection Recipients

no later than fourteen (14) days from the date of service of such Supplemental Notice of

Assumption and Assignment.

        29.     If a Supplemental Designated Contract Objection is not consensually resolved by

the proposed effective date of assignment of the Designated Contract that is the subject of a

Supplemental Designated Contract Objection, the Debtors shall seek an expedited hearing before



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the Court (a “Supplemental Designated Contract Hearing”) to determine the Cure Costs, if any,

and approve the assumption of the relevant Designated Contracts. If there is no such objection,

then the Debtors shall obtain an order of this Court, including by filing a certification of no

objection, (a “Supplemental Designated Contract Order”) fixing the Cure Costs and approving

the assumption of any Designated Contract listed on a Supplemental Notice of Assumption and

Assignment.

        30.        Absent the filing of a Designated Contract Objection or Supplemental Designated

Contract Objection and a subsequent order of the Court establishing an alternative Cure Cost, the

Cure Costs, if any, set forth in the Notice of Assumption and Assignment (or Supplemental Notice

of Assumption and Assignment) shall be controlling, notwithstanding anything to the contrary in

any Designated Contract or any other document, and the counterparty to the Designated Contract

will be deemed to have consented to the assumption, assignment, and sale of the Designated

Contract and the Cure Costs, if any, and will be forever barred from asserting any other claims

related to such Designated Contract against the Debtors or the applicable Successful Bidder, or the

property of any of them, except with respect to adequate assurance of future performance by such

Successful Bidder. For the avoidance of doubt, any objections to the proposed form of adequate

assurance of future performance of any Successful Bidder (other than a Stalking Horse Bidder)

must be raised at the Sale Hearing or Supplemental Designated Contract Hearing, as applicable,

and will be resolved at the hearing at which it is raised or, in the Debtors’ discretion, adjourned to

a later hearing.

        31.        The inclusion of a Designated Contract on the Notice of Assumption and

Assignment (or Supplemental Notice of Assumption and Assignment) will not (a) obligate the

Debtors to assume any Designated Contract listed thereon nor the Successful Bidder(s) to take



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assignment of such Designated Contract or (b) constitute any admission or agreement of the

Debtors that such Designated Contract is an “executory” contract.           Only those Designated

Contracts that are included on a schedule of assumed and Acquired Contracts attached to the final

purchase agreement with the Successful Bidder(s) (each, an “Acquired Contract”) will be

assumed and assigned to the Successful Bidder(s).

        32.     Assignment by the Debtors to the Successful Bidder of a contract, lease or any other

liability assumed under Section 365 of the Bankruptcy Code or otherwise relieves the Debtors and

their estates from any such liability so assigned.

VI.     The Sale Hearing

        33.     A Sale Hearing to (i) approve a sale of a portion or substantially all of the Acquired

Assets to the Successful Bidder(s) and (ii) authorize the assumption and assignment of certain

executory contracts and unexpired leases shall be held on September 23, 2020 at 10:00 a.m.

(prevailing Central Time), and may be adjourned or rescheduled without notice, subject to

paragraph 4 of this Bidding Procedures Order. At the Sale Hearing, the Debtors will seek

Bankruptcy Court approval of the Successful Bid(s) and the Backup Bid(s) (if any). Unless the

Bankruptcy Court orders otherwise, the Sale Hearing shall be an evidentiary hearing on matters

relating to the Sale Transaction(s) and there will be no further bidding at the Sale Hearing. In the

event that the Successful Bidder(s) cannot or refuses to consummate the Sale(s) because of the

breach or failure on the part of such Successful Bidder, the Debtors may, in accordance with the

Bidding Procedures, designate the Backup Bid to be the new Successful Bid and the Backup Bidder

to be the new Successful Bidder, and the Debtors shall be authorized, but not required, to

consummate the applicable transaction with the Backup Bidder without further order of the

Bankruptcy Court.



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        34.     Any and all objections, if any, to any Sale Transaction (but excluding any objection

based on the specific identity of any Stalking Horse Bidder, the form or substance of any Stalking

Horse APA, the specific identity of the Successful Bidder or the Backup Bidder, or the form or

substance of the Successful Bid or the Backup Bid) must be filed no later than September 1, 2020

at 4:00 p.m. (prevailing Central Time) (the “Sale Objection Deadline”). Any and all such

objections must be served on the Objection Recipients and counsel to any Successful Bidder(s), if

known on the Sale Objection Deadline. All replies to such objections must be filed by September

8, 2020 at 12:00 p.m. (prevailing Central Time) (the “Reply Deadline”).

        35.     Any party failing to timely file an objection to any Sale Transaction will be forever

barred from objecting and will be deemed to have consented to any Sale Transaction, including

the transfer of the Debtors’ right, title and interest in, to, and under the Debtors’ Acquired Assets

free and clear of any and all liens, claims, encumbrances and other interests in accordance with a

definitive agreement for any Sale Transaction.

        36.     Promptly following the Auction, the Debtors shall serve the Post-Auction Notice.

The Debtors propose that any objections regarding the adequate assurance of future performance

of the Successful Bidder or the Backup Bidder (other than the Stalking Horse Bidder) may be

raised at the Sale Hearing.

VII.    Other Provisions

        37.     Notwithstanding anything herein or in the Bidding Procedures to the contrary, the

Debtors shall not be permitted to modify the consultation rights of the Consultation Parties or the

Bid Consultation Parties in the Bidding Procedures absent further order of this Court or the consent

of any affected Consultation or Bid Consultation Parties.

        38.     Oneida’s rights and priority in connection with any security interests it held in any

assets of the Debtors pre-petition are hereby preserved and retained by Oneida to the extent they

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existed pre-petition and any such security interests shall attach to proceeds of such assets with the

same priority, extent, validity, avoidability and enforceability. Nothing herein shall constitute a

finding or ruling by this Court that any such security interests are valid, senior, enforceable,

perfected or non-avoidable. Moreover, nothing shall prejudice the rights of any party in interest

including, but not limited to, the Debtors and any Committee to challenge the validity, priority,

enforceability, seniority, avoidability, perfection or extent of any such security interest.

         39.      The Debtors are authorized and empowered to take such action as may be necessary

to implement and effect the terms and requirements established under this Bidding Procedures

Order.

         40.      This Bidding Procedures Order shall be binding on and inure to the benefit of the

Debtors, including any Chapter 7 or Chapter 11 trustee or other fiduciary appointed for the estates

of the Debtors.

         41.      This Bidding Procedures Order shall constitute the findings of fact and conclusions

of law and shall take immediate effect upon execution hereof.

         42.      To the extent this Bidding Procedures Order is inconsistent with any prior order or

pleading with respect to the Motion in these cases, the terms of this Bidding Procedures Order

shall govern.

         43.      To the extent any of the deadlines set forth in this Bidding Procedures Order do not

comply with the Local Rules, such Local Rules are waived and the terms of this Bidding

Procedures Order shall govern.

         44.      Notwithstanding the possible applicability of Bankruptcy Rules 6004(h), 6006(d),

7062, 9014, or otherwise, this Court, for good cause shown, orders that the terms and conditions

of this Bidding Procedures Order shall be immediately effective and enforceable upon its entry.



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        45.     This Court shall retain jurisdiction with respect to all matters arising from or related

to the implementation or interpretation of this Bidding Procedures Order, including, but not limited

to, any matter, claim, or dispute arising from or relating to the Bidding Procedures, any Stalking

Horse APA, and the implementation of this Bidding Procedures Order.



Dated: ___________________, 2020

                                       _______________________________________________
                                       UNITED STATES BANKRUPTCY JUDGE




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                                  Exhibit 1

                              Bidding Procedures




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